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                Exhibit D
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June 29, 2018

Sy Foguel, President
AmGuard Insurance Company
16 South River Street
P.O. Box A-H
Wilkes Barre, PA 18703-0020



RE:     Demand for Relief under Mass. G.L. c. 93A
        LRS Realty, LLC, Insured
        Date of Loss: March 18, 2018
        Policy No. LRB975858
        Claim No. LRB975858-001-001-001

Dear Sir:

Please be advised I represent LRS Realty, LLC (“LRS”), of 444A North Main Street, East
Longmeadow, Massachusetts, who is your policyholder with respect to a Businessowner’s Policy,
policy no. LRB975858, effective February 1, 2018 to February 1, 2019. The ‘18-‘19 policy was a
renewal of policy no. BEBP882297, effective February 1, 2017 to February 1, 2018. Shortly after
the inception of the initial policy, on March 13, 2017, AmGuard’s loss control department carried
out a “property inspection survey” at the loss-property, 49 Belmont Avenue, Springfield,
Massachusetts. As a result of the inspection, AmGuard made four mandatory recommendations
that needed to be met to keep coverage in force, essentially that additional wall mounted fire
extinguishers be installed, that fire extinguishers be serviced, carbon monoxide detectors installed
in each bedroom or sleeping area in accordance with NFPA recommendations, and certain repairs
be carried out to the sidewalk. LRS complied with the conditions and forwarded a Smoke
Certificate from the City of Springfield fire department certifying compliance with the CO
detector item.

On March 18, 2018, just over a year after the survey, and in the second policy year of the 49
Belmont Avenue property with AmGuard, there was a significant fire loss. Apparently the fire
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was started by a child playing with matches inside one of the residential units at property
building listed as a covered location on policy no. LRB975858, at 49 Belmont Avenue, Springfield,
Massachusetts. The fire caused three fatalities and four other persons were hospitalized.
AmGuard was notified immediately and carried out an investigation of the loss. LRS
representatives were totally cooperative to AmGuard’s investigation.

On April 24, 2018, AmGuard sent a disclaimer letter to LRS, based on the fact “that a protective
safeguard, which is required for coverage, was not maintained per the policy. The automatic fire
alarm in the subject building did not protect the entire building.” The Protective Safeguards
Endorsement, Form BP0430(01-06), amends the policy to add to the Property General
Conditions, a condition that LRS is required to maintain an Automatic Fire Alarm, protecting
the entire building, that is connected to a cental station or reporting to a public or private alarm
station. The PSE adds an exclusion to Section I of the Businessowner’s form, providing AmGuard
will not pay for loss or damages caused by or resulting from a fire if LRS “failed to maintain any
protective safeguard listed in the Schedule above, over which you had control, in complete
working order.”

In the disclaimer letter, AmGuard states:

       Under the terms of the policy, as shown in the Schedule of the [PSE] endorsement, LRS
       Realty is required to maintain an Automatic Fire Alarm as a condition of coverage under
       Section I of the Policy. Investigation of the loss and inspection of the premises confirmed
       that the automatic fire alarm in the subject building did not protect the entire building.
       Due to lack of compliance with the policy condition, AmGuard has no obligation to LRS
       Realty and denies liability for all damages sustained in this loss.

LRS disputes this disclaimer. The fact is LRS did comply with the PSE endorsement requirement
since it had an Automatic Fire Alarm that was monitored. The smoke detectors in the building
were wired to a central alarm station in the entire building, as those terms are understood in the
trade, and in the lexicon and course of dealing of AmGuard (at least with respect to this property
until after this loss occurred, although it will be shown post-loss AmGuard continues to believe
what LRS had in place constituted “entire building” protection). Additionally, even if the fire
protection alarm arrangement in place at 49 Belmont Avenue were somehow not compliant with
the PSE endorsement requirements, by its conduct AmGuard waived, or is estopped to assert,
its right to invoke the PSE condition and insist that greater protections were required to be in
place. Moreover, it is LRS’s position AmGuard’s interpretation of the “entire building” term in
the PSE is erroneous, but if not then the term is ambiguous and ought to be construed in LRS’s
favor, or consonant with a policyholder’s reasonable expectations. Finally, AmGuard will not only
fail to sustain its burden of proving a lack of compliance, it will likewise not be able to prove
failure to fulfill a condition prejudiced it, as would be necessary to sustain a disclaimer. As a
result of AmGuard’s failure to make a reasonable offer of settlement, and other failures set forth


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in detail below, AmGuard has violated the Unfair and Deceptive Claims Settlement Practices Act,
G.L. c. 176D, § 3(9), et seq.

LRS COMPLIED WITH THE REQUIREMENT IT PROVIDE CENTRALLY MONITORED
SMOKE ALARMS FOR THE “ENTIRE BUILDING”

LRS’s position is it did comply with the policy condition requiring it provide centrally-monitored
alarms for the entire building. This is established by LRS’s compliance with City of Springfield
fire department requirements, and the requirements which it met embodied in NFPA 72 (2013).
It is also established by AmGuard’s acceptance of the building as compliant with its policy
requirements, by its inspection and no correction order conduct, and AmGuard’s conduct in not
rescinding the policy, canceling the policy, and/or refunding LRS its premium. It is literally true
that the “entire building” had centrally-monitored smoke alarms; these alarms were at each end
of the building, the middle of the building, and egress points. It is supposed that “entire
building” could be taken to mean every room, including closets, but that sort of specificity was
not spelled out in the policy. “Entire building” is not a defined term in the insurance policy. If
“entire building” is a euphemism for compliant with NFPA or state/municipal fire codes and
requirements, then what protection LRS had in place was sufficient to meet the policy condition.

TO THE EXTENT THE PROTECTIVE SAFEGUARDS ENDORSEMENT REQUIRED MORE
OR DIFFERENT ALARMS THAN WERE PRESENT, AMGUARD WAIVED ITS RIGHT TO
INVOKE THOSE REQUIREMENTS TO JUSTIFY ITS DISCLAIMER

An insurer's intention to waive a ground for not providing coverage may be inferred from the
circumstances. Eaton v. Globe & Rutgers Fire Ins. Co., 227 Mass. 354, 364 (1917). See Hurley v.
Metropolitan Life Ins. Co., 296 Mass. 130, 136 (1936). As noted above, AmGuard carried out a
pre-loss inspection of the property to determine if it met AmGuard’s insurability standards and
policy conditions. That inspection had correction orders for fire extinguishers and other items,
but did not take any issue with the arrangement of alarms in the common areas and battery units
in the residential units. In LRS’s view, this is legally significant. If AmGuard felt that the “entire
building” did not have proper fire protection alarms, it should have raised this as an issue pre-
loss. To retain LRS’s premiums, and keep the policy in force, set up for AmGuard a sort of a
heads I win tails you lose scenario. According to AmGuard’s position, it could keep mum on its
objection to LRS’s fire protection arrangements, and then spring this loss exclusion on it if or
when a loss occurred.

It is notable that a federal judge, in Brookwood, LLC v. Scottsdale Ins. Co., 2009 WL 2525756
(E.D.La. 2009), held an insurer’s PSE requiring centrally monitored burglar alarm was arguably
waived its right to invoke the endorsement because it knew a burglar alarm was not in place and
being “maintained” as required at the property. Scottsdale conducted an inspection of the
property right after its policy was issued, and its inspection report “note[d] in several places that


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there was either no burglar alarm system or only a ‘local’–i.e. not centrally-monitored system in
the building.” Id. at *4. Scottsdale protested the report was not conclusive that it knew there not
a centrally-monitored system, and that it relied on the policy application representation of
Brookwood there was such a system. The court denied Scottsdale’s motion for summary
judgment and held the issue of waiver for trial, ruling that a reasonable jury could find the
insurer waived the exclusion “by failing to cancel coverage, adjust the premium, or demand that
Breckwood come into compliance.” It appears the yearly premium was paid at the inception of
the policy, so Scottsdale’s argument it did not accept any further premiums after the inspection
(and before the loss) was unavailing. “[I]t is not merely acceptance of a premium, but also
continuation of coverage, that can constitute waiver of an exclusion defense.” Id. at *5.

Here, it is notable despite LRS’s request, AmGuard has declined to provide LRS with a copy of
the inspection report. This report would clearly be discoverable in any sort of dispute proceeding,
and the fact AmGuard has refused to produce it is likely because it shows AmGuard knew, 12
months before the fire, this building did not have centrally-wired smoke alarms in the residential
units. What is in that report should be considered by AmGuard in determining its extra-
contractual liability here. See G.L. c. 93A, § 9(3) (court shall award double or triple damages “if
the court finds that the use or employment of the act or practice was a willful or knowing
violation of said § 2 or that refusal to grant relief upon demand was made in bad faith with
knowledge or reason to know that the act or practice complained of violated said § 2)(italics
added).

What is known is that after its inspection, AmGuard did not demand LRS install centrally-wired
fire alarms in the residential units, cancel LRS’s coverage, or refund its premium. “Waiver
consists of an insurer’s voluntary or intentional relinquishment of a known right.” Merrimack
Mutual Ins. Co. v. Nonaka, 414 Mass. 187, 189 (1993). See Restatement of the Law of Liability
Insurance § 5 PFD (2017), § 5 Waiver (“[a] party to an insurance policy waives a right under the
policy if ... that party, with actual or constructive knowledge of the facts giving rise to that right,
expressly relinquishes the right, or engages in conduct that would reasonably be regarded by the
counterparty as an intentional relinquishment of that right...”). Typically, whether an insurer’s
conduct constitutes a waiver of a policy condition is a question of fact held for a jury. 17 Couch
on Ins. § 239:99 (3d Ed. & June 2018 Update). Here, AmGuard knew of the alarm arrangement
at LRS’s property, yet chose not to insist that centrally monitored fire alarms be installed in the
residential units, chose not to cancel or rescind its policy, and chose not to refund to LRS its
premium. As a result, LRS did nothing further to its alarm system at 49 Belmont Avenue prior
to the loss, and AmGuard waived its right to insist its policy conditions required something
greater or additional than was in place at the loss-property. See Garcy Corp. v. Home Ins. Co.,
496 F.2d 479, 483 (7th Cir. 1974) (insurer which “learned of an increased hazard” [was not
permitted] “to remain silent and retain unearned premiums, and then to assert the breach to
escape liability.”).



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The case of Colony Ins. Co. v. Peterson, 582 Fed.Appx. 156 (4th Cir. 2014), is instructive. On
March 16, 2010, Colony issued a policy of insurance to Peterson on his 95,000 square foot
building, with a PSE condition requiring him to maintain functioning utilities at his building.
Colony had a loss control inspection of the building on April 13, 2010, which indicated the
utilities to the building were off and there was no heat. There was a fire on May 18, 2010.
Colony disclaimed on various grounds, among them that the PSE conditions were not satisfied.
Suit was brought and a verdict rendered in favor of Peterson, the jury finding Colony waived its
right to claim PSE conditions were not met since it had the inspection report on April 21st, and
had adequate time to cancel the policy but did not do so. The federal appeals court therefore held
there was no error in the jury’s verdict concluding Colony’s conduct was inconsistent with an
intention to enforce the PSE conditions, and therefore waived it. Id. at 163-164.

Similarly, in National Fire & Marine Ins. Co. v. 3327 West 47th Place, LLC, 2017 WL 5499154
(N.D.Ill. 2017), the insurer’s motion for judgment as a matter of law was based on the
policyholder’s failure to fulfill condition that it maintain an Automatic Burglary Alarm protecting
the whole building, was denied on the basis of waiver. By virtue of a loss control inspection, the
insurer had knowledge the entire building was not secured with a burglar alarm system, yet it
failed to cancel the policy, refund the premium or demand the policyholder correct the deficiency.
 The policy went into force in December 2014, the insurer had a loss control inspection carried
out on February 3, 2015, and a fire loss occurred on April 30, 2016. The correctness of the
insurer’s disclaimer, and whether the PSE conditions were waived by it, were held for the jury.
Id. at **6-8.

There are however circumstances where a court will find an insurer’s knowledge a policy
condition is unfulfilled to constitute waiver as a matter of law. See Allstate Ins. Co. v. Reliance
Ins. Co., 786 A.2d 27, 33 (Md.App. 2001)(insurer knew at inception of the policy that the loss-
property was vacant). LRS will not know if this is the case here until it obtains a copy of Guard’s
March 2017 loss control survey. It may be that AmGuard’s knowledge is so clearly set forth
therein that a court may rule as a matter of law its conduct waived any policy defense there was
an unfulfilled condition.

It appears this dispute comes down to AmGuard’s contention that the PSE required the “entire
building” to have smoke alarms wired to a central alarm station, and LRS’s 20-unit residential
apartment building had smoke alarms in common areas, egress exits, hallways and stairwells,
and had battery operated units in the apartments. This arrangement was endorsed as sufficient
by the City of Springfield fire department, which issued a compliance certificate. AmGuard
thereafter has a loss control inspection of the property, and issued a correction order for fire
extinguishers and battery operated CO detectors in apartment bedrooms (where were already
present), but made no mention of anything wanting with LRS’s fire alarms arrangements.

It is LRS’s position that the inspection, followed by no correction order for the smoke alarms in


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the individual apartments being battery operated and not wired into the central alarm system,
was compliant with NFPA 72 (2013) constituted waiver of any right which may have existed to
avoid coverage on the ground PSE conditions were not met. As noted, the municipality accepted
this as sufficient to grant its permit, and was therefore certified to be compliant with local codes.
After the inspection, a Smoke Certification from the City of Springfield fire department was sent
to AmGuard, and AmGuard confirmed that satisfied its requirements.

In addition, LRS’s agent advises that AmGuard insures a number of other apartment buildings
in this locality, which are the same size, same number of floors, same number of units, and have
the same type of fire alarm system with the placement of detectors/sensors. Those other
buildings, insured by AmGuard, have the same “P-2” Fire Alarm requirements under an identical
PSE. Obviously, AmGuard has inspected and accepted those other apartment buildings as
complying with its requirements, and has not issued correction orders on those other properties,
or canceled its policies, or refunded policyholders’ premiums. This is further support for LRS’s
position that AmGuard’s conduct waived any interpretation that “entire building” means
something different from what LRS had in place on March 18, 2018.

AMGUARD IS ESTOPPED FROM CLAIMING LRS’S FIRE PROTECTION ARRANGEMENTS
DID NOT SUFFICE TO PROTECT THE “ENTIRE BUILDING”

Estoppel may be applied to preclude an insurer from disclaiming coverage on a policyholder’s
violation of a policy term, where it would be inequitable to permit the disclaimer. Alan Corp. v.
International Surplus Lines, Inc., 823 F.Supp. 33, 43 (D.Mass. 1993), aff’d, 22 F.3d 339 (1st Cir.
1994). Estoppel will be applied where there was prejudicial reliance by an insured upon some act,
conduct or failure to act of the insurer. Where an insurer’s course of dealing, or its open actions,
induced the insured to pursue a course of conduct to his detriment, estoppel is appropriate. See
DiMarzo v. American Mutual Ins. Co., 389 Mass. 85, 112 (1983). An insured’s reliance must be
proved, and that its reliance was reasonable. Alan Corp., supra; Royal-Globe Ins. Co. v. Craven,
411 Mass. 629, 635 (1992).

The facts here present a textbook case for the application of estoppel. AmGuard’s inspection
found no issues with the alarm arrangements at 49 Belmont Avenue, and it continued and
continues to take the position with respect to other properties that PSE conditions are met by
such alarm arrangements (i.e. course of dealing). LRS relied to its detriment that it was in
compliance and property conditions met entitling it to coverage in the event of a fire loss.
Thereafter, AmGuard took the position the property’s alarm system did not meet the PSE
conditions, and disclaimed. There was reasonable reliance on the part of the insured, and it
would be inequitable to permit it use failure to fulfill conditions to disclaim coverage.

AmGuard’s course of dealing with respect to LRS’s 49 Belmont Avenue property, and other local
properties insured by it, is evidence that what LRS had in place was sufficient to meet what the


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PSE called for, and that in the usage of trade “entire building” protection was provided by in-unit
battery operated fire alarms, and common area and hallway alarms wired to a central alarm
station.

“An insurance policy . . . is to be construed with reference to the customs of the trade or course
of dealing respecting which it is issued. The insurer is charged with notice of such practices and
his liability is to be determined in that light." Koshland v. Columbia Ins. Co., 237 Mass. 467, 472
(1921). Accordingly, “pertinent custom and usage are, by implication, incorporated into a policy
and are admissible to aid in policy interpretation, not as tending to contract or vary a contract,
but on the theory that usage forms part of the contract.” Somerset Savings Bank v. Chicago Title
Ins. Co., 420 Mass. 422, 428 (1995). Importantly, custom and usage evidence is admissible even
where the contract is not ambiguous. Thus, the Restatement of Contracts provides that “[t]here
is no requirement than an agreement be ambiguous before the evidence of usage or trade can be
shown, nor is it required that usage of trade be consistent with the meaning of the agreement
would have apart from usage.” Restatement (Second) of Contracts, §222, Comment b (1981),
cited with approval in Affiliated FM Ins. Co. v. Constitution Reinsurance Corp., 416 Mass. 839,
845 n.9 (1994). See also, Cunningham Packing Corp. v. Florence Reef Co., 785 F.2d 348, 351 (1st
Cir. 1986) (“Custom and usage is relevant to contract interpretation and no ambiguity need be
shown before such evidence may be admitted . . .”). The rules regarding custom and usage are
consistent with the principle that a court “must construe the words of the policy according to the
fair meaning of the language used, as applied to the subject matter.” Jacobs v. USF&G, 417
Mass. 75, 77 (1994).

It is LRS’s position that AmGuard is estopped from denying coverage on the facts of this case.
AmGuard was fully informed of what fire protection existed at LRS’s building, and did not cancel
the policy and refund LRS its premium, or take other measures to get off the risk. It did not
object in any way to the alarm arrangement at the property, and chose to remain on the risk and
retain LRS’s premium. As shown, and AmGuard knows, it insures a substantial number of other
apartment buildings in this locale with the same or similar fire protection alarms, that is, with
alarms connected to central station in the common areas and battery operated units in
apartments. In other words, AmGuard accepts this sort of arrangement, which is accepted as
compliant by the Fire Department, until there is a loss, then it insists the owner should have
alarms in the individual units wired to the central alarm station. All the elements of estoppel are
present here. Had AmGuard advised LRS of its position that the “entire building” required
individual units to be wired to the central station, LRS would have undertaken to comply.
Instead, it relied to its detriment that its property was compliant with policy requirements, and
it need do nothing to maintain its coverage so as to be available at the time of loss.

Based on the foregoing, AmGuard cannot sustain any coverage defense to paying LRS all
damages due under its insurance policy, since it will be estopped from raising non-compliance
with PSE conditions.


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AMGUARD ACCEPTED (AND STILL ACCEPTS) THE ALARM ARRANGEMENT IN PLACE
AS SUFFICIENT TO SATISFY THE PSE ENDORSEMENT “P-2”

LRS and its agent has documentary proof that AmGuard Loss Control (Jim Carr) has agreed in
writing that fire protection arrangements consisting of battery smoke detectors and CO detectors
inside the apartments at 62-64 Avon Street, 75 Avon Street, and 83 Winter Street, Springfield,
Massachusetts, sufficient to meet the “P-2" PSE (the same one as AmGuard is claiming was not
met by LRS in this loss).

AmGuard has also taken the position that fire protection arrangements meeting NFPA 72 (2013),
is sufficient to meet the PSE requirements at issue in this claim.

LRS is providing herewith a letter from Citizens Security, its alarm company, dated June 22,
2018. That letter describes the fire protection system in place at 49 Belmont Avenue before the
fire, and it compliance with law.

       Attached is the inspection report showing the location of the heat sensors and photo
       electric smoke detectors which are part of your centrally monitored system. The fire alarm
       system is comprised of both battery operated smoke detectors & CO detectors and low
       voltage hardwired "system" smoke detectors. Battery operated sensors (both smoke
       detectors & CO detectors) are not centrally monitored nor part of the annual test &
       inspect procedure. The low voltage hardwired "system" devices as listed within the
       enclosed Fire Inspection Report dated 4/17/2017 are centrally monitored for all common
       areas and egresses providing the building at 49 Belmont Ave., Springfield, MA with fire
       protection devices as required in accordance with NFPA 72 Edition: 2013.

See Tab A, attached hereto.

TO THE EXTENT AMGUARD CONTENDS “ENTIRE BUILDING” MEANS EVERY ROOM
OR EVERY RESIDENTIAL UNIT, SUCH PROVISION IS AMBIGUOUS AND SHOULD BE
CONSTRUED IN FAVOR OF LRS

In USLI v. Benchmark Construction Services, 797 F.3d 116 (1st Cir. 2015), another insurer owned
by Berkshire-Hathaway was held to have improperly disclaimed where its policy language was
deemed ambiguous in the context of insuring a construction company with a policy containing
a broad exclusion for any person who provided services that might bring suit. The Court stated:

       Under Massachusetts law, “[t]he proper interpretation of an insurance policy is a matter
       of law to be decided by a court, not a jury." Boazova v. Safety Ins. Co., 462 Mass. 346, 968
       N.E.2d 385, 390 (2012). As with any contract, the court "must construe the words of the
       policy in their usual and ordinary sense." Bos. Gas Co. v. Century Indem. Co., 454 Mass.


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       337, 910 N.E.2d 290, 304 (2009) (internal quotation marks omitted). If a term is
       “susceptible of more than one meaning and reasonably intelligent persons would differ
       as to which meaning is the proper one," the term is ambiguous. Citation Ins. Co. v.
       Gomez, 426 Mass. 379, 688 N.E.2d 951, 953 (1998). Ambiguities are to be construed
       against the insurer and in favor of the insured. Boazova, 968 N.E.2d at 390. “This rule
       of construction applies with particular force to exclusionary provisions.” Id. (quoting
       Hakim v. Mass. Insurers' Insolvency Fund, 424 Mass. 275, 675 N.E.2d 1161, 1165 (1997)).
       However, an ambiguity does not exist simply because the parties disagree about how to
       interpret the policy. Id.

       When there is doubt over the meaning of a term, it is “appropriate ‘to consider what an
       objectively reasonable insured, reading the relevant policy language, would expect to be
       covered.’” Trs. of Tufts Univ. v. Commercial Union Ins. Co., 415 Mass. 844, 616 N.E.2d
       68, 72 (1993) (quoting Hazen Paper Co. v. U.S. Fid. & Guar. Co., 407 Mass. 689, 555
       N.E.2d 576, 583 (1990)); see also Bos. Gas Co., 910 N.E.2d at 305. But an insured can
       have no reasonable expectation of coverage if the unambiguous terms of the policy
       preclude coverage. Clark Sch. for Creative Learning v. Phila. Indem. Ins. Co., 734 F.3d 51,
       57 (1st Cir.2013) (applying Massachusetts law).

Here, the term “entire building” is not defined, and to the extent it means the building complies
with NFPA 72 (2013), then it met the meaning of “entire building.” Obviously, “entire building”
has a certain natural meaning, but in application could be interpreted to mean every room, or
every closet in the building, or there be a smoke detector connected to a central alarm station
every 18 inches. In construing that term the court will look to AmGuard’s own interpretation,
trade usage, course of dealing, course of performance and reasonable policyholder expectations.

To the extent AmGuard contends “entire building” has a more expansive meaning than what
LRS had in place, then that term is ambiguous and must be construed in favor of LRS. Further,
the “reasonable expectations of insured” doctrine would apply here. “The basis for the
[reasonable expectations] doctrine is that ‘insurers ought not to be allowed to use qualifications
and exceptions from coverage that are inconsistent with the reasonable expectations of a
policyholder having an ordinary degree of familiarity with the type of coverage
involved.’”Jefferson Ins. Co. of New York v. City of Holyoke, 23 Mass. App. Ct. 472, 477 (1987),
quoting R. Keeton, Insurance Law 351-352 (1971). “While the parameters of the doctrine as
applied by Massachusetts courts are unclear, e.g., whether it comes into play in the absence of
an ambiguity, Massachusetts courts have referred favorably to the doctrine.” See Hazen Paper
Co. v. U.S. Fidelity and Guar. Co., 407 Mass. 689, 698 (1990). A reasonable policyholder with fire
alarms such as in place prior to the fire, in light of other factors spelled out herein, would have
though the term “entire building” meant what he had.




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EVEN IF LRS WAS IN VIOLATION OF THE POLICY CONDITION, AMGUARD MUST
PROVIDE COVERAGE SINCE IT CANNOT MEET ITS BURDEN TO ESTABLISH
PREJUDICE

If the language in the PSE endorsement is accepted as creating a condition precedent to coverage
under the policy, it is LRS’s position that breach of a condition cannot be used as grounds to
disclaim unless that breach was prejudicial to AmGuard. See Darcy v. Hartford Ins. Co., 407
Mass. 481, 489(1990) (noting rejection of the strict contractual view of insurance policy
interpretation, under which the failure to meet condition automatically relieved an insurer of any
obligation to pay on the policy). Accord, Sarnafil, Inc. v. Peerless Ins. Co., 418 Mass. 295, 302, 305
(1994) (prejudice must be shown before an insurer will be relieved of its obligations for breach
of a policy condition). Cf. New England Extrusion, Inc. v. Am. Alliance Ins. Co., 874 F. Supp.
467, 470-71 (D. Mass. 1995); Employers’ Liab. Assurance Corp. v. Hoechst Celanese Corp., 43
Mass. App. Ct. 465, 479-481 (1997). Accordingly, even AmGuard is able to sustain its burden of
proving the policy condition was breached, which LRS disputes as set forth above, AmGuard will
additionally be required to prove prejudice. At this point there is insufficient evidence to
conclusively demonstrate that in-unit centrally monitored fire alarms would have made a
difference in the property damage loss at 49 Belmont Avenue.

LRS’S DAMAGES TO DATE ARE CLEARLY ESTABLISHED IN THE AMOUNT OF $807,991
AND OUGHT TO BE PAID

LRS’s building at 49 Belmont Avenue sustained significant damage to 8 of the 20 apartments.
Unfortunately, the period of restoration has been delayed by AmGuard’s failure to accept its
contractual responsibility to honor its policy obligations. Nonetheless, LRS has begun to rebuild
the property and has obtained estimates and gathered damages information, with the assistance
of its licensed public adjuster, Christopher Lynch of Consumer Adjusters LLC, in Springfield,
Massachusetts. Appropriate documentation and damages supports are attached to this letter and
incorporated herein by reference, and demonstrate the amount, breadth and scope of LRS’s
damages. See Tab B, attached hereto. It is LRS’s position that under the circumstances here
presented, that no reasonable insurer would refuse to pay $807,991 to satisfy its present
contractual obligation, and to agree to pay for further code upgrades deemed to be required. See
Hartford Cas. Ins. Co. v. New Hampshire Ins. Co., 417 Mass. 115, 121 (1994).

AMGUARD’S CLAIM HANDLING HAS BEEN UNFAIR AND DECEPTIVE, AND IN
VIOLATION OF G.L. c. 176D, AND G.L. c. 93A

Bait-and-switch tactics by businesses have long been considered to constitute the sort of conduct
amenable to G.L. c. 93A. The essence of such conduct is to tell the customer they are buying one
thing and then selling them another, less valuable and useful item. Here, AmGuard purported
to sell a policy of insurance covering property losses like fires and carried out a loss control


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inspection that found small items to correct, but made no mention that it held a view that the
battery alarms in apartments, centrally wired alarms in common areas, was fundamentally out
of compliance with its notion of “entire building” alarms. Then, after a loss, AmGuard changed
its view and suddenly what it had been content to insure was insufficiently protected, and
disclaimed coverage. This is shocking conduct, and exactly the sort of unfair and deceptive
practice which G.L. c. 93A is meant to discourage, or when carried out as here, punish. It is
LRS’s position that AmGuard’s conduct here is a clear violation of G.L. c. 93A, § 11, and it is
entitled to at least double, and quite possibly triple its compensatory damages, plus attorney’s
fees, interest and costs.

As you know, Massachusetts had enacted as part of its insurance code the Unfair and Deceptive
Claim Practices Act, codified at G.L. c. 176D, § 3(9):

       (9) Unfair claim settlement practices: An unfair claim settlement practice shall consist
       of any of the following acts or omissions:
       (a) Misrepresenting pertinent facts or insurance policy provisions relating to coverages
       at issue;
       (b) Failing to acknowledge and act reasonably promptly upon communications with
       respect to claims arising under insurance policies;
       ...
       (d) Refusing to pay claims without conducting a reasonable investigation based upon all
       available information;
       ...
       (f) Failing to effectuate prompt, fair and equitable settlements of claims in which liability
       has become reasonably clear;
       (g) Compelling insureds to institute litigation to recover amounts due under an insurance
       policy by offering substantially less than the amounts ultimately recovered in actions
       brought by such insureds;
       ...
       (m) Failing to settle claims promptly, where liability has become reasonably clear, under
       one portion of the insurance policy coverage in order to influence settlements under other
       portions of the insurance policy coverage; or
       (n) Failing to provide promptly a reasonable explanation of the basis in the insurance
       policy in relation to the facts or applicable law for denial of a claim or for the offer of a
       compromise settlement.

As you are aware, AmGuard at first flatly denied coverage without adequate explanation, and
have subsequently reconsidered that denial and offered to pay $400,000 on a compromise basis,
raising specious grounds. AmGuard’s failure to acknowledge contractual liability for the policy
benefits owing to damage from the fire, including replacement cost and code and law upgrades
that will be necessary to restore the property, is intolerable and in violation of subsections (f) and


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(m), above. AmGuard’s investigation, to the extent it failed to include speaking with
underwriting and loss control, and Mr. Carr, regarding its position about the sufficiency of the
fire protection LRS had in place to satisfy PSE conditions, is a violation of subsection (d), above.
To the extent AmGuard’s investigation did obtain this information from loss control and
underwriting, AmGuard’s disclaimer and failure to make a reasonable offer is even more
shocking and egregious. AmGuard’s disclaimer certainly misrepresents the facts and the law
with respect to its coverage position, in violation of subsections (a) and (n), above, since there was
no reference to LRS’s compliance with NFPA and City of Springfield fire department
requirements, and that AmGuard itself accepted this building and other like it, in the usual
course, as fulfilling PSE “P-2" conditions. AmGuard’s belated offer of $400,000, perhaps made
due to consciousness of guilt after it realized its position rested on a crumbling foundation, is
nonetheless far below what any reasonable person would view as fair, will turn out to be a
violation of subsection (g).

Liability under G.L. c. 93A is sui generis, and looks to notions of unfairness rather than strictly
the legal rights of the parties. Similarly, what conduct is actionable as deceptive does not strictly
follow the common law. Here, AmGuard’s conduct in continuing to insure the property after it
knew what alarm arrangements were in place at 49 Belmont Avenue, and then disclaiming after
a fire loss, is simply outrageous. This, coupled with the fact AmGuard took and continues to take
the position on other like properties that such arrangements are sufficient to meet “P-2" PSE
conditions, is the sort of reprehensible conduct that the punitive component of G.L. c. 93A is
meant to address.

DEMAND FOR RELIEF

Accordingly, LRS is making demand that AmGuard irrevocably withdraw its disclaimer based
on failure of LRS to meet the “P-2” PSE conditions at 49 Belmont Avenue on March 18, 2018,
and to honor its claim for all policy benefits due and owing on its policy in force at the time of the
fire loss, which appear to amount to $807,991.00 as of the present time, and additional code
upgrades as will be developed during the planning and construction process, plus $7,500.00 in
attorney’s fees incurred to date. If you fail to meet this demand, suit will be commenced against
AmGuard seeking treble damages and attorney’s fees. I look forward to hearing from you within
the 30 days prescribed by G.L. c. 93A, § 9(3) to respond to a Chapter 93A demand.

                                               Yours very truly,

                                              a-Ac5'Cf\
                                               John B. Stewart

JBS/bh
CERTIFIED MAIL
RETURN RECEIPT REQUESTED
PARCEL NO. 7016 3010 0000 8288 3230


                                                 12
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cc:   Paul A. Prislupsky, General Adjuster
      (VIA E-mail to Paul.Prislupsky@guard.com)
      Berkshire Hathaway Guard Insurance Companies
      44 West Market Street, P.O. Box 1368
      Wilkes-Barre, PA 18703




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                   Tab A
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                                           -


     • 87 Center Street, Ludlow, MA 01056 • Phone: (413) 547 6512 • MA Lie. # 373C

June 22, 2018

LRS Realty
346 Race Street
Holyoke, MA 01040

Dear LRS Realty,

Citizen Security Corporation, not having been the original installation / design company, has
been the servicing & monitoring company of/for 49 Belmont Ave, since you bought the building
on 2-11-17.

Attached is the inspection report showing the location of the heat sensors and photo electric
smoke detectors which are part of your centrally monitored system.

The fire alarm system is comprised of both battery operated smoke detectors & CO detectors
and low voltage hardwired "system" smoke detectors.

Battery operated sensors (both smoke detectors & CO detectors) are not centrally monitored
nor part of the annual test & inspect procedure.

The low voltage hardwired "system" devices as listed within the enclosed Fire Inspection Report
dated 4/17/2017 are centrally monitored for all common areas and egresses providing the
building at 49 Belmont Ave., Springfield, MA with fire protection devices as required in
accordance with NFPA 72 Edition: 2013.

Sincerely,
 9it?   tp             /.
Jeffry    erts
President
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                   Tab B
1

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                    Consumer Adjuster LLC
                    Consumer Adjusters LLC
                    191 Chestnut St.
                    Springfield, MA 01103

              Insured:    LRS Realty LLC
             Property:    49 Belmont Ave
                          Springfield, MA 01108


          Claim Rep.:     Chris Lynch                                                      Business:   (413) 785-5800
           Company:       Consumer Adjusters LLC                                            E-mail:    chris@consumeradjusters.com
            Business:     191 Chestnut St. Suite 4A
                          Springfield, MA 01103


            Estimator:    Chris Lynch                                                      Business:   (413) 785-5800
            Company:      Consumer Adjusters LLC                                            E-mail:    chris@consumeradjusters.
             Business:    191 Chestnut St. Suite 4A                                                    com
                          Springfield, MA 01103


      Claim Number:                               Policy Number: BEBP882297                     Type of Loss: Fire

        Date of Loss:     3/18/2018                             Date Received:     3/19/2018
       Date Inspected:    3/19/2018                              Date Entered:     3/20/2018 4:37 PM

            Price List:   MASP8X_MAR18
                          Restoration/Service/Remodel
             Estimate:    49-BELMONT-AVE-SPF-1

      Although every attempt has been made to account for all visible damages at the time of the loss, unforseen damages may be
    hidden from view and may need to be addressed once the demolition occurs. The estimate is for adjustment purposes only and is
    intended for use as a tool to settle a claim. Additional editing may be required.
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                                         Consumer Adjuster LLC
                                         Consumer Adjusters LLC
                                         191 Chestnut St.
                                         Springfield, MA 01103

                                                                                                          49-BELMONT-AVE-SPF-1
                                                                                                                4th Floor Left
     4th Floor Left

     DESCRIPTION                                                                                    QTY        REMOVE        REPLACE        TAX            O&P            TOTAL

     1. Seal floor or ceiling joist system                                             688.36 SF                    0.00             1.15   12.91         160.90           965.42
     (shellac)
     2. R&R Batt insulation - 12" - R38 -                                              688.36 SF                    0.41             1.71   46.03         301.06          1,806.42
     paper faced
     Roof Insulation
     3. R&R Batt insulation - 4" - R13 -                                               688.36 SF                    0.20             0.81   19.36         142.94           857.54
     paper faced
     Roof Insulation

     Total: 4th Floor Left                                                                                                                  78.30         604.90          3,629.38



                                       7' 8"                             Bedroom                                                                                   Height: 8' 6"
                                       7' 3"

                                                                                                     378.13   SF Walls                        117.22 SF Ceiling
                                                     8' 10"




                                                              Kitchen    Bathroom
                                               9'
                          "




                                                                                                     495.35   SF Walls & Ceiling              117.22 SF Floor
                   13' 8

                        "
                  13' 2




                               Bedroom                                            Coat Closet (1)
                                                                                                      13.02   SY Flooring                      44.49 LF Floor Perimeter
                                               6"
                                                     2' 6"




                              11' 9"
                                                                        Hallway                       44.49   LF Ceil. Perimeter
                              11' 2"            6"



     DESCRIPTION                                                                                    QTY        REMOVE        REPLACE        TAX            O&P            TOTAL
                                                                 Living Room
                    Master Bedroom
     4. R&R Sprayed polyurethane foam -                                                756.26 SF                    1.08             1.40   24.11         379.94          2,279.57
     2lb mix - per inch thick
     Closet (1)
     exterior walls x 4"
     5. Tear off plaster on wood lath                                                  495.35 SF                    1.33             0.00    0.00         131.76           790.58
     6. R&R 110 volt copper wiring run,                                                    1.00 EA                  4.39            58.45    0.60          12.70            76.14
     box and switch
     7. R&R 110 volt copper wiring run,                                                    2.00 EA                  4.39            58.37    1.18          25.34           152.04
     box and outlet
     8. Furring strip - 1" x 2"                                                        495.35 SF                    0.00             0.70    4.95          70.36           422.06
     9. Two coat plaster over 1/2" gypsum                                              495.35 SF                    0.00             6.70   44.89         672.76          4,036.50
     core blueboard
     10. R&R Suspended ceiling system - 2'                                             117.22 SF                    0.35             2.91   10.92          78.60           471.66
     x 2'
     11. Seal the walls w/PVA primer - one                                             378.13 SF                    0.00             0.49    1.18          37.30           223.76
     coat
     12. Paint the walls - two coats                                                   378.13 SF                    0.00             0.79    4.49          60.64           363.85
     13. R&R Smoke detector                                                                1.00 EA                  9.06            50.90    1.41          12.28            73.65
     14. R&R Fluorescent - acoustic grid                                                   1.00 EA                 11.40           137.50    3.23          30.42           182.55
     fixture, 2' x 2'

    49-BELMONT-AVE-SPF-1                                                                                                                              6/8/2018              Page: 2
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                                              Consumer Adjuster LLC
                                              Consumer Adjusters LLC
                                              191 Chestnut St.
                                              Springfield, MA 01103

                                                                                               CONTINUED - Bedroom

               DESCRIPTION                                                            QTY          REMOVE          REPLACE              TAX            O&P            TOTAL

               15. R&R Vinyl window - double hung,                                2.00 EA                18.48         286.48           26.93         127.38           764.23
               13-19 sf
               16. R&R Window drapery - hardware                                  1.00 EA                   4.12        86.46            2.97          18.72           112.27
               17. Paint door slab only - 2 coats (per                            1.00 EA                   0.00        30.22            0.39           6.12            36.73
               side)
               18. R&R Door opening (jamb &                                       1.00 EA                   5.14       130.70            6.36          28.44           170.64
               casing) - up to 32"wide - hardwood
               19. R&R Plinth block - 3/4" x 3 1/2" x                             2.00 EA                   1.76         9.71            0.60           4.70            28.24
               6 1/2" - Hardwood
               20. R&R Window trim set (casing &                              24.00 LF                      0.41         4.53            3.68          24.44           146.68
               stop) - hardwood
               21. R&R Window sill - hardwood                                     6.00 LF                   0.57         3.83            0.87           5.46            32.73
               22. Seal & paint door/window trim &                                2.00 EA                   0.00        29.91            0.50          12.06            72.38
               jamb - (per side)
               23. R&R Baseboard heat - steam or                              13.00 LF                      2.06        22.12            9.75          64.84           388.93
               hot water
               24. R&R Baseboard - 8" hardwood - 2                            44.49 LF                      0.49         9.47           18.32          92.28           553.72
               piece
               25. Seal & paint baseboard, oversized -                        44.49 LF                      0.00         1.87            0.56          16.76           100.52
               three coats
               26. Vapor barrier - 15# felt                                  117.22 SF                      0.00         0.24            0.37           5.70            34.20
               27. Sand, stain, and finish wood floor                        117.22 SF                      0.00         3.97            6.96          94.48           566.80
               28. Additional coats of finish (per coat)                     117.22 SF                      0.00         0.92            1.69          21.90           131.43
               29. Add for dustless floor sanding                            117.22 SF                      0.00         1.00            0.00          23.44           140.66
               30. R&R Oak flooring - clear grade -                          117.22 SF                      1.92         9.18           46.01         269.44          1,616.59
               no finish
               31. Final cleaning - construction -                           117.22 SF                      0.00         0.21            0.00           4.92            29.54
               Residential

               Totals: Bedroom                                                                                                         222.92        2,333.18       13,998.65




                            Kitchen    Bathroom                         Hallway                                                                                 Height: 8' 6"
           Bedroom                           Coat Closet (1)
                              2' 8"      2' 6"    2' 6" 1' 8"
                                                                                        333.22    SF Walls                                 63.22 SF Ceiling
                      6"




                                      1' 5" 1' 5"      1' 6"
                                      Hallway
                                      6'                                                396.44    SF Walls & Ceiling                       63.22 SF Floor
                                                        5' 8"
                                                                6' 4"




                           3' 10"            4' 2"
                             4'             3' 10"   2' 6"
                                                                                          7.02    SY Flooring                              37.33 LF Floor Perimeter
                                                           9"
                                                                                         46.00    LF Ceil. Perimeter
                                Living Room
     Master Bedroom

1)             Missing Wall - Goes to Floor                                                 6' X 6' 8"                          Opens into LIVING_ROOM
               Missing Wall - Goes to Floor                                                 2' 8" X 6' 8"                       Opens into KITCHEN


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                                                     Consumer Adjuster LLC
                                                     Consumer Adjusters LLC
                                                     191 Chestnut St.
                                                     Springfield, MA 01103

                                                                                    CONTINUED - Hallway


                                                                  Subroom: Coat Closet (1)                                                    Height: 8' 6"
hen                 Bathroom                 3' 6"
                                             3' 2"                              116.16   SF Walls                         11.61 SF Ceiling
                               3' 10"



                                                     3' 8"
                                                             4'




                                    Coat Closet (1)
                                                                                127.76   SF Walls & Ceiling               11.61 SF Floor
                                        4" 2' 6" 4"
                                                                                  1.29   SY Flooring                      13.67 LF Floor Perimeter
                                        6"             6"
              Hallway
                                                                                 13.67   LF Ceil. Perimeter


              DESCRIPTION                                                     QTY         REMOVE        REPLACE        TAX            O&P            TOTAL

              32. R&R Sprayed polyurethane foam -                       898.76 SF              1.08             1.40   28.65        451.54           2,709.11
              2lb mix - per inch thick
              dividing walls x 4"
      Living Room
              33. Tear off plaster on wood lath                         524.21 SF              1.33             0.00    0.00        139.44            836.64
              34. Furring strip - 1" x 2"                               524.21 SF              0.00             0.70    5.24         74.44            446.63
              35. Two coat plaster over 1/2" gypsum                     524.21 SF              0.00             6.70   47.51        711.94           4,271.66
              core blueboard
              36. R&R Suspended ceiling system - 2'                      74.83 SF              0.33             2.68    6.36         46.32            277.91
              x 4'
              37. Seal the walls w/PVA primer - one                     449.38 SF              0.00             0.49    1.40         44.32            265.92
              coat
              38. Paint the walls - two coats                           449.38 SF              0.00             0.79    5.34         72.06            432.41
              39. R&R Smoke detector                                      1.00 EA              9.06            50.90    1.41         12.28             73.65
              40. R&R Carbon monoxide detector                            1.00 EA              9.08            70.56    2.56         16.46             98.66
              41. R&R Light fixture                                       1.00 EA              6.82            65.11    2.10         14.80             88.83
              42. R&R Door bell/chime - Premium                           1.00 EA              4.12           190.35    6.54         40.20            241.21
              grade
              43. R&R Intercom - Remote station                           1.00 EA              6.83           116.43    3.08         25.26            151.60
              44. R&R Exterior door - fiberglass /                        1.00 EA             17.54           872.85   50.65        188.22           1,129.26
              wood w/detail - Premium grade
              45. R&R Door lockset & deadbolt -                           1.00 EA             12.26            85.21    3.60         20.22            121.29
              exterior
              46. R&R Interior door - solid alder -                       1.00 EA             15.95           433.61   24.32         94.78            568.66
              paneled - pre-hung unit
              47. Door knob - interior                                    1.00 EA              0.00            41.84    1.34           8.62            51.80
              48. Paint door slab only - 2 coats (per                     1.00 EA              0.00            30.22    0.39           6.12            36.73
              side)
              49. Stain & finish door slab only (per                      3.00 EA              0.00            47.53    1.40         28.80            172.79
              side)
              50. R&R Crown molding - 2 1/4"                             21.00 LF              0.55             5.72    5.07         27.36            164.10
              hardwood
              over door trim
              51. Seal & paint crown molding,                            21.00 LF              0.00             1.92    0.21           8.10            48.63
              oversized - three coats
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                                   Consumer Adjuster LLC
                                   Consumer Adjusters LLC
                                   191 Chestnut St.
                                   Springfield, MA 01103

                                                                      CONTINUED - Hallway

          DESCRIPTION                                           QTY         REMOVE        REPLACE         TAX            O&P            TOTAL

          52. R&R Door opening (jamb &                      5.00 EA              5.14           130.70    31.79        142.20            853.19
          casing) - up to 32"wide - hardwood
          53. R&R Door opening (jamb &                      1.00 EA              5.15           168.86     7.84         36.38            218.23
          casing) - 36"to60"wide - hardwood
          54. R&R Plinth block - 3/4" x 3 1/2" x           12.00 EA              1.76             9.71     3.58         28.24            169.46
          6 1/2" - Hardwood
          55. Seal & paint door/window trim &               6.00 EA              0.00            29.91     1.51         36.20            217.17
          jamb - (per side)
          56. R&R Robe hook                                 2.00 EA              4.10            15.49     1.01           8.04            48.23
          57. R&R Shelving - 16" - in place                 3.17 LF              0.41             8.28     0.77           5.68            34.00
          58. R&R 110 volt copper wiring run,               2.00 EA              4.39            58.45     1.19         25.38            152.25
          box and switch
          59. R&R Baseboard - 8" hardwood - 2              51.00 LF              0.49             9.47    21.01        105.80            634.77
          piece
          60. R&R Quarter round - 3/4" -                   51.00 LF              0.14             1.82     3.67         20.72            124.35
          hardwood
          61. Seal & paint base shoe or quarter            51.00 LF              0.00             0.65     0.29           6.70            40.14
          round
          62. Seal & paint baseboard, oversized -          51.00 LF              0.00             1.87     0.64         19.20            115.21
          three coats
          63. Vapor barrier - 15# felt                     74.83 SF              0.00             0.24     0.23           3.64            21.83
          64. Sand, stain, and finish wood floor           74.83 SF              0.00             3.97     4.44         60.30            361.82
          65. Additional coats of finish (per coat)        74.83 SF              0.00             0.92     1.08         13.98             83.90
          66. Add for dustless floor sanding               74.83 SF              0.00             1.00     0.00         14.96             89.79
          67. R&R Oak flooring - clear grade -             74.83 SF              1.92             9.18    29.37        172.00           1,031.98
          no finish
          68. Final cleaning - construction -              74.83 SF              0.00             0.21     0.00           3.14            18.85
          Residential

          Totals: Hallway                                                                                305.59       2,733.84       16,402.66



                           5' 6"                     Bathroom                                                                    Height: 8' 6"
                            5'
                                            5' 2"




                                                                  235.37   SF Walls                          44.23 SF Ceiling
                                   8' 10"




            Kitchen     Bathroom                                  279.59   SF Walls & Ceiling                44.23 SF Floor
                                                                    4.91   SY Flooring                       27.69 LF Floor Perimeter
                                            3' 8"




edroom                             Coat Closet (1)
                      1' 3" 2' 6" 1' 3"
                      1' 5"   1' 5"
                                                                   27.69   LF Ceil. Perimeter
                      Hallway



          DESCRIPTION                                           QTY         REMOVE        REPLACE         TAX            O&P            TOTAL

          69. R&R Sprayed polyurethane foam -             235.37 SF              1.08             1.40     7.50        118.24            709.46
                Living
          2lb mix      Room
                   - per  inch thick
droom


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                        Consumer Adjuster LLC
                        Consumer Adjusters LLC
                        191 Chestnut St.
                        Springfield, MA 01103

                                                          CONTINUED - Bathroom

     DESCRIPTION                                    QTY      REMOVE      REPLACE     TAX         O&P     TOTAL

     dividing walls x 4"
     70. R&R 110 volt copper wiring run,        3.00 EA           4.39       58.37    1.77       38.02    228.07
     box and outlet
     71. Furring strip - 1" x 2"              279.59 SF           0.00        0.70    2.80       39.70    238.21
     72. Two coat plaster over 1/2" gypsum    279.59 SF           0.00        6.70   25.34      379.72   2,278.31
     core blueboard
     73. R&R Suspended ceiling system - 2'     44.23 SF           0.35        2.91    4.12       29.66    177.97
     x 2'
     74. Seal the walls w/PVA primer - one    235.37 SF           0.00        0.49    0.74       23.20    139.27
     coat
     75. Paint the walls - two coats          235.37 SF           0.00        0.79    2.80       37.74    226.48
     76. R&R Light fixture                      1.00 EA           6.82       65.11    2.10       14.80     88.83
     77. R&R Vinyl window -                     1.00 EA          18.48      222.15   10.03       50.14    300.80
     hopper/transom, 3-6 sf
     78. R&R Interior door - solid alder -      1.00 EA          15.95      433.61   24.32       94.78    568.66
     paneled - pre-hung unit
     79. R&R Door knob - interior               1.00 EA          10.23       41.84    1.34       10.66     64.07
     80. Seal & paint door slab only (per       1.00 EA           0.00       30.81    0.43        6.24     37.48
     side)
     81. R&R Door opening (jamb &               1.00 EA           5.14      130.70    6.36       28.44    170.64
     casing) - up to 32"wide - hardwood
     82. R&R Plinth block - 3/4" x 3 1/2" x     2.00 EA           1.76        9.71    0.60        4.70     28.24
     6 1/2" - Hardwood
     83. R&R Window sill - hardwood             2.00 LF           0.57        3.83    0.29        1.82     10.91
     84. Seal & paint door/window trim &        1.00 EA           0.00       29.80    0.25        6.02     36.07
     jamb - (per side)
     85. R&R Cabinet knob or pull               2.00 EA           0.96        6.88    0.41        3.22     19.31
     86. Prime & paint radiator unit            1.00 EA           0.00       53.59    0.43       10.80     64.82
     87. Clean radiator unit                    1.00 EA           0.00       24.47    0.00        4.90     29.37
     88. R&R Toilet                             1.00 EA          20.47      392.19   14.38       85.42    512.46
     89. R&R Toilet seat                        1.00 EA           5.58       50.18    1.97       11.56     69.29
     90. R&R Medicine cabinet                   2.00 EA          14.75      159.99   17.06       73.32    439.86
     91. R&R Sink faucet - Bathroom             1.00 EA          15.34      180.76    7.45       40.72    244.27
     92. R&R Vanity                             2.33 LF           6.14      130.32   14.85       66.58    399.39
     93. R&R Vanity with cultured marble        2.33 LF           7.67      138.95   13.83       71.10    426.55
     or solid surface top
     94. R&R Bathtub                            1.00 EA          61.39      746.23   24.89      166.50    999.01
     95. R&R Tile tub surround - up to 60       1.00 EA          98.04    1,014.10   23.78      227.18   1,363.10
     SF
     96. R&R Tub/shower faucet                  1.00 EA          20.47      268.01    8.75       59.46    356.69
     97. R&R Shower curtain rod                 1.00 EA           5.11       33.96    1.35        8.10     48.52
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                                              Consumer Adjuster LLC
                                              Consumer Adjusters LLC
                                              191 Chestnut St.
                                              Springfield, MA 01103

                                                                                                    CONTINUED - Bathroom

     DESCRIPTION                                                                              QTY        REMOVE        REPLACE         TAX            O&P            TOTAL

     98. R&R Towel bar                                                                2.00 EA                 5.11            25.93     1.70          12.76            76.54
     99. R&R Toilet paper holder                                                      1.00 EA                 4.10            27.57     0.77           6.50            38.94
     100. R&R Chair rail - oversized - 3                                            27.69 LF                  0.34             2.90     2.94          18.52           111.17
     1/4"
     101. Seal & paint chair rail - three                                           27.69 LF                  0.00             1.75     0.24           9.74            58.44
     coats
     102. R&R Paneling                                                              83.07 SF                  0.25             1.96     3.43          37.40           224.42
     103. R&R Baseboard - 8" hardwood -                                             27.69 LF                  0.49             9.47    11.41          57.44           344.64
     2 piece
     104. R&R Quarter round - 3/4" -                                                27.69 LF                  0.14             1.82     1.99          11.26            67.53
     hardwood
     105. Seal & paint base shoe or quarter                                         27.69 LF                  0.00             0.65     0.16           3.64            21.80
     round
     106. Seal & paint baseboard, oversized                                         27.69 LF                  0.00             1.87     0.35          10.44            62.57
     - three coats
     107. R&R Underlayment - 1/4"                                                   44.23 SF                  1.40             1.62     1.52          27.02           162.11
     lauan/mahogany plywood
     108. Floor preparation for resilient                                           44.23 SF                  0.00             0.59     0.28           5.28            31.66
     flooring
     109. R&R Vinyl tile                                                            44.23 SF                  0.93             3.54     5.97          40.74           244.41
     110. Final cleaning - construction -                                           44.23 SF                  0.00             0.21     0.00           1.86            11.15
     Residential
     111. R&R Vinyl - metal transition                                                3.00 LF                 0.62             2.82     0.23           2.12            12.67
     strip
     112. R&R 110 volt copper wiring run,                                             1.00 EA                 4.39            71.79     1.40          15.52            93.10
     box and GFI outlet
     113. R&R P-trap assembly - ABS                                                   1.00 EA                 6.14            48.26     0.38          10.96            65.74
     (plastic)
     114. Rough in plumbing - per fixture                                             3.00 EA                 0.00           482.13    14.27         292.14          1,752.80

     Totals: Bathroom                                                                                                                 266.98       2,276.08       13,655.80
                                                           Kitchen   Bathroom

                                       Bedroom                              Coat Closet (1)


                                                                     Hallway
                                      11' 3"
                                      11' 2"
                                                                      Master Bedroom                                                                          Height: 8' 6"
              5' 4"
                         5' 4"




                                                  2' 6"




                                                                                               439.36   SF Walls                         164.89 SF Ceiling
                                                              Living Room                      604.25   SF Walls & Ceiling               164.89 SF Floor
             5' 4"
                       5' 6"




                                 Master Bedroom
                                                  10' 2"




                                                                                                18.32   SY Flooring                       51.69 LF Floor Perimeter
                      1' 2' 6"




        Closet (1)
                                                                                                51.69   LF Ceil. Perimeter
                                    11' 10"
                                     12' 2"




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                                Consumer Adjuster LLC
                                Consumer Adjusters LLCKitchen                      Bathroom
                                191 Chestnut St.
                                Springfield, MA 01103
                                          Bedroom
                                                                                            Coat Closet (1)



                                                                                  Hallway
                                                                                  CONTINUED - Master Bedroom


                           1' 3"                                Subroom: Closet (1)                                                              Height: 8' 6"
                              1'
                                                                           Living Room
                                                                               196.24       SF Walls                         21.31 SF Ceiling
                                      5' 6"
                            5' 4"




                                               Master Bedroom

                                                                               217.55       SF Walls & Ceiling               21.31 SF Floor
                       "
                 10' 1
                 9' 5"




                  Closet (1)                                                     2.37       SY Flooring                      23.09 LF Floor Perimeter
                                    1' 2' 6"




                   3' 10"                                                       23.09       LF Ceil. Perimeter
                   4' 5"



     DESCRIPTION                                                            QTY               REMOVE          REPLACE     TAX            O&P            TOTAL

     115. R&R Sprayed polyurethane foam - 1,271.20 SF                                                  1.08        1.40   40.52        638.62           3,831.72
     2lb mix - per inch thick
     Exterior walls x 4"
     116. Tear off plaster on wood lath                               821.80 SF                        1.33        0.00    0.00        218.60           1,311.59
     117. R&R 110 volt copper wiring run,                               1.00 EA                        4.39       58.45    0.60         12.70             76.14
     box and switch
     118. R&R 110 volt copper wiring run,                               2.00 EA                        4.39       58.37    1.18         25.34            152.04
     box and outlet
     119. Furring strip - 1" x 2"                                     821.80 SF                        0.00        0.70    8.22        116.70            700.18
     120. Two coat plaster over 1/2"                                  821.80 SF                        0.00        6.70   74.48       1,116.12          6,696.66
     gypsum core blueboard
     121. R&R Suspended ceiling system -                              186.20 SF                        0.33        2.68   15.83        115.26            691.56
     2' x 4'
     122. Seal the walls w/PVA primer -                               635.60 SF                        0.00        0.49    1.99         62.68            376.11
     one coat
     123. Paint the walls - two coats                                 635.60 SF                        0.00        0.79    7.55        101.94            611.61
     124. R&R Smoke detector                                            1.00 EA                        9.06       50.90    1.41         12.28             73.65
     125. R&R Light fixture                                             2.00 EA                        6.82       65.11    4.21         29.60            177.67
     126. R&R Vinyl window - double                                     3.00 EA                      18.48       286.48   40.39        191.04           1,146.31
     hung, 13-19 sf
     127. R&R Window drapery - hardware                                 3.00 EA                        4.12       86.46    8.91         56.14            336.79
     128. Paint door slab only - 2 coats (per                           3.00 EA                        0.00       30.22    1.17         18.38            110.21
     side)
     129. R&R Door opening (jamb &                                      2.00 EA                        5.14      130.70   12.72         56.88            341.28
     casing) - up to 32"wide - hardwood
     130. R&R Plinth block - 3/4" x 3 1/2"                              4.00 EA                        1.76        9.71    1.19           9.40            56.47
     x 6 1/2" - Hardwood
     131. R&R Window trim set (casing &                                24.00 LF                        0.41        4.53    3.68         24.44            146.68
     stop) - hardwood
     132. R&R Window sill - hardwood                                    6.00 LF                        0.57        3.83    0.87           5.46            32.73
     133. Seal & paint door/window trim &                               3.00 EA                        0.00       29.91    0.75         18.10            108.58
     jamb - (per side)
     134. Prime & paint radiator unit                                   1.00 EA                        0.00       53.59    0.43         10.80             64.82
     135. Clean radiator unit                                           1.00 EA                        0.00       24.47    0.00           4.90            29.37
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                                        Consumer Adjuster LLC
                                        Consumer Adjusters LLC
                                        191 Chestnut St.
                                        Springfield, MA 01103

                                                                                        CONTINUED - Master Bedroom

             DESCRIPTION                                                          QTY          REMOVE          REPLACE           TAX            O&P            TOTAL

             136. R&R Baseboard - 8" hardwood -                              74.78 LF                   0.49       9.47          30.80         155.12           930.73
             2 piece
             137. R&R Quarter round - 3/4" -                                 74.78 LF                   0.14       1.82           5.38          30.40           182.35
             hardwood
             138. Seal & paint base shoe or quarter                          74.78 LF                   0.00       0.65           0.42           9.80            58.83
             round
             139. Seal & paint baseboard, oversized                          74.78 LF                   0.00       1.87           0.94          28.14           168.92
             - three coats
             140. Vapor barrier - 15# felt                                  186.20 SF                   0.00       0.24           0.58           9.06            54.33
             141. Sand, stain, and finish wood floor                        186.20 SF                   0.00       3.97          11.06         150.06           900.33
             142. Additional coats of finish (per                           186.20 SF                   0.00       0.92           2.68          34.80           208.78
             coat)
             143. Add for dustless floor sanding                            186.20 SF                   0.00       1.00           0.00          37.24           223.44
             144. R&R Oak flooring - clear grade -                          186.20 SF                   1.92       9.18          73.08         427.98          2,567.88
             no finish
             145. Final cleaning - construction -                           186.20 SF                   0.00       0.21           0.00           7.82            46.92
             Residential
             146. R&R Shelving - 24" - in place                              20.00 LF                   0.50       9.67           6.09          41.90           251.39

             Totals: Master Bedroom                                                                                             357.13       3,777.70       22,666.07




                                7' 2"                            Kitchen                                                                                Height: 8' 6"
                               6' 10"
                                                                                    248.75   SF Walls                               60.44 SF Ceiling
                                                                                    309.20   SF Walls & Ceiling                     60.44 SF Floor
                                                8' 10"




                     1
                              Kitchen              Bathroom
                     9'




                                                          Coat Closet (1)
                                                                                      6.72   SY Flooring                            28.69 LF Floor Perimeter
           Bedroom
                          2' 1" 2' 8" 2' 1"                                          31.36   LF Ceil. Perimeter
                                        2' 3"
                                                Hallway


             Missing Wall - Goes to Floor                                               2' 8" X 6' 8"                     Opens into HALLWAY
             DESCRIPTION                                                          QTY          REMOVE          REPLACE           TAX            O&P            TOTAL

             147. R&R Sprayed     polyurethane foam -
                              Living Room
                                                                            248.75 SF                   1.08       1.40           7.93         124.98           749.81
               2lb
                mix - per inch thick
    Master Bedroom

             Exterior walls x 4"
             148. Tear off plaster on wood lath                             309.20 SF                   1.33       0.00           0.00          82.24           493.48
             149. R&R 110 volt copper wiring run,                             3.00 EA                   4.39      58.37           1.77          38.02           228.07
             box and outlet
             150. Furring strip - 1" x 2"                                   309.20 SF                   0.00       0.70           3.09          43.90           263.43
             151. Two coat plaster over 1/2"                                309.20 SF                   0.00       6.70          28.02         419.92          2,519.58
             gypsum core blueboard
             152. Seal the walls and ceiling w/PVA                          309.20 SF                   0.00       0.49           0.97          30.50           182.98
             primer - one coat
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                        Consumer Adjuster LLC
                        Consumer Adjusters LLC
                        191 Chestnut St.
                        Springfield, MA 01103

                                                            CONTINUED - Kitchen

      DESCRIPTION                                     QTY     REMOVE      REPLACE         TAX         O&P     TOTAL

      153. Paint the walls and ceiling - two    309.20 SF          0.00           0.79     3.67       49.60    297.54
      coats
      154. R&R Light fixture                      1.00 EA          6.82       65.11        2.10       14.80     88.83
      155. R&R Vinyl window - double              1.00 EA         18.48      206.36        8.52       46.68    280.04
      hung, 4-8 sf
      156. R&R Window drapery - hardware          1.00 EA          4.12       86.46        2.97       18.72    112.27
      157. R&R Exterior door - solid alder -      1.00 EA         17.54     1,064.57      62.63      228.94   1,373.68
      paneled
      158. R&R Door lockset & deadbolt -          1.00 EA         12.29       85.21        3.60       20.22    121.32
      exterior
      159. R&R Storm door assembly                1.00 EA         14.44      213.77        8.97       47.44    284.62
      160. Stain & finish door slab only (per     1.00 EA          0.00       47.53        0.47        9.60     57.60
      side)
      161. R&R Door opening (jamb &               2.00 EA          5.14      130.70       12.72       56.88    341.28
      casing) - up to 32"wide - hardwood
      162. R&R Plinth block - 3/4" x 3 1/2"       4.00 EA          1.76           9.71     1.19        9.40     56.47
      x 6 1/2" - Hardwood
      163. R&R Window trim set (casing &         10.00 LF          0.41           4.53     1.53       10.18     61.11
      stop) - hardwood
      164. R&R Window sill - hardwood             1.00 LF          0.57           3.83     0.15        0.92       5.47
      165. Stain & finish door/window trim        3.00 EA          0.00       33.33        0.99       20.20    121.18
      & jamb (per side)
      166. R&R Cabinetry - upper (wall)          14.00 LF          6.14      129.52       88.55      397.58   2,385.37
      units
      167. R&R Range hood                         1.00 EA         10.30      181.80        6.86       39.80    238.76
      168. R&R Countertop - post formed          12.00 LF          3.39       45.41       25.95      122.32    733.87
      plastic laminate
      169. R&R Sink - single                      1.00 EA         15.34      226.49        8.88       50.14    300.85
      170. R&R Sink faucet - Kitchen              1.00 EA         15.34      199.05        8.64       44.60    267.63
      171. Add-on for tile backsplash            30.00 SF          0.00       12.15        0.00       72.90    437.40
      installation
      172. R&R Ceramic/porcelain tile            30.00 SF          1.48       10.88        8.08       75.78    454.66
      173. R&R Backsplash - plastic              12.00 SF          0.73           5.63     2.00       15.68     94.00
      laminate
      174. R&R Cabinetry - lower (base)          12.00 LF          6.14      162.46      100.61      424.76   2,548.57
      units
      175. R&R Cabinet knob or pull              22.00 EA          0.96           6.88     4.51       35.40    212.39
      176. Prime & paint radiator unit            1.00 EA          0.00       53.59        0.43       10.80     64.82
      177. Clean radiator unit                    1.00 EA          0.00       24.47        0.00        4.90     29.37
      178. R&R Baseboard - 8" hardwood -         28.69 LF          0.49           9.47    11.82       59.52    357.09
      2 piece
      179. R&R Quarter round - 3/4" -            28.69 LF          0.14           1.82     2.06       11.66     69.96
      hardwood
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                                             Consumer Adjuster LLC
                                             Consumer Adjusters LLC
                                             191 Chestnut St.
                                             Springfield, MA 01103

                                                                                        CONTINUED - Kitchen

             DESCRIPTION                                                          QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

             180. Seal & paint base shoe or quarter                       28.69 LF                 0.00            0.65           0.16           3.78            22.59
             round
             181. Seal & paint baseboard, oversized                       28.69 LF                 0.00            1.87           0.36          10.82            64.83
             - three coats
             182. R&R Underlayment - 1/4"                                 60.44 SF                 1.40            1.62           2.08          36.92           221.53
             lauan/mahogany plywood
             183. Floor preparation for resilient                         60.44 SF                 0.00            0.59           0.38           7.22            43.26
             flooring
             184. R&R Vinyl tile                                          60.44 SF                 0.93            3.54           8.16          55.68           334.01
             185. Final cleaning - construction -                         60.44 SF                 0.00            0.21           0.00           2.54            15.23
             Residential
             186. R&R Vinyl - metal transition                             3.00 LF                 0.62            2.82           0.23           2.12            12.67
             strip
             187. R&R Refrigerator - top freezer -                         1.00 EA                27.28          611.01          36.94         135.04           810.27
             14 to 18 cf
             188. R&R Range - freestanding - gas                           1.00 EA                16.47          785.13          40.63         168.44          1,010.67

             Totals: Kitchen                                                                                                    508.62       3,061.54       18,368.56
                                 Kitchen    Bathroom

            Bedroom                               Coat Closet (1)

                                                       10*""
                                           Hallway
                       6" 3' 10"           6'      4' 2"
                                                                    Living Room                                                                         Height: 8' 6"
                                                            2' 6"




                            4'                    3' 10"
                        2' 6"




                                                                                   447.33   SF Walls                               205.44 SF Ceiling
                                                                                   652.78   SF Walls & Ceiling                     205.44 SF Floor
                                                          14' 4"




                                    Living Room
                                                       12' 2"




      Master Bedroom
                        10' 2"




                                                                                    22.83   SY Flooring                             51.33 LF Floor Perimeter
(1)
                                                                                    57.33   LF Ceil. Perimeter
                                       14' 4"
                                       14' 10"


             Missing Wall - Goes to Floor                                            6' X 6' 8"                           Opens into HALLWAY
             DESCRIPTION                                                          QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

             189. R&R Sprayed polyurethane foam -                        894.67 SF                 1.08            1.40          28.52         449.44          2,696.74
             2lb mix - per inch thick
             exterior walls x 4"
             190. Tear off plaster on wood lath                          652.78 SF                 1.33            0.00           0.00         173.64          1,041.84
             191. R&R 110 volt copper wiring run,                          1.00 EA                 4.39           58.45           0.60          12.70            76.14
             box and switch
             192. R&R 110 volt copper wiring run,                          3.00 EA                 4.39           58.37           1.77          38.02           228.07
             box and outlet
             193. Furring strip - 1" x 2"                                652.78 SF                 0.00            0.70           6.53          92.70           556.18
             194. Two coat plaster over 1/2"                             652.78 SF                 0.00            6.70          59.16         886.56          5,319.35
             gypsum core blueboard
             195. R&R Suspended ceiling system -                         205.44 SF                 0.35            2.91          19.13         137.76           826.62
             2' x 2'

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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                             CONTINUED - Living Room

      DESCRIPTION                                      QTY       REMOVE      REPLACE     TAX         O&P     TOTAL

      196. Seal the walls w/PVA primer -         447.33 SF            0.00        0.49    1.40       44.12    264.71
      one coat
      197. Paint the walls - two coats           447.33 SF            0.00        0.79    5.31       71.74    430.44
      198. R&R Smoke detector                      1.00 EA            9.06       50.90    1.41       12.28     73.65
      199. R&R Light fixture                       1.00 EA            6.82       65.11    2.10       14.80     88.83
      200. R&R Vinyl window - double               3.00 EA           18.48      286.48   40.39      191.04   1,146.31
      hung, 13-19 sf
      201. R&R Window drapery - hardware           3.00 EA            4.12       86.46    8.91       56.14    336.79
      202. Paint door slab only - 2 coats (per     1.00 EA            0.00       30.22    0.39        6.12     36.73
      side)
      203. R&R Crown molding - 2 1/4"             17.00 LF            0.55        5.72    4.10       22.14    132.83
      hardwood
      over door trim
      204. Seal & paint crown molding,            17.00 LF            0.00        1.92    0.17        6.56     39.37
      oversized - three coats
      205. R&R Door opening (jamb &                1.00 EA            5.14      130.70    6.36       28.44    170.64
      casing) - up to 32"wide - hardwood
      206. R&R Door opening (jamb &                1.00 EA            5.15      168.86    7.84       36.38    218.23
      casing) - 36"to60"wide - hardwood
      207. R&R Plinth block - 3/4" x 3 1/2"        6.00 EA            1.76        9.71    1.79       14.14     84.75
      x 6 1/2" - Hardwood
      208. R&R Window trim set (casing &          30.00 LF            0.41        4.53    4.59       30.56    183.35
      stop) - hardwood
      209. R&R Window sill - hardwood              8.00 LF            0.57        3.83    1.16        7.28     43.64
      210. Seal & paint door/window trim &         3.00 EA            0.00       29.91    0.75       18.10    108.58
      jamb - (per side)
      211. Prime & paint radiator unit             1.00 EA            0.00       53.59    0.43       10.80     64.82
      212. Clean radiator unit                     1.00 EA            0.00       24.47    0.00        4.90     29.37
      213. R&R Baseboard - 8" hardwood -          51.33 LF            0.49        9.47   21.14      106.48    638.87
      2 piece
      214. R&R Quarter round - 3/4" -             51.33 LF            0.14        1.82    3.69       20.86    125.16
      hardwood
      215. Seal & paint base shoe or quarter      51.33 LF            0.00        0.65    0.29        6.74     40.39
      round
      216. Seal & paint baseboard, oversized      51.33 LF            0.00        1.87    0.64       19.32    115.95
      - three coats
      217. Vapor barrier - 15# felt              205.44 SF            0.00        0.24    0.64        9.98     59.93
      218. Sand, stain, and finish wood floor    205.44 SF            0.00        3.97   12.20      165.56    993.36
      219. Additional coats of finish (per       205.44 SF            0.00        0.92    2.95       38.40    230.35
      coat)
      220. Add for dustless floor sanding        205.44 SF            0.00        1.00    0.00       41.08    246.52
      221. R&R Oak flooring - clear grade -      205.44 SF            1.92        9.18   80.64      472.18   2,833.20
      no finish
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                                               Consumer Adjuster LLC
                                               Consumer Adjusters LLC
                                               191 Chestnut St.
                                               Springfield, MA 01103

                                                                                                     CONTINUED - Living Room

      DESCRIPTION                                                                         QTY              REMOVE          REPLACE             TAX                O&P            TOTAL

      222. Final cleaning - construction -                                        205.44 SF                         0.00        0.21            0.00              8.62             51.76
      Residential

      Totals: Living Room                                                                                                                     325.00           3,255.58       19,533.47

      Total: 4th Floor Left                                                                                                                 2,064.54          18,042.82      108,254.59

                                                                                                            4th Floor Right
      4th Floor Right

      DESCRIPTION                                                                         QTY              REMOVE          REPLACE             TAX                O&P            TOTAL

      223. R&R Batt insulation - 12" - R38 -                                      562.93 SF                         0.41        1.71           37.65            246.22           1,477.28
      paper faced
      Roof Insulation
      224. R&R Batt insulation - 4" - R13 -                                       562.93 SF                         0.20        0.81           15.83            116.88            701.27
      paper faced
      Roof Insulation

      Total: 4th Floor Right                                                                                                                   53.48            363.10           2,178.55


                                  Kitchen
                                                         Pantry (1)
                                       2' 6
       Bathroom
                                           "
                                               3' 1                         Hallway                                                                                       Height: 8' 2"
                                                    0Closet
                                                     "
                                 ' 6"




                                                            (1)
                            "2
                              "
                         2' 6




                                                                  Bedroom                     245.19      SF Walls                                77.08 SF Ceiling
                       2' 8




                                                         "
                                                      2' 6
                                               9"




           Closet1 (1)Hallway
                    "




                                                                                              322.27      SF Walls & Ceiling                      77.08 SF Floor
               1' 6




                                                    3"
               7"




                                                                                                8.56      SY Flooring                             28.65 LF Floor Perimeter
                                                 5'
                        5' 5"
               5' 9"




                         2' 6"                                                                 36.15      LF Ceil. Perimeter
                                               "
                                          2' 2




                       8"
                                                                      Kitchen
                                                      Living Room
                                                                                             Pantry (1)
      Missing Wall - Goes to Floor                                                                  2' 6" X 6' 8"                      Opens into KITCHEN
      Missing Wall - Goes to Floor                                                                  5' X 6' 8"                         Opens into LIVING_ROOM
         Bathroom
                                                                                       Closet (1)

                                                                            Subroom: Closet1 (1)                                                                          Height: 8' 2"
                                   3' 2"                                                                     Bedroom
                                                                                                74.16     SF Walls                                     4.84 SF Ceiling
                                 2' 10"
                  2' 8"




                                                                                                79.00     SF Walls & Ceiling                           4.84 SF Floor
                                                      6"




                                Closet1 (1)                    Hallway
                                                    ' 6"




                                  1' 6
                                          "                                                      0.54     SY Flooring                                  9.08 LF Floor Perimeter
                                                 9" 1




                                1' 8
                                    "                                                            9.08     LF Ceil. Perimeter


      DESCRIPTION                                                                         QTY              REMOVE          REPLACE             TAX                O&P            TOTAL

      225. R&R Switch                                                                 3.00 EA                       4.12       12.97            0.27             10.32             61.86
      226. R&R Outlet                                                                 1.00 EA                       4.12       12.90            0.09              3.42             20.53

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                                                                                        Living Room
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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                            CONTINUED - Hallway

      DESCRIPTION                                     QTY     REMOVE      REPLACE         TAX         O&P     TOTAL

      227. R&R Suspended ceiling system -        81.92 SF          0.35           2.91     7.63       54.94    329.63
      2' x 2'
      228. Seal the walls w/PVA primer -        319.35 SF          0.00           0.49     1.00       31.50    188.98
      one coat
      229. Paint the walls - two coats          319.35 SF          0.00           0.79     3.79       51.22    307.30
      230. R&R Smoke detector                     1.00 EA          9.06       50.90        1.41       12.28     73.65
      231. R&R Carbon monoxide detector           1.00 EA          9.08       70.56        2.56       16.46     98.66
      232. R&R Door bell/chime - Premium          1.00 EA          4.12      190.35        6.54       40.20    241.21
      grade
      233. R&R Intercom - Remote station          1.00 EA          6.83      116.43        3.08       25.26    151.60
      234. R&R Exterior door - fiberglass /       1.00 EA         17.54      872.85       50.65      188.22   1,129.26
      wood w/detail - Premium grade
      235. R&R Door lockset & deadbolt -          1.00 EA         12.26       85.21        3.60       20.22    121.29
      exterior
      236. R&R Interior door - solid alder -      1.00 EA         15.95      433.61       24.32       94.78    568.66
      paneled - pre-hung unit
      237. Door knob - interior                   1.00 EA          0.00       41.84        1.34        8.62     51.80
      238. Stain & finish door slab only (per     3.00 EA          0.00       47.53        1.40       28.80    172.79
      side)
      239. R&R Door opening (jamb &               1.00 EA          5.14      130.70        6.36       28.44    170.64
      casing) - up to 32"wide - hardwood
      240. R&R Plinth block - 3/4" x 3 1/2"       2.00 EA          1.76           9.71     0.60        4.70     28.24
      x 6 1/2" - Hardwood
      241. Clean trim - wood                    102.00 LF          0.00           0.24     0.00        4.90     29.38
      242. Clean baseboard                       37.73 LF          0.00           0.24     0.00        1.82     10.88
      243. Stain & finish door/window trim        6.00 EA          0.00       33.33        1.98       40.40    242.36
      & jamb (per side)
      244. Stain & finish base shoe or           37.73 LF          0.00           1.03     0.40        7.86     47.12
      quarter round
      245. Stain & finish baseboard -            37.73 LF          0.00           1.44     0.52       10.96     65.81
      oversized
      246. Clean floor                           81.92 SF          0.00           0.30     0.00        4.92     29.50
      247. Sand, stain, and finish wood floor    81.92 SF          0.00           3.97     4.86       66.02    396.10
      248. Additional coats of finish (per       81.92 SF          0.00           0.92     1.18       15.32     91.87
      coat)
      249. Add for dustless floor sanding        81.92 SF          0.00           1.00     0.00       16.38     98.30
      250. Final cleaning - construction -       81.92 SF          0.00           0.21     0.00        3.44     20.64
      Residential

      Totals: Hallway                                                                    123.58      791.40   4,748.06




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                                              Consumer Adjuster LLC
                                              Consumer Adjusters LLC
                                              191 Chestnut St.
                  Kitchen                     Springfield, MA 01103
                                    Pantry (1)

     Bathroom
                               Closet (1)
                                            Bedroom
                 Hallway
        Closet1 (1)
                                                                 Living Room                                                                         Height: 8' 2"
                         5"
                       3"




                                            14'
                             5'




                                                                                416.71   SF Walls                               196.28 SF Ceiling
                           "




                                                        0"
                      2' 2




                                                    3' 1
                                                            4'




                                                                                612.99   SF Walls & Ceiling                     196.28 SF Floor
                               Living Room
                    10' 10"




                                                                                 21.81   SY Flooring                             50.11 LF Floor Perimeter
                                                        "
                                                    5' 5
                     11'




                                                                                 55.11   LF Ceil. Perimeter
                                                   0"
                                                  "
                                              3' 1
                                             4' 1




                           3' 6" 2' 9"
                           3' 10"         3' 9"


            Missing Wall - Goes to Floor                                          5' X 6' 8"                           Opens into HALLWAY
            DESCRIPTION                                                        QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

            251. R&R Switch                                             1.00 EA                 4.12           12.97           0.09           3.44            20.62
            252. R&R Outlet                                             3.00 EA                 4.12           12.90           0.26          10.28            61.60
            253. R&R Suspended ceiling system -                       196.28 SF                 0.33            2.68          16.68         121.50           728.98
            2' x 4'
            254. Seal the walls w/PVA primer -                        416.71 SF                 0.00            0.49           1.30          41.10           246.59
            one coat
            255. Paint the walls - two coats                          416.71 SF                 0.00            0.79           4.95          66.84           400.99
            256. R&R Smoke detector                                     1.00 EA                 9.06           50.90           1.41          12.28            73.65
            257. R&R Vinyl window - double                              3.00 EA                18.48          286.48          40.39         191.04          1,146.31
            hung, 13-19 sf
            258. R&R Window drapery - hardware                          3.00 EA                 4.12           86.46           8.91          56.14           336.79
            259. R&R Window trim set (casing &                         37.00 LF                 0.41            4.53           5.67          37.70           226.15
            stop) - hardwood
            260. R&R Window sill - hardwood                             8.00 LF                 0.57            3.83           1.16           7.28            43.64
            261. Stain & finish door/window trim                        4.00 EA                 0.00           33.33           1.32          26.92           161.56
            & jamb (per side)
            262. Clean radiator unit                                    1.00 EA                 0.00           24.47           0.00           4.90            29.37
            263. Prime & paint radiator unit                            1.00 EA                 0.00           53.59           0.43          10.80            64.82
            264. Stain & finish base shoe or                           50.11 LF                 0.00            1.03           0.53          10.42            62.56
            quarter round
            265. Stain & finish baseboard w/cap                        50.11 LF                 0.00            1.52           0.56          15.36            92.09
            &/or shoe
            266. Sand, stain, and finish wood floor                   196.28 SF                 0.00            3.97          11.65         158.18           949.06
            267. Additional coats of finish (per                      196.28 SF                 0.00            0.92           2.82          36.68           220.08
            coat)
            268. Add for dustless floor sanding                       196.28 SF                 0.00            1.00           0.00          39.26           235.54
            269. Final cleaning - construction -                      196.28 SF                 0.00            0.21           0.00           8.24            49.46
            Residential

            Totals: Living Room                                                                                               98.13         858.36          5,149.86




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                                                     Consumer Adjuster LLC
                                                     Consumer Adjusters LLC
                                                     191 Chestnut St.
                                                     Springfield, MA 01103



             Kitchen                                      12'
                                                                                    Bedroom                                                                           Height: 8' 2"
                              Pantry (1)                      6"
                                            "
                                          4' 3




                                                          12'
                                                                                                  408.92      SF Walls                        139.93 SF Ceiling
                                  6"




hroom
                           Closet
                             1' 7 (1)
                                       1"




                                 "
                                                                          "
                                   1' 1




                                                                                                  548.85      SF Walls & Ceiling              139.93 SF Floor
                                                                    4' 1
                                                                        "
                                                                   4' 5




                                              Bedroom
                            "
                           2' 6
                      9"




 Closet1 (1)Hallway
                                                                                                   15.55      SY Flooring                      50.07 LF Floor Perimeter
                                                                      "




                                            14'
                                                                   5' 5




                                                                                                   50.07      LF Ceil. Perimeter
                                                                  "
                                                             1' 6

                                                                "
                                                           1' 8




        Kitchen            Living Room

                                                  Pantry (1)
                                                                                    Subroom: Closet (1)                                                                  Height: 8'
                                                  1' 7
                                                      "
                                                                                                      69.16   SF Walls                              4.34 SF Ceiling
                                   1"

                                                         6"
                                  2' 1



                                                      " 8"
                                               4" 2' 9"




                                         Closet (1)                                                   73.50   SF Walls & Ceiling                    4.34 SF Floor
                                                 ' 11




                                                                                                       0.48   SY Flooring                           8.65 LF Floor Perimeter
                                            8" 1




                                       1' 1
                                             1"                               Bedroom                  8.65   LF Ceil. Perimeter

 Hallway

                  DESCRIPTION                                                                   QTY            REMOVE        REPLACE        TAX                O&P            TOTAL

                  270. R&R Switch                                                           1.00 EA                 4.12            12.97    0.09              3.44             20.62
                  271. R&R Outlet                                                           2.00 EA                 4.12            12.90    0.17              6.84             41.05
                  272. R&R Suspended ceiling system -                                     144.27 SF                 0.33             2.68   12.26             89.30            535.81
                  2' x 4'
                  273. Seal the walls w/PVA primer -                                      478.08 SF                 0.00             0.49    1.49             47.16            282.91
                  one coat
                  274. Paint the walls - two coats                                        478.08 SF                 0.00             0.79    5.68             76.68            460.04
                                           Living Room

                  275. R&R Smoke detector                                                   1.00 EA                 9.06            50.90    1.41             12.28             73.65
                  276. R&R Vinyl window - double                                            2.00 EA                18.48           286.48   26.93            127.38            764.23
                  hung, 13-19 sf
                  277. R&R Window drapery - hardware                                        2.00 EA                 4.12            86.46    5.94             37.40            224.50
                  278. Stain & finish door slab only (per                                   3.00 EA                 0.00            47.53    1.40             28.80            172.79
                  side)
                  279. R&R Window trim set (casing &                                       24.00 LF                 0.41             4.53    3.68             24.44            146.68
                  stop) - hardwood
                  280. R&R Window sill - hardwood                                           5.00 LF                 0.57             3.83    0.73              4.56             27.29
                  281. Stain & finish door/window trim                                      3.00 EA                 0.00            33.33    0.99             20.20            121.18
                  & jamb (per side)
                  282. Prime & paint radiator unit                                          1.00 EA                 0.00            53.59    0.43             10.80             64.82
                  283. Clean radiator unit                                                  1.00 EA                 0.00            24.47    0.00              4.90             29.37
                  284. Stain & finish base shoe or                                         58.72 LF                 0.00             1.03    0.62             12.22             73.32
                  quarter round
                  285. Stain & finish baseboard -                                          58.72 LF                 0.00             1.44    0.81             17.08            102.45
                  oversized
                  286. Sand, stain, and finish wood floor                                 144.27 SF                 0.00             3.97    8.57            116.28            697.60
                  287. Additional coats of finish (per                                    144.27 SF                 0.00             0.92    2.07             26.96            161.76
                  coat)
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                                                               Consumer Adjuster LLC
                                                               Consumer Adjusters LLC
                                                               191 Chestnut St.
                                                               Springfield, MA 01103

                                                                                                                     CONTINUED - Bedroom

              DESCRIPTION                                                                                   QTY            REMOVE        REPLACE                TAX               O&P            TOTAL

              288. Add for dustless floor sanding                                                  144.27 SF                      0.00           1.00           0.00             28.86            173.13
              289. Final cleaning - construction -                                                 144.27 SF                      0.00           0.21           0.00              6.06             36.36
              Residential

              Totals: Bedroom                                                                                                                                  73.27            701.64           4,209.56




                                                                                             Kitchen                                                                                     Height: 8' 2"
                                       9"
                                      "
                                 4' 2




                                                         13'
                          3' 1 "




                                                                1"
                              2' 6
                               0"




                                                       12'
                                                               7"                                             292.58      SF Walls                                90.18 SF Ceiling
                            "
                       4' 5




                                                                                                              382.76      SF Walls & Ceiling                      90.18 SF Floor
                     ' 4"
                    "




                                             Kitchen
                1' 2
                   1' 2




                               5' 9
                                                                                    2'




                                                                           Pantry (1)
                                     "                                                                         10.02      SY Flooring                             35.00 LF Floor Perimeter
                                                                                   "
                                                                              1' 9
                                                                             ' 7"




                              4' 9                2' 6
                                   "                     "
                                                                         " 1




              Bathroom                      4"                  3' 1
                                                                      0"Closet (1)                             39.50      LF Ceil. Perimeter
                                                                           2' 9




                                                                                         Bedroom
                    Closet1 (1) Hallway
              Missing Wall - Goes to Floor                                                                        2' 6" X 6' 8"                         Opens into HALLWAY


                                                                                             Subroom: Pantry (1)                                                                            Height: 8'
                                                      1' 1,
                                                     II,
                                                          1"4.,
                                                         II
                                                                       Living Room                                77.50   SF Walls                                     6.48 SF Ceiling
                                                           "
                                                 4' 1 2' 6




    Kitchen
                                                                                                                  83.98   SF Walls & Ceiling                           6.48 SF Floor
                                                     "




                                         Pantry (1)
                                  "




                                                                "
                                1' 9




                                                               4' 3




                                         1' 7                                                                      0.72   SY Flooring                                  9.35 LF Floor Perimeter
                                                 "
                                                                                                                  11.35   LF Ceil. Perimeter
                               Closet (1)



              Missing Wall - Goes to  Floor
                                   Bedroom                                                                        2' X 6' 8"                            Opens into KITCHEN
Hallway       DESCRIPTION                                                                                   QTY            REMOVE        REPLACE                TAX               O&P            TOTAL

              290. R&R Sprayed polyurethane foam -                                                 370.09 SF                      1.08           1.40          11.80            185.92           1,115.55
              2lb mix - per inch thick
              exterior walls x 4"
              291. Tear off plaster on wood lath                                                   466.75 SF                      1.33           0.00           0.00            124.16            744.94
              292. R&R 110 volt copper wiring run,                                                      3.00 EA                   4.39          58.37           1.77             38.02            228.07
              box and outlet
              293. Furring strip - 1" x 2"                                                         466.75 SF                      0.00           0.70           4.67             66.28            397.68
                                Living Room
              294. Two coat plaster over 1/2"                                                      466.75 SF                      0.00           6.70          42.30            633.90           3,803.43
              gypsum core blueboard
              295. Seal part of the walls w/PVA                                                        92.52 SF                   0.00           0.49           0.29              9.12             54.74
              primer - one coat
              296. Paint part of the walls - two coats                                                 92.52 SF                   0.00           0.79           1.10             14.84             89.03
              297. R&R Light fixture                                                                    1.00 EA                   6.82          65.11           2.10             14.80             88.83
              298. R&R Vinyl window - double                                                            1.00 EA                18.48           286.48          13.46             63.70            382.12
              hung, 13-19 sf

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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                            CONTINUED - Kitchen

      DESCRIPTION                                     QTY     REMOVE      REPLACE        TAX         O&P     TOTAL

      299. R&R Window drapery - hardware          3.00 EA          4.12       86.46       8.91       56.14    336.79
      300. R&R Exterior door - solid alder -      1.00 EA         17.54     1,064.57     62.63      228.94   1,373.68
      paneled
      301. R&R Door lockset & deadbolt -          1.00 EA         12.29       85.21       3.60       20.22    121.32
      exterior
      302. R&R Storm door assembly                1.00 EA         14.44      213.77       8.97       47.44    284.62
      303. Stain & finish door slab only (per     1.00 EA          0.00       47.53       0.47        9.60     57.60
      side)
      304. R&R Crown molding - 3 1/4"             3.00 LF          0.55           6.13    0.78        4.18     25.00
      hardwood
      305. Stain & finish crown molding           3.00 LF          0.00           1.36    0.03        0.82       4.93
      306. R&R Door opening (jamb &               3.00 EA          5.14      130.70      19.07       85.32    511.91
      casing) - up to 32"wide - hardwood
      307. R&R Plinth block - 3/4" x 3 1/2"       6.00 EA          1.76           9.71    1.79       14.14     84.75
      x 6 1/2" - Hardwood
      308. R&R Window trim set (casing &         15.00 LF          0.41           4.53    2.30       15.30     91.70
      stop) - hardwood
      309. R&R Window sill - hardwood             3.00 LF          0.57           3.83    0.44        2.72     16.36
      310. Stain & finish door/window trim        4.00 EA          0.00       33.33       1.32       26.92    161.56
      & jamb (per side)
      311. R&R Custom cabinets - wall            12.67 LF          6.14      176.95      92.91      482.54   2,895.20
      units - 36" tall
      312. R&R Range hood                         1.00 EA         10.30      181.80       6.86       39.80    238.76
      313. R&R Countertop - post formed           3.33 LF          3.39       45.41       7.20       33.94    203.65
      plastic laminate
      314. R&R Sink faucet - Kitchen              1.00 EA         15.34      199.05       8.64       44.60    267.63
      315. Add-on for tile backsplash            30.00 SF          0.00       12.15       0.00       72.90    437.40
      installation
      316. R&R Ceramic/porcelain tile           214.38 SF          1.48       10.88      57.75      541.52   3,249.00
      317. R&R Cabinetry - lower (base)           3.33 LF          6.14      162.46      27.92      117.88    707.24
      units
      318. R&R Cabinet knob or pull              14.00 EA          0.96           6.88    2.87       22.52    135.15
      319. Prime & paint radiator unit            1.00 EA          0.00       53.59       0.43       10.80     64.82
      320. Clean radiator unit                    1.00 EA          0.00       24.47       0.00        4.90     29.37
      321. R&R Underlayment - 1/4"               96.66 SF          1.40           1.62    3.32       59.04    354.27
      lauan/mahogany plywood
      322. Floor preparation for resilient       96.66 SF          0.00           0.59    0.60       11.52     69.15
      flooring
      323. R&R Vinyl tile                        96.66 SF          0.93           3.54   13.05       89.04    534.16
      324. R&R Vinyl - metal transition           3.00 LF          0.62           2.82    0.23        2.12     12.67
      strip
      325. Final cleaning - construction -       96.66 SF          0.00           0.21    0.00        4.06     24.36
      Residential
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                                                Consumer Adjuster LLC
                                                Consumer Adjusters LLC
                                                191 Chestnut St.
                                                Springfield, MA 01103

                                                                                                         CONTINUED - Kitchen

      DESCRIPTION                                                                               QTY            REMOVE        REPLACE         TAX            O&P            TOTAL

      326. R&R Refrigerator - top freezer -                                                1.00 EA                 27.28           611.01    36.94        135.04            810.27
      14 to 18 cf
      327. R&R Range - freestanding - gas                                                  1.00 EA                 16.47           785.13    40.63        168.44           1,010.67

      Totals: Kitchen                                                                                                                       487.15       3,503.14       21,018.38




                  2' 8" 1'                                         Kitchen
                                                                             Bathroom                                                                               Height: 8' 2"
                           8"
                  2' 2"                          5' 2                            Pantry (1)
                          1' 6"                         "
                                                4' 9                                                 278.71   SF Walls                          43.81 SF Ceiling
                                        3' 4"
                                3' 6"




                                                    "
          6' 8"
                   6'




                                                                                                     322.52   SF Walls & Ceiling                43.81 SF Floor
                                                                " 2"




                    Bathroom
                                                                             Closet (1)
                                                            2' 6




                        3' 3"                                                                          4.87   SY Flooring                       34.13 LF Floor Perimeter
                                    3' 2"
                                                            "




                                                                                              Bedroom
                                                        2' 8




                     3' 4"
                                   2' 10"                                                             34.13   LF Ceil. Perimeter
                                Closet1 (1)                 Hallway




      DESCRIPTION                                                                               QTY            REMOVE        REPLACE         TAX            O&P            TOTAL

      328. R&R Outlet                                                                      1.00 EA                  4.12            12.90     0.09           3.42            20.53
      329. R&R Suspended ceiling system -         43.81 SF                                                          0.35             2.91     4.08         29.38            176.28
      2' x 2'                          Living Room
      330. Seal part of the walls w/PVA                                                   69.68 SF                  0.00             0.49     0.22           6.86            41.22
      primer - one coat
      331. Paint part of the walls - two coats                                            69.68 SF                  0.00             0.79     0.83         11.18             67.06
      332. R&R Vinyl window -                                                              1.00 EA                 18.48           222.15    10.03         50.14            300.80
      hopper/transom, 3-6 sf
      333. Stain & finish door slab only (per                                              1.00 EA                  0.00            47.53     0.47           9.60            57.60
      side)
      334. R&R Window sill - hardwood                                                      1.00 LF                  0.57             3.83     0.15           0.92              5.47
      335. Stain & finish door/window trim                                                 2.00 EA                  0.00            33.33     0.66         13.48             80.80
      & jamb (per side)
      336. Prime & paint radiator unit                                                     1.00 EA                  0.00            53.59     0.43         10.80             64.82
      337. Clean radiator unit                                                             1.00 EA                  0.00            24.47     0.00           4.90            29.37
      338. Toilet - Detach & reset                                                         1.00 EA                  0.00           190.27     0.34         38.12            228.73
      339. Clean toilet                                                                    1.00 EA                  0.00            15.18     0.00           3.04            18.22
      340. Clean sink faucet                                                               1.00 EA                  0.00             6.72     0.00           1.34              8.06
      341. Clean sink                                                                      1.00 EA                  0.00             9.04     0.00           1.80            10.84
      342. Clean vanity - inside and out                                                   2.33 LF                  0.00             9.20     0.01           4.28            25.73
      343. Clean tub / shower faucet                                                       1.00 EA                  0.00             9.78     0.00           1.96            11.74
      344. Clean shower                                                                    1.00 EA                  0.00            30.11     0.01           6.02            36.14

      Totals: Bathroom                                                                                                                       17.32         197.24          1,183.41


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                                     Consumer Adjuster LLC
                                     Consumer Adjusters LLC
                                     191 Chestnut St.
                                     Springfield, MA 01103

          Total: 4th Floor Right                                                                                              852.93       6,414.88       38,487.82

                                                                                             3rd Floor Left
          3rd Floor Left

          DESCRIPTION                                                          QTY          REMOVE          REPLACE            TAX            O&P            TOTAL

          345. Seal floor or ceiling joist system                        688.36 SF                   0.00        1.15          12.91         160.90           965.42
          (shellac)
          346. R&R Joist - floor or ceiling -                            327.43 LF                   0.87        3.12          33.97         268.10          1,608.51
          2x10 - w/blocking
          347. R&R I-joist - 9 1/2" deep - 1 3/4"                         94.00 LF                   0.93        3.31          10.40          81.78           490.74
          flange
          348. R&R Sheathing - 1 1/8" - tongue                           448.00 SF                   1.38        3.14          62.16         417.42          2,504.54
          and groove
          349. R&R Drilled bottom plate - 2" x                            76.80 LF                   4.10        2.33           3.70          99.50           597.02
          4" treated lumber

          Total: 3rd Floor Left                                                                                               123.14       1,027.70          6,166.23




                             7' 2"                            Kitchen                                                                                 Height: 8' 6"
                            6' 10"
                                                                                 248.75   SF Walls                                60.44 SF Ceiling
                                                                                 309.20   SF Walls & Ceiling                      60.44 SF Floor
                                             8' 10"




                  1
                           Kitchen              Bathroom
                  9'




                                                       Coat Closet (1)
                                                                                   6.72   SY Flooring                             28.69 LF Floor Perimeter
        Bedroom
                       2' 1" 2' 8" 2' 1"                                          31.36   LF Ceil. Perimeter
                                     2' 3"
                                             Hallway


          Missing Wall - Goes to Floor                                               2' 8" X 6' 8"                      Opens into HALLWAY
          DESCRIPTION                                                          QTY          REMOVE          REPLACE            TAX            O&P            TOTAL

          350. R&R Sprayed     polyurethane foam -
                           Living Room
                                                                         248.75 SF                   1.08        1.40           7.93         124.98           749.81
            2lb
             mix - per inch thick
 Master Bedroom

          Exterior walls x 4"
          351. Tear off plaster on wood lath                             309.20 SF                   1.33        0.00           0.00          82.24           493.48
          352. R&R 110 volt copper wiring run,                             3.00 EA                   4.39       58.37           1.77          38.02           228.07
          box and outlet
          353. Furring strip - 1" x 2"                                   309.20 SF                   0.00        0.70           3.09          43.90           263.43
          354. Two coat plaster over 1/2"                                309.20 SF                   0.00        6.70          28.02         419.92          2,519.58
          gypsum core blueboard
          355. Seal the walls and ceiling w/PVA                          309.20 SF                   0.00        0.49           0.97          30.50           182.98
          primer - one coat
          356. Paint the walls and ceiling - two                         309.20 SF                   0.00        0.79           3.67          49.60           297.54
          coats
          357. R&R Light fixture                                           1.00 EA                   6.82       65.11           2.10          14.80            88.83
          358. R&R Vinyl window - double                                   1.00 EA               18.48         206.36           8.52          46.68           280.04
          hung, 4-8 sf
          359. R&R Window drapery - hardware                               1.00 EA                   4.12       86.46           2.97          18.72           112.27
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                        Consumer Adjusters LLC
                        191 Chestnut St.
                        Springfield, MA 01103

                                                           CONTINUED - Kitchen

      DESCRIPTION                                    QTY     REMOVE      REPLACE         TAX         O&P     TOTAL

      360. R&R Exterior door - solid alder -     1.00 EA         17.54     1,064.57      62.63      228.94   1,373.68
      paneled
      361. R&R Door lockset & deadbolt -         1.00 EA         12.29       85.21        3.60       20.22    121.32
      exterior
      362. R&R Storm door assembly               1.00 EA         14.44      213.77        8.97       47.44    284.62
      363. Stain & finish door slab only (per    1.00 EA          0.00       47.53        0.47        9.60     57.60
      side)
      364. R&R Door opening (jamb &              2.00 EA          5.14      130.70       12.72       56.88    341.28
      casing) - up to 32"wide - hardwood
      365. R&R Plinth block - 3/4" x 3 1/2"      4.00 EA          1.76           9.71     1.19        9.40     56.47
      x 6 1/2" - Hardwood
      366. R&R Window trim set (casing &        10.00 LF          0.41           4.53     1.53       10.18     61.11
      stop) - hardwood
      367. R&R Window sill - hardwood            1.00 LF          0.57           3.83     0.15        0.92       5.47
      368. Stain & finish door/window trim       3.00 EA          0.00       33.33        0.99       20.20    121.18
      & jamb (per side)
      369. R&R Cabinetry - upper (wall)         14.00 LF          6.14      129.52       88.55      397.58   2,385.37
      units
      370. R&R Range hood                        1.00 EA         10.30      181.80        6.86       39.80    238.76
      371. R&R Countertop - post formed         12.00 LF          3.39       45.41       25.95      122.32    733.87
      plastic laminate
      372. R&R Sink - single                     1.00 EA         15.34      226.49        8.88       50.14    300.85
      373. R&R Sink faucet - Kitchen             1.00 EA         15.34      199.05        8.64       44.60    267.63
      374. Add-on for tile backsplash           30.00 SF          0.00       12.15        0.00       72.90    437.40
      installation
      375. R&R Ceramic/porcelain tile           30.00 SF          1.48       10.88        8.08       75.78    454.66
      376. R&R Backsplash - plastic             12.00 SF          0.73           5.63     2.00       15.68     94.00
      laminate
      377. R&R Cabinetry - lower (base)         12.00 LF          6.14      162.46      100.61      424.76   2,548.57
      units
      378. R&R Cabinet knob or pull             22.00 EA          0.96           6.88     4.51       35.40    212.39
      379. Prime & paint radiator unit           1.00 EA          0.00       53.59        0.43       10.80     64.82
      380. Clean radiator unit                   1.00 EA          0.00       24.47        0.00        4.90     29.37
      381. R&R Baseboard - 8" hardwood -        28.69 LF          0.49           9.47    11.82       59.52    357.09
      2 piece
      382. R&R Quarter round - 3/4" -           28.69 LF          0.14           1.82     2.06       11.66     69.96
      hardwood
      383. Seal & paint base shoe or quarter    28.69 LF          0.00           0.65     0.16        3.78     22.59
      round
      384. Seal & paint baseboard, oversized    28.69 LF          0.00           1.87     0.36       10.82     64.83
      - three coats
      385. R&R Underlayment - 1/4"              60.44 SF          1.40           1.62     2.08       36.92    221.53
      lauan/mahogany plywood

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                                          Consumer Adjuster LLC
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                                          191 Chestnut St.
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                                                                                                           CONTINUED - Kitchen

      DESCRIPTION                                                                                    QTY        REMOVE        REPLACE         TAX            O&P            TOTAL

      386. Floor preparation for resilient                                                60.44 SF                   0.00             0.59     0.38           7.22            43.26
      flooring
      387. R&R Vinyl tile                                                                 60.44 SF                   0.93             3.54     8.16          55.68           334.01
      388. Final cleaning - construction -                                                60.44 SF                   0.00             0.21     0.00           2.54            15.23
      Residential
      389. R&R Vinyl - metal transition                                                     3.00 LF                  0.62             2.82     0.23           2.12            12.67
      strip
      390. R&R Refrigerator - top freezer -                                                 1.00 EA                 27.28           611.01    36.94         135.04           810.27
      14 to 18 cf
      391. R&R Range - freestanding - gas                                                   1.00 EA                 16.47           785.13    40.63         168.44          1,010.67

      Totals: Kitchen                                                                                                                        508.62       3,061.54       18,368.56



                                        7' 8"                             Bedroom                                                                                    Height: 8' 6"
                                        7' 3"

                                                                                                      378.13   SF Walls                         117.22 SF Ceiling
                                                      8' 10"




                                                               Kitchen    Bathroom
                                                9'
                           "




                                                                                                      495.35   SF Walls & Ceiling               117.22 SF Floor
                    13' 8

                         "
                   13' 2




                                Bedroom                                            Coat Closet (1)
                                                                                                       13.02   SY Flooring                       44.49 LF Floor Perimeter
                                                6"
                                                      2' 6"




                               11' 9"
                                                                         Hallway                       44.49   LF Ceil. Perimeter
                               11' 2"            6"



      DESCRIPTION                                                                                    QTY        REMOVE        REPLACE         TAX            O&P            TOTAL
                                                                  Living Room
                     Master Bedroom
      392. R&R Sprayed polyurethane foam -                                              756.26 SF                    1.08             1.40    24.11         379.94          2,279.57
      2lb mix - per inch thick
      Closet (1)
      Exterior walls x 4"
      393. Tear off plaster on wood lath                                                495.35 SF                    1.33             0.00     0.00         131.76           790.58
      394. R&R 110 volt copper wiring run,                                                  1.00 EA                  4.39            58.45     0.60          12.70            76.14
      box and switch
      395. R&R 110 volt copper wiring run,                                                  2.00 EA                  4.39            58.37     1.18          25.34           152.04
      box and outlet
      396. Furring strip - 1" x 2"                                                      495.35 SF                    0.00             0.70     4.95          70.36           422.06
      397. Two coat plaster over 1/2"                                                   495.35 SF                    0.00             6.70    44.89         672.76          4,036.50
      gypsum core blueboard
      398. R&R Suspended ceiling system -                                               117.22 SF                    0.35             2.91    10.92          78.60           471.66
      2' x 2'
      399. Seal the walls w/PVA primer -                                                378.13 SF                    0.00             0.49     1.18          37.30           223.76
      one coat
      400. Paint the walls - two coats                                                  378.13 SF                    0.00             0.79     4.49          60.64           363.85
      401. R&R Smoke detector                                                               1.00 EA                  9.06            50.90     1.41          12.28            73.65
      402. R&R Fluorescent - acoustic grid                                                  1.00 EA                 11.40           137.50     3.23          30.42           182.55
      fixture, 2' x 2'


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                                   Consumer Adjuster LLC
                                   Consumer Adjusters LLC
                                   191 Chestnut St.
                                   Springfield, MA 01103

                                                                      CONTINUED - Bedroom

          DESCRIPTION                                           QTY         REMOVE        REPLACE         TAX            O&P            TOTAL

          403. R&R Vinyl window - double                    2.00 EA             18.48           286.48    26.93        127.38            764.23
          hung, 13-19 sf
          404. R&R Window drapery - hardware                1.00 EA              4.12            86.46     2.97         18.72            112.27
          405. Paint door slab only - 2 coats (per          1.00 EA              0.00            30.22     0.39           6.12            36.73
          side)
          406. R&R Door opening (jamb &                     1.00 EA              5.14           130.70     6.36         28.44            170.64
          casing) - up to 32"wide - hardwood
          407. R&R Plinth block - 3/4" x 3 1/2"             2.00 EA              1.76             9.71     0.60           4.70            28.24
          x 6 1/2" - Hardwood
          408. R&R Window trim set (casing &               24.00 LF              0.41             4.53     3.68         24.44            146.68
          stop) - hardwood
          409. R&R Window sill - hardwood                   6.00 LF              0.57             3.83     0.87           5.46            32.73
          410. Seal & paint door/window trim &              2.00 EA              0.00            29.91     0.50         12.06             72.38
          jamb - (per side)
          411. R&R Baseboard heat - steam or               13.00 LF              2.06            22.12     9.75         64.84            388.93
          hot water
          412. R&R Baseboard - 8" hardwood -               44.49 LF              0.49             9.47    18.32         92.28            553.72
          2 piece
          413. Seal & paint baseboard, oversized           44.49 LF              0.00             1.87     0.56         16.76            100.52
          - three coats
          414. Vapor barrier - 15# felt                   117.22 SF              0.00             0.24     0.37           5.70            34.20
          415. Sand, stain, and finish wood floor         117.22 SF              0.00             3.97     6.96         94.48            566.80
          416. Additional coats of finish (per            117.22 SF              0.00             0.92     1.69         21.90            131.43
          coat)
          417. Add for dustless floor sanding             117.22 SF              0.00             1.00     0.00         23.44            140.66
          418. R&R Oak flooring - clear grade -           117.22 SF              1.92             9.18    46.01        269.44           1,616.59
          no finish
          419. Final cleaning - construction -            117.22 SF              0.00             0.21     0.00           4.92            29.54
          Residential

          Totals: Bedroom                                                                                222.92       2,333.18       13,998.65



                           5' 6"                     Bathroom                                                                    Height: 8' 6"
                            5'
                                            5' 2"




                                                                  235.37   SF Walls                          44.23 SF Ceiling
                                   8' 10"




            Kitchen     Bathroom                                  279.59   SF Walls & Ceiling                44.23 SF Floor
                                                                    4.91   SY Flooring                       27.69 LF Floor Perimeter
                                            3' 8"




                                   Coat Closet (1)
edroom
                      1' 3" 2' 6" 1' 3"
                      1' 5"   1' 5"
                                                                   27.69   LF Ceil. Perimeter
                      Hallway



          DESCRIPTION                                           QTY         REMOVE        REPLACE         TAX            O&P            TOTAL

          420. R&R Sprayed polyurethane foam -            470.73 SF              1.08             1.40    15.00        236.48           1,418.89
                Living
          2lb mix      Room
                   - per  inch thick
droom
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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                           CONTINUED - Bathroom

      DESCRIPTION                                    QTY      REMOVE      REPLACE     TAX         O&P     TOTAL

      dividing walls x 4"
      421. Tear off plaster on wood lath       279.59 SF           1.33        0.00    0.00       74.38    446.23
      422. R&R 110 volt copper wiring run,       3.00 EA           4.39       58.37    1.77       38.02    228.07
      box and outlet
      423. Furring strip - 1" x 2"             279.59 SF           0.00        0.70    2.80       39.70    238.21
      424. Two coat plaster over 1/2"          279.59 SF           0.00        6.70   25.34      379.72   2,278.31
      gypsum core blueboard
      425. R&R Suspended ceiling system -       44.23 SF           0.35        2.91    4.12       29.66    177.97
      2' x 2'
      426. Seal the walls w/PVA primer -       235.37 SF           0.00        0.49    0.74       23.20    139.27
      one coat
      427. Paint the walls - two coats         235.37 SF           0.00        0.79    2.80       37.74    226.48
      428. R&R Light fixture                     1.00 EA           6.82       65.11    2.10       14.80     88.83
      429. R&R Vinyl window -                    1.00 EA          18.48      222.15   10.03       50.14    300.80
      hopper/transom, 3-6 sf
      430. R&R Interior door - solid alder -     1.00 EA          15.95      433.61   24.32       94.78    568.66
      paneled - pre-hung unit
      431. R&R Door knob - interior              1.00 EA          10.23       41.84    1.34       10.66     64.07
      432. Seal & paint door slab only (per      1.00 EA           0.00       30.81    0.43        6.24     37.48
      side)
      433. R&R Door opening (jamb &              1.00 EA           5.14      130.70    6.36       28.44    170.64
      casing) - up to 32"wide - hardwood
      434. R&R Plinth block - 3/4" x 3 1/2"      2.00 EA           1.76        9.71    0.60        4.70     28.24
      x 6 1/2" - Hardwood
      435. R&R Window sill - hardwood            2.00 LF           0.57        3.83    0.29        1.82     10.91
      436. Seal & paint door/window trim &       1.00 EA           0.00       29.80    0.25        6.02     36.07
      jamb - (per side)
      437. R&R Cabinet knob or pull              2.00 EA           0.96        6.88    0.41        3.22     19.31
      438. Prime & paint radiator unit           1.00 EA           0.00       53.59    0.43       10.80     64.82
      439. Clean radiator unit                   1.00 EA           0.00       24.47    0.00        4.90     29.37
      440. R&R Toilet                            1.00 EA          20.47      392.19   14.38       85.42    512.46
      441. R&R Toilet seat                       1.00 EA           5.58       50.18    1.97       11.56     69.29
      442. R&R Medicine cabinet                  2.00 EA          14.75      159.99   17.06       73.32    439.86
      443. R&R Sink faucet - Bathroom            1.00 EA          15.34      180.76    7.45       40.72    244.27
      444. R&R Vanity                            2.33 LF           6.14      130.32   14.85       66.58    399.39
      445. R&R Vanity with cultured marble       2.33 LF           7.67      138.95   13.83       71.10    426.55
      or solid surface top
      446. R&R Bathtub                           1.00 EA          61.39      746.23   24.89      166.50    999.01
      447. R&R Tile tub surround - up to 60      1.00 EA          98.04    1,014.10   23.78      227.18   1,363.10
      SF
      448. R&R Tub/shower faucet                 1.00 EA          20.47      268.01    8.75       59.46    356.69
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                                              Consumer Adjusters LLC
                                              191 Chestnut St.
                                              Springfield, MA 01103

                                                                                              CONTINUED - Bathroom

               DESCRIPTION                                                            QTY          REMOVE          REPLACE              TAX            O&P            TOTAL

               449. R&R Shower curtain rod                                        1.00 EA                   5.11        33.96            1.35           8.10            48.52
               450. R&R Towel bar                                                 2.00 EA                   5.11        25.93            1.70         12.76             76.54
               451. R&R Toilet paper holder                                       1.00 EA                   4.10        27.57            0.77           6.50            38.94
               452. R&R Chair rail - oversized - 3                            27.69 LF                      0.34         2.90            2.94         18.52            111.17
               1/4"
               453. Seal & paint chair rail - three                           27.69 LF                      0.00         1.75            0.24           9.74            58.44
               coats
               454. R&R Paneling                                              83.07 SF                      0.25         1.96            3.43         37.40            224.42
               455. R&R Baseboard - 8" hardwood -                             27.69 LF                      0.49         9.47           11.41         57.44            344.64
               2 piece
               456. R&R Quarter round - 3/4" -                                27.69 LF                      0.14         1.82            1.99         11.26             67.53
               hardwood
               457. Seal & paint base shoe or quarter                         27.69 LF                      0.00         0.65            0.16           3.64            21.80
               round
               458. Seal & paint baseboard, oversized                         27.69 LF                      0.00         1.87            0.35         10.44             62.57
               - three coats
               459. R&R Underlayment - 1/4"                                   44.23 SF                      1.40         1.62            1.52         27.02            162.11
               lauan/mahogany plywood
               460. Floor preparation for resilient                           44.23 SF                      0.00         0.59            0.28           5.28            31.66
               flooring
               461. R&R Vinyl tile                                            44.23 SF                      0.93         3.54            5.97         40.74            244.41
               462. Final cleaning - construction -                           44.23 SF                      0.00         0.21            0.00           1.86            11.15
               Residential
               463. R&R Vinyl - metal transition                                  3.00 LF                   0.62         2.82            0.23           2.12            12.67
               strip
               464. R&R 110 volt copper wiring run,                               1.00 EA                   4.39        71.79            1.40         15.52             93.10
               box and GFI outlet
               465. R&R P-trap assembly - ABS                                     1.00 EA                   6.14        48.26            0.38         10.96             65.74
               (plastic)
               466. Rough in plumbing - per fixture                               3.00 EA                   0.00       482.13           14.27        292.14           1,752.80

               Totals: Bathroom                                                                                                        274.48       2,468.70       14,811.46




                            Kitchen    Bathroom                         Hallway                                                                                Height: 8' 6"
           Bedroom                           Coat Closet (1)
                              2' 8"      2' 6"    2' 6" 1' 8"
                                                                                        333.22    SF Walls                                 63.22 SF Ceiling
                      6"




                                      1' 5" 1' 5"      1' 6"
                                      Hallway
                                      6'                                                396.44    SF Walls & Ceiling                       63.22 SF Floor
                                                        5' 8"
                                                                6' 4"




                           3' 10"            4' 2"
                             4'             3' 10"   2' 6"
                                                                                          7.02    SY Flooring                              37.33 LF Floor Perimeter
                                                           9"
                                                                                         46.00    LF Ceil. Perimeter
                                Living Room
     Master Bedroom

1)             Missing Wall - Goes to Floor                                                 6' X 6' 8"                          Opens into LIVING_ROOM
              Missing Wall - Goes to Floor                                                  2' 8" X 6' 8"                       Opens into KITCHEN
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                                                     Consumer Adjuster LLC
                                                     Consumer Adjusters LLC
                                                     191 Chestnut St.
                                                     Springfield, MA 01103

                                                                                    CONTINUED - Hallway


                                                                  Subroom: Coat Closet (1)                                                    Height: 8' 6"
hen                 Bathroom                 3' 6"
                                             3' 2"                              116.16   SF Walls                         11.61 SF Ceiling
                               3' 10"



                                                     3' 8"
                                                             4'




                                    Coat Closet (1)
                                                                                127.76   SF Walls & Ceiling               11.61 SF Floor
                                        4" 2' 6" 4"
                                                                                  1.29   SY Flooring                      13.67 LF Floor Perimeter
                                        6"             6"
              Hallway
                                                                                 13.67   LF Ceil. Perimeter


              DESCRIPTION                                                     QTY         REMOVE        REPLACE        TAX            O&P            TOTAL

              467. R&R Sprayed polyurethane foam -                      449.38 SF              1.08             1.40   14.32        225.74           1,354.52
              2lb mix - per inch thick
              dividing walls x 4"
      Living Room
              468. Tear off plaster on wood lath                        524.21 SF              1.33             0.00    0.00        139.44            836.64
              469. Furring strip - 1" x 2"                              524.21 SF              0.00             0.70    5.24         74.44            446.63
              470. Two coat plaster over 1/2"                           524.21 SF              0.00             6.70   47.51        711.94           4,271.66
              gypsum core blueboard
              471. R&R Suspended ceiling system -                        74.83 SF              0.33             2.68    6.36         46.32            277.91
              2' x 4'
              472. Seal the walls w/PVA primer -                        449.38 SF              0.00             0.49    1.40         44.32            265.92
              one coat
              473. Paint the walls - two coats                          449.38 SF              0.00             0.79    5.34         72.06            432.41
              474. R&R Smoke detector                                     1.00 EA              9.06            50.90    1.41         12.28             73.65
              475. R&R Carbon monoxide detector                           1.00 EA              9.08            70.56    2.56         16.46             98.66
              476. R&R Light fixture                                      1.00 EA              6.82            65.11    2.10         14.80             88.83
              477. R&R Door bell/chime - Premium                          1.00 EA              4.12           190.35    6.54         40.20            241.21
              grade
              478. R&R Intercom - Remote station                          1.00 EA              6.83           116.43    3.08         25.26            151.60
              479. R&R Exterior door - fiberglass /                       1.00 EA             17.54           872.85   50.65        188.22           1,129.26
              wood w/detail - Premium grade
              480. R&R Door lockset & deadbolt -                          1.00 EA             12.26            85.21    3.60         20.22            121.29
              exterior
              481. R&R Interior door - solid alder -                      1.00 EA             15.95           433.61   24.32         94.78            568.66
              paneled - pre-hung unit
              482. Door knob - interior                                   1.00 EA              0.00            41.84    1.34           8.62            51.80
              483. Paint door slab only - 2 coats (per                    1.00 EA              0.00            30.22    0.39           6.12            36.73
              side)
              484. Stain & finish door slab only (per                     3.00 EA              0.00            47.53    1.40         28.80            172.79
              side)
              485. R&R Crown molding - 2 1/4"                            21.00 LF              0.55             5.72    5.07         27.36            164.10
              hardwood
              over door trim
              486. Seal & paint crown molding,                           21.00 LF              0.00             1.92    0.21           8.10            48.63
              oversized - three coats
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                                               Consumer Adjuster LLC
                                               Consumer Adjusters LLC
                                               191 Chestnut St.
                                               Springfield, MA 01103

                                                                                                     CONTINUED - Hallway

      DESCRIPTION                                                                              QTY        REMOVE        REPLACE         TAX            O&P            TOTAL

      487. R&R Door opening (jamb &                                                    5.00 EA                 5.14           130.70    31.79         142.20           853.19
      casing) - up to 32"wide - hardwood
      488. R&R Door opening (jamb &                                                    1.00 EA                 5.15           168.86     7.84          36.38           218.23
      casing) - 36"to60"wide - hardwood
      489. R&R Plinth block - 3/4" x 3 1/2"                                          12.00 EA                  1.76             9.71     3.58          28.24           169.46
      x 6 1/2" - Hardwood
      490. Seal & paint door/window trim &                                             6.00 EA                 0.00            29.91     1.51          36.20           217.17
      jamb - (per side)
      491. R&R Robe hook                                                               2.00 EA                 4.10            15.49     1.01           8.04            48.23
      492. R&R Shelving - 16" - in place                                               3.17 LF                 0.41             8.28     0.77           5.68            34.00
      493. R&R 110 volt copper wiring run,                                             2.00 EA                 4.39            58.45     1.19          25.38           152.25
      box and switch
      494. R&R Baseboard - 8" hardwood -                                             51.00 LF                  0.49             9.47    21.01         105.80           634.77
      2 piece
      495. R&R Quarter round - 3/4" -                                                51.00 LF                  0.14             1.82     3.67          20.72           124.35
      hardwood
      496. Seal & paint base shoe or quarter                                         51.00 LF                  0.00             0.65     0.29           6.70            40.14
      round
      497. Seal & paint baseboard, oversized                                         51.00 LF                  0.00             1.87     0.64          19.20           115.21
      - three coats
      498. Vapor barrier - 15# felt                                                  74.83 SF                  0.00             0.24     0.23           3.64            21.83
      499. Sand, stain, and finish wood floor                                        74.83 SF                  0.00             3.97     4.44          60.30           361.82
      500. Additional coats of finish (per                                           74.83 SF                  0.00             0.92     1.08          13.98            83.90
      coat)
      501. Add for dustless floor sanding                                            74.83 SF                  0.00             1.00     0.00          14.96            89.79
      502. R&R Oak flooring - clear grade -                                          74.83 SF                  1.92             9.18    29.37         172.00          1,031.98
      no finish
      503. Final cleaning - construction -                                           74.83 SF                  0.00             0.21     0.00           3.14            18.85
      Residential

      Totals: Hallway                                                                                                                  291.26       2,508.04       15,048.07
                                                            Kitchen   Bathroom

                                        Bedroom                              Coat Closet (1)


                                                                      Hallway
                                       11' 3"
                                       11' 2"
                                                                       Master Bedroom                                                                          Height: 8' 6"
               5' 4"
                          5' 4"




                                                   2' 6"




                                                                                                439.36   SF Walls                         164.89 SF Ceiling
                                                               Living Room                      604.25   SF Walls & Ceiling               164.89 SF Floor
              5' 4"
                        5' 6"




                                  Master Bedroom
                                                   10' 2"




                                                                                                 18.32   SY Flooring                       51.69 LF Floor Perimeter
                       1' 2' 6"




         Closet (1)
                                                                                                 51.69   LF Ceil. Perimeter
                                     11' 10"
                                      12' 2"




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                                 Consumer Adjuster LLC
                                 Consumer Adjusters LLCKitchen                      Bathroom
                                 191 Chestnut St.
                                 Springfield, MA 01103
                                           Bedroom
                                                                                             Coat Closet (1)



                                                                                   Hallway
                                                                                   CONTINUED - Master Bedroom


                            1' 3"                                Subroom: Closet (1)                                                              Height: 8' 6"
                               1'
                                                                            Living Room
                                                                                196.24       SF Walls                         21.31 SF Ceiling
                                       5' 6"
                             5' 4"




                                                Master Bedroom

                                                                                217.55       SF Walls & Ceiling               21.31 SF Floor
                        "
                  10' 1
                  9' 5"




                   Closet (1)                                                     2.37       SY Flooring                      23.09 LF Floor Perimeter
                                     1' 2' 6"




                    3' 10"                                                       23.09       LF Ceil. Perimeter
                    4' 5"



      DESCRIPTION                                                            QTY               REMOVE          REPLACE     TAX            O&P            TOTAL

      504. R&R Sprayed polyurethane foam - 1,271.20 SF                                                  1.08        1.40   40.52        638.62           3,831.72
      2lb mix - per inch thick
      dividing walls x 4"
      505. Tear off plaster on wood lath                               821.80 SF                        1.33        0.00    0.00        218.60           1,311.59
      506. R&R 110 volt copper wiring run,                               1.00 EA                        4.39       58.45    0.60         12.70             76.14
      box and switch
      507. R&R 110 volt copper wiring run,                               2.00 EA                        4.39       58.37    1.18         25.34            152.04
      box and outlet
      508. Furring strip - 1" x 2"                                     821.80 SF                        0.00        0.70    8.22        116.70            700.18
      509. Two coat plaster over 1/2"                                  821.80 SF                        0.00        6.70   74.48       1,116.12          6,696.66
      gypsum core blueboard
      510. R&R Suspended ceiling system -                              186.20 SF                        0.33        2.68   15.83        115.26            691.56
      2' x 4'
      511. Seal the walls w/PVA primer -                               635.60 SF                        0.00        0.49    1.99         62.68            376.11
      one coat
      512. Paint the walls - two coats                                 635.60 SF                        0.00        0.79    7.55        101.94            611.61
      513. R&R Smoke detector                                            1.00 EA                        9.06       50.90    1.41         12.28             73.65
      514. R&R Light fixture                                             2.00 EA                        6.82       65.11    4.21         29.60            177.67
      515. R&R Vinyl window - double                                     3.00 EA                      18.48       286.48   40.39        191.04           1,146.31
      hung, 13-19 sf
      516. R&R Window drapery - hardware                                 3.00 EA                        4.12       86.46    8.91         56.14            336.79
      517. Paint door slab only - 2 coats (per                           3.00 EA                        0.00       30.22    1.17         18.38            110.21
      side)
      518. R&R Door opening (jamb &                                      2.00 EA                        5.14      130.70   12.72         56.88            341.28
      casing) - up to 32"wide - hardwood
      519. R&R Plinth block - 3/4" x 3 1/2"                              4.00 EA                        1.76        9.71    1.19           9.40            56.47
      x 6 1/2" - Hardwood
      520. R&R Window trim set (casing &                                24.00 LF                        0.41        4.53    3.68         24.44            146.68
      stop) - hardwood
      521. R&R Window sill - hardwood                                    6.00 LF                        0.57        3.83    0.87           5.46            32.73
      522. Seal & paint door/window trim &                               3.00 EA                        0.00       29.91    0.75         18.10            108.58
      jamb - (per side)
      523. Prime & paint radiator unit                                   1.00 EA                        0.00       53.59    0.43         10.80             64.82
      524. Clean radiator unit                                           1.00 EA                        0.00       24.47    0.00           4.90            29.37
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                                             Consumer Adjuster LLC
                                             Consumer Adjusters LLC
                                             191 Chestnut St.
                                             Springfield, MA 01103

                                                                                     CONTINUED - Master Bedroom

             DESCRIPTION                                                          QTY        REMOVE        REPLACE              TAX            O&P            TOTAL

             525. R&R Baseboard - 8" hardwood -                           74.78 LF                0.49            9.47          30.80         155.12           930.73
             2 piece
             526. R&R Quarter round - 3/4" -                              74.78 LF                0.14            1.82           5.38          30.40           182.35
             hardwood
             527. Seal & paint base shoe or quarter                       74.78 LF                0.00            0.65           0.42           9.80            58.83
             round
             528. Seal & paint baseboard, oversized                       74.78 LF                0.00            1.87           0.94          28.14           168.92
             - three coats
             529. Vapor barrier - 15# felt                               186.20 SF                0.00            0.24           0.58           9.06            54.33
             530. Sand, stain, and finish wood floor                     186.20 SF                0.00            3.97          11.06         150.06           900.33
             531. Additional coats of finish (per                        186.20 SF                0.00            0.92           2.68          34.80           208.78
             coat)
             532. Add for dustless floor sanding                         186.20 SF                0.00            1.00           0.00          37.24           223.44
             533. R&R Oak flooring - clear grade -                       186.20 SF                1.92            9.18          73.08         427.98          2,567.88
             no finish
             534. Final cleaning - construction -                        186.20 SF                0.00            0.21           0.00           7.82            46.92
             Residential
             535. R&R Shelving - 24" - in place                           20.00 LF                0.50            9.67           6.09          41.90           251.39

             Totals: Master Bedroom                                                                                            357.13       3,777.70       22,666.07
                                 Kitchen    Bathroom

            Bedroom                               Coat Closet (1)

                                                       1.0""
                                           Hallway
                       6" 3' 10"           6'      4' 2"
                                                                    Living Room                                                                        Height: 8' 6"
                                                            2' 6"




                            4'                    3' 10"
                        2' 6"




                                                                                   447.33   SF Walls                              205.44 SF Ceiling
                                                                                   652.78   SF Walls & Ceiling                    205.44 SF Floor
                                                          14' 4"




                                    Living Room
                                                       12' 2"




      Master Bedroom
                        10' 2"




                                                                                    22.83   SY Flooring                            51.33 LF Floor Perimeter
(1)
                                                                                    57.33   LF Ceil. Perimeter
                                       14' 4"
                                       14' 10"


             Missing Wall - Goes to Floor                                            6' X 6' 8"                          Opens into HALLWAY
             DESCRIPTION                                                          QTY        REMOVE        REPLACE              TAX            O&P            TOTAL

             536. R&R Sprayed polyurethane foam -                        894.67 SF                1.08            1.40          28.52         449.44          2,696.74
             2lb mix - per inch thick
             dividing walls x 4"
             537. Tear off plaster on wood lath                          652.78 SF                1.33            0.00           0.00         173.64          1,041.84
             538. R&R 110 volt copper wiring run,                          1.00 EA                4.39           58.45           0.60          12.70            76.14
             box and switch
             539. R&R 110 volt copper wiring run,                          3.00 EA                4.39           58.37           1.77          38.02           228.07
             box and outlet
             540. Furring strip - 1" x 2"                                652.78 SF                0.00            0.70           6.53          92.70           556.18
             541. Two coat plaster over 1/2"                             652.78 SF                0.00            6.70          59.16         886.56          5,319.35
             gypsum core blueboard
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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                             CONTINUED - Living Room

      DESCRIPTION                                      QTY       REMOVE      REPLACE     TAX         O&P     TOTAL

      542. R&R Suspended ceiling system -        205.44 SF            0.35        2.91   19.13      137.76    826.62
      2' x 2'
      543. Seal the walls w/PVA primer -         447.33 SF            0.00        0.49    1.40       44.12    264.71
      one coat
      544. Paint the walls - two coats           447.33 SF            0.00        0.79    5.31       71.74    430.44
      545. R&R Smoke detector                      1.00 EA            9.06       50.90    1.41       12.28     73.65
      546. R&R Light fixture                       1.00 EA            6.82       65.11    2.10       14.80     88.83
      547. R&R Vinyl window - double               3.00 EA           18.48      286.48   40.39      191.04   1,146.31
      hung, 13-19 sf
      548. R&R Window drapery - hardware           3.00 EA            4.12       86.46    8.91       56.14    336.79
      549. Paint door slab only - 2 coats (per     1.00 EA            0.00       30.22    0.39        6.12     36.73
      side)
      550. R&R Crown molding - 2 1/4"             17.00 LF            0.55        5.72    4.10       22.14    132.83
      hardwood
      over door trim
      551. Seal & paint crown molding,            17.00 LF            0.00        1.92    0.17        6.56     39.37
      oversized - three coats
      552. R&R Door opening (jamb &                1.00 EA            5.14      130.70    6.36       28.44    170.64
      casing) - up to 32"wide - hardwood
      553. R&R Door opening (jamb &                1.00 EA            5.15      168.86    7.84       36.38    218.23
      casing) - 36"to60"wide - hardwood
      554. R&R Plinth block - 3/4" x 3 1/2"        6.00 EA            1.76        9.71    1.79       14.14     84.75
      x 6 1/2" - Hardwood
      555. R&R Window trim set (casing &          30.00 LF            0.41        4.53    4.59       30.56    183.35
      stop) - hardwood
      556. R&R Window sill - hardwood              8.00 LF            0.57        3.83    1.16        7.28     43.64
      557. Seal & paint door/window trim &         3.00 EA            0.00       29.91    0.75       18.10    108.58
      jamb - (per side)
      558. Prime & paint radiator unit             1.00 EA            0.00       53.59    0.43       10.80     64.82
      559. Clean radiator unit                     1.00 EA            0.00       24.47    0.00        4.90     29.37
      560. R&R Baseboard - 8" hardwood -          51.33 LF            0.49        9.47   21.14      106.48    638.87
      2 piece
      561. R&R Quarter round - 3/4" -             51.33 LF            0.14        1.82    3.69       20.86    125.16
      hardwood
      562. Seal & paint base shoe or quarter      51.33 LF            0.00        0.65    0.29        6.74     40.39
      round
      563. Seal & paint baseboard, oversized      51.33 LF            0.00        1.87    0.64       19.32    115.95
      - three coats
      564. Vapor barrier - 15# felt              205.44 SF            0.00        0.24    0.64        9.98     59.93
      565. R&R Oak flooring - clear grade -      205.44 SF            1.92        9.18   80.64      472.18   2,833.20
      no finish
      566. Sand, stain, and finish wood floor    205.44 SF            0.00        3.97   12.20      165.56    993.36


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                                               Consumer Adjuster LLC
                                               Consumer Adjusters LLC
                                               191 Chestnut St.
                                               Springfield, MA 01103

                                                                                                     CONTINUED - Living Room

      DESCRIPTION                                                                         QTY              REMOVE          REPLACE             TAX                O&P            TOTAL

      567. Additional coats of finish (per                                        205.44 SF                         0.00        0.92            2.95             38.40            230.35
      coat)
      568. Add for dustless floor sanding                                         205.44 SF                         0.00        1.00            0.00             41.08            246.52
      569. Final cleaning - construction -                                        205.44 SF                         0.00        0.21            0.00              8.62             51.76
      Residential

      Totals: Living Room                                                                                                                     325.00           3,255.58       19,533.47

      Total: 3rd Floor Left                                                                                                                 2,102.55          18,432.44      110,592.51

                                                                                                            3rd Floor Right

                                  Kitchen
                                                         Pantry (1)
                                       2' 6
       Bathroom
                                           "
                                               3' 1                         Hallway                                                                                       Height: 8' 2"
                                                    0Closet
                                                     "
                                 ' 6"




                                                            (1)
                            "2
                              "
                         2' 6




                                                                  Bedroom                     245.19      SF Walls                                77.08 SF Ceiling
                       2' 8




                                                         "
                                                      2' 6
                                               9"




           Closet1 (1)Hallway
                    "




                                                                                              322.27      SF Walls & Ceiling                      77.08 SF Floor
               1' 6




                                                    3"
               7"




                                                                                                8.56      SY Flooring                             28.65 LF Floor Perimeter
                                                 5'
                        5' 5"
               5' 9"




                         2' 6"                                                                 36.15      LF Ceil. Perimeter
                                               "
                                          2' 2




                       8"
                                                                      Kitchen
                                                      Living Room
                                                                                             Pantry (1)
      Missing Wall - Goes to Floor                                                                  2' 6" X 6' 8"                      Opens into KITCHEN
      Missing Wall - Goes to Floor                                                                  5' X 6' 8"                         Opens into LIVING_ROOM
         Bathroom
                                                                                       Closet (1)

                                                                            Subroom: Closet1 (1)                                                                          Height: 8' 2"
                                   3' 2"                                                                     Bedroom
                                                                                                74.16     SF Walls                                     4.84 SF Ceiling
                                 2' 10"
                  2' 8"




                                                                                                79.00     SF Walls & Ceiling                           4.84 SF Floor
                                                      6"




                                Closet1 (1)                    Hallway
                                                    ' 6"




                                  1' 6
                                          "                                                      0.54     SY Flooring                                  9.08 LF Floor Perimeter
                                                 9" 1




                                1' 8
                                    "                                                            9.08     LF Ceil. Perimeter


      DESCRIPTION                                                                         QTY              REMOVE          REPLACE             TAX                O&P            TOTAL

      570. R&R Switch                                                                 3.00 EA                       4.12       12.97            0.27             10.32             61.86
      571. R&R Outlet                                                                 1.00 EA                       4.12       12.90            0.09              3.42             20.53
      572. R&R Suspended ceiling system -                                          81.92 SF                         0.35        2.91            7.63             54.94            329.63
      2' x 2'                                                                           Living Room

      573. Seal the walls w/PVA primer -                                          319.35 SF                         0.00        0.49            1.00             31.50            188.98
      one coat
      574. Paint the walls - two coats                                            319.35 SF                         0.00        0.79            3.79             51.22            307.30
      575. R&R Smoke detector                                                         1.00 EA                       9.06       50.90            1.41             12.28             73.65
      576. R&R Carbon monoxide detector                                               1.00 EA                       9.08       70.56            2.56             16.46             98.66


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                                              Consumer Adjuster LLC
                                              Consumer Adjusters LLC
                                              191 Chestnut St.
                                              Springfield, MA 01103

                                                                                     CONTINUED - Hallway

            DESCRIPTION                                                        QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

            577. R&R Door bell/chime - Premium                          1.00 EA                 4.12          190.35           6.54          40.20           241.21
            grade
            578. R&R Intercom - Remote station                          1.00 EA                 6.83          116.43           3.08          25.26           151.60
            579. R&R Exterior door - fiberglass /                       1.00 EA                17.54          872.85          50.65         188.22          1,129.26
            wood w/detail - Premium grade
            580. R&R Door lockset & deadbolt -                          1.00 EA                12.26           85.21           3.60          20.22           121.29
            exterior
            581. Stain & finish door slab only (per                     3.00 EA                 0.00           47.53           1.40          28.80           172.79
            side)
            582. Clean trim - wood                                    102.00 LF                 0.00            0.24           0.00           4.90            29.38
            583. Stain & finish door/window trim                        6.00 EA                 0.00           33.33           1.98          40.40           242.36
            & jamb (per side)
            584. Clean baseboard                                       37.73 LF                 0.00            0.24           0.00           1.82            10.88
            585. Stain & finish base shoe or                           37.73 LF                 0.00            1.03           0.40           7.86            47.12
            quarter round
            586. Stain & finish baseboard -                            37.73 LF                 0.00            1.44           0.52          10.96            65.81
            oversized
            587. Clean floor                                           81.92 SF                 0.00            0.30           0.00           4.92            29.50
            588. Sand, stain, and finish wood floor                    81.92 SF                 0.00            3.97           4.86          66.02           396.10
            589. Additional coats of finish (per                       81.92 SF                 0.00            0.92           1.18          15.32            91.87
            coat)
            590. Add for dustless floor sanding                        81.92 SF                 0.00            1.00           0.00          16.38            98.30
            591. Final cleaning - construction -                       81.92 SF                 0.00            0.21           0.00           3.44            20.64
            Residential

            Totals: Hallway                                                                                                   90.96         654.86          3,928.72
                  Kitchen
                                    Pantry (1)

     Bathroom
                               Closet (1)
                                            Bedroom
                 Hallway
        Closet1 (1)
                                                                 Living Room                                                                         Height: 8' 2"
                         5"
                       3"




                                            14'
                             5'




                                                                                416.71   SF Walls                               196.28 SF Ceiling
                           "




                                                        0"
                      2' 2




                                                    3' 1
                                                            4'




                                                                                612.99   SF Walls & Ceiling                     196.28 SF Floor
                               Living Room
                    10' 10"




                                                                                 21.81   SY Flooring                             50.11 LF Floor Perimeter
                                                        "
                                                    5' 5
                     11'




                                                                                 55.11   LF Ceil. Perimeter
                                                   0"
                                                  "
                                              3' 1
                                             4' 1




                           3' 6" 2' 9"
                           3' 10"         3' 9"


            Missing Wall - Goes to Floor                                          5' X 6' 8"                           Opens into HALLWAY
            DESCRIPTION                                                        QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

            592. R&R Switch                                             1.00 EA                 4.12           12.97           0.09           3.44            20.62
            593. R&R Outlet                                             3.00 EA                 4.12           12.90           0.26          10.28            61.60
            594. R&R Suspended ceiling system -                       196.28 SF                 0.33            2.68          16.68         121.50           728.98
            2' x 4'

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                                                  Consumer Adjuster LLC
                                                  Consumer Adjusters LLC
                                                  191 Chestnut St.
                                                  Springfield, MA 01103

                                                                                          CONTINUED - Living Room

               DESCRIPTION                                                          QTY         REMOVE        REPLACE         TAX            O&P            TOTAL

               595. Seal the walls w/PVA primer -                             416.71 SF              0.00             0.49     1.30          41.10           246.59
               one coat
               596. Paint the walls - two coats                               416.71 SF              0.00             0.79     4.95          66.84           400.99
               597. R&R Smoke detector                                          1.00 EA              9.06            50.90     1.41          12.28            73.65
               598. R&R Light fixture                                           1.00 EA              6.82            65.11     2.10          14.80            88.83
               599. R&R Vinyl window - double                                   3.00 EA             18.48           286.48    40.39         191.04          1,146.31
               hung, 13-19 sf
               600. Clean trim - wood                                          57.00 LF              0.00             0.24     0.00           2.74            16.42
               601. R&R Window drapery - hardware                               3.00 EA              4.12            86.46     8.91          56.14           336.79
               602. R&R Window trim set (casing &                              37.00 LF              0.41             4.53     5.67          37.70           226.15
               stop) - hardwood
               603. R&R Window sill - hardwood                                  8.00 LF              0.57             3.83     1.16           7.28            43.64
               604. Stain & finish door/window trim                             4.00 EA              0.00            33.33     1.32          26.92           161.56
               & jamb (per side)
               605. Clean radiator unit                                         1.00 EA              0.00            24.47     0.00           4.90            29.37
               606. Prime & paint radiator unit                                 1.00 EA              0.00            53.59     0.43          10.80            64.82
               607. Clean baseboard                                            50.11 LF              0.00             0.24     0.00           2.40            14.43
               608. Stain & finish base shoe or                                50.11 LF              0.00             1.03     0.53          10.42            62.56
               quarter round
               609. Stain & finish baseboard w/cap                             50.11 LF              0.00             1.52     0.56          15.36            92.09
               &/or shoe
               610. Clean floor                                               196.28 SF              0.00             0.30     0.00          11.78            70.66
               611. Sand, stain, and finish wood floor                        196.28 SF              0.00             3.97    11.65         158.18           949.06
               612. Additional coats of finish (per                           196.28 SF              0.00             0.92     2.82          36.68           220.08
               coat)
               613. Add for dustless floor sanding                            196.28 SF              0.00             1.00     0.00          39.26           235.54
               614. Final cleaning - construction -                           196.28 SF              0.00             0.21     0.00           8.24            49.46
               Residential

               Totals: Living Room                                                                                           100.23         890.08          5,340.20




             Kitchen                               12'
                                                                         Bedroom                                                                     Height: 8' 2"
                              Pantry (1)               6"
                                            "
                                          4' 3




                                                   12'
                                                                                      408.92   SF Walls                         139.93 SF Ceiling
                                  6"




hroom
                           Closet
                             1' 7 (1)
                                       1"




                                 "
                                                                     "
                                   1' 1




                                                                                      548.85   SF Walls & Ceiling               139.93 SF Floor
                                                               4' 1
                                                                   "
                                                              4' 5




                                             Bedroom
                            "
                           2' 6
                      9"




 Closet1 (1)Hallway                                                                    15.55   SY Flooring                       50.07 LF Floor Perimeter
                                                                  "




                                            14'
                                                              5' 5




                                                                                       50.07   LF Ceil. Perimeter
                                                              "
                                                         1' 6

                                                            "
                                                       1' 8




                           Living Room



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                                         Consumer Adjuster LLC
                                         Consumer Adjusters LLC
                                         191 Chestnut St.
                                         Springfield, MA 01103

                                                                              CONTINUED - Bedroom
     Kitchen

                                      Pantry (1)
                                                         Subroom: Closet (1)                                                                  Height: 8'
                                      1' 7
                                          "
                                                                           69.16   SF Walls                              4.34 SF Ceiling
                                        1"

                                      6"
                        2' 1



                                   " 8"
                            4" 2' 9"




                               Closet (1)                                  73.50   SF Walls & Ceiling                    4.34 SF Floor
                              ' 11




                                                                            0.48   SY Flooring                           8.65 LF Floor Perimeter
                         8" 1




                          1' 1
                                 1"                Bedroom                  8.65   LF Ceil. Perimeter

Hallway

               DESCRIPTION                                           QTY            REMOVE        REPLACE        TAX                O&P            TOTAL

               615. R&R Switch                                   1.00 EA                 4.12            12.97    0.09              3.44             20.62
               616. R&R Outlet                                   2.00 EA                 4.12            12.90    0.17              6.84             41.05
               617. R&R Suspended ceiling system -             144.27 SF                 0.33             2.68   12.26             89.30            535.81
               2' x 4'
               618. Seal the walls w/PVA primer -              478.08 SF                 0.00             0.49    1.49             47.16            282.91
               one coat
               619. Paint the walls - two coats                478.08 SF                 0.00             0.79    5.68             76.68            460.04
                                Living Room

               620. R&R Smoke detector                           1.00 EA                 9.06            50.90    1.41             12.28             73.65
               621. R&R Vinyl window - double                    2.00 EA                18.48           286.48   26.93            127.38            764.23
               hung, 13-19 sf
               622. R&R Window drapery - hardware                2.00 EA                 4.12            86.46    5.94             37.40            224.50
               623. Stain & finish door slab only (per           3.00 EA                 0.00            47.53    1.40             28.80            172.79
               side)
               624. Clean trim - wood                           68.00 LF                 0.00             0.24    0.00              3.26             19.58
               625. R&R Window trim set (casing &               24.00 LF                 0.41             4.53    3.68             24.44            146.68
               stop) - hardwood
               626. R&R Window sill - hardwood                   5.00 LF                 0.57             3.83    0.73              4.56             27.29
               627. Stain & finish door/window trim              3.00 EA                 0.00            33.33    0.99             20.20            121.18
               & jamb (per side)
               628. Prime & paint radiator unit                  1.00 EA                 0.00            53.59    0.43             10.80             64.82
               629. Clean radiator unit                          1.00 EA                 0.00            24.47    0.00              4.90             29.37
               630. Clean baseboard                             58.72 LF                 0.00             0.24    0.00              2.82             16.91
               631. Stain & finish base shoe or                 58.72 LF                 0.00             1.03    0.62             12.22             73.32
               quarter round
               632. Stain & finish baseboard -                  58.72 LF                 0.00             1.44    0.81             17.08            102.45
               oversized
               633. Clean floor                                144.27 SF                 0.00             0.30    0.00              8.66             51.94
               634. Sand, stain, and finish wood floor         144.27 SF                 0.00             3.97    8.57            116.28            697.60
               635. Additional coats of finish (per            144.27 SF                 0.00             0.92    2.07             26.96            161.76
               coat)
               636. Add for dustless floor sanding             144.27 SF                 0.00             1.00    0.00             28.86            173.13
               637. Final cleaning - construction -            144.27 SF                 0.00             0.21    0.00              6.06             36.36
               Residential
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                                                               Consumer Adjuster LLC
                                                               Consumer Adjusters LLC
                                                               191 Chestnut St.
                                                               Springfield, MA 01103

                                                                                                                     CONTINUED - Bedroom

              DESCRIPTION                                                                                   QTY            REMOVE        REPLACE                  TAX               O&P            TOTAL

              Totals: Bedroom                                                                                                                                    73.27            716.38           4,297.99




                                                                                             Kitchen                                                                                       Height: 8' 2"
                                       9"
                                      "
                                 4' 2




                                                         13'
                          3' 1 "




                                                                1"
                              2' 6
                               0"




                                                       12'
                                                               7"                                             292.58      SF Walls                                  90.18 SF Ceiling
                            "
                       4' 5




                                                                                                              382.76      SF Walls & Ceiling                        90.18 SF Floor
                     ' 4"
                    "




                                             Kitchen
                1' 2
                   1' 2




                               5' 9
                                                                                    2'




                                                                           Pantry (1)
                                     "                                                                         10.02      SY Flooring                               35.00 LF Floor Perimeter
                                                                                   "
                                                                              1' 9
                                                                             ' 7"




                              4' 9                2' 6
                                   "                     "
                                                                         " 1




              Bathroom                      4"                  3' 1
                                                                      0"Closet (1)                             39.50      LF Ceil. Perimeter
                                                                           2' 9




                                                                                         Bedroom
                    Closet1 (1) Hallway
              Missing Wall - Goes to Floor                                                                        2' 6" X 6' 8"                           Opens into HALLWAY


                                                                                             Subroom: Pantry (1)                                                                              Height: 8'
                                                       1' 1
                                                                1"
                                                                       Living Room                                77.50   SF Walls                                       6.48 SF Ceiling
                                                           "
                                                 4' 1 2' 6




    Kitchen
                                                                                                                  83.98   SF Walls & Ceiling                             6.48 SF Floor
                                                     "




                                         Pantry (1)
                                  "




                                                                "
                                1' 9




                                                               4' 3




                                         1' 7                                                                      0.72   SY Flooring                                    9.35 LF Floor Perimeter
                                                 "
                                                                                                                  11.35   LF Ceil. Perimeter
                               Closet (1)



              Missing Wall - Goes to  Floor
                                   Bedroom                                                                        2' X 6' 8"                              Opens into KITCHEN
Hallway       DESCRIPTION                                                                                   QTY            REMOVE        REPLACE                  TAX               O&P            TOTAL

              638. R&R Outlet                                                                           3.00 EA                   4.12           12.90            0.26             10.28             61.60
              639. Paint the walls - two coats                                                     370.09 SF                      0.00             0.79           4.40             59.36            356.13
              640. R&R Vinyl window - double                                                            1.00 EA                18.48            206.36            8.52             46.68            280.04
              hung, 4-8 sf
              641. R&R Window drapery - hardware                                                        1.00 EA                   4.12           86.46            2.97             18.72            112.27
              642. R&R Exterior door - solid alder -                                                    1.00 EA                17.54           1,064.57          62.63            228.94           1,373.68
              paneled
                                Living Room
              643. R&R Door lockset & deadbolt -                                                        1.00 EA                12.29             85.21            3.60             20.22            121.32
              exterior
              644. R&R Storm door assembly                                                              1.00 EA                14.44            213.77            8.97             47.44            284.62
              645. R&R Window trim set (casing &                                                       10.00 LF                   0.41             4.53           1.53             10.18             61.11
              stop) - hardwood
              646. R&R Window sill - hardwood                                                           1.00 LF                   0.57             3.83           0.15              0.92               5.47
              647. Clean trim - wood                                                                   39.00 LF                   0.00             0.24           0.00              1.88             11.24
              648. Seal & paint door/window trim &                                                      3.00 EA                   0.00           29.80            0.75             18.04            108.19
              jamb - (per side)
              649. Clean sink                                                                           1.00 EA                   0.00             9.04           0.00              1.80             10.84
              650. Clean sink faucet                                                                    1.00 EA                   0.00             6.72           0.00              1.34               8.06
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                                                Consumer Adjuster LLC
                                                Consumer Adjusters LLC
                                                191 Chestnut St.
                                                Springfield, MA 01103

                                                                                                         CONTINUED - Kitchen

      DESCRIPTION                                                                               QTY            REMOVE        REPLACE         TAX            O&P            TOTAL

      651. Clean countertop                                                                 1.00 SF                 0.00             0.51     0.00           0.10              0.61
      652. Clean cabinetry - lower - inside                                                13.50 LF                 0.00            10.26     0.07         27.72            166.30
      and out
      653. Clean cabinetry - upper - inside                                                 7.50 LF                 0.00            10.26     0.04         15.40             92.39
      and out
      654. Prime & paint radiator unit                                                      1.00 EA                 0.00            53.59     0.43         10.80             64.82
      655. Clean radiator unit                                                              1.00 EA                 0.00            24.47     0.00           4.90            29.37
      656. Clean baseboard                                                                 44.35 LF                 0.00             0.24     0.00           2.12            12.76
      657. Paint baseboard - two coats                                                     44.35 LF                 0.00             1.17     0.31         10.44             62.64
      658. R&R Underlayment - 1/4"                                                         96.66 SF                 1.40             1.62     3.32         59.04            354.27
      lauan/mahogany plywood
      659. Floor preparation for resilient                                                 96.66 SF                 0.00             0.59     0.60         11.52             69.15
      flooring
      660. R&R Vinyl tile                                                                  96.66 SF                 0.93             3.54    13.05         89.04            534.16
      661. R&R Vinyl - metal transition                                                     3.00 LF                 0.62             2.82     0.23           2.12            12.67
      strip
      662. Final cleaning - construction -                                                 96.66 SF                 0.00             0.21     0.00           4.06            24.36
      Residential
      663. R&R Refrigerator - top freezer -                                                 1.00 EA                27.28           611.01    36.94        135.04            810.27
      14 to 18 cf
      664. R&R Range - freestanding - gas                                                   1.00 EA                16.47           785.13    40.63        168.44           1,010.67

      Totals: Kitchen                                                                                                                       189.40       1,006.54          6,039.01




                  2' 8" 1'                                         Kitchen
                                                                             Bathroom                                                                               Height: 8' 2"
                           8"
                  2' 2"                          5' 2                            Pantry (1)
                          1' 6"                         "
                                                4' 9                                                 278.71   SF Walls                          43.81 SF Ceiling
                                        3' 4"
                                3' 6"




                                                    "
          6' 8"
                   6'




                                                                                                     322.52   SF Walls & Ceiling                43.81 SF Floor
                                                                " 2"




                    Bathroom
                                                                             Closet (1)
                                                            2' 6




                        3' 3"                                                                          4.87   SY Flooring                       34.13 LF Floor Perimeter
                                        3' 2"
                                                            "




                                                                                              Bedroom
                                                        2' 8




                     3' 4"
                                   2' 10                                                              34.13   LF Ceil. Perimeter
                                Closet1" (1)                Hallway




      DESCRIPTION                                                                               QTY            REMOVE        REPLACE         TAX            O&P            TOTAL

      665. R&R Outlet                                                                       1.00 EA                 4.12            12.90     0.09           3.42            20.53
      666. R&R Suspended ceiling system -         43.81 SF                                                          0.35             2.91     4.08         29.38            176.28
      2' x 2'                          Living Room
      667. Clean ceramic tile                                                             278.71 SF                 0.00             0.37     0.17         20.66            123.95
      668. R&R Light fixture                                                                1.00 EA                 6.82            65.11     2.10         14.80             88.83
      669. R&R Vinyl window -                                                               1.00 EA                18.48           222.15    10.03         50.14            300.80
      hopper/transom, 3-6 sf


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                          Consumer Adjuster LLC
                          Consumer Adjusters LLC
                          191 Chestnut St.
                          Springfield, MA 01103

                                                              CONTINUED - Bathroom

      DESCRIPTION                                       QTY      REMOVE         REPLACE           TAX         O&P       TOTAL

      670. Stain & finish door slab only (per      1.00 EA             0.00              47.53     0.47        9.60       57.60
      side)
      671. Clean trim - wood                      25.00 LF             0.00               0.24     0.00        1.20         7.20
      672. Stain & finish door/window trim         2.00 EA             0.00              33.33     0.66       13.48       80.80
      & jamb (per side)
      673. Prime & paint radiator unit             1.00 EA             0.00              53.59     0.43       10.80       64.82
      674. Toilet - Detach & reset                 1.00 EA             0.00             190.27     0.34       38.12      228.73
      675. Clean toilet                            1.00 EA             0.00              15.18     0.00        3.04       18.22
      676. Clean sink faucet                       1.00 EA             0.00               6.72     0.00        1.34         8.06
      677. Clean sink                              1.00 EA             0.00               9.04     0.00        1.80       10.84
      678. Clean vanity - inside and out           2.33 LF             0.00               9.20     0.01        4.28       25.73
      679. Clean tub / shower faucet               1.00 EA             0.00               9.78     0.00        1.96       11.74
      680. Clean shower                            1.00 EA             0.00              30.11     0.01        6.02       36.14
      681. Clean radiator unit                     1.00 EA             0.00              24.47     0.00        4.90       29.37
      682. R&R Underlayment - 1/4"                43.81 SF             1.40               1.62     1.51       26.76      160.57
      lauan/mahogany plywood
      683. Floor preparation for resilient        43.81 SF             0.00               0.59     0.27        5.24       31.36
      flooring
      684. R&R Vinyl tile                         43.81 SF             0.93               3.54     5.91       40.34      242.08
      685. R&R Vinyl - metal transition            3.00 LF             0.62               2.82     0.23        2.12       12.67
      strip
      686. Final cleaning - construction -        43.81 SF             0.00               0.21     0.00        1.84       11.04
      Residential

      Totals: Bathroom                                                                            26.31      291.24     1,747.36

      Total: 3rd Floor Right                                                                     480.17     3,559.10   21,353.28

                                                                2nd Floor Left (Fire)
      2nd Floor Left (Fire)

      DESCRIPTION                                       QTY      REMOVE         REPLACE           TAX         O&P       TOTAL

      687. 2" x 4" x 14' #2 & better Fir /         8.00 EA             0.00               7.18     3.59       12.20       73.23
      Larch (material only)
      688. 2" x 4" x 8' #2 & better Fir /         39.00 EA             0.00               4.08     9.95       33.82      202.89
      Larch (material only)
      689. 2" x 4" x 104 5/8" pre-cut stud       135.00 EA             0.00               4.44    37.46      127.38      764.24
      (for 9' wall, mat only)
      690. R&R Labor to frame 2" x 4" non-      1,195.52 SF            0.18               1.05     1.49      294.40     1,766.38
      bearing wall - 16" oc
      691. 2" x 4" x 10' #2 & better Fir /        12.00 EA             0.00               5.10     3.83       13.00       78.03
      Larch (material only)

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                                     Consumer Adjuster LLC
                                     Consumer Adjusters LLC
                                     191 Chestnut St.
                                     Springfield, MA 01103

                                                                                CONTINUED - 2nd Floor Left (Fire)

          DESCRIPTION                                                          QTY          REMOVE          REPLACE              TAX            O&P            TOTAL

          692. R&R Sheathing - OSB - 1/2"                                 68.03 SF                   0.46          1.35           3.10          25.24           151.47
          693. 2" x 4" x 12' #2 & better Fir /                             3.00 EA                   0.00          6.15           1.15           3.94            23.54
          Larch (material only)
          694. 2" x 4" x 16' #2 & better Fir /                             3.00 EA                   0.00          8.10           1.52           5.16            30.98
          Larch (material only)

          Total: 2nd Floor Left (Fire)                                                                                           62.09         515.14          3,090.76




                             7' 2"                            Kitchen                                                                                   Height: 8' 6"


                   1        6' 10"
                                                                                 248.75
                                                                                 309.20
                                                                                          SF Walls
                                                                                          SF Walls & Ceiling
                                                                                                                                    60.44 SF Ceiling
                                                                                                                                    60.44 SF Floor
                                             8' 10"




                           Kitchen              Bathroom
                  9'




        Bedroom
                  1‘.- 2' 1" 2' 8" 2' 1"
                                     2' 3"
                                             Hallway
                                                       Coat Closet (1)
                                                                                   6.72
                                                                                  31.36
                                                                                          SY Flooring
                                                                                          LF Ceil. Perimeter
                                                                                                                                    28.69 LF Floor Perimeter



          Missing Wall - Goes to Floor                                               2' 8" X 6' 8"                        Opens into HALLWAY
          DESCRIPTION                                                          QTY          REMOVE          REPLACE              TAX            O&P            TOTAL

          695. R&R Sprayed     polyurethane foam -
                           Living Room
                                                                         248.75 SF                   1.08          1.40           7.93         124.98           749.81
            2lb
             mix - per inch thick
 Master Bedroom

          Exterior walls x 4"
          696. Tear off plaster on wood lath                             309.20 SF                   1.33          0.00           0.00          82.24           493.48
          697. R&R 110 volt copper wiring run,                             3.00 EA                   4.39        58.37            1.77          38.02           228.07
          box and outlet
          698. Furring strip - 1" x 2"                                   309.20 SF                   0.00          0.70           3.09          43.90           263.43
          699. Two coat plaster over 1/2"                                309.20 SF                   0.00          6.70          28.02         419.92          2,519.58
          gypsum core blueboard
          700. Seal the walls and ceiling w/PVA                          309.20 SF                   0.00          0.49           0.97          30.50           182.98
          primer - one coat
          701. Paint the walls and ceiling - two                         309.20 SF                   0.00          0.79           3.67          49.60           297.54
          coats
          702. R&R Light fixture                                           1.00 EA                   6.82        65.11            2.10          14.80            88.83
          703. R&R Vinyl window - double                                   1.00 EA               18.48          206.36            8.52          46.68           280.04
          hung, 4-8 sf
          704. R&R Window drapery - hardware                               1.00 EA                   4.12        86.46            2.97          18.72           112.27
          705. R&R Exterior door - solid alder -                           1.00 EA               17.54         1,064.57          62.63         228.94          1,373.68
          paneled
          706. R&R Door lockset & deadbolt -                               1.00 EA               12.29           85.21            3.60          20.22           121.32
          exterior
          707. R&R Storm door assembly                                     1.00 EA               14.44          213.77            8.97          47.44           284.62
          708. Stain & finish door slab only (per                          1.00 EA                   0.00        47.53            0.47           9.60            57.60
          side)
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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                          CONTINUED - Kitchen

      DESCRIPTION                                   QTY     REMOVE      REPLACE         TAX         O&P     TOTAL

      709. R&R Door opening (jamb &             2.00 EA          5.14      130.70       12.72       56.88    341.28
      casing) - up to 32"wide - hardwood
      710. R&R Plinth block - 3/4" x 3 1/2"     4.00 EA          1.76           9.71     1.19        9.40     56.47
      x 6 1/2" - Hardwood
      711. R&R Window trim set (casing &       10.00 LF          0.41           4.53     1.53       10.18     61.11
      stop) - hardwood
      712. R&R Window sill - hardwood           1.00 LF          0.57           3.83     0.15        0.92       5.47
      713. Stain & finish door/window trim      3.00 EA          0.00       33.33        0.99       20.20    121.18
      & jamb (per side)
      714. R&R Cabinetry - upper (wall)        14.00 LF          6.14      129.52       88.55      397.58   2,385.37
      units
      715. R&R Range hood                       1.00 EA         10.30      181.80        6.86       39.80    238.76
      716. R&R Countertop - post formed        12.00 LF          3.39       45.41       25.95      122.32    733.87
      plastic laminate
      717. R&R Sink - single                    1.00 EA         15.34      226.49        8.88       50.14    300.85
      718. R&R Sink faucet - Kitchen            1.00 EA         15.34      199.05        8.64       44.60    267.63
      719. Add-on for tile backsplash          30.00 SF          0.00       12.15        0.00       72.90    437.40
      installation
      720. R&R Ceramic/porcelain tile          30.00 SF          1.48       10.88        8.08       75.78    454.66
      721. R&R Backsplash - plastic            12.00 SF          0.73           5.63     2.00       15.68     94.00
      laminate
      722. R&R Cabinetry - lower (base)        12.00 LF          6.14      162.46      100.61      424.76   2,548.57
      units
      723. R&R Cabinet knob or pull            22.00 EA          0.96           6.88     4.51       35.40    212.39
      724. Prime & paint radiator unit          1.00 EA          0.00       53.59        0.43       10.80     64.82
      725. Clean radiator unit                  1.00 EA          0.00       24.47        0.00        4.90     29.37
      726. R&R Baseboard - 8" hardwood -       28.69 LF          0.49           9.47    11.82       59.52    357.09
      2 piece
      727. R&R Quarter round - 3/4" -          28.69 LF          0.14           1.82     2.06       11.66     69.96
      hardwood
      728. Seal & paint base shoe or quarter   28.69 LF          0.00           0.65     0.16        3.78     22.59
      round
      729. Seal & paint baseboard, oversized   28.69 LF          0.00           1.87     0.36       10.82     64.83
      - three coats
      730. R&R Underlayment - 1/4"             60.44 SF          1.40           1.62     2.08       36.92    221.53
      lauan/mahogany plywood
      731. Floor preparation for resilient     60.44 SF          0.00           0.59     0.38        7.22     43.26
      flooring
      732. R&R Vinyl tile                      60.44 SF          0.93           3.54     8.16       55.68    334.01
      733. Final cleaning - construction -     60.44 SF          0.00           0.21     0.00        2.54     15.23
      Residential
      734. R&R Vinyl - metal transition         3.00 LF          0.62           2.82     0.23        2.12     12.67
      strip

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                                            Consumer Adjuster LLC
                                            Consumer Adjusters LLC
                                            191 Chestnut St.
                                            Springfield, MA 01103

                                                                                         CONTINUED - Kitchen

             DESCRIPTION                                                           QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

             735. R&R Refrigerator - top freezer -                          1.00 EA                27.28          611.01          36.94         135.04           810.27
             14 to 18 cf
             736. R&R Range - freestanding - gas                            1.00 EA                16.47          785.13          40.63         168.44          1,010.67

             Totals: Kitchen                                                                                                     508.62       3,061.54       18,368.56
                                Kitchen    Bathroom

            Bedroom                                Coat Closet (1)


                _\r_.
                                          Hallway
                 6" 3' 10" 4- 6'-1_ 4'10'
                                      2"
                                                                     Living Room                                                                         Height: 8' 6"
                                                            2' 6"




                                4'                 3' 10"
                       2' 6"




                                                                                    447.33   SF Walls                               205.44 SF Ceiling
                                                                                    652.78   SF Walls & Ceiling                     205.44 SF Floor
                                                          14' 4"




                                     Living Room
                                                       12' 2"




      Master Bedroom
                       10' 2"




                                                                                     22.83   SY Flooring                             51.33 LF Floor Perimeter
(1)
                                                                                     57.33   LF Ceil. Perimeter
                                       14' 4"
                                       14' 10"


             Missing Wall - Goes to Floor                                             6' X 6' 8"                           Opens into HALLWAY
             DESCRIPTION                                                           QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

             737. R&R Sprayed polyurethane foam -                         894.67 SF                 1.08            1.40          28.52         449.44          2,696.74
             2lb mix - per inch thick
             Exterior walls x 4"
             738. Tear off plaster on wood lath                           652.78 SF                 1.33            0.00           0.00         173.64          1,041.84
             739. R&R 110 volt copper wiring run,                           1.00 EA                 4.39           58.45           0.60          12.70            76.14
             box and switch
             740. R&R 110 volt copper wiring run,                           3.00 EA                 4.39           58.37           1.77          38.02           228.07
             box and outlet
             741. Furring strip - 1" x 2"                                 652.78 SF                 0.00            0.70           6.53          92.70           556.18
             742. Two coat plaster over 1/2"                              652.78 SF                 0.00            6.70          59.16         886.56          5,319.35
             gypsum core blueboard
             743. R&R Suspended ceiling system -                          205.44 SF                 0.35            2.91          19.13         137.76           826.62
             2' x 2'
             744. Seal the walls w/PVA primer -                           447.33 SF                 0.00            0.49           1.40          44.12           264.71
             one coat
             745. Paint the walls - two coats                             447.33 SF                 0.00            0.79           5.31          71.74           430.44
             746. R&R Smoke detector                                        1.00 EA                 9.06           50.90           1.41          12.28            73.65
             747. R&R Light fixture                                         1.00 EA                 6.82           65.11           2.10          14.80            88.83
             748. R&R Vinyl window - double                                 3.00 EA                18.48          286.48          40.39         191.04          1,146.31
             hung, 13-19 sf
             749. R&R Window drapery - hardware                             3.00 EA                 4.12           86.46           8.91          56.14           336.79
             750. Paint door slab only - 2 coats (per                       1.00 EA                 0.00           30.22           0.39           6.12            36.73
             side)
             751. R&R Crown molding - 2 1/4"                               17.00 LF                 0.55            5.72           4.10          22.14           132.83
             hardwood

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                        Consumer Adjuster LLC
                        Consumer Adjusters LLC
                        191 Chestnut St.
                        Springfield, MA 01103

                                                            CONTINUED - Living Room

      DESCRIPTION                                     QTY       REMOVE      REPLACE      TAX         O&P       TOTAL

      over door trim
      752. Seal & paint crown molding,           17.00 LF            0.00        1.92     0.17        6.56       39.37
      oversized - three coats
      753. R&R Door opening (jamb &               1.00 EA            5.14      130.70     6.36       28.44      170.64
      casing) - up to 32"wide - hardwood
      754. R&R Door opening (jamb &               1.00 EA            5.15      168.86     7.84       36.38      218.23
      casing) - 36"to60"wide - hardwood
      755. R&R Plinth block - 3/4" x 3 1/2"       6.00 EA            1.76        9.71     1.79       14.14       84.75
      x 6 1/2" - Hardwood
      756. R&R Window trim set (casing &         30.00 LF            0.41        4.53     4.59       30.56      183.35
      stop) - hardwood
      757. R&R Window sill - hardwood             8.00 LF            0.57        3.83     1.16        7.28       43.64
      758. Seal & paint door/window trim &        3.00 EA            0.00       29.91     0.75       18.10      108.58
      jamb - (per side)
      759. Prime & paint radiator unit            1.00 EA            0.00       53.59     0.43       10.80       64.82
      760. Clean radiator unit                    1.00 EA            0.00       24.47     0.00        4.90       29.37
      761. R&R Baseboard - 8" hardwood -         51.33 LF            0.49        9.47    21.14      106.48      638.87
      2 piece
      762. R&R Quarter round - 3/4" -            51.33 LF            0.14        1.82     3.69       20.86      125.16
      hardwood
      763. Seal & paint base shoe or quarter     51.33 LF            0.00        0.65     0.29        6.74       40.39
      round
      764. Seal & paint baseboard, oversized     51.33 LF            0.00        1.87     0.64       19.32      115.95
      - three coats
      765. Vapor barrier - 15# felt             205.44 SF            0.00        0.24     0.64        9.98       59.93
      766. Sand, stain, and finish wood floor   205.44 SF            0.00        3.97    12.20      165.56      993.36
      767. Additional coats of finish (per      205.44 SF            0.00        0.92     2.95       38.40      230.35
      coat)
      768. Add for dustless floor sanding       205.44 SF            0.00        1.00     0.00       41.08      246.52
      769. R&R Oak flooring - clear grade -     205.44 SF            1.92        9.18    80.64      472.18     2,833.20
      no finish
      770. Final cleaning - construction -      205.44 SF            0.00        0.21     0.00        8.62       51.76
      Residential

      Totals: Living Room                                                               325.00     3,255.58   19,533.47




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                                          Consumer Adjuster LLC
                                          Consumer Adjusters LLC
                                          191 Chestnut St.
                                          Springfield, MA 01103



                                        7' 8"                             Bedroom                                                                                   Height: 8' 6"
                                        7' 3"

                                                                                                      378.13   SF Walls                        117.22 SF Ceiling
                                                      8' 10"




                                                               Kitchen    Bathroom
                                                9'
                           "




                                                                                                      495.35   SF Walls & Ceiling              117.22 SF Floor
                    13' 8

                         "
                   13' 2




                                Bedroom                                            Coat Closet (1)
                                                                                                       13.02   SY Flooring                      44.49 LF Floor Perimeter
                                                6"
                                                      2' 6"




                               11' 9"
                                                                         Hallway                       44.49   LF Ceil. Perimeter
                               11' 2"            6"



      DESCRIPTION                                                                                    QTY        REMOVE        REPLACE        TAX            O&P            TOTAL
                                                                  Living Room
               Master Bedroom
      771. R&R   Sprayed polyurethane foam -                                            756.26 SF                    1.08             1.40   24.11         379.94          2,279.57
      2lb mix - per inch thick
      Closet (1)
      Exterior walls x 4"
      772. Tear off plaster on wood lath                                                495.35 SF                    1.33             0.00    0.00         131.76           790.58
      773. R&R 110 volt copper wiring run,                                                  1.00 EA                  4.39            58.45    0.60          12.70            76.14
      box and switch
      774. R&R 110 volt copper wiring run,                                                  2.00 EA                  4.39            58.37    1.18          25.34           152.04
      box and outlet
      775. Furring strip - 1" x 2"                                                      495.35 SF                    0.00             0.70    4.95          70.36           422.06
      776. Two coat plaster over 1/2"                                                   495.35 SF                    0.00             6.70   44.89         672.76          4,036.50
      gypsum core blueboard
      777. R&R Suspended ceiling system -                                               117.22 SF                    0.35             2.91   10.92          78.60           471.66
      2' x 2'
      778. Seal the walls w/PVA primer -                                                378.13 SF                    0.00             0.49    1.18          37.30           223.76
      one coat
      779. Paint the walls - two coats                                                  378.13 SF                    0.00             0.79    4.49          60.64           363.85
      780. R&R Smoke detector                                                               1.00 EA                  9.06            50.90    1.41          12.28            73.65
      781. R&R Fluorescent - acoustic grid                                                  1.00 EA                 11.40           137.50    3.23          30.42           182.55
      fixture, 2' x 2'
      782. R&R Vinyl window - double                                                        2.00 EA                 18.48           286.48   26.93         127.38           764.23
      hung, 13-19 sf
      783. R&R Window drapery - hardware                                                    1.00 EA                  4.12            86.46    2.97          18.72           112.27
      784. Paint door slab only - 2 coats (per                                              1.00 EA                  0.00            30.22    0.39           6.12            36.73
      side)
      785. R&R Door opening (jamb &                                                         1.00 EA                  5.14           130.70    6.36          28.44           170.64
      casing) - up to 32"wide - hardwood
      786. R&R Plinth block - 3/4" x 3 1/2"                                                 2.00 EA                  1.76             9.71    0.60           4.70            28.24
      x 6 1/2" - Hardwood
      787. R&R Window trim set (casing &                                                  24.00 LF                   0.41             4.53    3.68          24.44           146.68
      stop) - hardwood
      788. R&R Window sill - hardwood                                                       6.00 LF                  0.57             3.83    0.87           5.46            32.73
      789. Seal & paint door/window trim &                                                  2.00 EA                  0.00            29.91    0.50          12.06            72.38
      jamb - (per side)
      790. R&R Baseboard heat - steam or                                                  13.00 LF                   2.06            22.12    9.75          64.84           388.93
      hot water
      791. R&R Baseboard - 8" hardwood -                                                  44.49 LF                   0.49             9.47   18.32          92.28           553.72
      2 piece
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                                   Consumer Adjuster LLC
                                   Consumer Adjusters LLC
                                   191 Chestnut St.
                                   Springfield, MA 01103

                                                                      CONTINUED - Bedroom

          DESCRIPTION                                           QTY         REMOVE        REPLACE         TAX            O&P            TOTAL

          792. Seal & paint baseboard, oversized           44.49 LF              0.00             1.87     0.56         16.76            100.52
          - three coats
          793. Vapor barrier - 15# felt                   117.22 SF              0.00             0.24     0.37           5.70            34.20
          794. Sand, stain, and finish wood floor         117.22 SF              0.00             3.97     6.96         94.48            566.80
          795. Additional coats of finish (per            117.22 SF              0.00             0.92     1.69         21.90            131.43
          coat)
          796. Add for dustless floor sanding             117.22 SF              0.00             1.00     0.00         23.44            140.66
          797. R&R Oak flooring - clear grade -           117.22 SF              1.92             9.18    46.01        269.44           1,616.59
          no finish
          798. Final cleaning - construction -            117.22 SF              0.00             0.21     0.00           4.92            29.54
          Residential

          Totals: Bedroom                                                                                222.92       2,333.18       13,998.65



                           5' 6"                     Bathroom                                                                    Height: 8' 6"
                            5'
                                            5' 2"




                                                                  235.37   SF Walls                          44.23 SF Ceiling
                                   8' 10"




            Kitchen     Bathroom                                  279.59   SF Walls & Ceiling                44.23 SF Floor
                                                                    4.91   SY Flooring                       27.69 LF Floor Perimeter
                                            3' 8"




edroom                             Coat Closet (1)
                      1' 3" 2' 6" 1' 3"
                      1' 5"   1' 5"
                                                                   27.69   LF Ceil. Perimeter
                      Hallway



          DESCRIPTION                                           QTY         REMOVE        REPLACE         TAX            O&P            TOTAL

          799. R&R Sprayed polyurethane foam -            235.37 SF              1.08             1.40     7.50        118.24            709.46
                Living
          2lb mix      Room
                   - per  inch thick
droom
          Exterior walls x 4"
          800. Tear off plaster on wood lath              279.59 SF              1.33             0.00     0.00         74.38            446.23
          801. R&R 110 volt copper wiring run,              3.00 EA              4.39            58.37     1.77         38.02            228.07
          box and outlet
          802. Furring strip - 1" x 2"                    279.59 SF              0.00             0.70     2.80         39.70            238.21
          803. Two coat plaster over 1/2"                 279.59 SF              0.00             6.70    25.34        379.72           2,278.31
          gypsum core blueboard
          804. R&R Suspended ceiling system -              44.23 SF              0.35             2.91     4.12         29.66            177.97
          2' x 2'
          805. Seal the walls w/PVA primer -              235.37 SF              0.00             0.49     0.74         23.20            139.27
          one coat
          806. Paint the walls - two coats                235.37 SF              0.00             0.79     2.80         37.74            226.48
          807. R&R Light fixture                            1.00 EA              6.82            65.11     2.10         14.80             88.83
          808. R&R Vinyl window -                           1.00 EA             18.48           222.15    10.03         50.14            300.80
          hopper/transom, 3-6 sf
          809. R&R Interior door - solid alder -            1.00 EA             15.95           433.61    24.32         94.78            568.66
          paneled - pre-hung unit
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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                          CONTINUED - Bathroom

      DESCRIPTION                                   QTY      REMOVE      REPLACE     TAX         O&P     TOTAL

      810. R&R Door knob - interior             1.00 EA          10.23       41.84    1.34       10.66     64.07
      811. Seal & paint door slab only (per     1.00 EA           0.00       30.81    0.43        6.24     37.48
      side)
      812. R&R Door opening (jamb &             1.00 EA           5.14      130.70    6.36       28.44    170.64
      casing) - up to 32"wide - hardwood
      813. R&R Plinth block - 3/4" x 3 1/2"     2.00 EA           1.76        9.71    0.60        4.70     28.24
      x 6 1/2" - Hardwood
      814. R&R Window sill - hardwood           2.00 LF           0.57        3.83    0.29        1.82     10.91
      815. Seal & paint door/window trim &      1.00 EA           0.00       29.80    0.25        6.02     36.07
      jamb - (per side)
      816. R&R Cabinet knob or pull             2.00 EA           0.96        6.88    0.41        3.22     19.31
      817. Prime & paint radiator unit          1.00 EA           0.00       53.59    0.43       10.80     64.82
      818. Clean radiator unit                  1.00 EA           0.00       24.47    0.00        4.90     29.37
      819. R&R Toilet                           1.00 EA          20.47      392.19   14.38       85.42    512.46
      820. R&R Toilet seat                      1.00 EA           5.58       50.18    1.97       11.56     69.29
      821. R&R Medicine cabinet                 2.00 EA          14.75      159.99   17.06       73.32    439.86
      822. R&R Sink faucet - Bathroom           1.00 EA          15.34      180.76    7.45       40.72    244.27
      823. R&R Vanity                           2.33 LF           6.14      130.32   14.85       66.58    399.39
      824. R&R Vanity with cultured marble      2.33 LF           7.67      138.95   13.83       71.10    426.55
      or solid surface top
      825. R&R Bathtub                          1.00 EA          61.39      746.23   24.89      166.50    999.01
      826. R&R Tile tub surround - up to 60     1.00 EA          98.04    1,014.10   23.78      227.18   1,363.10
      SF
      827. R&R Tub/shower faucet                1.00 EA          20.47      268.01    8.75       59.46    356.69
      828. R&R Shower curtain rod               1.00 EA           5.11       33.96    1.35        8.10     48.52
      829. R&R Towel bar                        2.00 EA           5.11       25.93    1.70       12.76     76.54
      830. R&R Toilet paper holder              1.00 EA           4.10       27.57    0.77        6.50     38.94
      831. R&R Chair rail - oversized - 3      27.69 LF           0.34        2.90    2.94       18.52    111.17
      1/4"
      832. Seal & paint chair rail - three     27.69 LF           0.00        1.75    0.24        9.74     58.44
      coats
      833. R&R Paneling                        83.07 SF           0.25        1.96    3.43       37.40    224.42
      834. R&R Baseboard - 8" hardwood -       27.69 LF           0.49        9.47   11.41       57.44    344.64
      2 piece
      835. R&R Quarter round - 3/4" -          27.69 LF           0.14        1.82    1.99       11.26     67.53
      hardwood
      836. Seal & paint base shoe or quarter   27.69 LF           0.00        0.65    0.16        3.64     21.80
      round
      837. Seal & paint baseboard, oversized   27.69 LF           0.00        1.87    0.35       10.44     62.57
      - three coats


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                                                       Consumer Adjuster LLC
                                                       Consumer Adjusters LLC
                                                       191 Chestnut St.
                                                       Springfield, MA 01103

                                                                                                            CONTINUED - Bathroom

               DESCRIPTION                                                                          QTY          REMOVE          REPLACE              TAX            O&P            TOTAL

               838. R&R Underlayment - 1/4"                                                  44.23 SF                     1.40         1.62            1.52          27.02           162.11
               lauan/mahogany plywood
               839. Floor preparation for resilient                                          44.23 SF                     0.00         0.59            0.28           5.28            31.66
               flooring
               840. R&R Vinyl tile                                                           44.23 SF                     0.93         3.54            5.97          40.74           244.41
               841. Final cleaning - construction -                                          44.23 SF                     0.00         0.21            0.00           1.86            11.15
               Residential
               842. R&R Vinyl - metal transition                                                3.00 LF                   0.62         2.82            0.23           2.12            12.67
               strip
               843. R&R 110 volt copper wiring run,                                             1.00 EA                   4.39        71.79            1.40          15.52            93.10
               box and GFI outlet
               844. R&R P-trap assembly - ABS                                                   1.00 EA                   6.14        48.26            0.38          10.96            65.74
               (plastic)
               845. Rough in plumbing - per fixture                                             3.00 EA                   0.00       482.13           14.27         292.14          1,752.80

               Totals: Bathroom                                                                                                                      266.98        2,350.46       14,102.03




                            Kitchen            Bathroom                               Hallway                                                                                 Height: 8' 6"
           Bedroom                                   Coat Closet (1)
                               2' 8"             2' 6"    2' 6" 1' 8"
                                                                                                      333.22    SF Walls                                 63.22 SF Ceiling
                      6"




                                              1' 5" 1' 5"            1' 6"
                                              Hallway
                                              6'                                                      396.44    SF Walls & Ceiling                       63.22 SF Floor
                                                                      5' 8"
                                                                              6' 4"




                           3' 10"                    4' 2"
                             4'                     3' 10"         2' 6"
                                                                                                        7.02    SY Flooring                              37.33 LF Floor Perimeter
                                                                         9"
                                                                                                       46.00    LF Ceil. Perimeter
                                 Living Room
     Master Bedroom

1)             Missing Wall - Goes to Floor                                                               6' X 6' 8"                          Opens into LIVING_ROOM
               Missing Wall - Goes to Floor                                                               2' 8" X 6' 8"                       Opens into KITCHEN


                                                                                      Subroom: Coat Closet (1)                                                                Height: 8' 6"
hen                 Bathroom                   3' 6"
                                              3' 2"                                                   116.16    SF Walls                                 11.61 SF Ceiling
                                3' 10"



                                                      3' 8"
                                                              4'




                                     Coat Closet (1)
                                                                                                      127.76    SF Walls & Ceiling                       11.61 SF Floor
                                         4" 2' 6" 4"
                                                                                                        1.29    SY Flooring                              13.67 LF Floor Perimeter
                                         6"             6"
               Hallway
                                                                                                       13.67    LF Ceil. Perimeter


               DESCRIPTION                                                                          QTY          REMOVE          REPLACE              TAX            O&P            TOTAL

               846. R&R Sprayed polyurethane foam -                                         449.38 SF                     1.08         1.40           14.32         225.74          1,354.52
               2lb mix - per inch thick
               dividing walls x 4"
      Living Room
               847. Tear off plaster on wood lath                                           524.21 SF                     1.33         0.00            0.00         139.44           836.64
               848. Furring strip - 1" x 2"                                                 524.21 SF                     0.00         0.70            5.24          74.44           446.63
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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
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                                                             CONTINUED - Hallway

      DESCRIPTION                                      QTY     REMOVE      REPLACE        TAX         O&P     TOTAL

      849. Two coat plaster over 1/2"            524.21 SF          0.00           6.70   47.51      711.94   4,271.66
      gypsum core blueboard
      850. R&R Suspended ceiling system -         74.83 SF          0.33           2.68    6.36       46.32    277.91
      2' x 4'
      851. Seal the walls w/PVA primer -         449.38 SF          0.00           0.49    1.40       44.32    265.92
      one coat
      852. Paint the walls - two coats           449.38 SF          0.00           0.79    5.34       72.06    432.41
      853. R&R Smoke detector                      1.00 EA          9.06       50.90       1.41       12.28     73.65
      854. R&R Carbon monoxide detector            1.00 EA          9.08       70.56       2.56       16.46     98.66
      855. R&R Light fixture                       1.00 EA          6.82       65.11       2.10       14.80     88.83
      856. R&R Door bell/chime - Premium           1.00 EA          4.12      190.35       6.54       40.20    241.21
      grade
      857. R&R Intercom - Remote station           1.00 EA          6.83      116.43       3.08       25.26    151.60
      858. R&R Exterior door - fiberglass /        1.00 EA         17.54      872.85      50.65      188.22   1,129.26
      wood w/detail - Premium grade
      859. R&R Door lockset & deadbolt -           1.00 EA         12.26       85.21       3.60       20.22    121.29
      exterior
      860. R&R Interior door - solid alder -       1.00 EA         15.95      433.61      24.32       94.78    568.66
      paneled - pre-hung unit
      861. Door knob - interior                    1.00 EA          0.00       41.84       1.34        8.62     51.80
      862. Paint door slab only - 2 coats (per     1.00 EA          0.00       30.22       0.39        6.12     36.73
      side)
      863. Stain & finish door slab only (per      3.00 EA          0.00       47.53       1.40       28.80    172.79
      side)
      864. R&R Crown molding - 2 1/4"             21.00 LF          0.55           5.72    5.07       27.36    164.10
      hardwood
      over door trim
      865. Seal & paint crown molding,            21.00 LF          0.00           1.92    0.21        8.10     48.63
      oversized - three coats
      866. R&R Door opening (jamb &                5.00 EA          5.14      130.70      31.79      142.20    853.19
      casing) - up to 32"wide - hardwood
      867. R&R Door opening (jamb &                1.00 EA          5.15      168.86       7.84       36.38    218.23
      casing) - 36"to60"wide - hardwood
      868. R&R Plinth block - 3/4" x 3 1/2"       12.00 EA          1.76           9.71    3.58       28.24    169.46
      x 6 1/2" - Hardwood
      869. Seal & paint door/window trim &         6.00 EA          0.00       29.91       1.51       36.20    217.17
      jamb - (per side)
      870. R&R Robe hook                           2.00 EA          4.10       15.49       1.01        8.04     48.23
      871. R&R Shelving - 16" - in place           3.17 LF          0.41           8.28    0.77        5.68     34.00
      872. R&R 110 volt copper wiring run,         2.00 EA          4.39       58.45       1.19       25.38    152.25
      box and switch
      873. R&R Baseboard - 8" hardwood -          51.00 LF          0.49           9.47   21.01      105.80    634.77
      2 piece

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                                                  Consumer Adjuster LLC
                                                  Consumer Adjusters LLC
                                                  191 Chestnut St.
                                                  Springfield, MA 01103

                                                                                                                           CONTINUED - Hallway

      DESCRIPTION                                                                                              QTY             REMOVE        REPLACE        TAX            O&P            TOTAL

      874. R&R Quarter round - 3/4" -                                                              51.00 LF                         0.14            1.82     3.67          20.72           124.35
      hardwood
      875. Seal & paint base shoe or quarter                                                       51.00 LF                         0.00            0.65     0.29           6.70            40.14
      round
      876. Seal & paint baseboard, oversized                                                       51.00 LF                         0.00            1.87     0.64          19.20           115.21
      - three coats
      877. Vapor barrier - 15# felt                                                                74.83 SF                         0.00            0.24     0.23           3.64            21.83
      878. Sand, stain, and finish wood floor                                                      74.83 SF                         0.00            3.97     4.44          60.30           361.82
      879. Additional coats of finish (per                                                         74.83 SF                         0.00            0.92     1.08          13.98            83.90
      coat)
      880. Add for dustless floor sanding                                                          74.83 SF                         0.00            1.00     0.00          14.96            89.79
      881. R&R Oak flooring - clear grade -                                                        74.83 SF                         1.92            9.18    29.37         172.00          1,031.98
      no finish
      882. Final cleaning - construction -                                                         74.83 SF                         0.00            0.21     0.00           3.14            18.85
      Residential

      Totals: Hallway                                                                                                                                      291.26       2,508.04       15,048.07
                                                                          Kitchen   Bathroom

                                         Bedroom                                           Coat Closet (1)


                                                                                    Hallway
                                       11' 3"
                                       11' 2"
                                                                                     Master Bedroom                                                                                Height: 8' 6"
               5' 4"
                          5' 4"




                                                                 2' 6"




                                                                                                                 439.36 SF Walls                              164.89 SF Ceiling
                                                                                                     Kitchen       Bathroom
                                                                             Living Room                         604.25 SF Walls & Ceiling                    164.89 SF Floor
              5' 4"
                        5' 6"




                                  Master Bedroom
                                                                 10' 2"




                                                                              Bedroom                             18.32 SY      Flooring
                                                                                                                           Coat Closet (1)                     51.69 LF Floor Perimeter
                       1' 2' 6"




         Closet (1)
                                                                                                                  51.69 LF Ceil. Perimeter
                                      11' 10"
                                                                                                                    Hallway
                                       12' 2"




                                             1' 3"                                   Subroom: Closet (1)                                                                           Height: 8' 6"
                                                1'
                                                                                                             Living Room
                                                                                                                 196.24       SF Walls                         21.31 SF Ceiling
                                                        5' 6"
                                              5' 4"




                                                                 Master Bedroom

                                                                                                                 217.55       SF Walls & Ceiling               21.31 SF Floor
                                         "
                                   10' 1
                                   9' 5"




                                    Closet (1)                                                                     2.37       SY Flooring                      23.09 LF Floor Perimeter
                                                      1' 2' 6"




                                     3' 10"                                                                       23.09       LF Ceil. Perimeter
                                     4' 5"



      DESCRIPTION                                                                                              QTY             REMOVE        REPLACE        TAX            O&P            TOTAL

      883. R&R Sprayed polyurethane foam - 1,271.20 SF                                                                              1.08            1.40    40.52         638.62          3,831.72
      2lb mix - per inch thick
      Exterior walls x 4"
      884. Tear off plaster on wood lath                                                          821.80 SF                         1.33            0.00     0.00         218.60          1,311.59
      885. R&R 110 volt copper wiring run,                                                           1.00 EA                        4.39           58.45     0.60          12.70            76.14
      box and switch

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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                             CONTINUED - Master Bedroom

      DESCRIPTION                                      QTY         REMOVE      REPLACE     TAX         O&P     TOTAL

      886. R&R 110 volt copper wiring run,         2.00 EA             4.39        58.37    1.18       25.34    152.04
      box and outlet
      887. Furring strip - 1" x 2"               821.80 SF             0.00         0.70    8.22      116.70    700.18
      888. Two coat plaster over 1/2"            821.80 SF             0.00         6.70   74.48    1,116.12   6,696.66
      gypsum core blueboard
      889. Remove Acoustic ceiling tile          186.20 SF             0.24         0.00    0.00        8.94     53.63
      furring
      890. Remove Acoustic ceiling tile          186.20 SF             0.49         0.00    0.00       18.24    109.48
      891. R&R Suspended ceiling system -        186.20 SF             0.33         2.68   15.83      115.26    691.56
      2' x 4'
      892. Seal the walls w/PVA primer -         635.60 SF             0.00         0.49    1.99       62.68    376.11
      one coat
      893. Paint the walls - two coats           635.60 SF             0.00         0.79    7.55      101.94    611.61
      894. R&R Smoke detector                      1.00 EA             9.06        50.90    1.41       12.28     73.65
      895. R&R Light fixture                       2.00 EA             6.82        65.11    4.21       29.60    177.67
      896. R&R Vinyl window - double               3.00 EA            18.48       286.48   40.39      191.04   1,146.31
      hung, 13-19 sf
      897. R&R Window drapery - hardware           3.00 EA             4.12        86.46    8.91       56.14    336.79
      898. Paint door slab only - 2 coats (per     3.00 EA             0.00        30.22    1.17       18.38    110.21
      side)
      899. R&R Door opening (jamb &                2.00 EA             5.14       130.70   12.72       56.88    341.28
      casing) - up to 32"wide - hardwood
      900. R&R Plinth block - 3/4" x 3 1/2"        4.00 EA             1.76         9.71    1.19        9.40     56.47
      x 6 1/2" - Hardwood
      901. R&R Window trim set (casing &          24.00 LF             0.41         4.53    3.68       24.44    146.68
      stop) - hardwood
      902. R&R Window sill - hardwood              6.00 LF             0.57         3.83    0.87        5.46     32.73
      903. Seal & paint door/window trim &         3.00 EA             0.00        29.91    0.75       18.10    108.58
      jamb - (per side)
      904. Prime & paint radiator unit             1.00 EA             0.00        53.59    0.43       10.80     64.82
      905. Clean radiator unit                     1.00 EA             0.00        24.47    0.00        4.90     29.37
      906. R&R Baseboard - 8" hardwood -          74.78 LF             0.49         9.47   30.80      155.12    930.73
      2 piece
      907. R&R Quarter round - 3/4" -             74.78 LF             0.14         1.82    5.38       30.40    182.35
      hardwood
      908. Seal & paint base shoe or quarter      74.78 LF             0.00         0.65    0.42        9.80     58.83
      round
      909. Seal & paint baseboard, oversized      74.78 LF             0.00         1.87    0.94       28.14    168.92
      - three coats
      910. Vapor barrier - 15# felt              186.20 SF             0.00         0.24    0.58        9.06     54.33
      911. Sand, stain, and finish wood floor    186.20 SF             0.00         3.97   11.06      150.06    900.33
      912. Additional coats of finish (per       186.20 SF             0.00         0.92    2.68       34.80    208.78
      coat)
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                                               Consumer Adjuster LLC
                                               Consumer Adjusters LLC
                                               191 Chestnut St.
                                               Springfield, MA 01103

                                                                                               CONTINUED - Master Bedroom

      DESCRIPTION                                                                         QTY              REMOVE           REPLACE            TAX                O&P            TOTAL

      913. Add for dustless floor sanding                                         186.20 SF                          0.00       1.00            0.00             37.24            223.44
      914. R&R Oak flooring - clear grade -                                       186.20 SF                          1.92       9.18           73.08            427.98           2,567.88
      no finish
      915. Final cleaning - construction -                                        186.20 SF                          0.00       0.21            0.00              7.82             46.92
      Residential
      916. R&R Shelving - 24" - in place                                           20.00 LF                          0.50       9.67            6.09             41.90            251.39

      Totals: Master Bedroom                                                                                                                  357.13           3,804.88       22,829.18

      Total: 2nd Floor Left (Fire)                                                                                                          2,034.00          17,828.82      106,970.72

                                                                                                            2nd Floor Right

                                  Kitchen
                                                         Pantry (1)
                                       2' 6
       Bathroom
                                           "
                                               3' 1                         Hallway                                                                                       Height: 8' 2"
                                                    0Closet
                                                     "
                                 ' 6"




                                                            (1)
                            "2
                              "
                         2' 6




                                                                  Bedroom                     245.19      SF Walls                                77.08 SF Ceiling
                       2' 8




                                                         "
                                                      2' 6
                                               9"




           Closet1 (1)Hallway
                    "




                                                                                              322.27      SF Walls & Ceiling                      77.08 SF Floor
               1' 6




                                                    3"
               7"




                                                                                                8.56      SY Flooring                             28.65 LF Floor Perimeter
                                                 5'
                        5' 5"
               5' 9"




                         2' 6"                                                                 36.15      LF Ceil. Perimeter
                                               "
                                          2' 2




                       8"
                                                                      Kitchen
                                                      Living Room
                                                                                             Pantry (1)
      Missing Wall - Goes to Floor                                                                  2' 6" X 6' 8"                      Opens into KITCHEN
      Missing Wall - Goes to Floor                                                                  5' X 6' 8"                         Opens into LIVING_ROOM
         Bathroom
                                                                                       Closet (1)

                                                                            Subroom: Closet1 (1)                                                                          Height: 8' 2"
                                   3' 2"                                                                         Bedroom
                                                                                                74.16     SF Walls                                     4.84 SF Ceiling
                                 2' 10"
                  2' 8"




                                                                                                79.00     SF Walls & Ceiling                           4.84 SF Floor
                                                      6"




                                Closet1 (1)                    Hallway
                                                    ' 6"




                                  1' 6
                                          "                                                      0.54     SY Flooring                                  9.08 LF Floor Perimeter
                                                 9" 1




                                1' 8
                                    "                                                            9.08     LF Ceil. Perimeter


      DESCRIPTION                                                                         QTY              REMOVE           REPLACE            TAX                O&P            TOTAL

      917. R&R Switch                                                                 3.00 EA                        4.12      12.97            0.27             10.32             61.86
      918. R&R Outlet                                                                 1.00 EA                        4.12      12.90            0.09              3.42             20.53
      919. R&R Suspended ceiling system -                                          81.92 SF                          0.35       2.91            7.63             54.94            329.63
      2' x 2'                                                                           Living Room

      920. Seal the walls w/PVA primer -                                          319.35 SF                          0.00       0.49            1.00             31.50            188.98
      one coat
      921. Paint the walls - two coats                                            319.35 SF                          0.00       0.79            3.79             51.22            307.30
      922. R&R Smoke detector                                                         1.00 EA                        9.06      50.90            1.41             12.28             73.65
      923. R&R Carbon monoxide detector                                               1.00 EA                        9.08      70.56            2.56             16.46             98.66
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                                              Consumer Adjuster LLC
                                              Consumer Adjusters LLC
                                              191 Chestnut St.
                                              Springfield, MA 01103

                                                                                     CONTINUED - Hallway

            DESCRIPTION                                                        QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

            924. R&R Door bell/chime - Premium                          1.00 EA                 4.12          190.35           6.54          40.20           241.21
            grade
            925. R&R Intercom - Remote station                          1.00 EA                 6.83          116.43           3.08          25.26           151.60
            926. R&R Exterior door - fiberglass /                       1.00 EA                17.54          872.85          50.65         188.22          1,129.26
            wood w/detail - Premium grade
            927. R&R Door lockset & deadbolt -                          1.00 EA                12.26           85.21           3.60          20.22           121.29
            exterior
            928. Stain & finish door slab only (per                     3.00 EA                 0.00           47.53           1.40          28.80           172.79
            side)
            929. Clean trim - wood                                    102.00 LF                 0.00            0.24           0.00           4.90            29.38
            930. Stain & finish door/window trim                        6.00 EA                 0.00           33.33           1.98          40.40           242.36
            & jamb (per side)
            931. Clean baseboard                                       37.73 LF                 0.00            0.24           0.00           1.82            10.88
            932. Stain & finish base shoe or                           37.73 LF                 0.00            1.03           0.40           7.86            47.12
            quarter round
            933. Stain & finish baseboard -                            37.73 LF                 0.00            1.44           0.52          10.96            65.81
            oversized
            934. Clean floor                                           81.92 SF                 0.00            0.30           0.00           4.92            29.50
            935. Sand, stain, and finish wood floor                    81.92 SF                 0.00            3.97           4.86          66.02           396.10
            936. Additional coats of finish (per                       81.92 SF                 0.00            0.92           1.18          15.32            91.87
            coat)
            937. Add for dustless floor sanding                        81.92 SF                 0.00            1.00           0.00          16.38            98.30
            938. Final cleaning - construction -                       81.92 SF                 0.00            0.21           0.00           3.44            20.64
            Residential

            Totals: Hallway                                                                                                   90.96         654.86          3,928.72
                  Kitchen
                                    Pantry (1)

     Bathroom
                               Closet (1)
                                            Bedroom
                 Hallway
        Closet1 (1)
                                                                 Living Room                                                                         Height: 8' 2"
                         5"
                       3"




                                            14'
                             5'




                                                                                416.71   SF Walls                               196.28 SF Ceiling
                           "




                                                        0"
                      2' 2




                                                    3' 1
                                                            4'




                                                                                612.99   SF Walls & Ceiling                     196.28 SF Floor
                               Living Room
                    10' 10"




                                                                                 21.81   SY Flooring                             50.11 LF Floor Perimeter
                                                        "
                                                    5' 5
                     11'




                                                                                 55.11   LF Ceil. Perimeter
                                                   0"
                                                  "
                                              3' 1
                                             4' 1




                           3' 6" 2' 9"
                           3' 10"         3' 9"


            Missing Wall - Goes to Floor                                          5' X 6' 8"                           Opens into HALLWAY
            DESCRIPTION                                                        QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

            939. R&R Switch                                             1.00 EA                 4.12           12.97           0.09           3.44            20.62
            940. R&R Outlet                                             3.00 EA                 4.12           12.90           0.26          10.28            61.60
            941. R&R Suspended ceiling system -                       196.28 SF                 0.33            2.68          16.68         121.50           728.98
            2' x 4'

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                                                  Consumer Adjuster LLC
                                                  Consumer Adjusters LLC
                                                  191 Chestnut St.
                                                  Springfield, MA 01103

                                                                                          CONTINUED - Living Room

               DESCRIPTION                                                          QTY         REMOVE        REPLACE         TAX            O&P            TOTAL

               942. Seal the walls w/PVA primer -                             416.71 SF              0.00             0.49     1.30          41.10           246.59
               one coat
               943. Paint the walls - two coats                               416.71 SF              0.00             0.79     4.95          66.84           400.99
               944. R&R Smoke detector                                          1.00 EA              9.06            50.90     1.41          12.28            73.65
               945. R&R Light fixture                                           1.00 EA              6.82            65.11     2.10          14.80            88.83
               946. R&R Vinyl window - double                                   3.00 EA             18.48           286.48    40.39         191.04          1,146.31
               hung, 13-19 sf
               947. Clean trim - wood                                          57.00 LF              0.00             0.24     0.00           2.74            16.42
               948. R&R Window drapery - hardware                               3.00 EA              4.12            86.46     8.91          56.14           336.79
               949. R&R Window trim set (casing &                              37.00 LF              0.41             4.53     5.67          37.70           226.15
               stop) - hardwood
               950. R&R Window sill - hardwood                                  8.00 LF              0.57             3.83     1.16           7.28            43.64
               951. Stain & finish door/window trim                             4.00 EA              0.00            33.33     1.32          26.92           161.56
               & jamb (per side)
               952. Clean radiator unit                                         1.00 EA              0.00            24.47     0.00           4.90            29.37
               953. Prime & paint radiator unit                                 1.00 EA              0.00            53.59     0.43          10.80            64.82
               954. Clean baseboard                                            50.11 LF              0.00             0.24     0.00           2.40            14.43
               955. Stain & finish base shoe or                                50.11 LF              0.00             1.03     0.53          10.42            62.56
               quarter round
               956. Stain & finish baseboard w/cap                             50.11 LF              0.00             1.52     0.56          15.36            92.09
               &/or shoe
               957. Clean floor                                               196.28 SF              0.00             0.30     0.00          11.78            70.66
               958. Sand, stain, and finish wood floor                        196.28 SF              0.00             3.97    11.65         158.18           949.06
               959. Additional coats of finish (per                           196.28 SF              0.00             0.92     2.82          36.68           220.08
               coat)
               960. Add for dustless floor sanding                            196.28 SF              0.00             1.00     0.00          39.26           235.54
               961. Final cleaning - construction -                           196.28 SF              0.00             0.21     0.00           8.24            49.46
               Residential

               Totals: Living Room                                                                                           100.23         890.08          5,340.20




             Kitchen                               12'
                                                                         Bedroom                                                                     Height: 8' 2"
                              Pantry (1)               6"
                                            "
                                          4' 3




                                                   12'
                                                                                      408.92   SF Walls                         139.93 SF Ceiling
                                  6"




hroom
                           Closet
                             1' 7 (1)
                                       1"




                                 "
                                                                     "
                                   1' 1




                                                                                      548.85   SF Walls & Ceiling               139.93 SF Floor
                                                               4' 1
                                                                   "
                                                              4' 5




                                             Bedroom
                            "
                           2' 6
                      9"




 Closet1 (1)Hallway                                                                    15.55   SY Flooring                       50.07 LF Floor Perimeter
                                                                  "




                                            14'
                                                              5' 5




                                                                                       50.07   LF Ceil. Perimeter
                                                              "
                                                         1' 6

                                                            "
                                                       1' 8




                           Living Room



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                                         Consumer Adjuster LLC
                                         Consumer Adjusters LLC
                                         191 Chestnut St.
                                         Springfield, MA 01103

                                                                              CONTINUED - Bedroom
     Kitchen

                                      Pantry (1)
                                                         Subroom: Closet (1)                                                                  Height: 8'
                                      1' 7
                                          "
                                                                           69.16   SF Walls                              4.34 SF Ceiling
                                        1"

                                      6"
                        2' 1



                                   " 8"
                            4" 2' 9"




                               Closet (1)                                  73.50   SF Walls & Ceiling                    4.34 SF Floor
                              ' 11




                                                                            0.48   SY Flooring                           8.65 LF Floor Perimeter
                         8" 1




                          1' 1
                                 1"                Bedroom                  8.65   LF Ceil. Perimeter

Hallway

               DESCRIPTION                                           QTY            REMOVE        REPLACE        TAX                O&P            TOTAL

               962. R&R Switch                                   1.00 EA                 4.12            12.97    0.09              3.44             20.62
               963. R&R Outlet                                   2.00 EA                 4.12            12.90    0.17              6.84             41.05
               964. R&R Suspended ceiling system -             144.27 SF                 0.33             2.68   12.26             89.30            535.81
               2' x 4'
               965. Seal the walls w/PVA primer -              478.08 SF                 0.00             0.49    1.49             47.16            282.91
               one coat
               966. Paint the walls - two coats                478.08 SF                 0.00             0.79    5.68             76.68            460.04
                                Living Room

               967. R&R Smoke detector                           1.00 EA                 9.06            50.90    1.41             12.28             73.65
               968. R&R Vinyl window - double                    2.00 EA                18.48           286.48   26.93            127.38            764.23
               hung, 13-19 sf
               969. R&R Window drapery - hardware                2.00 EA                 4.12            86.46    5.94             37.40            224.50
               970. Stain & finish door slab only (per           3.00 EA                 0.00            47.53    1.40             28.80            172.79
               side)
               971. Clean trim - wood                           68.00 LF                 0.00             0.24    0.00              3.26             19.58
               972. R&R Window trim set (casing &               24.00 LF                 0.41             4.53    3.68             24.44            146.68
               stop) - hardwood
               973. R&R Window sill - hardwood                   5.00 LF                 0.57             3.83    0.73              4.56             27.29
               974. Stain & finish door/window trim              3.00 EA                 0.00            33.33    0.99             20.20            121.18
               & jamb (per side)
               975. Prime & paint radiator unit                  1.00 EA                 0.00            53.59    0.43             10.80             64.82
               976. Clean radiator unit                          1.00 EA                 0.00            24.47    0.00              4.90             29.37
               977. Clean baseboard                             58.72 LF                 0.00             0.24    0.00              2.82             16.91
               978. Stain & finish base shoe or                 58.72 LF                 0.00             1.03    0.62             12.22             73.32
               quarter round
               979. Stain & finish baseboard -                  58.72 LF                 0.00             1.44    0.81             17.08            102.45
               oversized
               980. Clean floor                                144.27 SF                 0.00             0.30    0.00              8.66             51.94
               981. Sand, stain, and finish wood floor         144.27 SF                 0.00             3.97    8.57            116.28            697.60
               982. Additional coats of finish (per            144.27 SF                 0.00             0.92    2.07             26.96            161.76
               coat)
               983. Add for dustless floor sanding             144.27 SF                 0.00             1.00    0.00             28.86            173.13
               984. Final cleaning - construction -            144.27 SF                 0.00             0.21    0.00              6.06             36.36
               Residential
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                                                               Consumer Adjuster LLC
                                                               Consumer Adjusters LLC
                                                               191 Chestnut St.
                                                               Springfield, MA 01103

                                                                                                                     CONTINUED - Bedroom

              DESCRIPTION                                                                                   QTY            REMOVE        REPLACE                  TAX               O&P            TOTAL

              Totals: Bedroom                                                                                                                                    73.27            716.38           4,297.99




                                                                                             Kitchen                                                                                       Height: 8' 2"
                                       9"
                                      "
                                 4' 2




                                                         13'
                          3' 1 "




                                                                1"
                              2' 6
                               0"




                                                       12'
                                                               7"                                             292.58      SF Walls                                  90.18 SF Ceiling
                            "
                       4' 5




                                                                                                              382.76      SF Walls & Ceiling                        90.18 SF Floor
                     ' 4"
                    "




                                             Kitchen
                1' 2
                   1' 2




                               5' 9
                                                                                    2'




                                                                           Pantry (1)
                                     "                                                                         10.02      SY Flooring                               35.00 LF Floor Perimeter
                                                                                   "
                                                                              1' 9
                                                                             ' 7"




                              4' 9                2' 6
                                   "                     "
                                                                         " 1




              Bathroom                      4"                  3' 1
                                                                      0"Closet (1)                             39.50      LF Ceil. Perimeter
                                                                           2' 9




                                                                                         Bedroom
                    Closet1 (1) Hallway
              Missing Wall - Goes to Floor                                                                        2' 6" X 6' 8"                           Opens into HALLWAY


                                                                                             Subroom: Pantry (1)                                                                              Height: 8'
                                                       1' 1
                                                                1"
                                                                       Living Room                                77.50   SF Walls                                       6.48 SF Ceiling
                                                           "
                                                 4' 1 2' 6




    Kitchen
                                                                                                                  83.98   SF Walls & Ceiling                             6.48 SF Floor
                                                     "




                                         Pantry (1)
                                  "




                                                                "
                                1' 9




                                                               4' 3




                                         1' 7                                                                      0.72   SY Flooring                                    9.35 LF Floor Perimeter
                                                 "
                                                                                                                  11.35   LF Ceil. Perimeter
                               Closet (1)



              Missing Wall - Goes to  Floor
                                   Bedroom                                                                        2' X 6' 8"                              Opens into KITCHEN
Hallway       DESCRIPTION                                                                                   QTY            REMOVE        REPLACE                  TAX               O&P            TOTAL

              985. R&R Outlet                                                                           3.00 EA                   4.12           12.90            0.26             10.28             61.60
              986. Paint the walls - two coats                                                     370.09 SF                      0.00             0.79           4.40             59.36            356.13
              987. R&R Vinyl window - double                                                            1.00 EA                18.48            206.36            8.52             46.68            280.04
              hung, 4-8 sf
              988. R&R Window drapery - hardware                                                        1.00 EA                   4.12           86.46            2.97             18.72            112.27
              989. R&R Exterior door - solid alder -                                                    1.00 EA                17.54           1,064.57          62.63            228.94           1,373.68
              paneled
                                Living Room
              990. R&R Door lockset & deadbolt -                                                        1.00 EA                12.29             85.21            3.60             20.22            121.32
              exterior
              991. R&R Storm door assembly                                                              1.00 EA                14.44            213.77            8.97             47.44            284.62
              992. R&R Window trim set (casing &                                                       10.00 LF                   0.41             4.53           1.53             10.18             61.11
              stop) - hardwood
              993. R&R Window sill - hardwood                                                           1.00 LF                   0.57             3.83           0.15              0.92               5.47
              994. Clean trim - wood                                                                   39.00 LF                   0.00             0.24           0.00              1.88             11.24
              995. Seal & paint door/window trim &                                                      3.00 EA                   0.00           29.80            0.75             18.04            108.19
              jamb - (per side)
              996. Clean sink                                                                           1.00 EA                   0.00             9.04           0.00              1.80             10.84
              997. Clean sink faucet                                                                    1.00 EA                   0.00             6.72           0.00              1.34               8.06
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                                                Consumer Adjuster LLC
                                                Consumer Adjusters LLC
                                                191 Chestnut St.
                                                Springfield, MA 01103

                                                                                                         CONTINUED - Kitchen

      DESCRIPTION                                                                               QTY            REMOVE        REPLACE         TAX            O&P            TOTAL

      998. Clean countertop                                                                 1.00 SF                 0.00             0.51     0.00           0.10              0.61
      999. Clean cabinetry - lower - inside                                                11.67 LF                 0.00            10.26     0.06         23.96            143.75
      and out
      1,000. Clean cabinetry - upper - inside                                              16.50 LF                 0.00            10.26     0.08         33.88            203.25
      and out
      1,001. Prime & paint radiator unit                                                    1.00 EA                 0.00            53.59     0.43         10.80             64.82
      1,002. Clean radiator unit                                                            1.00 EA                 0.00            24.47     0.00           4.90            29.37
      1,003. Clean baseboard                                                               44.35 LF                 0.00             0.24     0.00           2.12            12.76
      1,004. Paint baseboard - two coats                                                   44.35 LF                 0.00             1.17     0.31         10.44             62.64
      1,005. R&R Underlayment - 1/4"                                                       96.66 SF                 1.40             1.62     3.32         59.04            354.27
      lauan/mahogany plywood
      1,006. Floor preparation for resilient                                               96.66 SF                 0.00             0.59     0.60         11.52             69.15
      flooring
      1,007. R&R Vinyl tile                                                                96.66 SF                 0.93             3.54    13.05         89.04            534.16
      1,008. R&R Vinyl - metal transition                                                   3.00 LF                 0.62             2.82     0.23           2.12            12.67
      strip
      1,009. Final cleaning - construction -                                               96.66 SF                 0.00             0.21     0.00           4.06            24.36
      Residential
      1,010. R&R Refrigerator - top freezer -                                               1.00 EA                27.28           611.01    36.94        135.04            810.27
      14 to 18 cf
      1,011. R&R Range - freestanding - gas                                                 1.00 EA                16.47           785.13    40.63        168.44           1,010.67

      Totals: Kitchen                                                                                                                       189.43       1,021.26          6,127.32




                  2' 8" 1'                                         Kitchen
                                                                             Bathroom                                                                               Height: 8' 2"
                           8"
                  2' 2"                          5' 2                            Pantry (1)
                          1' 6"                         "
                                                4' 9                                                 278.71   SF Walls                          43.81 SF Ceiling
                                        3' 4"
                                3' 6"




                                                    "
          6' 8"
                   6'




                                                                                                     322.52   SF Walls & Ceiling                43.81 SF Floor
                                                                " 2"




                    Bathroom
                                                                             Closet (1)
                                                            2' 6




                        3' 3"                                                                          4.87   SY Flooring                       34.13 LF Floor Perimeter
                                    3' 2"
                                                            "




                                                                                              Bedroom
                                                        2' 8




                     3' 4"
                                   2' 10                                                              34.13   LF Ceil. Perimeter
                                Closet1" (1)                Hallway




      DESCRIPTION                                                                               QTY            REMOVE        REPLACE         TAX            O&P            TOTAL

      1,012. R&R Outlet                                                                     1.00 EA                 4.12            12.90     0.09           3.42            20.53
      1,013. R&R Suspended ceiling system -        43.81 SF                                                         0.35             2.91     4.08         29.38            176.28
      2' x 2'                           Living Room
      1,014. Clean ceramic tile                                                           278.71 SF                 0.00             0.37     0.17         20.66            123.95
      1,015. R&R Vinyl window -                                                             1.00 EA                18.48           222.15    10.03         50.14            300.80
      hopper/transom, 3-6 sf
      1,016. Stain & finish door slab only                                                  1.00 EA                 0.00            47.53     0.47           9.60            57.60
      (per side)

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                                          Consumer Adjuster LLC
                                          Consumer Adjusters LLC
                                          191 Chestnut St.
                                          Springfield, MA 01103

                                                                                                           CONTINUED - Bathroom

      DESCRIPTION                                                                                    QTY        REMOVE        REPLACE         TAX            O&P            TOTAL

      1,017. Clean trim - wood                                                            25.00 LF                   0.00             0.24     0.00           1.20              7.20
      1,018. Stain & finish door/window                                                     2.00 EA                  0.00            33.33     0.66          13.48            80.80
      trim & jamb (per side)
      1,019. Prime & paint radiator unit                                                    1.00 EA                  0.00            53.59     0.43          10.80            64.82
      1,020. Toilet - Detach & reset                                                        1.00 EA                  0.00           190.27     0.34          38.12           228.73
      1,021. Clean toilet                                                                   1.00 EA                  0.00            15.18     0.00           3.04            18.22
      1,022. Clean sink faucet                                                              1.00 EA                  0.00             6.72     0.00           1.34              8.06
      1,023. Clean sink                                                                     1.00 EA                  0.00             9.04     0.00           1.80            10.84
      1,024. Clean vanity - inside and out                                                  2.33 LF                  0.00             9.20     0.01           4.28            25.73
      1,025. Clean tub / shower faucet                                                      1.00 EA                  0.00             9.78     0.00           1.96            11.74
      1,026. Clean shower                                                                   1.00 EA                  0.00            30.11     0.01           6.02            36.14
      1,027. Clean radiator unit                                                            1.00 EA                  0.00            24.47     0.00           4.90            29.37
      1,028. R&R Underlayment - 1/4"                                                      43.81 SF                   1.40             1.62     1.51          26.76           160.57
      lauan/mahogany plywood
      1,029. Floor preparation for resilient                                              43.81 SF                   0.00             0.59     0.27           5.24            31.36
      flooring
      1,030. R&R Vinyl tile                                                               43.81 SF                   0.93             3.54     5.91          40.34           242.08
      1,031. R&R Vinyl - metal transition                                                   3.00 LF                  0.62             2.82     0.23           2.12            12.67
      strip
      1,032. Final cleaning - construction -                                              43.81 SF                   0.00             0.21     0.00           1.84            11.04
      Residential

      Totals: Bathroom                                                                                                                        24.21         276.44          1,658.53

      Total: 2nd Floor Right                                                                                                                 478.10       3,559.02       21,352.76

                                                                                                                 1st Floor Left


                                        7' 8"                             Bedroom                                                                                    Height: 8' 6"
                                        7' 3"

                                                                                                      378.13   SF Walls                         117.22 SF Ceiling
                                                      8' 10"




                                                               Kitchen    Bathroom
                                                9'
                           "




                                                                                                      495.35   SF Walls & Ceiling               117.22 SF Floor
                    13' 8

                         "
                   13' 2




                                Bedroom                                            Coat Closet (1)
                                                                                                       13.02   SY Flooring                       44.49 LF Floor Perimeter
                                                6"
                                                      2' 6"




                               11' 9"
                                                                         Hallway                       44.49   LF Ceil. Perimeter
                               11' 2"            6"



      DESCRIPTION                                                                                    QTY        REMOVE        REPLACE         TAX            O&P            TOTAL
                                                                  Living Room
               Master Bedroom
      1,033. R&R     Sprayed polyurethane                                               756.26 SF                    1.08             1.40    24.11         379.94          2,279.57
      foam - 2lb mix - per inch thick
      Closet (1)
      Exterior walls x 4"


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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                           CONTINUED - Bedroom

      DESCRIPTION                                    QTY      REMOVE     REPLACE        TAX         O&P     TOTAL

      1,034. Tear off plaster on wood lath     495.35 SF          1.33           0.00    0.00      131.76    790.58
      1,035. R&R 110 volt copper wiring          1.00 EA          4.39       58.45       0.60       12.70     76.14
      run, box and switch
      1,036. R&R 110 volt copper wiring          2.00 EA          4.39       58.37       1.18       25.34    152.04
      run, box and outlet
      1,037. Furring strip - 1" x 2"           495.35 SF          0.00           0.70    4.95       70.36    422.06
      1,038. Two coat plaster over 1/2"        495.35 SF          0.00           6.70   44.89      672.76   4,036.50
      gypsum core blueboard
      1,039. R&R Suspended ceiling system -    117.22 SF          0.35           2.91   10.92       78.60    471.66
      2' x 2'
      1,040. Seal the walls w/PVA primer -     378.13 SF          0.00           0.49    1.18       37.30    223.76
      one coat
      1,041. Paint the walls - two coats       378.13 SF          0.00           0.79    4.49       60.64    363.85
      1,042. R&R Smoke detector                  1.00 EA          9.06       50.90       1.41       12.28     73.65
      1,043. R&R Fluorescent - acoustic          1.00 EA         11.40      137.50       3.23       30.42    182.55
      grid fixture, 2' x 2'
      1,044. R&R Vinyl window - double           2.00 EA         18.48      286.48      26.93      127.38    764.23
      hung, 13-19 sf
      1,045. R&R Window drapery -                1.00 EA          4.12       86.46       2.97       18.72    112.27
      hardware
      1,046. Paint door slab only - 2 coats      1.00 EA          0.00       30.22       0.39        6.12     36.73
      (per side)
      1,047. R&R Door opening (jamb &            1.00 EA          5.14      130.70       6.36       28.44    170.64
      casing) - up to 32"wide - hardwood
      1,048. R&R Plinth block - 3/4" x 3         2.00 EA          1.76           9.71    0.60        4.70     28.24
      1/2" x 6 1/2" - Hardwood
      1,049. R&R Window trim set (casing        24.00 LF          0.41           4.53    3.68       24.44    146.68
      & stop) - hardwood
      1,050. R&R Window sill - hardwood          6.00 LF          0.57           3.83    0.87        5.46     32.73
      1,051. Seal & paint door/window trim       2.00 EA          0.00       29.91       0.50       12.06     72.38
      & jamb - (per side)
      1,052. R&R Baseboard heat - steam or      13.00 LF          2.06       22.12       9.75       64.84    388.93
      hot water
      1,053. R&R Baseboard - 8" hardwood -      44.49 LF          0.49           9.47   18.32       92.28    553.72
      2 piece
      1,054. Seal & paint baseboard,            44.49 LF          0.00           1.87    0.56       16.76    100.52
      oversized - three coats
      1,055. Vapor barrier - 15# felt          117.22 SF          0.00           0.24    0.37        5.70     34.20
      1,056. Sand, stain, and finish wood      117.22 SF          0.00           3.97    6.96       94.48    566.80
      floor
      1,057. Additional coats of finish (per   117.22 SF          0.00           0.92    1.69       21.90    131.43
      coat)
      1,058. Add for dustless floor sanding    117.22 SF          0.00           1.00    0.00       23.44    140.66


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                                   Consumer Adjuster LLC
                                   Consumer Adjusters LLC
                                   191 Chestnut St.
                                   Springfield, MA 01103

                                                                      CONTINUED - Bedroom

          DESCRIPTION                                           QTY         REMOVE        REPLACE         TAX            O&P            TOTAL

          1,059. R&R Oak flooring - clear grade           117.22 SF              1.92             9.18    46.01        269.44           1,616.59
          - no finish
          1,060. Final cleaning - construction -          117.22 SF              0.00             0.21     0.00           4.92            29.54
          Residential

          Totals: Bedroom                                                                                222.92       2,333.18       13,998.65



                           5' 6"                     Bathroom                                                                    Height: 8' 6"
                            5'
                                            5' 2"




                                                                  235.37   SF Walls                          44.23 SF Ceiling
                                   8' 10"




            Kitchen     Bathroom                                  279.59   SF Walls & Ceiling                44.23 SF Floor
                                                                    4.91   SY Flooring                       27.69 LF Floor Perimeter
                                            3' 8"




edroom                             Coat Closet (1)
                      1' 3" 2' 6" 1' 3"
                      1' 5"   1' 5"
                                                                   27.69   LF Ceil. Perimeter
                      Hallway



          DESCRIPTION                                           QTY         REMOVE        REPLACE         TAX            O&P            TOTAL

          1,061. R&R Sprayed polyurethane                 235.37 SF              1.08             1.40     7.50        118.24            709.46
droom
          foam -Living Room - per inch thick
                 2lb mix
          Exterior walls x 4"
          1,062. Tear off plaster on wood lath            279.59 SF              1.33             0.00     0.00         74.38            446.23
          1,063. R&R 110 volt copper wiring                 3.00 EA              4.39            58.37     1.77         38.02            228.07
          run, box and outlet
          1,064. Furring strip - 1" x 2"                  279.59 SF              0.00             0.70     2.80         39.70            238.21
          1,065. Two coat plaster over 1/2"               279.59 SF              0.00             6.70    25.34        379.72           2,278.31
          gypsum core blueboard
          1,066. R&R Suspended ceiling system -            44.23 SF              0.35             2.91     4.12         29.66            177.97
          2' x 2'
          1,067. Seal the walls w/PVA primer -            235.37 SF              0.00             0.49     0.74         23.20            139.27
          one coat
          1,068. Paint the walls - two coats              235.37 SF              0.00             0.79     2.80         37.74            226.48
          1,069. R&R Light fixture                          1.00 EA              6.82            65.11     2.10         14.80             88.83
          1,070. R&R Vinyl window -                         1.00 EA             18.48           222.15    10.03         50.14            300.80
          hopper/transom, 3-6 sf
          1,071. R&R Interior door - solid alder -          1.00 EA             15.95           433.61    24.32         94.78            568.66
          paneled - pre-hung unit
          1,072. R&R Door knob - interior                   1.00 EA             10.23            41.84     1.34         10.66             64.07
          1,073. Seal & paint door slab only (per           1.00 EA              0.00            30.81     0.43           6.24            37.48
          side)
          1,074. R&R Door opening (jamb &                   1.00 EA              5.14           130.70     6.36         28.44            170.64
          casing) - up to 32"wide - hardwood
          1,075. R&R Plinth block - 3/4" x 3                2.00 EA              1.76             9.71     0.60           4.70            28.24
          1/2" x 6 1/2" - Hardwood

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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                          CONTINUED - Bathroom

      DESCRIPTION                                   QTY      REMOVE      REPLACE     TAX         O&P     TOTAL

      1,076. R&R Window sill - hardwood         2.00 LF           0.57        3.83    0.29        1.82     10.91
      1,077. Seal & paint door/window trim      1.00 EA           0.00       29.80    0.25        6.02     36.07
      & jamb - (per side)
      1,078. R&R Cabinet knob or pull           2.00 EA           0.96        6.88    0.41        3.22     19.31
      1,079. Prime & paint radiator unit        1.00 EA           0.00       53.59    0.43       10.80     64.82
      1,080. Clean radiator unit                1.00 EA           0.00       24.47    0.00        4.90     29.37
      1,081. R&R Toilet                         1.00 EA          20.47      392.19   14.38       85.42    512.46
      1,082. R&R Toilet seat                    1.00 EA           5.58       50.18    1.97       11.56     69.29
      1,083. R&R Medicine cabinet               2.00 EA          14.75      159.99   17.06       73.32    439.86
      1,084. R&R Sink faucet - Bathroom         1.00 EA          15.34      180.76    7.45       40.72    244.27
      1,085. R&R Vanity                         2.33 LF           6.14      130.32   14.85       66.58    399.39
      1,086. R&R Vanity with cultured           2.33 LF           7.67      138.95   13.83       71.10    426.55
      marble or solid surface top
      1,087. R&R Bathtub                        1.00 EA          61.39      746.23   24.89      166.50    999.01
      1,088. R&R Tile tub surround - up to      1.00 EA          98.04    1,014.10   23.78      227.18   1,363.10
      60 SF
      1,089. R&R Tub/shower faucet              1.00 EA          20.47      268.01    8.75       59.46    356.69
      1,090. R&R Shower curtain rod             1.00 EA           5.11       33.96    1.35        8.10     48.52
      1,091. R&R Towel bar                      2.00 EA           5.11       25.93    1.70       12.76     76.54
      1,092. R&R Toilet paper holder            1.00 EA           4.10       27.57    0.77        6.50     38.94
      1,093. R&R Chair rail - oversized - 3    27.69 LF           0.34        2.90    2.94       18.52    111.17
      1/4"
      1,094. Seal & paint chair rail - three   27.69 LF           0.00        1.75    0.24        9.74     58.44
      coats
      1,095. R&R Paneling                      83.07 SF           0.25        1.96    3.43       37.40    224.42
      1,096. R&R Baseboard - 8" hardwood -     27.69 LF           0.49        9.47   11.41       57.44    344.64
      2 piece
      1,097. R&R Quarter round - 3/4" -        27.69 LF           0.14        1.82    1.99       11.26     67.53
      hardwood
      1,098. Seal & paint base shoe or         27.69 LF           0.00        0.65    0.16        3.64     21.80
      quarter round
      1,099. Seal & paint baseboard,           27.69 LF           0.00        1.87    0.35       10.44     62.57
      oversized - three coats
      1,100. R&R Underlayment - 1/4"           44.23 SF           1.40        1.62    1.52       27.02    162.11
      lauan/mahogany plywood
      1,101. Floor preparation for resilient   44.23 SF           0.00        0.59    0.28        5.28     31.66
      flooring
      1,102. R&R Vinyl tile                    44.23 SF           0.93        3.54    5.97       40.74    244.41
      1,103. Final cleaning - construction -   44.23 SF           0.00        0.21    0.00        1.86     11.15
      Residential


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                                                       Consumer Adjuster LLC
                                                       Consumer Adjusters LLC
                                                       191 Chestnut St.
                                                       Springfield, MA 01103

                                                                                                            CONTINUED - Bathroom

               DESCRIPTION                                                                          QTY          REMOVE          REPLACE              TAX            O&P            TOTAL

               1,104. R&R Vinyl - metal transition                                              3.00 LF                   0.62         2.82            0.23           2.12            12.67
               strip
               1,105. R&R 110 volt copper wiring                                                1.00 EA                   4.39        71.79            1.40          15.52            93.10
               run, box and GFI outlet
               1,106. R&R P-trap assembly - ABS                                                 1.00 EA                   6.14        48.26            0.38          10.96            65.74
               (plastic)
               1,107. Rough in plumbing - per fixture                                           3.00 EA                   0.00       482.13           14.27         292.14          1,752.80

               Totals: Bathroom                                                                                                                      266.98        2,350.46       14,102.03




                            Kitchen            Bathroom                               Hallway                                                                                 Height: 8' 6"
           Bedroom                                   Coat Closet (1)
                               2' 8"             2' 6"    2' 6" 1' 8"
                                                                                                      333.22    SF Walls                                 63.22 SF Ceiling
                      6"




                                              1' 5" 1' 5"            1' 6"
                                              Hallway
                                              6'                                                      396.44    SF Walls & Ceiling                       63.22 SF Floor
                                                                      5' 8"
                                                                              6' 4"




                           3' 10"                    4' 2"
                             4'                     3' 10"         2' 6"
                                                                                                        7.02    SY Flooring                              37.33 LF Floor Perimeter
                                                                         9"
                                                                                                       46.00    LF Ceil. Perimeter
                                 Living Room
     Master Bedroom

1)             Missing Wall - Goes to Floor                                                               6' X 6' 8"                          Opens into LIVING_ROOM
               Missing Wall - Goes to Floor                                                               2' 8" X 6' 8"                       Opens into KITCHEN


                                                                                      Subroom: Coat Closet (1)                                                                Height: 8' 6"
hen                 Bathroom                   3' 6"
                                              3' 2"                                                   116.16    SF Walls                                 11.61 SF Ceiling
                                3' 10"



                                                      3' 8"
                                                              4'




                                     Coat Closet (1)
                                                                                                      127.76    SF Walls & Ceiling                       11.61 SF Floor
                                         4" 2' 6" 4"
                                                                                                        1.29    SY Flooring                              13.67 LF Floor Perimeter
                                         6"             6"
               Hallway
                                                                                                       13.67    LF Ceil. Perimeter


               DESCRIPTION                                                                          QTY          REMOVE          REPLACE              TAX            O&P            TOTAL

               1,108. R&R Sprayed polyurethane                                              449.38 SF                     1.08         1.40           14.32         225.74          1,354.52
               foam - 2lb mix - per inch thick
               Exterior walls x 4"
      Living Room
               1,109. Tear off plaster on wood lath                                         524.21 SF                     1.33         0.00            0.00         139.44           836.64
               1,110. Furring strip - 1" x 2"                                               524.21 SF                     0.00         0.70            5.24          74.44           446.63
               1,111. Two coat plaster over 1/2"                                            524.21 SF                     0.00         6.70           47.51         711.94          4,271.66
               gypsum core blueboard
               1,112. R&R Suspended ceiling system -                                         74.83 SF                     0.33         2.68            6.36          46.32           277.91
               2' x 4'
               1,113. Seal the walls w/PVA primer -                                         449.38 SF                     0.00         0.49            1.40          44.32           265.92
               one coat
               1,114. Paint the walls - two coats                                           449.38 SF                     0.00         0.79            5.34          72.06           432.41
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                        Consumer Adjuster LLC
                        Consumer Adjusters LLC
                        191 Chestnut St.
                        Springfield, MA 01103

                                                            CONTINUED - Hallway

      DESCRIPTION                                     QTY     REMOVE      REPLACE        TAX         O&P     TOTAL

      1,115. R&R Smoke detector                   1.00 EA          9.06       50.90       1.41       12.28     73.65
      1,116. R&R Carbon monoxide                  1.00 EA          9.08       70.56       2.56       16.46     98.66
      detector
      1,117. R&R Light fixture                    1.00 EA          6.82       65.11       2.10       14.80     88.83
      1,118. R&R Door bell/chime -                1.00 EA          4.12      190.35       6.54       40.20    241.21
      Premium grade
      1,119. R&R Intercom - Remote station        1.00 EA          6.83      116.43       3.08       25.26    151.60
      1,120. R&R Exterior door - fiberglass /     1.00 EA         17.54      872.85      50.65      188.22   1,129.26
      wood w/detail - Premium grade
      1,121. R&R Door lockset & deadbolt -        1.00 EA         12.26       85.21       3.60       20.22    121.29
      exterior
      1,122. R&R Interior door - solid alder -    1.00 EA         15.95      433.61      24.32       94.78    568.66
      paneled - pre-hung unit
      1,123. Door knob - interior                 1.00 EA          0.00       41.84       1.34        8.62     51.80
      1,124. Paint door slab only - 2 coats       1.00 EA          0.00       30.22       0.39        6.12     36.73
      (per side)
      1,125. Stain & finish door slab only        3.00 EA          0.00       47.53       1.40       28.80    172.79
      (per side)
      1,126. R&R Crown molding - 2 1/4"          21.00 LF          0.55           5.72    5.07       27.36    164.10
      hardwood
      over door trim
      1,127. Seal & paint crown molding,         21.00 LF          0.00           1.92    0.21        8.10     48.63
      oversized - three coats
      1,128. R&R Door opening (jamb &             5.00 EA          5.14      130.70      31.79      142.20    853.19
      casing) - up to 32"wide - hardwood
      1,129. R&R Door opening (jamb &             1.00 EA          5.15      168.86       7.84       36.38    218.23
      casing) - 36"to60"wide - hardwood
      1,130. R&R Plinth block - 3/4" x 3         12.00 EA          1.76           9.71    3.58       28.24    169.46
      1/2" x 6 1/2" - Hardwood
      1,131. Seal & paint door/window trim        6.00 EA          0.00       29.91       1.51       36.20    217.17
      & jamb - (per side)
      1,132. R&R Robe hook                        2.00 EA          4.10       15.49       1.01        8.04     48.23
      1,133. R&R Shelving - 16" - in place        3.17 LF          0.41           8.28    0.77        5.68     34.00
      1,134. R&R 110 volt copper wiring           2.00 EA          4.39       58.45       1.19       25.38    152.25
      run, box and switch
      1,135. R&R Baseboard - 8" hardwood -       51.00 LF          0.49           9.47   21.01      105.80    634.77
      2 piece
      1,136. R&R Quarter round - 3/4" -          51.00 LF          0.14           1.82    3.67       20.72    124.35
      hardwood
      1,137. Seal & paint base shoe or           51.00 LF          0.00           0.65    0.29        6.70     40.14
      quarter round
      1,138. Seal & paint baseboard,             51.00 LF          0.00           1.87    0.64       19.20    115.21
      oversized - three coats
      1,139. Vapor barrier - 15# felt            74.83 SF          0.00           0.24    0.23        3.64     21.83
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                                      Consumer Adjuster LLC
                                      Consumer Adjusters LLC
                                      191 Chestnut St.
                                      Springfield, MA 01103

                                                                                         CONTINUED - Hallway

          DESCRIPTION                                                           QTY          REMOVE          REPLACE              TAX            O&P            TOTAL

          1,140. Sand, stain, and finish wood                              74.83 SF                   0.00          3.97           4.44          60.30           361.82
          floor
          1,141. Additional coats of finish (per                           74.83 SF                   0.00          0.92           1.08          13.98            83.90
          coat)
          1,142. Add for dustless floor sanding                            74.83 SF                   0.00          1.00           0.00          14.96            89.79
          1,143. R&R Oak flooring - clear grade                            74.83 SF                   1.92          9.18          29.37         172.00          1,031.98
          - no finish
          1,144. Final cleaning - construction -                           74.83 SF                   0.00          0.21           0.00           3.14            18.85
          Residential

          Totals: Hallway                                                                                                        291.26       2,508.04       15,048.07




                              7' 2"                            Kitchen                                                                                   Height: 8' 6"
                             6' 10"
                                                                                  248.75   SF Walls                                  60.44 SF Ceiling
                                                                                  309.20   SF Walls & Ceiling                        60.44 SF Floor
                                              8' 10"




                   1
                            Kitchen              Bathroom
                   9'




                                                        Coat Closet (1)
                                                                                    6.72   SY Flooring                               28.69 LF Floor Perimeter
       Bedroom
                        2' 1" 2' 8" 2' 1"                                          31.36   LF Ceil. Perimeter
                                      2' 3"
                                              Hallway


          Missing Wall - Goes to Floor                                                2' 8" X 6' 8"                        Opens into HALLWAY
          DESCRIPTION                                                           QTY          REMOVE          REPLACE              TAX            O&P            TOTAL

          1,145. R&R Sprayed      polyurethane
                            Living Room
                                                                          248.75 SF                   1.08          1.40           7.93         124.98           749.81
            foam
 Master Bedroom- 2lb mix - per inch thick
          Exterior walls x 4"
          1,146. Tear off plaster on wood lath                            309.20 SF                   1.33          0.00           0.00          82.24           493.48
          1,147. R&R 110 volt copper wiring                                 3.00 EA                   4.39        58.37            1.77          38.02           228.07
          run, box and outlet
          1,148. Furring strip - 1" x 2"                                  309.20 SF                   0.00          0.70           3.09          43.90           263.43
          1,149. Two coat plaster over 1/2"                               309.20 SF                   0.00          6.70          28.02         419.92          2,519.58
          gypsum core blueboard
          1,150. Seal the walls and ceiling                               309.20 SF                   0.00          0.49           0.97          30.50           182.98
          w/PVA primer - one coat
          1,151. Paint the walls and ceiling - two                        309.20 SF                   0.00          0.79           3.67          49.60           297.54
          coats
          1,152. R&R Light fixture                                          1.00 EA                   6.82        65.11            2.10          14.80            88.83
          1,153. R&R Vinyl window - double                                  1.00 EA               18.48          206.36            8.52          46.68           280.04
          hung, 4-8 sf
          1,154. R&R Window drapery -                                       1.00 EA                   4.12        86.46            2.97          18.72           112.27
          hardware
          1,155. R&R Exterior door - solid alder                            1.00 EA               17.54         1,064.57          62.63         228.94          1,373.68
          - paneled

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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                          CONTINUED - Kitchen

      DESCRIPTION                                   QTY     REMOVE      REPLACE         TAX         O&P     TOTAL

      1,156. R&R Door lockset & deadbolt -      1.00 EA         12.29       85.21        3.60       20.22    121.32
      exterior
      1,157. R&R Storm door assembly            1.00 EA         14.44      213.77        8.97       47.44    284.62
      1,158. Stain & finish door slab only      1.00 EA          0.00       47.53        0.47        9.60     57.60
      (per side)
      1,159. R&R Door opening (jamb &           2.00 EA          5.14      130.70       12.72       56.88    341.28
      casing) - up to 32"wide - hardwood
      1,160. R&R Plinth block - 3/4" x 3        4.00 EA          1.76           9.71     1.19        9.40     56.47
      1/2" x 6 1/2" - Hardwood
      1,161. R&R Window trim set (casing       10.00 LF          0.41           4.53     1.53       10.18     61.11
      & stop) - hardwood
      1,162. R&R Window sill - hardwood         1.00 LF          0.57           3.83     0.15        0.92       5.47
      1,163. Stain & finish door/window         3.00 EA          0.00       33.33        0.99       20.20    121.18
      trim & jamb (per side)
      1,164. R&R Cabinetry - upper (wall)      14.00 LF          6.14      129.52       88.55      397.58   2,385.37
      units
      1,165. R&R Range hood                     1.00 EA         10.30      181.80        6.86       39.80    238.76
      1,166. R&R Countertop - post formed      12.00 LF          3.39       45.41       25.95      122.32    733.87
      plastic laminate
      1,167. R&R Sink - single                  1.00 EA         15.34      226.49        8.88       50.14    300.85
      1,168. R&R Sink faucet - Kitchen          1.00 EA         15.34      199.05        8.64       44.60    267.63
      1,169. Add-on for tile backsplash        30.00 SF          0.00       12.15        0.00       72.90    437.40
      installation
      1,170. R&R Ceramic/porcelain tile        30.00 SF          1.48       10.88        8.08       75.78    454.66
      1,171. R&R Backsplash - plastic          12.00 SF          0.73           5.63     2.00       15.68     94.00
      laminate
      1,172. R&R Cabinetry - lower (base)      12.00 LF          6.14      162.46      100.61      424.76   2,548.57
      units
      1,173. R&R Cabinet knob or pull          22.00 EA          0.96           6.88     4.51       35.40    212.39
      1,174. Prime & paint radiator unit        1.00 EA          0.00       53.59        0.43       10.80     64.82
      1,175. Clean radiator unit                1.00 EA          0.00       24.47        0.00        4.90     29.37
      1,176. R&R Baseboard - 8" hardwood -     28.69 LF          0.49           9.47    11.82       59.52    357.09
      2 piece
      1,177. R&R Quarter round - 3/4" -        28.69 LF          0.14           1.82     2.06       11.66     69.96
      hardwood
      1,178. Seal & paint base shoe or         28.69 LF          0.00           0.65     0.16        3.78     22.59
      quarter round
      1,179. Seal & paint baseboard,           28.69 LF          0.00           1.87     0.36       10.82     64.83
      oversized - three coats
      1,180. R&R Underlayment - 1/4"           60.44 SF          1.40           1.62     2.08       36.92    221.53
      lauan/mahogany plywood
      1,181. Floor preparation for resilient   60.44 SF          0.00           0.59     0.38        7.22     43.26
      flooring

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                                                  Consumer Adjuster LLC
                                                  Consumer Adjusters LLC
                                                  191 Chestnut St.
                                                  Springfield, MA 01103

                                                                                                                           CONTINUED - Kitchen

      DESCRIPTION                                                                                              QTY             REMOVE        REPLACE         TAX            O&P            TOTAL

      1,182. R&R Vinyl tile                                                                        60.44 SF                         0.93             3.54     8.16          55.68           334.01
      1,183. Final cleaning - construction -                                                       60.44 SF                         0.00             0.21     0.00           2.54            15.23
      Residential
      1,184. R&R Vinyl - metal transition                                                            3.00 LF                        0.62             2.82     0.23           2.12            12.67
      strip
      1,185. R&R Refrigerator - top freezer -                                                        1.00 EA                       27.28           611.01    36.94         135.04           810.27
      14 to 18 cf
      1,186. R&R Range - freestanding - gas                                                          1.00 EA                       16.47           785.13    40.63         168.44          1,010.67

      Totals: Kitchen                                                                                                                                       508.62       3,061.54       18,368.56
                                                                          Kitchen   Bathroom

                                         Bedroom                                           Coat Closet (1)


                                                                                    Hallway
                                       11' 3"
                                       11' 2"
                                                                                     Master Bedroom                                                                                 Height: 8' 6"
               5' 4"
                          5' 4"




                                                                 2' 6"




                                                                                                                 439.36 SF Walls                               164.89 SF Ceiling
                                                                                                     Kitchen       Bathroom
                                                                             Living Room                         604.25 SF Walls & Ceiling                     164.89 SF Floor
              5' 4"
                        5' 6"




                                  Master Bedroom
                                                                 10' 2"




                                                                              Bedroom                             18.32 SY      Flooring
                                                                                                                           Coat Closet (1)                      51.69 LF Floor Perimeter
                       1' 2' 6"




         Closet (1)
                                                                                                                  51.69 LF Ceil. Perimeter
                                      11' 10"
                                                                                                                    Hallway
                                       12' 2"




                                             1' 3"                                   Subroom: Closet (1)                                                                            Height: 8' 6"
                                                1'
                                                                                                             Living Room
                                                                                                                 196.24       SF Walls                          21.31 SF Ceiling
                                                        5' 6"
                                              5' 4"




                                                                 Master Bedroom

                                                                                                                 217.55       SF Walls & Ceiling                21.31 SF Floor
                                         "
                                   10' 1
                                   9' 5"




                                    Closet (1)                                                                     2.37       SY Flooring                       23.09 LF Floor Perimeter
                                                      1' 2' 6"




                                     3' 10"                                                                       23.09       LF Ceil. Perimeter
                                     4' 5"



      DESCRIPTION                                                                                              QTY             REMOVE        REPLACE         TAX            O&P            TOTAL

      1,187. R&R Sprayed polyurethane                                                          1,271.20 SF                          1.08             1.40    40.52         638.62          3,831.72
      foam - 2lb mix - per inch thick
      Exterior walls x 4"
      1,188. Tear off plaster on wood lath                                                        821.80 SF                         1.33             0.00     0.00         218.60          1,311.59
      1,189. R&R 110 volt copper wiring                                                              1.00 EA                        4.39            58.45     0.60          12.70            76.14
      run, box and switch
      1,190. R&R 110 volt copper wiring                                                              2.00 EA                        4.39            58.37     1.18          25.34           152.04
      run, box and outlet
      1,191. Furring strip - 1" x 2"                                                              821.80 SF                         0.00             0.70     8.22         116.70           700.18
      1,192. Two coat plaster over 1/2"                                                           821.80 SF                         0.00             6.70    74.48       1,116.12          6,696.66
      gypsum core blueboard
      1,193. Remove Acoustic ceiling tile                                                         186.20 SF                         0.24             0.00     0.00           8.94            53.63
      furring

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                        Consumer Adjuster LLC
                        Consumer Adjusters LLC
                        191 Chestnut St.
                        Springfield, MA 01103

                                                           CONTINUED - Master Bedroom

      DESCRIPTION                                    QTY         REMOVE      REPLACE     TAX         O&P     TOTAL

      1,194. Remove Acoustic ceiling tile      186.20 SF             0.49         0.00    0.00       18.24    109.48
      1,195. R&R Suspended ceiling system -    186.20 SF             0.33         2.68   15.83      115.26    691.56
      2' x 4'
      1,196. Seal the walls w/PVA primer -     635.60 SF             0.00         0.49    1.99       62.68    376.11
      one coat
      1,197. Paint the walls - two coats       635.60 SF             0.00         0.79    7.55      101.94    611.61
      1,198. R&R Smoke detector                  1.00 EA             9.06        50.90    1.41       12.28     73.65
      1,199. R&R Light fixture                   2.00 EA             6.82        65.11    4.21       29.60    177.67
      1,200. R&R Vinyl window - double           3.00 EA            18.48       286.48   40.39      191.04   1,146.31
      hung, 13-19 sf
      1,201. R&R Window drapery -                3.00 EA             4.12        86.46    8.91       56.14    336.79
      hardware
      1,202. Paint door slab only - 2 coats      3.00 EA             0.00        30.22    1.17       18.38    110.21
      (per side)
      1,203. R&R Door opening (jamb &            2.00 EA             5.14       130.70   12.72       56.88    341.28
      casing) - up to 32"wide - hardwood
      1,204. R&R Plinth block - 3/4" x 3         4.00 EA             1.76         9.71    1.19        9.40     56.47
      1/2" x 6 1/2" - Hardwood
      1,205. R&R Window trim set (casing        24.00 LF             0.41         4.53    3.68       24.44    146.68
      & stop) - hardwood
      1,206. R&R Window sill - hardwood          6.00 LF             0.57         3.83    0.87        5.46     32.73
      1,207. Seal & paint door/window trim       3.00 EA             0.00        29.91    0.75       18.10    108.58
      & jamb - (per side)
      1,208. Prime & paint radiator unit         1.00 EA             0.00        53.59    0.43       10.80     64.82
      1,209. Clean radiator unit                 1.00 EA             0.00        24.47    0.00        4.90     29.37
      1,210. R&R Baseboard - 8" hardwood -      74.78 LF             0.49         9.47   30.80      155.12    930.73
      2 piece
      1,211. R&R Quarter round - 3/4" -         74.78 LF             0.14         1.82    5.38       30.40    182.35
      hardwood
      1,212. Seal & paint base shoe or          74.78 LF             0.00         0.65    0.42        9.80     58.83
      quarter round
      1,213. Seal & paint baseboard,            74.78 LF             0.00         1.87    0.94       28.14    168.92
      oversized - three coats
      1,214. Vapor barrier - 15# felt          186.20 SF             0.00         0.24    0.58        9.06     54.33
      1,215. Sand, stain, and finish wood      186.20 SF             0.00         3.97   11.06      150.06    900.33
      floor
      1,216. Additional coats of finish (per   186.20 SF             0.00         0.92    2.68       34.80    208.78
      coat)
      1,217. Add for dustless floor sanding    186.20 SF             0.00         1.00    0.00       37.24    223.44
      1,218. R&R Oak flooring - clear grade    186.20 SF             1.92         9.18   73.08      427.98   2,567.88
      - no finish
      1,219. Final cleaning - construction -   186.20 SF             0.00         0.21    0.00        7.82     46.92
      Residential

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                                             Consumer Adjuster LLC
                                             Consumer Adjusters LLC
                                             191 Chestnut St.
                                             Springfield, MA 01103

                                                                                     CONTINUED - Master Bedroom

             DESCRIPTION                                                          QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

             1,220. R&R Shelving - 24" - in place                         20.00 LF                 0.50            9.67           6.09          41.90           251.39

             Totals: Master Bedroom                                                                                             357.13       3,804.88       22,829.18
                                 Kitchen    Bathroom

            Bedroom                               Coat Closet (1)


                                           Hallway
                       6" 3' 10"           6'      4' 2"
                                                                    Living Room                                                                         Height: 8' 6"
                                                            2' 6"




                            4'                    3' 10"
                         -
                        2' 6"




                                                                                   447.33   SF Walls                               205.44 SF Ceiling
                                                                                   652.78   SF Walls & Ceiling                     205.44 SF Floor
                                                          14' 4"




                                    Living Room
                                                       12' 2"




      Master Bedroom
                        10' 2"




                                                                                    22.83   SY Flooring                             51.33 LF Floor Perimeter
(1)
                                                                                    57.33   LF Ceil. Perimeter
                                       14' 4"
                                       14' 10"


             Missing Wall - Goes to Floor                                            6' X 6' 8"                           Opens into HALLWAY
             DESCRIPTION                                                          QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

             1,221. R&R Sprayed polyurethane                             894.67 SF                 1.08            1.40          28.52         449.44          2,696.74
             foam - 2lb mix - per inch thick
             Exterior walls x 4"
             1,222. Tear off plaster on wood lath                        652.78 SF                 1.33            0.00           0.00         173.64          1,041.84
             1,223. R&R 110 volt copper wiring                             1.00 EA                 4.39           58.45           0.60          12.70            76.14
             run, box and switch
             1,224. R&R 110 volt copper wiring                             3.00 EA                 4.39           58.37           1.77          38.02           228.07
             run, box and outlet
             1,225. Furring strip - 1" x 2"                              652.78 SF                 0.00            0.70           6.53          92.70           556.18
             1,226. Two coat plaster over 1/2"                           652.78 SF                 0.00            6.70          59.16         886.56          5,319.35
             gypsum core blueboard
             1,227. R&R Suspended ceiling system -                       205.44 SF                 0.35            2.91          19.13         137.76           826.62
             2' x 2'
             1,228. Seal the walls w/PVA primer -                        447.33 SF                 0.00            0.49           1.40          44.12           264.71
             one coat
             1,229. Paint the walls - two coats                          447.33 SF                 0.00            0.79           5.31          71.74           430.44
             1,230. R&R Smoke detector                                     1.00 EA                 9.06           50.90           1.41          12.28            73.65
             1,231. R&R Light fixture                                      1.00 EA                 6.82           65.11           2.10          14.80            88.83
             1,232. R&R Vinyl window - double                              3.00 EA                18.48          286.48          40.39         191.04          1,146.31
             hung, 13-19 sf
             1,233. R&R Window drapery -                                   3.00 EA                 4.12           86.46           8.91          56.14           336.79
             hardware
             1,234. Paint door slab only - 2 coats                         1.00 EA                 0.00           30.22           0.39           6.12            36.73
             (per side)
             1,235. R&R Crown molding - 2 1/4"                            17.00 LF                 0.55            5.72           4.10          22.14           132.83
             hardwood
             over door trim

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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                           CONTINUED - Living Room

      DESCRIPTION                                    QTY       REMOVE        REPLACE          TAX          O&P       TOTAL

      1,236. Seal & paint crown molding,        17.00 LF            0.00            1.92       0.17        6.56         39.37
      oversized - three coats
      1,237. R&R Door opening (jamb &            1.00 EA            5.14          130.70       6.36       28.44       170.64
      casing) - up to 32"wide - hardwood
      1,238. R&R Door opening (jamb &            1.00 EA            5.15          168.86       7.84       36.38       218.23
      casing) - 36"to60"wide - hardwood
      1,239. R&R Plinth block - 3/4" x 3         6.00 EA            1.76            9.71       1.79       14.14         84.75
      1/2" x 6 1/2" - Hardwood
      1,240. R&R Window trim set (casing        30.00 LF            0.41            4.53       4.59       30.56       183.35
      & stop) - hardwood
      1,241. R&R Window sill - hardwood          8.00 LF            0.57            3.83       1.16        7.28         43.64
      1,242. Seal & paint door/window trim       3.00 EA            0.00           29.91       0.75       18.10       108.58
      & jamb - (per side)
      1,243. Prime & paint radiator unit         1.00 EA            0.00           53.59       0.43       10.80         64.82
      1,244. Clean radiator unit                 1.00 EA            0.00           24.47       0.00        4.90         29.37
      1,245. R&R Baseboard - 8" hardwood -      51.33 LF            0.49            9.47     21.14       106.48       638.87
      2 piece
      1,246. R&R Quarter round - 3/4" -         51.33 LF            0.14            1.82       3.69       20.86       125.16
      hardwood
      1,247. Seal & paint base shoe or          51.33 LF            0.00            0.65       0.29        6.74         40.39
      quarter round
      1,248. Seal & paint baseboard,            51.33 LF            0.00            1.87       0.64       19.32       115.95
      oversized - three coats
      1,249. Vapor barrier - 15# felt          205.44 SF            0.00            0.24       0.64        9.98         59.93
      1,250. Sand, stain, and finish wood      205.44 SF            0.00            3.97     12.20       165.56       993.36
      floor
      1,251. Additional coats of finish (per   205.44 SF            0.00            0.92       2.95       38.40       230.35
      coat)
      1,252. Add for dustless floor sanding    205.44 SF            0.00            1.00       0.00       41.08       246.52
      1,253. R&R Oak flooring - clear grade    205.44 SF            1.92            9.18     80.64       472.18      2,833.20
      - no finish
      1,254. Final cleaning - construction -   205.44 SF            0.00            0.21       0.00        8.62         51.76
      Residential

      Totals: Living Room                                                                   325.00      3,255.58    19,533.47

      Total: 1st Floor Left                                                                1,971.91    17,313.68   103,879.96

                                                                1st Floor Right




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                                               Consumer Adjuster LLC
                                               Consumer Adjusters LLC
                                               191 Chestnut St.
                                               Springfield, MA 01103

                                  Kitchen
                                                         Pantry (1)
                                       2' 6
       Bathroom
                                           "
                                               3' 1                         Hallway                                                                                      Height: 8' 2"
                                                    0Closet
                                                     "
                                 ' 6"




                                                            (1)
                            "2
                              "
                         2' 6




                                                                  Bedroom                     245.19      SF Walls                                77.08 SF Ceiling
                       2' 8




                                                         "
                                                      2' 6
                                               9"




           Closet1 (1)Hallway
                    "




                                                                                              322.27      SF Walls & Ceiling                      77.08 SF Floor
               1' 6




                                                    3"
               7"




                                                                                                8.56      SY Flooring                             28.65 LF Floor Perimeter
                                                 5'
                        5' 5"
               5' 9"




                         2' 6"                                                                 36.15      LF Ceil. Perimeter
                                               "
                                          2' 2




                       8"
                                                                      Kitchen
                                                      Living Room
                                                                                             Pantry (1)
      Missing Wall - Goes to Floor                                                                  2' 6" X 6' 8"                       Opens into KITCHEN
      Missing Wall - Goes to Floor                                                                  5' X 6' 8"                          Opens into LIVING_ROOM
         Bathroom
                                                                                       Closet (1)

                                                                            Subroom: Closet1 (1)                                                                         Height: 8' 2"
                                   3' 2"                                                                     Bedroom
                                                                                                74.16     SF Walls                                     4.84 SF Ceiling
                                 2' 10"
                  2' 8"




                                                                                                79.00     SF Walls & Ceiling                           4.84 SF Floor
                                                      6"




                                Closet1 (1)                    Hallway
                                                    ' 6"




                                  1' 6
                                          "                                                      0.54     SY Flooring                                  9.08 LF Floor Perimeter
                                                 9" 1




                                1' 8
                                    "                                                            9.08     LF Ceil. Perimeter


      DESCRIPTION                                                                         QTY              REMOVE          REPLACE              TAX               O&P            TOTAL

      1,255. R&R Suspended ceiling system -                                        81.92 SF                         0.35         2.91           7.63             54.94            329.63
      2' x 2'
      1,256. Clean the walls                                                      319.35 SF                         0.00         0.25           0.20             16.00             96.04
      1,257. Seal the walls w/PVA primer -                                        319.35Living
                                                                                           SFRoom                   0.00         0.49           1.00             31.50            188.98
      one coat
      1,258. Paint the walls - two coats                                          319.35 SF                         0.00         0.79           3.79             51.22            307.30
      1,259. R&R Smoke detector                                                       1.00 EA                       9.06        50.90           1.41             12.28             73.65
      1,260. R&R Carbon monoxide                                                      1.00 EA                       9.08        70.56           2.56             16.46             98.66
      detector
      1,261. R&R Light fixture                                                        1.00 EA                       6.82        65.11           2.10             14.80             88.83
      1,262. R&R Switch                                                               3.00 EA                       4.12        12.97           0.27             10.32             61.86
      1,263. R&R Outlet                                                               1.00 EA                       4.12        12.90           0.09              3.42             20.53
      1,264. R&R Door bell/chime -                                                    1.00 EA                       4.12       190.35           6.54             40.20            241.21
      Premium grade
      1,265. R&R Intercom - Remote station                                            1.00 EA                       6.83       116.43           3.08             25.26            151.60
      1,266. R&R Exterior door - fiberglass /                                         1.00 EA                    17.54         872.85          50.65            188.22           1,129.26
      wood w/detail - Premium grade
      1,267. R&R Door lockset & deadbolt -                                            1.00 EA                    12.26          85.21           3.60             20.22            121.29
      exterior
      1,268. Stain & finish door slab only                                            3.00 EA                       0.00        47.53           1.40             28.80            172.79
      (per side)
      1,269. Clean trim - wood                                                    102.00 LF                         0.00         0.24           0.00              4.90             29.38
      1,270. Stain & finish door/window                                               6.00 EA                       0.00        33.33           1.98             40.40            242.36
      trim & jamb (per side)

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                                                               Consumer Adjuster LLC
                                                               Consumer Adjusters LLC
                                                               191 Chestnut St.
                                                               Springfield, MA 01103

                                                                                                                     CONTINUED - Hallway

              DESCRIPTION                                                                                   QTY            REMOVE        REPLACE               TAX               O&P            TOTAL

              1,271. Clean baseboard                                                                   37.73 LF                   0.00          0.24           0.00              1.82             10.88
              1,272. Stain & finish base shoe or                                                       37.73 LF                   0.00          1.03           0.40              7.86             47.12
              quarter round
              1,273. Stain & finish baseboard -                                                        37.73 LF                   0.00          1.44           0.52             10.96             65.81
              oversized
              1,274. Clean floor                                                                       81.92 SF                   0.00          0.30           0.00              4.92             29.50
              1,275. Sand, stain, and finish wood                                                      81.92 SF                   0.00          3.97           4.86             66.02            396.10
              floor
              1,276. Additional coats of finish (per                                                   81.92 SF                   0.00          0.92           1.18             15.32             91.87
              coat)
              1,277. Add for dustless floor sanding                                                    81.92 SF                   0.00          1.00           0.00             16.38             98.30
              1,278. Final cleaning - construction -                                                   81.92 SF                   0.00          0.21           0.00              3.44             20.64
              Residential

              Totals: Hallway                                                                                                                                 93.26            685.66           4,113.59




                                                                                             Kitchen                                                                                    Height: 8' 2"
                                       9"
                                      "
                                 4' 2




                                                         13'
                          3' 1 "




                                                                1"
                              2' 6
                               0"




                                                       12'
                                                               7"                                             292.58      SF Walls                               90.18 SF Ceiling
                            "
                       4' 5




                                                                                                              382.76      SF Walls & Ceiling                     90.18 SF Floor
                     ' 4"
                    "




                                             Kitchen
                1' 2
                   1' 2




                               5' 9
                                                                                    2'




                                                                           Pantry (1)
                                     "                                                                         10.02      SY Flooring                            35.00 LF Floor Perimeter
                                                                                   "
                                                                              1' 9
                                                                             ' 7"




                              4' 9                2' 6
                                   "                     "
                                                                         " 1




              Bathroom                      4"                  3' 1
                                                                      0"Closet (1)                             39.50      LF Ceil. Perimeter
                                                                           2' 9




                                                                                         Bedroom
                    Closet1 (1) Hallway
              Missing Wall - Goes to Floor                                                                        2' 6" X 6' 8"                        Opens into HALLWAY


                                                                                             Subroom: Pantry (1)                                                                           Height: 8'
                                                       1' 1
                                                                1"
                                                                       Living Room                                77.50   SF Walls                                    6.48 SF Ceiling
                                                           "
                                                 4' 1 2' 6




    Kitchen
                                                                                                                  83.98   SF Walls & Ceiling                          6.48 SF Floor
                                                     "




                                         Pantry (1)
                                  "




                                                                "
                                1' 9




                                                               4' 3




                                         1' 7                                                                      0.72   SY Flooring                                 9.35 LF Floor Perimeter
                                                 "
                                                                                                                  11.35   LF Ceil. Perimeter
                               Closet (1)



              Missing Wall - Goes to  Floor
                                   Bedroom                                                                        2' X 6' 8"                           Opens into KITCHEN
Hallway       DESCRIPTION                                                                                   QTY            REMOVE        REPLACE               TAX               O&P            TOTAL

              1,279. R&R Suspended ceiling system -                                                    96.66 SF                   0.35          2.91           9.00             64.82            388.93
              2' x 2'
              1,280. R&R Outlet                                                                         3.00 EA                   4.12         12.90           0.26             10.28             61.60
              1,281. Clean the walls                                                               370.09 SF                      0.00          0.25           0.23             18.54            111.29
              1,282. Paint the walls - two coats                                                   370.09 SF                      0.00          0.79           4.40             59.36            356.13

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                                Living Room
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                          Consumer Adjuster LLC
                          Consumer Adjusters LLC
                          191 Chestnut St.
                          Springfield, MA 01103

                                                           CONTINUED - Kitchen

      DESCRIPTION                                    QTY     REMOVE      REPLACE         TAX         O&P      TOTAL

      1,283. R&R Vinyl window - double           1.00 EA         18.48      206.36        8.52       46.68     280.04
      hung, 4-8 sf
      1,284. R&R Window drapery -                1.00 EA          4.12       86.46        2.97       18.72     112.27
      hardware
      1,285. R&R Exterior door - solid alder     1.00 EA         17.54     1,064.57      62.63      228.94    1,373.68
      - paneled
      1,286. R&R Door lockset & deadbolt -       1.00 EA         12.29       85.21        3.60       20.22     121.32
      exterior
      1,287. R&R Storm door assembly             1.00 EA         14.44      213.77        8.97       47.44     284.62
      1,288. R&R Window trim set (casing        10.00 LF          0.41           4.53     1.53       10.18      61.11
      & stop) - hardwood
      1,289. R&R Window sill - hardwood          1.00 LF          0.57           3.83     0.15        0.92        5.47
      1,290. Clean trim - wood                  39.00 LF          0.00           0.24     0.00        1.88      11.24
      1,291. Seal & paint door/window trim       3.00 EA          0.00       29.80        0.75       18.04     108.19
      & jamb - (per side)
      1,292. Clean sink                          1.00 EA          0.00           9.04     0.00        1.80      10.84
      1,293. Clean sink faucet                   1.00 EA          0.00           6.72     0.00        1.34        8.06
      1,294. Clean countertop                    1.00 SF          0.00           0.51     0.00        0.10        0.61
      1,295. Clean cabinetry - lower - inside   11.67 LF          0.00       10.26        0.06       23.96     143.75
      and out
      1,296. Clean cabinetry - upper - inside   16.50 LF          0.00       10.26        0.08       33.88     203.25
      and out
      1,297. Prime & paint radiator unit         1.00 EA          0.00       53.59        0.43       10.80      64.82
      1,298. Clean radiator unit                 1.00 EA          0.00       24.47        0.00        4.90      29.37
      1,299. Clean baseboard                    44.35 LF          0.00           0.24     0.00        2.12      12.76
      1,300. Paint baseboard - two coats        44.35 LF          0.00           1.17     0.31       10.44      62.64
      1,301. R&R Underlayment - 1/4"            96.66 SF          1.40           1.62     3.32       59.04     354.27
      lauan/mahogany plywood
      1,302. Floor preparation for resilient    96.66 SF          0.00           0.59     0.60       11.52      69.15
      flooring
      1,303. R&R Vinyl tile                     96.66 SF          0.93           3.54    13.05       89.04     534.16
      1,304. R&R Vinyl - metal transition        3.00 LF          0.62           2.82     0.23        2.12      12.67
      strip
      1,305. Final cleaning - construction -    96.66 SF          0.00           0.21     0.00        4.06      24.36
      Residential
      1,306. R&R Refrigerator - top freezer -    1.00 EA         27.28      611.01       36.94      135.04     810.27
      14 to 18 cf
      1,307. R&R Range - freestanding - gas      1.00 EA         16.47      785.13       40.63      168.44    1,010.67

      Totals: Kitchen                                                                   198.66     1,104.62   6,627.54




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                                                     Consumer Adjuster LLC
                                                     Consumer Adjusters LLC
                                                     191 Chestnut St.
                                                     Springfield, MA 01103



             Kitchen                                      12'
                                                                                    Bedroom                                                                           Height: 8' 2"
                              Pantry (1)                      6"
                                            "
                                          4' 3




                                                          12'
                                                                                                  408.92      SF Walls                        139.93 SF Ceiling
                                  6"




hroom
                           Closet
                             1' 7 (1)
                                       1"




                                 "
                                                                          "
                                   1' 1




                                                                                                  548.85      SF Walls & Ceiling              139.93 SF Floor
                                                                    4' 1
                                                                        "
                                                                   4' 5




                                              Bedroom
                            "
                           2' 6
                      9"




 Closet1 (1)Hallway
                                                                                                   15.55      SY Flooring                      50.07 LF Floor Perimeter
                                                                      "




                                            14'
                                                                   5' 5




                                                                                                   50.07      LF Ceil. Perimeter
                                                                  "
                                                             1' 6

                                                                "
                                                           1' 8




        Kitchen            Living Room

                                                  Pantry (1)
                                                                                    Subroom: Closet (1)                                                                  Height: 8'
                                                  1' 7
                                                      "
                                                                                                      69.16   SF Walls                              4.34 SF Ceiling
                                   1"

                                                         6"
                                  2' 1



                                                      " 8"
                                               4" 2' 9"




                                         Closet (1)                                                   73.50   SF Walls & Ceiling                    4.34 SF Floor
                                                 ' 11




                                                                                                       0.48   SY Flooring                           8.65 LF Floor Perimeter
                                            8" 1




                                       1' 1
                                             1"                               Bedroom                  8.65   LF Ceil. Perimeter

 Hallway

                  DESCRIPTION                                                                   QTY            REMOVE        REPLACE        TAX                O&P            TOTAL

                  1,308. R&R Switch                                                         1.00 EA                 4.12            12.97    0.09              3.44             20.62
                  1,309. R&R Outlet                                                         2.00 EA                 4.12            12.90    0.17              6.84             41.05
                  1,310. R&R Suspended ceiling system -                                   144.27 SF                 0.33             2.68   12.26             89.30            535.81
                  2' x 4'
                  1,311. Clean the walls                                                  478.08 SF                 0.00             0.25    0.30             23.96            143.78
                  1,312. Paint the walls - two coats                                      478.08 SF                 0.00             0.79    5.68             76.68            460.04
                                           Living Room
                  1,313. R&R Smoke detector                                                 1.00 EA                 9.06            50.90    1.41             12.28             73.65
                  1,314. R&R Light fixture                                                  1.00 EA                 6.82            65.11    2.10             14.80             88.83
                  1,315. R&R Vinyl window - double                                          2.00 EA                18.48           286.48   26.93            127.38            764.23
                  hung, 13-19 sf
                  1,316. R&R Window drapery -                                               2.00 EA                 4.12            86.46    5.94             37.40            224.50
                  hardware
                  1,317. Stain & finish door slab only                                      3.00 EA                 0.00            47.53    1.40             28.80            172.79
                  (per side)
                  1,318. Clean trim - wood                                                 68.00 LF                 0.00             0.24    0.00              3.26             19.58
                  1,319. R&R Window trim set (casing                                       24.00 LF                 0.41             4.53    3.68             24.44            146.68
                  & stop) - hardwood
                  1,320. R&R Window sill - hardwood                                         5.00 LF                 0.57             3.83    0.73              4.56             27.29
                  1,321. Stain & finish door/window                                         3.00 EA                 0.00            33.33    0.99             20.20            121.18
                  trim & jamb (per side)
                  1,322. Prime & paint radiator unit                                        1.00 EA                 0.00            53.59    0.43             10.80             64.82
                  1,323. Clean radiator unit                                                1.00 EA                 0.00            24.47    0.00              4.90             29.37
                  1,324. Clean baseboard                                                   58.72 LF                 0.00             0.24    0.00              2.82             16.91
                  1,325. Stain & finish base shoe or                                       58.72 LF                 0.00             1.03    0.62             12.22             73.32
                  quarter round

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                                                Consumer Adjuster LLC
                                                Consumer Adjusters LLC
                                                191 Chestnut St.
                                                Springfield, MA 01103

                                                                                                        CONTINUED - Bedroom

      DESCRIPTION                                                                               QTY            REMOVE        REPLACE        TAX            O&P            TOTAL

      1,326. Stain & finish baseboard -                                                    58.72 LF                 0.00             1.44    0.81         17.08            102.45
      oversized
      1,327. Clean floor                                                                  144.27 SF                 0.00             0.30    0.00           8.66            51.94
      1,328. Sand, stain, and finish wood                                                 144.27 SF                 0.00             3.97    8.57        116.28            697.60
      floor
      1,329. Additional coats of finish (per                                              144.27 SF                 0.00             0.92    2.07         26.96            161.76
      coat)
      1,330. Add for dustless floor sanding                                               144.27 SF                 0.00             1.00    0.00         28.86            173.13
      1,331. Final cleaning - construction -                                              144.27 SF                 0.00             0.21    0.00           6.06            36.36
      Residential

      Totals: Bedroom                                                                                                                       74.18         707.98          4,247.69




                  2' 8" 1'                                         Kitchen
                                                                             Bathroom                                                                              Height: 8' 2"
                           8"
                  2' 2"                          5' 2                            Pantry (1)
                          1' 6"                         "
                                                4' 9                                                 278.71   SF Walls                         43.81 SF Ceiling
                                        3' 4"
                                3' 6"




                                                    "
          6' 8"
                   6'




                                                                                                     322.52   SF Walls & Ceiling               43.81 SF Floor
                                                                " 2"




                    Bathroom
                                                                             Closet (1)
                                                            2' 6




                        3' 3"                                                                          4.87   SY Flooring                      34.13 LF Floor Perimeter
                                    3' 2"
                                                            "




                                                                                              Bedroom
                                                        2' 8




                     3' 4"
                                   2' 10"                                                             34.13   LF Ceil. Perimeter
                                Closet1 (1)                 Hallway




      DESCRIPTION                                                                               QTY            REMOVE        REPLACE        TAX            O&P            TOTAL

      1,332. R&R Outlet                                                                     1.00 EA                 4.12            12.90    0.09           3.42            20.53
      1,333. R&R Suspended ceiling system -        43.81 SF                                                         0.35             2.91    4.08         29.38            176.28
      2' x 2'                           Living Room
      1,334. Clean ceramic tile                                                           278.71 SF                 0.00             0.37    0.17         20.66            123.95
      1,335. R&R Light fixture                                                              1.00 EA                 6.82            65.11    2.10         14.80             88.83
      1,336. R&R Vinyl window -                                                             1.00 EA                18.48           222.15   10.03         50.14            300.80
      hopper/transom, 3-6 sf
      1,337. Stain & finish door slab only                                                  1.00 EA                 0.00            47.53    0.47           9.60            57.60
      (per side)
      1,338. Clean trim - wood                                                             25.00 LF                 0.00             0.24    0.00           1.20              7.20
      1,339. Stain & finish door/window                                                     2.00 EA                 0.00            33.33    0.66         13.48             80.80
      trim & jamb (per side)
      1,340. Prime & paint radiator unit                                                    1.00 EA                 0.00            53.59    0.43         10.80             64.82
      1,341. Toilet - Detach & reset                                                        1.00 EA                 0.00           190.27    0.34         38.12            228.73
      1,342. Clean toilet                                                                   1.00 EA                 0.00            15.18    0.00           3.04            18.22
      1,343. Clean sink faucet                                                              1.00 EA                 0.00             6.72    0.00           1.34              8.06
      1,344. Clean sink                                                                     1.00 EA                 0.00             9.04    0.00           1.80            10.84
      1,345. Clean vanity - inside and out                                                  2.33 LF                 0.00             9.20    0.01           4.28            25.73

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                                              Consumer Adjuster LLC


           A                                  Consumer Adjusters LLC
                                              191 Chestnut St.
                                              Springfield, MA 01103

                                                                                     CONTINUED - Bathroom

            DESCRIPTION                                                        QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

            1,346. Clean tub / shower faucet                            1.00 EA                 0.00            9.78           0.00           1.96            11.74
            1,347. Clean shower                                         1.00 EA                 0.00           30.11           0.01           6.02            36.14
            1,348. Clean radiator unit                                  1.00 EA                 0.00           24.47           0.00           4.90            29.37
            1,349. R&R Underlayment - 1/4"                             43.81 SF                 1.40            1.62           1.51          26.76           160.57
            lauan/mahogany plywood
            1,350. Floor preparation for resilient                     43.81 SF                 0.00            0.59           0.27           5.24            31.36
            flooring
            1,351. R&R Vinyl tile                                      43.81 SF                 0.93            3.54           5.91          40.34           242.08
            1,352. R&R Vinyl - metal transition                         3.00 LF                 0.62            2.82           0.23           2.12            12.67
            strip
            1,353. Final cleaning - construction -                     43.81 SF                 0.00            0.21           0.00           1.84            11.04
            Residential

            Totals: Bathroom                                                                                                  26.31         291.24          1,747.36
                  Kitchen
                                    Pantry (1)

     Bathroom
                               Closet (1)
                                            Bedroom
                 Hallway
        Closet1 (1)
                                                                 Living Room                                                                         Height: 8' 2"
                         5"
                       3"




                                            14'
                             5'




                                                                                416.71   SF Walls                               196.28 SF Ceiling
                           "




                                                        0"
                      2' 2




                                                    3' 1
                                                            4'




                                                                                612.99   SF Walls & Ceiling                     196.28 SF Floor
                               Living Room
                    10' 10"




                                                                                 21.81   SY Flooring                             50.11 LF Floor Perimeter
                                                        "
                                                    5' 5
                     11'




                                                                                 55.11   LF Ceil. Perimeter
                                                   0"
                                                  "
                                              3' 1
                                             4' 1




                           3' 6" 2' 9"
                           3' 10"         3' 9"


            Missing Wall - Goes to Floor                                          5' X 6' 8"                           Opens into HALLWAY
            DESCRIPTION                                                        QTY        REMOVE        REPLACE               TAX            O&P            TOTAL

            1,354. R&R Switch                                           1.00 EA                 4.12           12.97           0.09           3.44            20.62
            1,355. R&R Outlet                                           3.00 EA                 4.12           12.90           0.26          10.28            61.60
            1,356. R&R Suspended ceiling system -                     196.28 SF                 0.33            2.68          16.68         121.50           728.98
            2' x 4'
            1,357. Clean the walls                                    416.71 SF                 0.00            0.25           0.26          20.90           125.34
            1,358. Seal the walls w/PVA primer -                      416.71 SF                 0.00            0.49           1.30          41.10           246.59
            one coat
            1,359. Paint the walls - two coats                        416.71 SF                 0.00            0.79           4.95          66.84           400.99
            1,360. R&R Smoke detector                                   1.00 EA                 9.06           50.90           1.41          12.28            73.65
            1,361. R&R Light fixture                                    1.00 EA                 6.82           65.11           2.10          14.80            88.83
            1,362. R&R Vinyl window - double                            3.00 EA                18.48          286.48          40.39         191.04          1,146.31
            hung, 13-19 sf
            1,363. Clean trim - wood                                   57.00 LF                 0.00            0.24           0.00           2.74            16.42
            1,364. R&R Window drapery -                                 3.00 EA                 4.12           86.46           8.91          56.14           336.79
            hardware

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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                           CONTINUED - Living Room

      DESCRIPTION                                    QTY       REMOVE         REPLACE     TAX         O&P       TOTAL

      1,365. R&R Window trim set (casing        37.00 LF            0.41          4.53     5.67       37.70      226.15
      & stop) - hardwood
      1,366. R&R Window sill - hardwood          8.00 LF            0.57          3.83     1.16        7.28       43.64
      1,367. Stain & finish door/window          4.00 EA            0.00         33.33     1.32       26.92      161.56
      trim & jamb (per side)
      1,368. Clean radiator unit                 1.00 EA            0.00         24.47     0.00        4.90       29.37
      1,369. Prime & paint radiator unit         1.00 EA            0.00         53.59     0.43       10.80       64.82
      1,370. Clean baseboard                    50.11 LF            0.00          0.24     0.00        2.40       14.43
      1,371. Stain & finish base shoe or        50.11 LF            0.00          1.03     0.53       10.42       62.56
      quarter round
      1,372. Stain & finish baseboard w/cap     50.11 LF            0.00          1.52     0.56       15.36       92.09
      &/or shoe
      1,373. Clean floor                       196.28 SF            0.00          0.30     0.00       11.78       70.66
      1,374. Sand, stain, and finish wood      196.28 SF            0.00          3.97    11.65      158.18      949.06
      floor
      1,375. Additional coats of finish (per   196.28 SF            0.00          0.92     2.82       36.68      220.08
      coat)
      1,376. Add for dustless floor sanding    196.28 SF            0.00          1.00     0.00       39.26      235.54
      1,377. Final cleaning - construction -   196.28 SF            0.00          0.21     0.00        8.24       49.46
      Residential

      Totals: Living Room                                                                100.49      910.98     5,465.54

      Total: 1st Floor Right                                                             492.90     3,700.48   22,201.72

                                                                  Stairwell
      Stairwell

      DESCRIPTION                                    QTY       REMOVE         REPLACE     TAX         O&P       TOTAL

      1,378. R&R Exposed fire sprinkler        410.60 SF            0.87          2.80    22.07      305.80     1,834.77
      system (SF of bldg)

      Total: Stairwell                                                                    22.07      305.80     1,834.77




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                                     Consumer Adjuster LLC
                                                       Landing 1.5
                                     Consumer Adjusters LLC                                       Landing 2.5                       Landing 3.5
                                     191 Chestnut St.
                                     Springfield, MA 01103
                                                                 Up
                                                           Up                                              Up                                 Up
                    Entry                                                                             Up

                                                  Stairs From Entry                                                                                             Height: 10' 6"
                    2"       3' 4"
                                                      2nd Floor Hall     35.58   SF Walls                                            15.26 SF Ceiling
                                                                                              3rd Floor Hall
                            Up
                     Stairs From Entry
                                                                         50.84   SF Walls & Ceiling                                  30.31 SF Floor
                                                                                                                                   4th Floor Hall
                                         4'




       Stairs        Up
                                                                          3.37   SY Flooring                                          4.70 LF Floor Perimeter
                            3' 10"
                                                                          3.98   LF Ceil. Perimeter

                1st Floor Hall
      Missing Wall                                                       2 3/8" X 10' 6"                                Opens into Exterior
      Missing Wall                                                       3' 3 5/8" X 10' 6"                             Opens into ENTRY
      Missing Wall                                                       3' 10" X 10' 6"                                Opens into DEF_1ST_FLOO
      DESCRIPTION                                                      QTY        REMOVE              REPLACE                    TAX                    O&P           TOTAL

      1,379. Tear off plaster on wood lath                50.84 SF                        1.33                   0.00             0.00                  13.52            81.14
      1,380. Furring strip - 1" x 2"                      50.84 SF                        0.00                   0.70             0.51                   7.22            43.32
      1,381. Two coat plaster over 1/2"                   50.84 SF                        0.00                   6.70             4.61                  69.04           414.28
      gypsum core blueboard
      1,382. Seal the walls and ceiling                   50.84 SF                        0.00                   0.49             0.16                   5.02            30.09
      w/PVA primer - one coat
      1,383. Texture drywall - heavy hand                 50.84 SF                        0.00                   0.74             0.57                   7.64            45.83
      texture
      1,384. Paint the walls and ceiling - two            50.84 SF                        0.00                   0.79             0.60                   8.16            48.92
      coats
      1,385. R&R Light fixture                              1.00 EA                       6.82                  65.11             2.10                  14.80            88.83
      1,386. R&R Handrail - round / oval -                  4.00 LF                       0.66                   8.09             0.70                   7.14            42.84
      softwood - wall mounted
      1,387. Stain & finish handrail - wall                 4.00 LF                       0.00                   1.75             0.09                   1.42             8.51
      mounted
      1,388. Stain & finish stair riser - per             12.00 LF                        0.00                   3.38             0.34                   8.18            49.08
      side - per LF
      1,389. Seal & paint stair tread - per               12.00 LF                        0.00                   4.39             0.55                  10.66            63.89
      side - per LF
      1,390. R&R Stair tread - hardwood -                 12.00 EA                        7.66                  68.84            37.56                 191.12         1,146.68
      up to 4'
      1,391. R&R Stair riser - hardwood - up              12.00 EA                        2.79                  30.32            13.94                  82.24           493.50
      to 4'
      1,392. Final cleaning - construction -              30.31 SF                        0.00                   0.21             0.00                   1.28             7.65
      Residential

      Totals: Stairs From Entry                                                                                                  61.73                 427.44         2,564.56




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                                               Consumer Adjuster LLC
                                               Consumer Adjusters LLC                    Landing 1.5
                                               191 Chestnut St.                                                                      Landing 2.5               Landing 3.5

                                               Springfield, MA 01103
                                                                                                   Up
                                                                                              Up                                              Up                        Up
                                                 Entry                                                                                   Up

                                                                      Stairs                                                                                                              Height: 10' 6"
                                        3'
                                                                                                   39.48
                                                                                        2nd Floor Hall
                                                                                                           SF Walls                                             13.32 SF Ceiling
                                                         Up                                                                3rd Floor Hall                     4th Floor Hall
                                                                                                   52.80   SF Walls & Ceiling                                   26.21 SF Floor
                                4' 5"




                                                  Stairs From Entry
                                                    4'




                                   Stairs         Up

                                                                                                    2.91   SY Flooring                                           5.20 LF Floor Perimeter
                                                   5"




                                    3' 2"                                                           4.42   LF Ceil. Perimeter
                                             1st Floor Hall


                  Missing Wall                                                                     5 1/4" X 10' 6"                                 Opens into DEF_1ST_FLOO
                  Missing Wall                                                                     3' 2" X 10' 6"                                  Opens into DEF_1ST_FLOO
                  Missing Wall                                                                     3' X 10' 6"                                     Opens into Exterior

                                              Landing 1.5
                                                                      Subroom: Stairs4
                                                                               Landing 2.5 (2)                                                                                            Height: 10' 6"
                                _3' ,                                                                                       Landing 3.5


                                                                                                39.48      SF Walls                                             13.32 SF Ceiling
                                                         Up
                                                                                                52.80      SF Walls & Ceiling                                   26.21 SF Floor
                                4' 5"



                                                    4'




                                                  Up                                               Up                                  Up
ry                                                                                            Up 2.91      SY Flooring                                           5.20 LF Floor Perimeter
                                                   5"




                                    3' 2"                                                        4.42      LF Ceil. Perimeter
                                             2nd Floor Hall
     Up                                                                                 3rd Floor Hall                     4th Floor Hall
airs From Entry
p                 Missing Wall                                                                     5 1/4" X 10' 6"                                 Opens into DEF_2ND_FLOO
                  Missing Wall                                                                     3' 2" X 10' 6"                                  Opens into DEF_2ND_FLOO
                  Missing Wall                                                                     3' X 10' 6"                                     Opens into LANDING_15
r Hall

                       Landing 1.5
                                                                      Subroom:      Stairs3 (1)
                                                                           Landing 2.5                                 Landing 3.5                                                        Height: 10' 6"
                                 3' 10"
                                                                                                   35.58   SF Walls                                             15.26 SF Ceiling
                                  Up                                                               50.84   SF Walls & Ceiling                                   30.66 SF Floor
                                                        4'




                           Up
                                                                                   Up
                                                                                        Up
                                                                                                    3.41   SY Flooring          Up
                                                                                                                                                                 4.80 LF Floor Perimeter
                                                                                                    3.98   LF Ceil. Perimeter

                      2nd Floor Hall
                  Missing Wall                                               3rd Floor Hall        3' 10" X 10' 6"4th Floor Hall                   Opens into LANDING_15
                  Missing Wall                                                                     3' 10" X 10' 6"                                 Opens into DEF_2ND_FLOO

                       Landing 2.5                                      Landing 3.5
                                                                      Subroom: Stairs5 (3)                                                                                                Height: 10' 6"
                                 3' 10"
                                                                [                                  35.58   SF Walls                                             15.26 SF Ceiling
                                  Up                                              Up               50.84   SF Walls & Ceiling                                   30.66 SF Floor
                                                        4'




                           Up
                                                                                                    3.41   SY Flooring                                           4.80 LF Floor Perimeter
                                                                                                    3.98   LF Ceil. Perimeter

                      3rd Floor Hall                          1r       4th Floor Hall
                  Missing Wall                                                                     3' 10" X 10' 6"                                 Opens into LANDING_25
                  Missing Wall                                                                     3' 10" X 10' 6"                                 Opens into DEF_3RD_FLOO

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                                         Consumer Adjuster LLC
                                         Consumer Adjusters LLC
                                         191 Chestnut St.
                                         Springfield, MA 01103

                                                                                    CONTINUED - Stairs
ng 1.5
                                        Landing 2.5             Landing 3.5
                                                        Subroom: Stairs6 (4)                                                                         Height: 10' 6"
                                  3'
    Up                                                                          39.48   SF Walls                                 13.32 SF Ceiling
p                                                 Up
                                                                                52.80   SF Walls & Ceiling                       26.21 SF Floor
                          4' 5"




                                                                         Up
                                             4'




                                            Up

                                                                                 2.91   SY Flooring                               5.20 LF Floor Perimeter
                                             5"




or Hall                       3' 2"                                              4.42   LF Ceil. Perimeter
                                       3rd Floor Hall          4th Floor Hall


           Missing Wall                                                         5 1/4" X 10' 6"                       Opens into DEF_3RD_FLOO
           Missing Wall                                                         3' 2" X 10' 6"                        Opens into DEF_3RD_FLOO
           Missing Wall                                                         3' X 10' 6"                           Opens into LANDING_25

                  Landing 3.5
                                                        Subroom: Stairs8 (5)                                                                         Height: 10' 6"
                           3' 10"
                                                                                35.58   SF Walls                                 15.26 SF Ceiling
                            Up                                                  50.84   SF Walls & Ceiling                       30.66 SF Floor
                                                  4'




                                                                                 3.41   SY Flooring                               4.80 LF Floor Perimeter
                                                                                 3.98   LF Ceil. Perimeter

                 4th Floor Hall
           Missing Wall                                                         3' 10" X 10' 6"                       Opens into LANDING_35
           Missing Wall                                                         3' 10" X 10' 6"                       Opens into DEF_4TH_FLOO
           DESCRIPTION                                                  QTY              REMOVE        REPLACE                TAX            O&P            TOTAL

           1,393. Tear off plaster on wood lath               310.91 SF                       1.33             0.00            0.00         82.70            496.21
           1,394. Furring strip - 1" x 2"                     310.91 SF                       0.00             0.70            3.11         44.14            264.89
           1,395. Two coat plaster over 1/2"                  310.91 SF                       0.00             6.70           28.18        422.26           2,533.54
           gypsum core blueboard
           1,396. Seal the walls and ceiling                  310.91 SF                       0.00             0.49            0.97         30.68            184.00
           w/PVA primer - one coat
           1,397. Texture drywall - heavy hand                310.91 SF                       0.00             0.74            3.50         46.72            280.29
           texture
           1,398. Paint the walls and ceiling - two           310.91 SF                       0.00             0.79            3.69         49.86            299.17
           coats
           1,399. R&R Light fixture                              1.00 EA                      6.82            65.11            2.10         14.80             88.83
           1,400. R&R Balustrade                               39.00 LF                       4.10           102.63          151.30        862.76           5,176.53
           1,401. Stain & finish balustrade                    39.00 LF                       0.00            23.88            8.48        187.96           1,127.76
           1,402. Stain & finish stair riser - per             12.00 LF                       0.00             3.38            0.34           8.18            49.08
           side - per LF
           1,403. Stain & finish stair tread - per             12.00 LF                       0.00             5.06            0.50         12.24             73.46
           side - per LF
           1,404. R&R Stair Skirt/Apron - wall                 24.00 LF                       2.56            17.37           11.63         97.98            587.93
           side - hardwood


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                                        Consumer Adjuster LLC
                                        Consumer Adjusters LLC
                                        191 Chestnut St.
                                        Springfield, MA 01103

                                                                                            CONTINUED - Stairs

      DESCRIPTION                                                                    QTY        REMOVE                REPLACE                  TAX            O&P            TOTAL

      1,405. R&R Stair Skirt/Apron - open                                   24.00 LF                     2.56            51.31                 11.63        260.88           1,565.39
      side - hardwood
      1,406. Stain & finish stair skirt/apron                               48.00 LF                     0.00             6.51                  0.96         62.70            376.14
      1,407. R&R Stair tread - hardwood -                                   38.00 EA                     7.66            68.84                118.94        605.18           3,631.12
      up to 4'
      1,408. R&R Stair riser - hardwood - up                                45.00 EA                     2.79            30.32                 52.28        308.46           1,850.69
      to 4'
                                                                     Landing 1.5
      1,409. Final cleaning - construction -                              170.59 SF                      0.002.5
                                                                                                      Landing             0.21Landing 3.5       0.00           7.16            42.98
      Residential
                                                                              Up
      Totals: Stairs                                                     Up                                    Up                     Up      397.61       3,104.66      18,628.01
                               Entry                                                                      Up



                                                                    2nd Floor Hall
                                                                                                     3rd Floor Hall          4th Floor Hall
                      Stairs
                                       Up
                               Stairs From Entry
                                Up
                                                                 1st Floor Hall                                                                                         Height: 8'
                                       3' 10"
                                                                                      109.85   SF Walls                                           23.70 SF Ceiling
                                 5"




                       3' 2"
                                                        3' 10"
                                                3' 6"




                                                                                      133.55   SF Walls & Ceiling                                 23.70 SF Floor
                   3' 1"
           3' 5"




                           1st Floor Hall
                               7' 2"                                                    2.63   SY Flooring                                        13.73 LF Floor Perimeter
                               7' 10"
                                                                                       17.56   LF Ceil. Perimeter


      Missing Wall                                                                      3' 10" X 8'                              Opens into STAIRS_FROM_
      Missing Wall                                                                      5 1/4" X 8'                              Opens into MAIN
      Missing Wall                                                                      3' 2" X 8'                               Opens into MAIN
      DESCRIPTION                                                                    QTY        REMOVE                REPLACE                  TAX            O&P            TOTAL

      1,410. Tear off plaster on wood lath                                133.55 SF                      1.33             0.00                  0.00         35.52            213.14
      1,411. Furring strip - 1" x 2"                                      133.55 SF                      0.00             0.70                  1.34         18.96            113.79
      1,412. Two coat plaster over 1/2"                                   133.55 SF                      0.00             6.70                 12.10        181.38           1,088.27
      gypsum core blueboard
      1,413. Seal the walls and ceiling                                   133.55 SF                      0.00             0.49                  0.42         13.16             79.02
      w/PVA primer - one coat
      1,414. Texture drywall - heavy hand                                 133.55 SF                      0.00             0.74                  1.50         20.06            120.39
      texture
      1,415. Paint the walls and ceiling - two                            133.55 SF                      0.00             0.79                  1.59         21.42            128.51
      coats
      1,416. R&R Light fixture                                                1.00 EA                    6.82            65.11                  2.10         14.80             88.83
      1,417. R&R Door opening (jamb &                                         2.00 EA                    5.14           141.73                 13.19         61.40            368.33
      casing) - 32" to 36" wide - hardwood
      1,418. Stain & finish door/window                                       2.00 EA                    0.00            33.33                  0.66         13.48             80.80
      trim & jamb (per side)
      1,419. R&R Baseboard - 6" hardwood                                    13.73 LF                     0.41             6.27                  3.94         19.12            114.78
      1,420. R&R Quarter round - 3/4" -                                     13.73 LF                     0.14             1.82                  0.99           5.58            33.48
      hardwood
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                                                 Consumer Adjuster LLC
                                                 Consumer Adjusters LLC
                                                 191 Chestnut St.
                                                 Springfield, MA 01103

                                                                                      CONTINUED - 1st Floor Hall

               DESCRIPTION                                                         QTY         REMOVE            REPLACE            TAX            O&P            TOTAL

               1,421. Seal & paint base shoe or                        13.73 LF                       0.00           0.65            0.08           1.80            10.80
               quarter round
               1,422. Seal & paint baseboard,                          13.73 LF                       0.00           1.87            0.17           5.18            31.03
               oversized - three coats
               1,423. Vapor barrier - 15# felt                         23.70 SF                       0.00           0.24            0.07           1.16              6.92
               1,424. R&R Oak flooring - clear grade                   23.70 SF                       1.92           9.18            9.30         54.48            326.85
               - no finish
               1,425. Sand, stain, and finish wood                     23.70 SF                       0.00           3.97            1.41         19.10            114.60
               floor
               1,426. Add for dustless floor sanding                   23.70 SF                       0.00           1.00            0.00           4.74            28.44
               1,427. Final cleaning - construction -                  23.70 SF                       0.00           0.21            0.00           1.00              5.98
               Residential

               Totals: 1st Floor Hall                                                                                               48.86         492.34          2,953.96




                                                              Landing 1.5                                                                                    Height: 8'
                                        7' 10"
                                        7' 2"
                                                                                    124.00   SF Walls                                  29.86 SF Ceiling
                                                                                    153.86   SF Walls & Ceiling                        29.86 SF Floor
                    4' 6"
                            4' 2"




                                      Landing 1.5
                                                                   Landing 2.5        3.32   SY Flooring
                                                                                                 Landing 3.5                           15.50 LF Floor Perimeter
                                    3' -I   I-3'     10"
                                                                                     15.50   LF Ceil. Perimeter
                                                 d
                                                 Up
                                            Up                              Up                           Up
                                                                       Up
               Missing Wall                                                          3' X 8'                                Opens into STAIRS4
               Missing Wall
                        2nd Floor Hall
                                                                                     3' 10" X 8'                            Opens into STAIRS3
 U                                                                3rd Floor Hall                4th Floor Hall
 From Entry    DESCRIPTION                                                         QTY         REMOVE            REPLACE            TAX            O&P            TOTAL

               1,428. Tear off plaster on wood lath                  153.86 SF                        1.33           0.00            0.00         40.92            245.55

Hall           1,429. Furring strip - 1" x 2"                        153.86 SF                        0.00           0.70            1.54         21.84            131.08
               1,430. Two coat plaster over 1/2"                     153.86 SF                        0.00           6.70           13.94        208.96           1,253.76
               gypsum core blueboard
               1,431. Seal the walls and ceiling                     153.86 SF                        0.00           0.49            0.48         15.18             91.05
               w/PVA primer - one coat
               1,432. Texture drywall - heavy hand                   153.86 SF                        0.00           0.74            1.73         23.12            138.71
               texture
               1,433. Paint the walls and ceiling - two              153.86 SF                        0.00           0.79            1.83         24.68            148.06
               coats
               1,434. R&R Vinyl window - double                          2.00 EA                    18.48          286.48           26.93        127.38            764.23
               hung, 13-19 sf
               1,435. R&R Window trim set (casing                      24.00 LF                       0.41           4.53            3.68         24.44            146.68
               & stop) - hardwood
               1,436. Seal & paint door/window trim                      2.00 EA                      0.00          29.91            0.50         12.06             72.38
               & jamb - (per side)

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                                                 Consumer Adjuster LLC
                                                 Consumer Adjusters LLC
                                                 191 Chestnut St.
                                                 Springfield, MA 01103

                                                                                                    CONTINUED - Landing 1.5

               DESCRIPTION                                                                    QTY        REMOVE         REPLACE             TAX            O&P            TOTAL

               1,437. R&R Baseboard - 6" hardwood                                    15.50 LF                    0.41        6.27            4.45         21.62            129.62
               1,438. R&R Quarter round - 3/4" -                                     15.50 LF                    0.14        1.82            1.11           6.30            37.79
               hardwood
               1,439. Seal & paint base shoe or                                      15.50 LF                    0.00        0.65            0.09           2.04            12.21
               quarter round
               1,440. Seal & paint baseboard,                                        15.50 LF                    0.00        1.87            0.19           5.84            35.02
               oversized - three coats
               1,441. Vapor barrier - 15# felt                                       29.86 SF                    0.00        0.24            0.09           1.46              8.72
               1,442. R&R Oak flooring - clear grade                                 29.86 SF                    1.92        9.18           11.72         68.62            411.78
               - no finish
               1,443. Remove Vinyl floor covering                                    29.86 SF                    0.75        0.00            0.00           4.48            26.88
               (sheet goods)
               1,444. Vinyl floor covering (sheet                                    34.34 SF                    0.00        3.31            4.36         23.62            141.65
               goods)
               15 % waste added for Vinyl floor covering (sheet goods).
               1,445. Final cleaning - construction -                                29.86 SF                    0.00        0.21            0.00           1.26              7.53
               Residential

               Totals: Landing 1.5                                                                                                          72.64         633.82          3,802.70
                                     Landing 1.5
                                                                              Landing 2.5                Landing 3.5




                                         Up
                                                Up
                                                                          2nd Floor Hall
                                                                                       Up                       Up
                                                                                                                                                                     Height: 8'
                                                                                  Up
                                                3' 10"
                                                                                               109.85   SF Walls                               23.70 SF Ceiling
                                          5"




                    T           3' 2"                    T T
                                                                 3' 10"
                                                         3' 6"




                                                                                               133.55   SF Walls & Ceiling                     23.70 SF Floor
                            3' 1"
                    3' 5"




                                    2nd Floor Hall
 U
s From Entry        1
                                        7' 2"
                                                                 1
                                                                             3rd Floor Hall      2.63   SY   Flooring
                                                                                                         4th Floor Hall                        13.73 LF Floor Perimeter
                                        7' 10"
                                                                                                17.56   LF Ceil. Perimeter

Hall
               Missing Wall                                                                     3' 10" X 8'                         Opens into STAIRS3
               Missing Wall                                                                     5 1/4" X 8'                         Opens into STAIRS4
               Missing Wall                                                                     3' 2" X 8'                          Opens into STAIRS4
               DESCRIPTION                                                                    QTY        REMOVE         REPLACE             TAX            O&P            TOTAL

               1,446. Tear off plaster on wood lath                                133.55 SF                     1.33        0.00            0.00         35.52            213.14
               1,447. Furring strip - 1" x 2"                                      133.55 SF                     0.00        0.70            1.34         18.96            113.79
               1,448. Two coat plaster over 1/2"                                   133.55 SF                     0.00        6.70           12.10        181.38           1,088.27
               gypsum core blueboard
               1,449. Seal the walls and ceiling                                   133.55 SF                     0.00        0.49            0.42         13.16             79.02
               w/PVA primer - one coat
               1,450. Texture drywall - heavy hand                                 133.55 SF                     0.00        0.74            1.50         20.06            120.39
               texture
               1,451. Paint the walls and ceiling - two                            133.55 SF                     0.00        0.79            1.59         21.42            128.51
               coats
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                                          Consumer Adjuster LLC
                                          Consumer Adjusters LLC
                                          191 Chestnut St.
                                          Springfield, MA 01103

                                                                                 CONTINUED - 2nd Floor Hall

        DESCRIPTION                                                       QTY              REMOVE     REPLACE                TAX            O&P            TOTAL

        1,452. R&R Light fixture                                       1.00 EA                 6.82          65.11            2.10         14.80             88.83
        1,453. R&R Door opening (jamb &                                2.00 EA                 5.14         141.73           13.19         61.40            368.33
        casing) - 32" to 36" wide - hardwood
        1,454. Stain & finish door/window                              2.00 EA                 0.00          33.33            0.66         13.48             80.80
        trim & jamb (per side)
        1,455. R&R Baseboard - 6" hardwood                         13.73 LF                    0.41           6.27            3.94         19.12            114.78
        1,456. R&R Quarter round - 3/4" -                          13.73 LF                    0.14           1.82            0.99           5.58            33.48
        hardwood
        1,457. Seal & paint base shoe or                           13.73 LF                    0.00           0.65            0.08           1.80            10.80
        quarter round
        1,458. Seal & paint baseboard,                             13.73 LF                    0.00           1.87            0.17           5.18            31.03
        oversized - three coats
        1,459. Vapor barrier - 15# felt                            23.70 SF                    0.00           0.24            0.07           1.16              6.92
        1,460. R&R Oak flooring - clear grade                      23.70 SF                    1.92           9.18            9.30         54.48            326.85
        - no finish
        1,461. Sand, stain, and finish wood                        23.70 SF                    0.00           3.97            1.41         19.10            114.60
        floor
        1,462. Add for dustless floor sanding                      23.70 SF                    0.00           1.00            0.00           4.74            28.44
        1,463. Final cleaning - construction -                     23.70 SF                    0.00           0.21            0.00           1.00              5.98
        Residential

        Totals: 2nd Floor Hall                                                                                               48.86         492.34          2,953.96




                                                       Landing 2.5                                                                                    Height: 8'
                                 7' 10"
                                 7' 2"
                                                                            124.00     SF Walls                                 29.86 SF Ceiling
1.5          I
                                                                            153.86     SF Walls & Ceiling                       29.86 SF Floor
             4' 6"
                     4' 2"




                               Landing 2.5               Landing 3.5
                                                                              3.32     SY Flooring                              15.50 LF Floor Perimeter
                             3' -I   I-3'   10"
 U
             I
                                                                             15.50     LF Ceil. Perimeter
                                     F d  Up                     Up
                                     Up

        Missing Wall                                                             3' X 8'                             Opens into STAIRS6
Hall
        Missing Wall
                 3rd Floor Hall
                                                                                 3' 10" X 8'                         Opens into STAIRS5
                                                        4th Floor Hall

        DESCRIPTION                                                       QTY              REMOVE     REPLACE                TAX            O&P            TOTAL

        1,464. Tear off plaster on wood lath                     153.86 SF                     1.33           0.00            0.00         40.92            245.55
        1,465. Furring strip - 1" x 2"                           153.86 SF                     0.00           0.70            1.54         21.84            131.08
        1,466. Two coat plaster over 1/2"                        153.86 SF                     0.00           6.70           13.94        208.96           1,253.76
        gypsum core blueboard
        1,467. Seal the walls and ceiling                        153.86 SF                     0.00           0.49            0.48         15.18             91.05
        w/PVA primer - one coat
        1,468. Texture drywall - heavy hand                      153.86 SF                     0.00           0.74            1.73         23.12            138.71
        texture
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                                            Consumer Adjuster LLC
                                            Consumer Adjusters LLC
                                            191 Chestnut St.
                                            Springfield, MA 01103

                                                                                                 CONTINUED - Landing 2.5

          DESCRIPTION                                                                    QTY           REMOVE         REPLACE               TAX            O&P            TOTAL

          1,469. Paint the walls and ceiling - two                               153.86 SF                     0.00          0.79            1.83         24.68            148.06
          coats
          1,470. R&R Vinyl window - double                                            2.00 EA                 18.48        286.48           26.93        127.38            764.23
          hung, 13-19 sf
          1,471. R&R Window trim set (casing                                        24.00 LF                   0.41          4.53            3.68         24.44            146.68
          & stop) - hardwood
          1,472. Seal & paint door/window trim                                        2.00 EA                  0.00         29.91            0.50         12.06             72.38
          & jamb - (per side)
          1,473. R&R Baseboard - 6" hardwood                                        15.50 LF                   0.41          6.27            4.45         21.62            129.62
          1,474. R&R Quarter round - 3/4" -                                         15.50 LF                   0.14          1.82            1.11           6.30            37.79
          hardwood
          1,475. Seal & paint base shoe or                                          15.50 LF                   0.00          0.65            0.09           2.04            12.21
          quarter round
          1,476. Seal & paint baseboard,                                            15.50 LF                   0.00          1.87            0.19           5.84            35.02
          oversized - three coats
          1,477. Vapor barrier - 15# felt                                           29.86 SF                   0.00          0.24            0.09           1.46              8.72
          1,478. R&R Oak flooring - clear grade                                     29.86 SF                   1.92          9.18           11.72         68.62            411.78
          - no finish
          1,479. Remove Vinyl floor covering                                        29.86 SF                   0.75          0.00            0.00           4.48            26.88
          (sheet goods)
          1,480. Vinyl floor covering (sheet                                        34.34 SF                   0.00          3.31            4.36         23.62            141.65
          goods)
          15 % waste added for Vinyl floor covering (sheet goods).
          1,481. Final cleaning - construction -                                    29.86 SF                   0.00          0.21            0.00           1.26              7.53
          Residential

 1.5      Totals: Landing 2.5                                                                                                               72.64         633.82          3,802.70
                                Landing 2.5                           Landing 3.5


 Up

                                    Up
                                           Up
                                                                     3rd Floor Hall
                                                                              Up
                                                                                                                                                                     Height: 8'
                                           3' 10"
                                                                                           109.85     SF Walls                                 23.70 SF Ceiling
                                     5"




r Hall         T           3' 2"
                                                            3' 10"
                                                    3' 6"




                                                                                           133.55     SF Walls & Ceiling                       23.70 SF Floor
                       3' 1"
               3' 5"




                               3rd Floor Hall                        4th Floor Hall

               1                   7' 2"                                                     2.63     SY Flooring                              13.73 LF Floor Perimeter
                                   7' 10"
                                                                                            17.56     LF Ceil. Perimeter


          Missing Wall                                                                          3' 10" X 8'                         Opens into STAIRS5
          Missing Wall                                                                          5 1/4" X 8'                         Opens into STAIRS6
          Missing Wall                                                                          3' 2" X 8'                          Opens into STAIRS6
          DESCRIPTION                                                                    QTY           REMOVE         REPLACE               TAX            O&P            TOTAL

          1,482. Tear off plaster on wood lath                                   133.55 SF                     1.33          0.00            0.00         35.52            213.14
          1,483. Furring strip - 1" x 2"                                         133.55 SF                     0.00          0.70            1.34         18.96            113.79

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                                               Consumer Adjuster LLC
                                               Consumer Adjusters LLC
                                               191 Chestnut St.
                                               Springfield, MA 01103

                                                                              CONTINUED - 3rd Floor Hall

              DESCRIPTION                                                 QTY           REMOVE     REPLACE                 TAX              O&P          TOTAL

              1,484. Two coat plaster over 1/2"                   133.55 SF                 0.00           6.70            12.10           181.38        1,088.27
              gypsum core blueboard
              1,485. Seal the walls and ceiling                   133.55 SF                 0.00           0.49             0.42            13.16          79.02
              w/PVA primer - one coat
              1,486. Texture drywall - heavy hand                 133.55 SF                 0.00           0.74             1.50            20.06         120.39
              texture
              1,487. Paint the walls and ceiling - two            133.55 SF                 0.00           0.79             1.59            21.42         128.51
              coats
              1,488. R&R Light fixture                              1.00 EA                 6.82          65.11             2.10            14.80          88.83
              1,489. R&R Door opening (jamb &                       2.00 EA                 5.14         141.73            13.19            61.40         368.33
              casing) - 32" to 36" wide - hardwood
              1,490. Stain & finish door/window                     2.00 EA                 0.00          33.33             0.66            13.48          80.80
              trim & jamb (per side)
              1,491. R&R Baseboard - 6" hardwood                   13.73 LF                 0.41           6.27             3.94            19.12         114.78
              1,492. R&R Quarter round - 3/4" -                    13.73 LF                 0.14           1.82             0.99             5.58          33.48
              hardwood
              1,493. Seal & paint base shoe or                     13.73 LF                 0.00           0.65             0.08             1.80          10.80
              quarter round
              1,494. Seal & paint baseboard,                       13.73 LF                 0.00           1.87             0.17             5.18          31.03
              oversized - three coats
              1,495. Vapor barrier - 15# felt                      23.70 SF                 0.00           0.24             0.07             1.16            6.92
              1,496. R&R Oak flooring - clear grade                23.70 SF                 1.92           9.18             9.30            54.48         326.85
              - no finish
              1,497. Sand, stain, and finish wood                  23.70 SF                 0.00           3.97             1.41            19.10         114.60
              floor
              1,498. Add for dustless floor sanding                23.70 SF                 0.00           1.00             0.00             4.74          28.44
              1,499. Final cleaning - construction -               23.70 SF                 0.00           0.21             0.00             1.00            5.98
              Residential

              Totals: 3rd Floor Hall                                                                                       48.86           492.34        2,953.96




                                                            Landing 3.5                                                                             Height: 8'
                                       7' 10"
                                       7' 2"
                                                                           124.00   SF Walls                                  29.86 SF Ceiling
                                                                           153.86   SF Walls & Ceiling                        29.86 SF Floor
                   4' 6"
                           4' 2"




nding 2.5                            Landing 3.5
                                                                             3.32   SY Flooring                               15.50 LF Floor Perimeter
                                   3' -I   I-3'   10"
                   I
                                                                            15.50   LF Ceil. Perimeter
                                           ■
  Up
       Up
                                           Mni Up



              Missing Wall                                                    3' X 8'                             Opens into Exterior
Floor Hall
              Missing Wall
                       4th Floor Hall
                                                                              3' 10" X 8'                         Opens into STAIRS8
              DESCRIPTION                                                 QTY           REMOVE     REPLACE                 TAX              O&P          TOTAL


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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                                 CONTINUED - Landing 3.5

      DESCRIPTION                                       QTY          REMOVE      REPLACE      TAX         O&P     TOTAL

      1,500. Tear off plaster on wood lath      153.86 SF                 1.33         0.00    0.00       40.92    245.55
      1,501. Furring strip - 1" x 2"            153.86 SF                 0.00         0.70    1.54       21.84    131.08
      1,502. Two coat plaster over 1/2"         153.86 SF                 0.00         6.70   13.94      208.96   1,253.76
      gypsum core blueboard
      1,503. R&R Suspended ceiling system -       29.86 SF                0.35         2.91    2.78       20.04    120.16
      2' x 2'
      1,504. Seal the walls w/PVA primer -      124.00 SF                 0.00         0.49    0.39       12.24     73.39
      one coat
      1,505. Texture drywall - heavy hand       124.00 SF                 0.00         0.74    1.40       18.64    111.80
      texture
      1,506. Paint the walls - two coats        124.00 SF                 0.00         0.79    1.47       19.90    119.33
      1,507. R&R Vinyl window - double             2.00 EA               18.48       286.48   26.93      127.38    764.23
      hung, 13-19 sf
      1,508. R&R Window trim set (casing          24.00 LF                0.41         4.53    3.68       24.44    146.68
      & stop) - hardwood
      1,509. Seal & paint door/window trim         2.00 EA                0.00        29.91    0.50       12.06     72.38
      & jamb - (per side)
      1,510. R&R Baseboard - 6" hardwood          15.50 LF                0.41         6.27    4.45       21.62    129.62
      1,511. R&R Quarter round - 3/4" -           15.50 LF                0.14         1.82    1.11        6.30     37.79
      hardwood
      1,512. Seal & paint base shoe or            15.50 LF                0.00         0.65    0.09        2.04     12.21
      quarter round
      1,513. Seal & paint baseboard,              15.50 LF                0.00         1.87    0.19        5.84     35.02
      oversized - three coats
      1,514. Vapor barrier - 15# felt             29.86 SF                0.00         0.24    0.09        1.46       8.72
      1,515. R&R Oak flooring - clear grade       29.86 SF                1.92         9.18   11.72       68.62    411.78
      - no finish
      1,516. Remove Vinyl floor covering          29.86 SF                0.75         0.00    0.00        4.48     26.88
      (sheet goods)
      1,517. Vinyl floor covering (sheet          34.34 SF                0.00         3.31    4.36       23.62    141.65
      goods)
      15 % waste added for Vinyl floor covering (sheet goods).
      1,518. Final cleaning - construction -      29.86 SF                0.00         0.21    0.00        1.26       7.53
      Residential

      Totals: Landing 3.5                                                                     74.64      641.66   3,849.56




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                                                Consumer Adjuster LLC
                                                Consumer Adjusters LLC
                                                191 Chestnut St.
                                                Springfield, MA 01103
nding 2.5                           Landing 3.5




                                                                         4th Floor Hall                                                                            Height: 8'
       Up                                      Up
  Up

                                               3' 10"
                                                                                          109.85   SF Walls                                  23.70 SF Ceiling
                                         5"




                               3' 2"
                                                                3' 10"
                                                        3' 6"




                                                                                          133.55   SF Walls & Ceiling                        23.70 SF Floor
                           3' 1"
                   3' 5"




Floor Hall                         4th Floor Hall
                                       7' 2"                                                2.63   SY Flooring                               13.73 LF Floor Perimeter
                                       7' 10"
                                                                                           17.56   LF Ceil. Perimeter


              Missing Wall                                                                 3' 10" X 8'                           Opens into STAIRS8
              Missing Wall                                                                 5 1/4" X 8'                           Opens into Exterior
              Missing Wall                                                                 3' 2" X 8'                            Opens into Exterior
              DESCRIPTION                                                             QTY           REMOVE        REPLACE                 TAX              O&P          TOTAL

              1,519. Tear off plaster on wood lath                             133.55 SF                  1.33            0.00             0.00            35.52         213.14
              1,520. Furring strip - 1" x 2"                                   133.55 SF                  0.00            0.70             1.34            18.96         113.79
              1,521. Two coat plaster over 1/2"                                133.55 SF                  0.00            6.70            12.10           181.38        1,088.27
              gypsum core blueboard
              1,522. R&R Suspended ceiling system -                             23.70 SF                  0.35            2.91             2.21            15.90          95.38
              2' x 2'
              1,523. Seal the walls w/PVA primer -                             109.85 SF                  0.00            0.49             0.34            10.82          64.99
              one coat
              1,524. Texture drywall - heavy hand                              109.85 SF                  0.00            0.74             1.24            16.50          99.03
              texture
              1,525. Paint the walls - two coats                               109.85 SF                  0.00            0.79             1.30            17.62         105.70
              1,526. R&R Fluorescent - acoustic                                  1.00 EA                 11.40          137.50             3.23            30.42         182.55
              grid fixture, 2' x 2'
              1,527. R&R Light fixture                                           1.00 EA                  6.82           65.11             2.10            14.80          88.83
              1,528. R&R Door opening (jamb &                                    2.00 EA                  5.14          141.73            13.19            61.40         368.33
              casing) - 32" to 36" wide - hardwood
              1,529. Stain & finish door/window                                  2.00 EA                  0.00           33.33             0.66            13.48          80.80
              trim & jamb (per side)
              1,530. R&R Baseboard - 6" hardwood                                13.73 LF                  0.41            6.27             3.94            19.12         114.78
              1,531. R&R Quarter round - 3/4" -                                 13.73 LF                  0.14            1.82             0.99             5.58          33.48
              hardwood
              1,532. Seal & paint base shoe or                                  13.73 LF                  0.00            0.65             0.08             1.80          10.80
              quarter round
              1,533. Seal & paint baseboard,                                    13.73 LF                  0.00            1.87             0.17             5.18          31.03
              oversized - three coats
              1,534. Vapor barrier - 15# felt                                   23.70 SF                  0.00            0.24             0.07             1.16            6.92
              1,535. R&R Oak flooring - clear grade                             23.70 SF                  1.92            9.18             9.30            54.48         326.85
              - no finish
              1,536. Sand, stain, and finish wood                               23.70 SF                  0.00            3.97             1.41            19.10         114.60
              floor
              1,537. Add for dustless floor sanding                             23.70 SF                  0.00            1.00             0.00             4.74          28.44
              1,538. Final cleaning - construction -                            23.70 SF                  0.00            0.21             0.00             1.00            5.98
              Residential
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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                            CONTINUED - 4th Floor Hall

      DESCRIPTION                                     QTY        REMOVE        REPLACE        TAX            O&P            TOTAL

      Totals: 4th Floor Hall                                                                  53.67         528.96          3,173.69

      Total: Stairwell                                                                       901.58        7,753.18      46,517.87




                                         Front Elevation                                          Formula Elevation 54' x 45' x 0"
                                                      2,430.00 SF Walls                          54.00 LF Floor Perimeter
                                                      2,430.00 SF Long Wall                   2,430.00 SF Short Wall
                                                         54.00 LF Ceil. Perimeter




      DESCRIPTION                                     QTY        REMOVE        REPLACE        TAX            O&P            TOTAL

      1,539. Masonry acid wash                2,430.00 SF             0.00            0.45     3.04         219.30          1,315.84
      1,540. Seal brick with masonry sealer   2,430.00 SF             0.00            0.72    42.53         358.42          2,150.55
      1,541. R&R Brick mold - paint grade      323.00 LF              0.42            2.33    32.50         184.16          1,104.91
      softwood - finger jointed
      Exterior window trims
      1,542. R&R Wrap wood window                5.00 EA             23.34           92.13     7.35         116.96           701.66
      frame & trim with aluminum sheet -
      Small
      1,543. R&R Wrap wood window                4.00 EA             27.04          149.10     8.81         142.68           856.05
      frame & trim with aluminum sheet
      1,544. R&R Wrap wood window                3.00 EA             34.11          202.17     8.09         143.38           860.31
      frame & trim with aluminum sheet -
      Large
      1,545. R&R Wrap wood window                8.00 EA             38.36          247.72    28.34         463.40          2,780.38
      frame & trim with aluminum sheet -
      XLarge

      Totals: Front Elevation                                                                130.66        1,628.30         9,769.70




                                         Left Elevation                                           Formula Elevation 30' x 45' x 0"
                                                      1,350.00 SF Walls                          30.00 LF Floor Perimeter
                                                      1,350.00 SF Long Wall                   1,350.00 SF Short Wall
                                                         30.00 LF Ceil. Perimeter




      DESCRIPTION                                     QTY        REMOVE        REPLACE        TAX            O&P            TOTAL

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                        Consumer Adjuster LLC
                        Consumer Adjusters LLC
                        191 Chestnut St.
                        Springfield, MA 01103

                                                              CONTINUED - Left Elevation

      DESCRIPTION                                       QTY        REMOVE        REPLACE       TAX            O&P            TOTAL

      1,546. Masonry acid wash                  1,350.00 SF               0.00          0.45    1.69        121.84            731.03
      1,547. Seal brick with masonry sealer     1,350.00 SF               0.00          0.72   23.63        199.12           1,194.75

      Totals: Left Elevation                                                                   25.32        320.96           1,925.78




                                           Rear Elevation                                         Formula Elevation 50' x 45' x 0"
                                                        2,250.00 SF Walls                         50.00 LF Floor Perimeter
                                                        2,250.00 SF Long Wall                  2,250.00 SF Short Wall
                                                           50.00 LF Ceil. Perimeter




                                           Subroom 1: rear elevation 2                            Formula Elevation 43' x 45' x 0"
                                                        1,935.00 SF Walls                         43.00 LF Floor Perimeter
                                                        1,935.00 SF Long Wall                  1,935.00 SF Short Wall
                                                           43.00 LF Ceil. Perimeter




      DESCRIPTION                                       QTY        REMOVE        REPLACE       TAX            O&P            TOTAL

      1,548. Masonry acid wash                  4,185.00 SF               0.00          0.45    5.23        377.70           2,266.18
      1,549. Seal brick with masonry sealer     4,185.00 SF               0.00          0.72   73.24        617.28           3,703.72
      1,550. R&R Brick mold - paint grade        323.00 LF                0.42          2.33   32.50        184.16           1,104.91
      softwood - finger jointed
      Exterior window trims
      1,551. R&R Wrap wood window                  8.00 EA               23.34         92.13   11.77        187.10           1,122.63
      frame & trim with aluminum sheet -
      Small
      1,552. R&R Wrap wood window                  4.00 EA               34.11        202.17   10.79        191.18           1,147.09
      frame & trim with aluminum sheet -
      Large
      1,553. R&R Wrap wood window                  8.00 EA               27.04        149.10   17.61        285.34           1,712.07
      frame & trim with aluminum sheet
      1,554. R&R Wrap wood door frame &          160.00 LF                1.70         10.31   19.20        388.16           2,328.96
      trim with aluminum (PER LF)
      1,555. Meter base and main disconnect        8.00 EA                0.00        270.85    0.00        433.36           2,600.16
      - Detach & reset
      1,556. R&R Porcelain light fixture           3.00 EA                6.83         26.19    1.03         20.02            120.11
      1,557. R&R Spot light fixture - double       3.00 EA               11.40         84.61    5.81         58.76            352.60

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                                       Consumer Adjuster LLC
                                       Consumer Adjusters LLC
                                       191 Chestnut St.
                                       Springfield, MA 01103

                                                                                            CONTINUED - Rear Elevation

       DESCRIPTION                                                                    QTY          REMOVE             REPLACE            TAX            O&P            TOTAL

       1,558. R&R Mercury vapor security                                          3.00 EA                 11.40         134.24           10.55          89.50           536.97
       light
       1,559. R&R Wrap wood post with                                           120.00 LF                  1.70          11.35           14.40         316.08          1,896.48
       aluminum (PER LF)
       posts on porches
       1,560. R&R Soffit - vinyl                                                 93.00 SF                  0.24           4.32           10.46          86.92           521.46

       Totals: Rear Elevation                                                                                                           212.59        3,235.56     19,413.34

                                                                                                         Rear Porch


                                                                   1st Floor                                                                                      Height: 3'

                            50'
                                                                                                                                           159.11 LF Floor Perimeter
                                            Up
             9'




                                         4' 4"




                     1st Floor
                          33' 7" 1st Floor 4 Stair
                                                 20 5' 8




         Up
       Stairswell
                                                   1
                                                   ' "




              Up                                     cP.

                                                 ■
                                          Up




         Up          2nd Floor 2nd Floor 4 Stair           2nd Floor Framing
       Stairs5 (5)
               Up
                                          Up




                     3rd Floor 3rd Floor 4 Stair
         Up                                                 3rd Floor Framing
      Stairs9 (8)
              Up
                                         Up




                     4th Floor   4th Floor 4 Stair         4th Floor Framing
       Missing Wall
        Up
     Stairs13 (11)
              Up
                                                                                            3' 2" X 3'                           Opens into STAIRSWELL
       Missing Wall                                                                         3' 4" X 3'                           Opens into STAIRS3
       Missing Wall                                                                         4' 4 5/16" X 3'                      Opens into STAIRS1
       Missing Wall                                                                         3' 3 15/16" X 3'                     Opens into STAIRS1
       Missing Wall                                                                         4' 4 5/16" X 3'                      Opens into STAIRS1
       DESCRIPTION                                                                    QTY          REMOVE             REPLACE            TAX            O&P            TOTAL

       1,561. Clean with pressure/chemical                                      567.73 SF                  0.00           0.38            0.36          43.22           259.32
       spray - Heavy
       1,562. Prime & paint deck - 2 coats                                      567.73 SF                  0.00           1.70           14.90         196.00          1,176.04
       primer, 2 coats paint
       1,563. Paint deck handrail - 2 coats                                      66.50 LF                  0.00           7.79            1.29         103.86           623.19
       paint
       1,564. R&R Soffit - vinyl                                                 72.00 SF                  0.24           4.32            8.10          67.28           403.70

       Totals: 1st Floor                                                                                                                 24.65         410.36          2,462.25




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                                        Consumer Adjuster LLC
                                        Consumer Adjusters LLC
                                        191 Chestnut St.
                                        Springfield, MA 01103
                                           Up


                     1st Floor    1st Floor 4 Stair
         Up
       Stairswell                                                    2nd Floor                                                                                Height: 3'
              Up
                                                       \ ,
                            50'
                                                                                                                                       159.11 LF Floor Perimeter
                                             Up
             9'




                                          4' 4"




                     2nd Floor
                         33' 7" 2nd Floor 4 Stair            2nd Floor Framing
                                                  20 5' 8




         Up
       Stairs5 (5)
                                                    1
                                                    ' "




               Up                                     cP,
                                           Up




                     3rd Floor 3rd Floor 4 Stair
         Up                                                   3rd Floor Framing
      Stairs9 (8)
              Up
                                          Up




                     4th Floor    4th Floor 4 Stair          4th Floor Framing
        Up
     Stairs13 (11)
              Up




       Missing Wall                                                                           3' 2" X 3'                     Opens into STAIRS5
       Missing Wall                                                                           3' 4" X 3'                     Opens into STAIRS7
       Missing Wall                                                                           4' 4 5/16" X 3'                Opens into STAIRS4
       Missing Wall                                                                           3' 3 15/16" X 3'               Opens into STAIRS4
       Missing Wall                                                                           4' 4 5/16" X 3'                Opens into STAIRS4
       DESCRIPTION                                                                      QTY          REMOVE       REPLACE            TAX            O&P            TOTAL

       1,565. Clean with pressure/chemical                                        567.73 SF                0.00       0.38            0.36          43.22           259.32
       spray - Heavy
       1,566. Prime & paint deck - 2 coats                                        567.73 SF                0.00       1.70           14.90         196.00          1,176.04
       primer, 2 coats paint
       1,567. Paint deck handrail - 2 coats                                        66.50 LF                0.00       7.79            1.29         103.86           623.19
       paint

       Totals: 2nd Floor                                                                                                             16.55         343.08          2,058.55
                                           Up




         Up           1st Floor   1st Floor 4 Stair
       Stairswell
              Up
                                           Up




         Up          2nd Floor 2nd Floor 4 Stair                     3rd Floor
                                                             2nd Floor Framing                                                                                Height: 3'
       Stairs5 (5)
               Up

                            50'
                                                      N/                                                                               159.11 LF Floor Perimeter
                                             Up
             9'




                                          4' 4"




                     3rd Floor
                                          II.     \
                         33' 7" 3rd Floor 4 Stair<3,
                                                              3rd Floor Framing
                                                  20 5' 8




         Up
       Stairs9 (8)
                                                    1
                                                    ' "




               Up                                     6..
                                          Up




                     4th Floor    4th Floor 4 Stair          4th Floor Framing
        Up
     Stairs13 (11)
              Up




       Missing Wall                                                                           3' 2" X 3'                     Opens into STAIRS9
       Missing Wall                                                                           3' 4" X 3'                     Opens into STAIRS11
       Missing Wall                                                                           4' 4 5/16" X 3'                Opens into STAIRS8
       Missing Wall                                                                           3' 3 15/16" X 3'               Opens into STAIRS8
       Missing Wall                                                                           4' 4 5/16" X 3'                Opens into STAIRS8
       DESCRIPTION                                                                      QTY          REMOVE       REPLACE            TAX            O&P            TOTAL
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                                     Consumer Adjuster LLC
                                     Consumer Adjusters LLC
                                     191 Chestnut St.
                                     Springfield, MA 01103

                                                                                            CONTINUED - 3rd Floor

      DESCRIPTION                                                                   QTY          REMOVE       REPLACE            TAX            O&P            TOTAL

      1,568. Clean with pressure/chemical                                     567.73 SF                0.00       0.38            0.36          43.22           259.32
      spray - Heavy
      1,569. Prime & paint deck - 2 coats                                     567.73 SF                0.00       1.70           14.90         196.00          1,176.04
      primer, 2 coats paint
      1,570. Paint deck handrail - 2 coats                                     66.50 LF                0.00       7.79            1.29         103.86           623.19
      paint
      1,571. R&R Lattice work                                                  12.00 SF                0.34       3.90            1.93          10.56            63.37
                                         Up




      1,572. R&R
         Up   1st FloorSoffit  - vinyl
                         1st Floor 4 Stair                                     72.00 SF                0.24       4.32            8.10          67.28           403.70
       Stairswell
              Up

      Totals: 3rd Floor                                                                                                          26.58         420.92          2,525.62
                                         Up




         Up          2nd Floor 2nd Floor 4 Stair         2nd Floor Framing
       Stairs5 (5)
               Up
                                         Up




                     3rd Floor 3rd Floor 4 Stair
         Up
      Stairs9 (8)
                                                                4th Floor
                                                          3rd Floor Framing                                                                               Height: 3'
              Up

                                                                                                                                   166.84 LF Floor Perimeter
                                          Up




                            50'
                                       8' 3"




                                4th Floor 4 Stair
           9'




                     4th Floor
                         33' 7" VIII                     4th Floor Framing
                                                 ,'0.
                                               20 5' 8




        Up
     Stairs13 (11)
                                                    &.
                                                 1
                                                 ' "




              Up




      Missing Wall                                                                        3' 2" X 3'                     Opens into STAIRS13
      Missing Wall                                                                        3' 4" X 3'                     Opens into STAIRS15
      Missing Wall                                                                        8' 2 11/16" X 3'               Opens into STAIRS12
      Missing Wall                                                                        3' 3 15/16" X 3'               Opens into STAIRS12
      Missing Wall                                                                        8' 2 11/16" X 3'               Opens into STAIRS12
      DESCRIPTION                                                                   QTY          REMOVE       REPLACE            TAX            O&P            TOTAL

      1,573. Clean with pressure/chemical                                     554.87 SF                0.00       0.38            0.35          42.26           253.46
      spray - Heavy
      1,574. Prime & paint deck - 2 coats                                     554.87 SF                0.00       1.70           14.57         191.58          1,149.43
      primer, 2 coats paint
      1,575. Paint deck handrail - 2 coats                                     66.50 LF                0.00       7.79            1.29         103.86           623.19
      paint
      1,576. R&R Soffit - vinyl                                                72.00 SF                0.24       4.32            8.10          67.28           403.70

      Totals: 4th Floor                                                                                                          24.31         404.98          2,429.78




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                                     Consumer Adjuster LLC
                                     Consumer Adjusters LLC
                                     191 Chestnut St.
                                     Springfield, MA 01103

                                                                                 1st Floor




                                                                                                                                    Up
                                                                                                                             1st Floor 4 Stair
                                                      Stairswell                                                                         Height: 14' 11"
                         3' 2"
                                                                       3.04 SY Flooring                   27.32 SF Floor
                          i
                         Up
                                         4' 8"




                       Stairswell


                                     tT          Up




      Missing Wall                                                    3' 2" X 14' 10 9/16"    Opens into DEF_1ST_FLOO
      Missing Wall                                                    4' 8" X 14' 10 9/16"    Opens into Exterior
                                                                     1st Floor




                                                                                                                       Up
                                                                                                                1st Floor 4 Stair
                                                      Subroom: Stairs3 (1)                                                                 Height: 11' 2"
                           3' 4" ,
                                                                       3.20 SY Flooring                   28.76 SF Floor
                                                                                  2nd Floor




                                                                                                                                     Up
           Up
                                     4' 8"




         Stairswell                                                                                                           2nd Floor 4 Stair
                                Up




                           Up
                        Stairs5 (5)
                                                 Up




      Missing Wall                                                    3' 4" X 11' 1 1/2"      Opens into STAIRS2
      Missing Wall                                                    4' 8" X 11' 1 1/2"      Opens into STAIRSWELL
      Missing Wall                                                    3' 4" X 11' 1 1/2"      Opens into DEF_1ST_FLOO
      Missing Wall                                                    4' 8" X 11' 1 1/2"      Opens into Exterior


                                                                     2nd Floor
                                                                                                                        Up




                                                                                                                2nd Floor 4 Stair

                                                                                 3rd Floor
                                                                                                                                    Up




                                                                                                                             3rd Floor 4 Stair

            Up
         Stairs5 (5)
                                Up
                         Up
                       Stairs9 (8)
                                                 Up




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                                                                    3rd Floor
                                                                                                                      Up




                                                                                                               3rd Floor 4 Stair
                                                                                                                               Up




                                                                                                                       4th Floor 4 Stair

                                                                            4th Floor
          Up
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                                     Consumer Adjuster LLC
                                     Consumer Adjusters LLC
                                     191 Chestnut St.
                                     Springfield, MA 01103                          1st Floor




                                                                                                                                                    Up
                                                                                                                                             1st Floor 4 Stair


                                                                               CONTINUED - Stairswell
                   Up                                                   1st Floor




                                                                                                                                     Up
                 Stairswell                                                                                                   1st Floor 4 Stair




               LI
                                             Up           Subroom: Stairs2 (2)                                                                            Height: 11' 2"

                   3' 2"             3' 4"                                  2.41 SY Flooring                           21.67 SF Floor
                                                  3' 4"




          Up


                                     ]
        Stairswell
                                Up
                           6' 6"




      Missing Wall                                                        3' 2" X 11' 1 1/2"            Opens into STAIRSWELL
      Missing Wall                                                        3' 4" X 11' 1 1/2"            Opens into Exterior
      Missing Wall                                                        6' 6" X 11' 1 1/2"            Opens into Exterior
                                                                                     2nd Floor




                                                                                                                                                     Up
      Missing Wall                                                        3' 4" X 11' 1 1/2"            Opens into Exterior                  2nd Floor 4 Stair

      Missing Wall                                                        3' 4" X 11' 1 1/2"            Opens into STAIRS3
                                                                         2nd Floor




                                                                                                                                      Up
                      Up                                                                                                      2nd Floor 4 Stair


                       II
                  Stairs5 (5)
                           3' 4"             Up
                                                          Subroom: Stairs7 (3)
                                                                            3.20 SY Flooring                           28.76 SF Floor
                                                                                                                                                          Height: 11' 2"

            Up
                                     4' 8"




         Stairs5 (5)
                                Up




      Missing Wall                                                        3' 4" X 11' 1 1/2"            Opens into STAIRS6
      Missing Wall                                                        4' 8" X 11' 1 1/2"            Opens into STAIRS5
                                                                                    3rd Floor
                                                                                                                                                   Up




      Missing Wall                                                        3' 4" X 11' 1 1/2"            Opens into DEF_2ND_FLOO
                                                                                                                             3rd Floor 4 Stair

      Missing Wall                                                        4' 8" X 11' 1 1/2"            Opens into Exterior
                                                                        3rd Floor
                                                                                                                                    Up




                                                                                                                             3rd Floor 4 Stair
                   Up
                 Stairs9 (8)
                                         Up

          Up
        Stairs9 (8)
                               Up




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                                                                                                                                              Up




                                                                                                                                      4th Floor 4 Stair

                                                                             4th Floor
                                                                                                                               Up




                                                                                                                         4th Floor 4 Stair
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                                    Consumer Adjuster LLC
                                    Consumer Adjusters LLC
                                    191 Chestnut St.
                                    Springfield, MA 01103                 2nd Floor




                                                                                                                                       Up
                                                                                                                               2nd Floor 4 Stair


                                                                        CONTINUED - Stairswell
                  Up                                                         1st Floor




                                                                                                                                      Up
                Stairs5 (5)                                                                                                    1st Floor 4 Stair




            LI ]
                                       Up             Subroom: Stairs6 (4)                                                                    Height: 11' 2"

                  3' 2"             3' 4"                             2.41 SY Flooring                          21.67 SF Floor
                                              3' 4"




                         Up
                       Stairswell
                                               Up
                           6' 6"




      Missing Wall                                                   3' 2" X 11' 1 1/2"          Opens into STAIRS5
      Missing Wall                                                   3' 4" X 11' 1 1/2"
                                                                         3rd Floor               Opens into Exterior




                                                                                                                                     Up
                                                                                                                              3rd Floor 4 Stair
      Missing Wall                                                   6' 6" X 11' 1 1/2"          Opens into Exterior
      Missing Wall                                                   3' 4" X 11' 1 1/2"          Opens into Exterior
      Missing Wall
                 Up                                                  3' 4" X 11' 1 1/2"          Opens into STAIRS7
             Stairs9 (8)
                                      Up                                      2nd Floor




                                                                                                                                       Up
                                                                                                                               2nd Floor 4 Stair
                                                      Subroom: Stairs5 (5)                                                                  Height: 14' 11"
                          3' 2"
                                                                      3.04 SY Flooring                          27.32 SF Floor
                          Up
                                      4' 8"




                        Stairs5 (5)
                                                 Up




      Missing Wall                                                   3' 2" X 14' 10 9/16"        Opens into DEF_2ND_FLOO
                                                                                                                                Up




                                                                                                                   4th Floor 4 Stair

      Missing Wall                                                   4'4th8"
                                                                          FloorX 14' 10 9/16"    Opens into STAIRS7
      Missing Wall                                                   3' 2" X 14' 10 9/16"        Opens into STAIRS6
      Missing Wall                                                   4' 8" X 14' 10 9/16"        Opens into Exterior
                                                                             3rd Floor
                                                                                                                                     Up




           Up                                                                                                                 3rd Floor 4 Stair
        Stairs13 (11)
                               Up


                         Up
                      Stairs9 (8)
                                              Up




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                                                                                                                                Up




                                                                                                                          4th Floor 4 Stair
93                                                    Up



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                                 Consumer Adjuster LLC
                                 Consumer Adjusters LLC
                                 191 Chestnut St.
                                 Springfield, MA 01103                            2nd Floor




                                                                                                                                           Up
                                                                                                                                   2nd Floor 4 Stair


                                                                             CONTINUED - Stairswell
                   Up                                                               3rd Floor




                                                                                                                                          Up
                 Stairs5 (5)                                                                                                      3rd Floor 4 Stair
                                         Up
                                                           Subroom: Stairs9 (8)                                                                Height: 14' 11"
                         3' 2"
                                                                           3.04 SY Flooring                       27.32 SF Floor
                         Up
                                      4' 8"




                       Stairs9 (8)


                                     t        T  Up




      Missing Wall                                                        3' 2" X 14' 10 9/16"        Opens into DEF_3RD_FLOO
      Missing Wall                                                        4' 8" X 14' 10 9/16"
                                                                                3rd Floor             Opens into STAIRS11




                                                                                                                                          Up
                                                                                                                                  3rd Floor 4 Stair
      Missing Wall                                                        3' 2" X 14' 10 9/16"        Opens into STAIRS10
      Missing Wall                                                        4' 8" X 14' 10 9/16"        Opens into Exterior




                                                                                                                                     Up
                                                                                                                              4th Floor 4 Stair
                  Up
              Stairs9 (8)                                                      4th Floor




            LI ]
                                      Up                   Subroom: Stairs10 (6)                                                                Height: 11' 2"

                 3' 2"           3' 4"                                     2.41 SY Flooring                       21.67 SF Floor
                                              3' 4"




                    Up
               Stairs13 6'
                        (11)6"
                                         Up




      Missing Wall                                                        3' 2" X 11' 1 1/2"          Opens into STAIRS9
      Missing Wall                                                        3' 4" X 11' 1 1/2"          Opens into Exterior
                                                                                                                                    Up




                                                                                                                              4th Floor 4 Stair

      Missing Wall                                                        6' 6" X 11' 1 1/2"
                                                                            4th Floor                 Opens into Exterior
      Missing Wall                                                        3' 4" X 11' 1 1/2"          Opens into Exterior
      Missing Wall                                                        3' 4" X 11' 1 1/2"          Opens into STAIRS11
            Up
         Stairs13 (11)
                                 Up




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                                      Consumer Adjuster LLC
                                      Consumer Adjusters LLC
                                      191 Chestnut St.
                                      Springfield, MA 01103

                                                                                    CONTINUED - Stairswell
                                                                                            3rd Floor




                                                                                                                                                           Up
                                                                            3rd Floor                                                               3rd Floor 4 Stair




                                                                                                                                        Up
                                                                                                                                3rd Floor 4 Stair
                                                            Subroom: Stairs11 (7)                                                                           Height: 11' 2"
                             3' 4"
                                 Up                                           3.20 SY Flooring                           28.76 SF Floor
              Up              Stairs9 (8)
                                      4' 8"




           Stairs9 (8)                                 Up



                T1               Up




              41 1
      Missing Wall                                                           3' 4" X 11' 1 1/2"              Opens into STAIRS10
      Missing Wall                                                           4' 8" X 11' 1 1/2"              Opens into STAIRS9
      Missing Wall                                                           3' 4" X 11' 1 1/2"              Opens into DEF_3RD_FLOO
      Missing Wall                                                           4' 8" X 11' 1 1/2"              Opens into Exterior




                                                                                                                                                      Up
                                                                                                                                                4th Floor 4 Stair




                                                                                                                                   Up
                                                                                                                            4th Floor 4 Stair
                                                                                        4th Floor
                                                                        4th Floor
                                                            Subroom: Stairs13 (11)                                                                         Height: 14' 11"
                            3' 2"
                                                                              3.04 SY Flooring                           27.32 SF Floor
                            Up
                                          4' 8"




         Up              Stairs13 (11)
                                                  Up
      Stairs13 (11)
                            Up




      Missing Wall                                                           3' 2" X 14' 10 9/16"            Opens into DEF_4TH_FLOO
      Missing Wall                                                           4' 8" X 14' 10 9/16"            Opens into STAIRS15
      Missing Wall                                                           3' 2" X 14' 10 9/16"            Opens into STAIRS14
      Missing Wall                                                           4' 8" X 14' 10 9/16"            Opens into Exterior




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95                                    Up


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                                   Consumer Adjuster LLC
                                   Consumer Adjusters LLC




                                                                                                                                                        Up
                                   191 Chestnut St.                                                                                              4th Floor 4 Stair

                                   Springfield, MA 01103                          4th Floor



                                                                                CONTINUED - Stairswell
                  Up
                                                                              3rd Floor
              Stairs13 (11)




                                                                                                                                                Up
             LI
                                                                                                                                         3rd Floor 4 Stair
                                           Up           Subroom: Stairs14 (9)                                                                                Height: 11' 2"

                 3' 2"             3' 4"                                    2.41 SY Flooring                                   21.67 SF Floor
                                                3' 4"




                Up
             Stairs9 (8)
                           6' 6"   ]
                                   Up




      Missing Wall                                                         3' 2" X 11' 1 1/2"                   Opens into STAIRS13
      Missing Wall                                                         3' 4" X 11' 1 1/2"                   Opens into Exterior
      Missing Wall                                                         6' 6" X 11' 1 1/2"                   Opens into Exterior
      Missing Wall                                                         3' 4" X 11' 1 1/2"                   Opens into Exterior
      Missing Wall                                                         3' 4" X 11' 1 1/2"                   Opens into STAIRS15




                                                                                                                                           Up
                                                                                                                                4th Floor 4 Stair

                                                                          4th Floor



                     II    3' 4"
                                                        Subroom: Stairs15 (10)
                                                                            3.20 SY Flooring                                   28.76 SF Floor
                                                                                                                                                             Height: 11' 2"

           Up
                                   4' 8"




        Stairs13 (11)
                              Up




      Missing Wall                                                         3' 4" X 11' 1 1/2"                   Opens into STAIRS14
      Missing Wall                                                         4' 8" X 11' 1 1/2"                   Opens into STAIRS13
      Missing Wall                                                         3' 4" X 11' 1 1/2"                   Opens into DEF_4TH_FLOO
      Missing Wall                                                         4' 8" X 11' 1 1/2"                   Opens into Exterior
      DESCRIPTION                                                   QTY                   REMOVE     REPLACE                TAX                  O&P                 TOTAL

      1,577. Clean with pressure/chemical                     310.97 SF                       0.00       0.38               0.19                 23.68                142.04
      spray - Heavy

      Totals: Stairswell                                                                                                    0.19                 23.68                142.04




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                                      Consumer Adjuster LLC

               3rd Floor Framing
                                      Consumer Adjusters LLC
                                      191 Chestnut St.
                                      Springfield, MA 01103



                 6' 7"                             4th Floor Framing                                                                  Height: 3'
              4th Floor Framing
         9'




                                                                                                                63.57 LF Floor Perimeter
                                   20




               4' 3"
                                      '
                            15
                              '8
                                  "



                                          8'




      Missing Wall                                                   6' 7 1/16" X 3'                Opens into Exterior
      Missing Wall                                                   20' X 3'                       Opens into Exterior
      DESCRIPTION                                              QTY          REMOVE       REPLACE             TAX              O&P          TOTAL

      1,578. 2" x 2" x 8' #2 treated pine                 29.00 EA                0.00       3.10             5.62            19.10         114.62
      (material only)
      1,579. 2" x 6" x 8' #2 treated pine                  3.00 EA                0.00       7.34             1.38             4.68          28.08
      (material only)
      1,580. 2" x 6" x 18' #2 treated pine                 1.00 EA                0.00      16.67             1.04             3.54          21.25
      (material only)
      1,581. 2" x 6" x 10' #2 treated pine                 3.00 EA                0.00       9.17             1.72             5.84          35.07
      (material only)
      1,582. 4" x 4" x 8' - treated lumber                 3.00 EA                0.00      11.72             2.20             7.48          44.84
      post - material only
      1,583. 2" x 6" x 16' #2 treated pine                 1.00 EA                0.00      14.56             0.91             3.10          18.57
      (material only)
      1,584. R&R Deck hand rail/guard rail -              36.98 LF                1.20      14.69             0.62           117.64         705.88
      Labor only
      1,585. 2" x 10" x 20' #2 treated pine                2.00 EA                0.00      32.46             4.06            13.80          82.78
      (material only)
      1,586. 2" x 10" x 16' #2 treated pine                2.00 EA                0.00      26.18             3.27            11.14          66.77
      (material only)
      1,587. 2" x 10" x 12' #2 treated pine               12.00 EA                0.00      19.55            14.66            49.86         299.12
      (material only)
      1,588. 2" x 10" x 10' #2 treated pine                7.00 EA                0.00      16.23             7.10            24.14         144.85
      (material only)
      1,589. 2" x 10" x 8' #2 treated pine                10.00 EA                0.00      12.98             8.11            27.58         165.49
      (material only)
      1,590. R&R Labor to install joist -                228.73 LF                0.87       1.47             0.14           107.06         642.43
      floor or ceiling - 2x10
      1,591. 2" x 6" x 16' #2 treated pine                 4.00 EA                0.00      14.56             3.64            12.36          74.24
      (material only)
      1,592. 2" x 6" x 14' #2 treated pine                 4.00 EA                0.00      12.92             3.23            10.98          65.89
      (material only)
      1,593. 2" x 6" x 12' #2 treated pine                16.00 EA                0.00      11.05            11.05            37.58         225.43
      (material only)


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                                   Consumer Adjuster LLC
                                   Consumer Adjusters LLC
                                   191 Chestnut St.
                                   Springfield, MA 01103

                                                              CONTINUED - 4th Floor Framing

      DESCRIPTION                                           QTY          REMOVE       REPLACE             TAX              O&P          TOTAL

      1,594. 2" x 6" x 10' #2 treated pine              6.00 EA                0.00       9.17             3.44            11.68          70.14
      (material only)
      1,595. 2" x 6" x 8' #2 treated pine               8.00 EA                0.00       7.34             3.67            12.48          74.87
      (material only)
      1,596. R&R 6" softwood deck                     191.54 SF                2.13       2.88             1.80           192.28        1,153.70
      planking - Labor only (per SF)
          2nd Floor Framing
      1,597. R&R Soffit - vinyl                       191.54 SF                0.24       4.32            21.55           179.02        1,073.99

      Totals: 4th Floor Framing                                                                           99.21           851.34        5,108.01



                6' 7"                           3rd Floor Framing                                                                  Height: 3'
         9'




              3rd Floor Framing
                                                                                                             63.57 LF Floor Perimeter
                                  20




              4' 3"
                                   '
                          15
                            '8
                               "



                                       8'




           4th Floor Framing




      Missing Wall                                                6' 7 1/16" X 3'                Opens into Exterior
      Missing Wall                                                20' X 3'                       Opens into Exterior
      DESCRIPTION                                           QTY          REMOVE       REPLACE             TAX              O&P          TOTAL

      1,598. 2" x 2" x 8' #2 treated pine              29.00 EA                0.00       3.10             5.62            19.10         114.62
      (material only)
      1,599. 2" x 6" x 8' #2 treated pine               3.00 EA                0.00       7.34             1.38             4.68          28.08
      (material only)
      1,600. 2" x 6" x 18' #2 treated pine              1.00 EA                0.00      16.67             1.04             3.54          21.25
      (material only)
      1,601. 2" x 6" x 10' #2 treated pine              3.00 EA                0.00       9.17             1.72             5.84          35.07
      (material only)
      1,602. 4" x 4" x 8' - treated lumber              3.00 EA                0.00      11.72             2.20             7.48          44.84
      post - material only
      1,603. 2" x 6" x 16' #2 treated pine              1.00 EA                0.00      14.56             0.91             3.10          18.57
      (material only)
      1,604. R&R Deck hand rail/guard rail -           36.98 LF                1.20      14.69             0.62           117.64         705.88
      Labor only
      1,605. 2" x 10" x 20' #2 treated pine             2.00 EA                0.00      32.46             4.06            13.80          82.78
      (material only)
      1,606. 2" x 10" x 16' #2 treated pine             2.00 EA                0.00      26.18             3.27            11.14          66.77
      (material only)


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                                   Consumer Adjuster LLC
                                   Consumer Adjusters LLC
                                   191 Chestnut St.
                                   Springfield, MA 01103

                                                              CONTINUED - 3rd Floor Framing

      DESCRIPTION                                           QTY          REMOVE       REPLACE             TAX              O&P          TOTAL

      1,607. 2" x 10" x 12' #2 treated pine            12.00 EA                0.00      19.55            14.66            49.86         299.12
      (material only)
      1,608. 2" x 10" x 10' #2 treated pine             7.00 EA                0.00      16.23             7.10            24.14         144.85
      (material only)
      1,609. 2" x 10" x 8' #2 treated pine             10.00 EA                0.00      12.98             8.11            27.58         165.49
      (material only)
      1,610. R&R Labor to install joist -             228.73 LF                0.87       1.47             0.14           107.06         642.43
      floor or ceiling - 2x10
      1,611. 2" x 6" x 14' #2 treated pine              4.00 EA                0.00      12.92             3.23            10.98          65.89
      (material only)
      1,612. 2" x 6" x 12' #2 treated pine             16.00 EA                0.00      11.05            11.05            37.58         225.43
      (material only)
      1,613. R&R 6" softwood deck                     191.54 SF                2.13       2.88             1.80           192.28        1,153.70
      planking - Labor only (per SF)
      1,614. 2" x 6" x 16' #2 treated pine              4.00 EA                0.00      14.56             3.64            12.36          74.24
      (material only)
      1,615. 2" x 6" x 10' #2 treated pine              6.00 EA                0.00       9.17             3.44            11.68          70.14
      (material only)
      1,616. 2" x 6" x 8' #2 treated pine               8.00 EA                0.00       7.34             3.67            12.48          74.87
      (material only)
      1,617. R&R Soffit - vinyl                       191.54 SF                0.24       4.32            21.55           179.02        1,073.99

      Totals: 3rd Floor Framing                                                                           99.21           851.34        5,108.01



                6' 7"                           2nd Floor Framing                                                                  Height: 3'
         9'




              2nd Floor Framing
                                                                                                             63.57 LF Floor Perimeter
                                  20




              4' 3"
                                    '
                          15
                            '8
                               "



                                        8'




                3rd Floor Framing




      Missing Wall                                                6' 7 1/16" X 3'                Opens into Exterior
      Missing Wall                                                20' X 3'                       Opens into Exterior
      DESCRIPTION                                           QTY          REMOVE       REPLACE             TAX              O&P          TOTAL
              4th Floor Framing
      1,618. 2" x 2" x 8' #2 treated pine              29.00 EA                0.00       3.10             5.62            19.10         114.62
      (material only)
      1,619. 2" x 6" x 8' #2 treated pine               3.00 EA                0.00       7.34             1.38             4.68          28.08
      (material only)


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                          Consumer Adjuster LLC
                          Consumer Adjusters LLC
                          191 Chestnut St.
                          Springfield, MA 01103

                                                       CONTINUED - 2nd Floor Framing

      DESCRIPTION                                    QTY      REMOVE      REPLACE       TAX         O&P       TOTAL

      1,620. 2" x 6" x 18' #2 treated pine       1.00 EA           0.00        16.67     1.04        3.54       21.25
      (material only)
      1,621. 2" x 6" x 10' #2 treated pine       3.00 EA           0.00         9.17     1.72        5.84       35.07
      (material only)
      1,622. 4" x 4" x 8' - treated lumber       3.00 EA           0.00        11.72     2.20        7.48       44.84
      post - material only
      1,623. 2" x 6" x 16' #2 treated pine       1.00 EA           0.00        14.56     0.91        3.10       18.57
      (material only)
      1,624. R&R Deck hand rail/guard rail -    36.98 LF           1.20        14.69     0.62      117.64      705.88
      Labor only
      1,625. 2" x 10" x 20' #2 treated pine      2.00 EA           0.00        32.46     4.06       13.80       82.78
      (material only)
      1,626. 2" x 10" x 16' #2 treated pine      2.00 EA           0.00        26.18     3.27       11.14       66.77
      (material only)
      1,627. 2" x 10" x 12' #2 treated pine     12.00 EA           0.00        19.55    14.66       49.86      299.12
      (material only)
      1,628. 2" x 10" x 10' #2 treated pine      7.00 EA           0.00        16.23     7.10       24.14      144.85
      (material only)
      1,629. 2" x 10" x 8' #2 treated pine      10.00 EA           0.00        12.98     8.11       27.58      165.49
      (material only)
      1,630. R&R Labor to install joist -      228.73 LF           0.87         1.47     0.14      107.06      642.43
      floor or ceiling - 2x10
      1,631. 2" x 6" x 14' #2 treated pine       4.00 EA           0.00        12.92     3.23       10.98       65.89
      (material only)
      1,632. 2" x 6" x 12' #2 treated pine      16.00 EA           0.00        11.05    11.05       37.58      225.43
      (material only)
      1,633. R&R 6" softwood deck              191.54 SF           2.13         2.88     1.80      192.28     1,153.70
      planking - Labor only (per SF)
      1,634. 2" x 6" x 16' #2 treated pine       4.00 EA           0.00        14.56     3.64       12.36       74.24
      (material only)
      1,635. 2" x 6" x 10' #2 treated pine       6.00 EA           0.00         9.17     3.44       11.68       70.14
      (material only)
      1,636. 2" x 6" x 8' #2 treated pine        8.00 EA           0.00         7.34     3.67       12.48       74.87
      (material only)
      1,637. R&R Soffit - vinyl                191.54 SF           0.24         4.32    21.55      179.02     1,073.99

      Totals: 2nd Floor Framing                                                         99.21      851.34     5,108.01

      Total: Rear Porch                                                                389.91     4,157.04   24,942.27




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                          Consumer Adjuster LLC
                          Consumer Adjusters LLC
                          191 Chestnut St.
                          Springfield, MA 01103



                                            Basement                                                                 LxWxH 43' x 30' x 8'
                                                          1,168.00   SF Walls                        1,290.00   SF Ceiling
                                                          2,458.00   SF Walls & Ceiling              1,290.00   SF Floor
                                                            143.33   SY Flooring                       146.00   LF Floor Perimeter
                                                            344.00   SF Long Wall                      240.00   SF Short Wall
                                                            146.00   LF Ceil. Perimeter


                                            Subroom 1: basement                                                      LxWxH 45' x 30' x 8'
                                                          1,200.00   SF Walls                        1,350.00   SF Ceiling
                                                          2,550.00   SF Walls & Ceiling              1,350.00   SF Floor
                                                            150.00   SY Flooring                       150.00   LF Floor Perimeter
                                                            360.00   SF Long Wall                      240.00   SF Short Wall
                                                            150.00   LF Ceil. Perimeter

       DESCRIPTION                                        QTY         REMOVE        REPLACE          TAX              O&P            TOTAL

       1,638. Clean the walls and ceiling -       5,008.00 SF              0.00               0.31    3.13          311.12           1,866.73
       Heavy
       1,639. Clean floor - Heavy                 2,640.00 SF              0.00               0.43    1.65          227.38           1,364.23

       Totals: Basement                                                                               4.78          538.50           3,230.96




                                            General

       DESCRIPTION                                        QTY         REMOVE        REPLACE          TAX              O&P            TOTAL

       1,640. Taxes, insurance, permits &             1.00 EA              0.00               0.00    0.00             0.00              0.00
       fees (Bid item)
       1,641. Commercial Supervision /             640.00 HR               0.00             61.94     0.00         7,928.32      47,569.92
       Project Management - per hour
       20 hrs each weed for 8 months
       1,642. Lead test fee - full service lead       1.00 EA              0.00            420.00     0.00           84.00            504.00
       survey
       1,643. Asbestos test fee - full service        1.00 EA              0.00            475.00     0.00           95.00            570.00
       asbestos survey
       1,644. R&R Temporary power -                   1.00 EA             43.53            270.73     0.00           62.84            377.10
       hookup
       1,645. Temporary heat - usage - per            2.00 MO              0.00           1,458.00   77.88          598.78           3,592.66
       month - Commercial - L
       1,646. Temporary toilet (per month)            6.00 MO              0.00            190.04     0.00          228.04           1,368.28
       2 toilets
       1,647. Temporary power usage (per              6.00 MO              0.00            162.60    55.13          206.14           1,236.87
       month)

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                         Consumer Adjuster LLC
                         Consumer Adjusters LLC
                         191 Chestnut St.
                         Springfield, MA 01103

                                                                 CONTINUED - General

       DESCRIPTION                                         QTY     REMOVE      REPLACE            TAX          O&P       TOTAL

       1,648. General clean - up                     80.00 HR           0.00       40.00           0.05      640.02      3,840.07
       2 workers for a week
       1,649. Dumpster load - Approx. 40              5.00 EA         905.00           0.00        0.00      905.00      5,430.00
       yards, 7-8 tons of debris
       For roof and daily clean up waste
       1,650. R&R Temporary fencing                 270.00 LF           0.73           4.93        0.00      305.64      1,833.84
       1,651. Job-site cargo/storage container -     16.00 MO           0.00      115.84        115.84       393.84      2,363.12
       40' long - per month
       2 containers for 8 months
       1,652. Job-site cargo container - pick         4.00 EA           0.00       99.40           0.00       79.52       477.12
       up/del. (each way) 16'-40'
       1,653. Debris chute hopper - per week -       16.00 WK          36.00           0.00        0.00      115.20       691.20
       30" x 4' section
       1,654. Debris chute - per week - 30" x        80.00 WK          15.50           0.00        0.00      248.00      1,488.00
       4' section
       10 sections for 8 weeks
       1,655. R&R Concealed fire sprinkler         9,000.00 SF          0.94           3.11     658.13      7,421.62    44,529.75
       system (SF of bldg)

       Totals: General                                                                          907.03     19,311.96   115,871.93

       Line Item Totals: 49-BELMONT-AVE-SPF-1                                                 13,048.97   125,796.74   754,765.21




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                     Consumer Adjuster LLC
                     Consumer Adjusters LLC
                     191 Chestnut St.
                     Springfield, MA 01103




       Grand Total Areas:
          28,589.85 SF Walls                  7,955.88 SF Ceiling              36,545.73 SF Walls and Ceiling
           8,521.12 SF Floor                    946.79 SY Flooring              3,475.37 LF Floor Perimeter
           8,669.00 SF Long Wall              8,445.00 SF Short Wall            2,795.63 LF Ceil. Perimeter

           5,881.12 Floor Area                6,171.36 Total Area              18,231.28 Interior Wall Area
           9,769.67 Exterior Wall Area        1,056.94 Exterior Perimeter of
                                                       Walls

               0.00 Surface Area                  0.00 Number of Squares            0.00 Total Perimeter Length
               0.00 Total Ridge Length            0.00 Total Hip Length




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                       Consumer Adjuster LLC
                       Consumer Adjusters LLC
                       191 Chestnut St.
                       Springfield, MA 01103




                                                          Summary for Dwelling
       Line Item Total                                                                       615,919.50
       Material Sales Tax                                                                     12,933.13
       Storage Tax                                                                               115.84

       Subtotal                                                                              628,968.47
       Overhead                                                                               62,898.37
       Profit                                                                                 62,898.37

       Replacement Cost Value                                                               $754,765.21
       Net Claim                                                                            $754,765.21




                                                Chris Lynch




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                    Consumer Adjuster LLC
                    Consumer Adjusters LLC
                    191 Chestnut St.
                    Springfield, MA 01103



                                             Recap of Taxes, Overhead and Profit




                                 Overhead (10%)        Profit (10%)   Material Sales Tax   Clothing Sales Tax Storage Tax (6.25%)
                                                                                (6.25%)              (6.25%)

       Line Items                      62,898.37          62,898.37            12,933.13                0.00               115.84

       Total                           62,898.37          62,898.37            12,933.13                0.00               115.84




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                      Consumer Adjuster LLC
                      Consumer Adjusters LLC
                      191 Chestnut St.
                      Springfield, MA 01103

                                                Recap by Room

      Estimate: 49-BELMONT-AVE-SPF-1

      Area: 4th Floor Left                                                      2,946.18    0.48%
             Bedroom                                                           11,442.55    1.86%
             Hallway                                                           13,363.23    2.17%
             Bathroom                                                          11,112.74    1.80%
             Master Bedroom                                                    18,531.24    3.01%
             Kitchen                                                           14,798.40    2.40%
             Living Room                                                       15,952.89    2.59%

             Area Subtotal: 4th Floor Left                                     88,147.23    14.31%

      Area: 4th Floor Right                                                     1,761.97    0.29%
             Hallway                                                            3,833.08    0.62%
             Living Room                                                        4,193.37    0.68%
             Bedroom                                                            3,434.65    0.56%
             Kitchen                                                           17,028.09    2.76%
             Bathroom                                                             968.85    0.16%

             Area Subtotal: 4th Floor Right                                    31,220.01    5.07%

      Area: 3rd Floor Left                                                      5,015.39    0.81%
             Kitchen                                                           14,798.40    2.40%
             Bedroom                                                           11,442.55    1.86%
             Bathroom                                                          12,068.28    1.96%
             Hallway                                                           12,248.77    1.99%
             Master Bedroom                                                    18,531.24    3.01%
             Living Room                                                       15,952.89    2.59%

             Area Subtotal: 3rd Floor Left                                     90,057.52    14.62%

      Area: 3rd Floor Right
             Hallway                                                            3,182.90    0.52%
             Living Room                                                        4,349.89    0.71%
             Bedroom                                                            3,508.34    0.57%
             Kitchen                                                            4,843.07    0.79%
             Bathroom                                                           1,429.81    0.23%

             Area Subtotal: 3rd Floor Right                                    17,314.01    2.81%

      Area: 2nd Floor Left (Fire)                                               2,513.53    0.41%
             Kitchen                                                           14,798.40    2.40%
             Living Room                                                       15,952.89    2.59%
             Bedroom                                                           11,442.55    1.86%

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                      Consumer Adjuster LLC
                      Consumer Adjusters LLC
                      191 Chestnut St.
                      Springfield, MA 01103

             Bathroom                                                          11,484.59     1.86%
             Hallway                                                           12,248.77     1.99%
             Master Bedroom                                                    18,667.17     3.03%

             Area Subtotal: 2nd Floor Left (Fire)                              87,107.90     14.14%

      Area: 2nd Floor Right
             Hallway                                                            3,182.90     0.52%
             Living Room                                                        4,349.89     0.71%
             Bedroom                                                            3,508.34     0.57%
             Kitchen                                                            4,916.63     0.80%
             Bathroom                                                           1,357.88     0.22%

             Area Subtotal: 2nd Floor Right                                    17,315.64     2.81%

      Area: 1st Floor Left
             Bedroom                                                           11,442.55     1.86%
             Bathroom                                                          11,484.59     1.86%
             Hallway                                                           12,248.77     1.99%
             Kitchen                                                           14,798.40     2.40%
             Master Bedroom                                                    18,667.17     3.03%
             Living Room                                                       15,952.89     2.59%

             Area Subtotal: 1st Floor Left                                     84,594.37     13.73%

      Area: 1st Floor Right
             Hallway                                                            3,334.67     0.54%
             Kitchen                                                            5,324.26     0.86%
             Bedroom                                                            3,465.53     0.56%
             Bathroom                                                           1,429.81     0.23%
             Living Room                                                        4,454.07     0.72%

             Area Subtotal: 1st Floor Right                                    18,008.34     2.92%

      Area: Stairwell                                                           1,506.90     0.24%
             Stairs From Entry                                                  2,075.39     0.34%
             Stairs                                                            15,125.74     2.46%
             1st Floor Hall                                                     2,412.76     0.39%
             Landing 1.5                                                        3,096.24     0.50%
             2nd Floor Hall                                                     2,412.76     0.39%
             Landing 2.5                                                        3,096.24     0.50%
             3rd Floor Hall                                                     2,412.76     0.39%
             Landing 3.5                                                        3,133.26     0.51%
             4th Floor Hall                                                     2,591.06     0.42%

            Area Subtotal: Stairwell                                           37,863.11     6.15%
            Front Elevation                                                     8,010.74     1.30%
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                      Consumer Adjuster LLC
                      Consumer Adjusters LLC
                      191 Chestnut St.
                      Springfield, MA 01103

              Left Elevation                                                    1,579.50     0.26%
              Rear Elevation                                                   15,965.19     2.59%

      Area: Rear Porch
             1st Floor                                                          2,027.24     0.33%
             2nd Floor                                                          1,698.92     0.28%
             3rd Floor                                                          2,078.12     0.34%
             4th Floor                                                          2,000.49     0.32%
             Stairswell                                                           118.17     0.02%
             4th Floor Framing                                                  4,157.46     0.68%
             3rd Floor Framing                                                  4,157.46     0.68%
             2nd Floor Framing                                                  4,157.46     0.68%

              Area Subtotal: Rear Porch                                        20,395.32     3.31%
              Basement                                                          2,687.68     0.44%
              General                                                          95,652.94    15.53%

      Subtotal of Areas                                                       615,919.50    100.00%


      Total                                                                   615,919.50    100.00%




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                    Consumer Adjuster LLC
                    Consumer Adjusters LLC
                    191 Chestnut St.
                    Springfield, MA 01103

                                             Recap by Category

       O&P Items                                                                Total          %
       ACOUSTICAL TREATMENTS                                                  12,620.18    1.67%
       APPLIANCES                                                             12,078.12    1.60%
       CABINETRY                                                              24,981.61    3.31%
       CLEANING                                                               11,471.89    1.52%
       CONTENT MANIPULATION                                                    2,251.04    0.30%
       GENERAL DEMOLITION                                                     76,986.22   10.20%
       DOORS                                                                  21,112.01    2.80%
       DRYWALL                                                                   964.95    0.13%
       ELECTRICAL                                                             12,013.93    1.59%
       FLOOR COVERING - VINYL                                                  5,854.24    0.78%
       FLOOR COVERING - WOOD                                                  47,906.60    6.35%
       PERMITS AND FEES                                                          895.00    0.12%
       FINISH CARPENTRY / TRIMWORK                                            36,705.32    4.86%
       FINISH HARDWARE                                                         2,317.40    0.31%
       FIRE PROTECTION SYSTEMS                                                29,139.68    3.86%
       FRAMING & ROUGH CARPENTRY                                              22,992.73    3.05%
       HEAT, VENT & AIR CONDITIONING                                           1,150.24    0.15%
       INSULATION                                                             26,221.53    3.47%
       LABOR ONLY                                                             39,641.60    5.25%
       LIGHT FIXTURES                                                          3,896.80    0.52%
       MASONRY                                                                 3,584.25    0.47%
       INTERIOR LATH & PLASTER                                                94,845.26   12.57%
       PLUMBING                                                               15,190.37    2.01%
       PANELING & WOOD WALL FINISHES                                             651.28    0.09%
       PAINTING                                                               50,775.00    6.73%
       SIDING                                                                  9,395.44    1.24%
       SOFFIT, FASCIA, & GUTTER                                                3,817.23    0.51%
       STAIRS                                                                  5,170.24    0.69%
       TILE                                                                    9,516.95    1.26%
       TEMPORARY REPAIRS                                                       6,633.67    0.88%
       WINDOW TREATMENT                                                        5,014.68    0.66%
       WINDOWS - VINYL                                                        20,124.04    2.67%
       O&P Items Subtotal                                                    615,919.50   81.60%
       Material Sales Tax                                                     12,933.13    1.71%
       Storage Tax                                                               115.84    0.02%
       Overhead                                                               62,898.37    8.33%
       Profit                                                                 62,898.37    8.33%

       Total                                                                 754,765.21   100.00%


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  4th Floor Left                              Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 126 of 163




                                                                                                                        20' 4"
                                                                                           7' 3"                          6' 10"                 5'




                                                                                                                                                                  5' 2"
                                                                                                                                                                                    ,




                                                                                                                                                         8' 10"
                                                                                                                          Kitchen             Bathroom                3' 6"




                                                                  "




                                                                                                       12' 4"
                                                                                                                                                                     3' 2"


                                                                13' 8

                                                                          "
                                                                        13' 2




                                                                                                                                                                               3' 8"
                                                                                                                                                                                       4'
                                                                                                                                                           Coat Closet (1)
                                                                                    Bedroom
                                                                                                                                                                                       1' 8"
                                                                                                                                             17' 4"
                                                                                                                                                                                                  I

                                                                                                                3' 2"
                                                                                                                                         Hallway




                                                                                                                                                                                        5' 8"
                                                                                                                                                                                                 6' 4"
                                                                                  11' 9"                                              14'
                                                                                 11' 2"                                             14' 4"
                                                                                                                                                                               3' 4"
                                                                                                                                                                                                  I
                                               5' 4"




                                                                                                                                                                                    3' 8"
                                             1' 3"
                                               1'




                                                                                                                                                                  14' 4"
                                                       14' 4"




                                                                                                                                 Living Room




                                                                                                                                                                           12' 2"
                                                                          Master Bedroom
                               "

                                             8' 10"
                             10' 1
                                     9' 5"




                                Closet (1)

                                3' 10"                                          11' 10"
                                                                                                                                                                                                                 K
                                                                                                   31' 6"
                                                                                                                                                                                                                 it
                                                                                                                                                                                                         4th Floor Left
      49-BELMONT-AVE-SPF-1                                                                                                                                                                      6/8/2018        Page: 109
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  4th Floor Right            Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 127 of 163




                                                                                   12'




                                                      "
                                                  7' 9
                                                                                          7"
                                                                                                                     27'
                                                                                                                            6"
                                     4' 4"                                      Kitchen                              1' 7
                                                                                                                     "




                                                                                                                      "
                                      4' 8"                                                                   Pantry (1)




                                                                                                                     4' 1
                                                                                                             "
                                                                                                        7' 2
                                                            4' 9                                                                           12'


                                                3' 6"
                                                                   "
                             6' 8"




                                                                                                                        "
                                     6'




                                                                                                                       7' 6
                                     Bathroom




                                                                                                               "
                                                                                   6' 8               Closet (1)




                                                                                                              2' 9
                                                                    "
                                                                                          "



                                                                 5' 2
                                                                           "
                                       3' 3"



                                                                         5' 4
                                                 3' 2"




                                                                                                 "
                                                                                                                                 Bedroom




                                                                                               3' 9
                                      3' 4"




                                                                                                       "
                                                                                                      3' 7
                                               2' 10"
                                              2' 8"




                                                                                                                                                       1"
                                            Closet1
                                                1' 6 (1) Hallway ' 9"
                                                     "




                                                                                                                                                   11'
                                              1' 8
                                                                1" 2

                                                   "                                                                          14'


                                                                                     "
                                                                                   7' 6
                                                                                              "
                                                                 5' 5"
                                                        5' 9"




                                                                                          7' 5
                                                                         4' 8"




                                                                                                                                                 25'
                                                                          5'

                                                                                                      Living Room




                                                                                                                                      1"
                                                                                  10' 10"




                                                                                                                                     13'
                                                                                   11'




                                                                                                             9' 10"
                                                                                                                                                                          E
                                                                                                             10' 4"
                                                                                                                                                                          it
                                                                                                                                                                 4th Floor Right
      49-BELMONT-AVE-SPF-1                                                                                                                                  6/8/2018     Page: 110
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  3rd Floor Left                              Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 128 of 163




                                                                                                                          20' 4"
                                                                                             7' 3"                          6' 10"                 5'




                                                                                                                                                                    5' 2"
                                                                                                                                                           8' 10"
                                                                                                                            Kitchen             Bathroom                3' 6"




                                                                    "




                                                                                                         12' 4"
                                                                                                                                                                       3' 2"


                                                                  13' 8

                                                                            "
                                                                          13' 2




                                                                                                                                                                                 3' 8"
                                                                                                                                                                                         4'
                                                                                                                                                             Coat Closet (1)
                                                                                      Bedroom
                                                                                                                                                                                         1' 8"
                                                                                                                                               17' 4"




                                                                                                                  3' 2"
                                                                                                                                           Hallway




                                                                                                                                                                                          5' 8"
                                                                                                                                                                                                   6' 4"
                                                                                    11' 9"                                              14'
                                                                                   11' 2"                                             14' 4"
                                                                                                                                                                                 3' 4"
                                                 5' 4"




                                                                                                                                                                                      3' 8"
                                             1' 3"
                                                 1'




                                                                                                                                                                    14' 4"
                                                         14' 4"




                                                                                                                                   Living Room




                                                                                                                                                                             12' 2"
                                                                            Master Bedroom
                                             =
                               "

                                             8' 10"
                             10' 1
                                     9' 5"




                                     0)
                                Closet (1)


                       /        3' 10"                                            11' 10"
                                                                                                                                                                                                                   K
                       1                                                                             31' 6"
                                                                                                                                                                                                                   it
                                                                                                                                                                                                           3rd Floor Left
      49-BELMONT-AVE-SPF-1                                                                                                                                                                        6/8/2018        Page: 111
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  3rd Floor Right            Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 129 of 163




                                                                                   12'




                                                      "
                                                  7' 9
                                                                                          7"
                                                                                                                     27'
                                                                                                                            6"
                                     4' 4"                                      Kitchen                              1' 7
                                                                                                                     "




                                                                                                                      "
                                      4' 8"                                                                   Pantry (1)




                                                                                                                     4' 1
                                                                                                             "
                                                                                                        7' 2
                                                            4' 9                                                                           12'


                                                3' 6"
                                                                   "
                             6' 8"




                                                                                                                        "
                                     6'




                                                                                                                       7' 6
                                     Bathroom




                                                                                                               "
                                                                                   6' 8               Closet (1)




                                                                                                              2' 9
                                                                    "
                                                                                          "



                                                                 5' 2
                                                                           "
                                       3' 3"



                                                                         5' 4
                                                 3' 2"




                                                                                                 "
                                                                                                                                 Bedroom




                                                                                               3' 9
                                      3' 4"




                                                                                                       "
                                                                                                      3' 7
                                               2' 10"
                                              2' 8"




                                                                                                                                                       1"
                                            Closet1
                                                1' 6 (1) Hallway ' 9"
                                                     "




                                                                                                                                                   11'
                                              1' 8
                                                                1" 2

                                                   "                                                                          14'


                                                                                     "
                                                                                   7' 6
                                                                                              "
                                                                 5' 5"
                                                        5' 9"




                                                                                          7' 5
                                                                         4' 8"




                                                                                                                                                 25'
                                                                          5'

                                                                                                      Living Room




                                                                                                                                      1"
                                                                                  10' 10"




                                                                                                                                     13'
                                                                                   11'




                                                                                                             9' 10"
                                                                                                                                                                          E
                                                                                                             10' 4"
                                                                                                                                                                          it
                                                                                                                                                                 3rd Floor Right
      49-BELMONT-AVE-SPF-1                                                                                                                                  6/8/2018     Page: 112
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  2nd Floor Left (Fire)                        Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 130 of 163




                                                                                                                         20' 4"
                                                                                            7' 3"                          6' 10"                 5'




                                                                                                                                                                   5' 2"
                                                                                                                                                          8' 10"
                                                                                                                           Kitchen             Bathroom                3' 6"




                                                                   "




                                                                                                        12' 4"
                                                                                                                                                                      3' 2"


                                                                 13' 8

                                                                           "
                                                                         13' 2




                                                                                                                                                                                3' 8"
                                                                                                                                                                                        4'
                                                                                                                                                            Coat Closet (1)
                                                                                     Bedroom
                                                                                                                                                                                        1' 8"
                                                                                                                                              17' 4"




                                                                                                                 3' 2"
                                                                                                                                          Hallway




                                                                                                                                                                                         5' 8"
                                                                                                                                                                                                  6' 4"
                                                                                   11' 9"                                              14'
                                                                                  11' 2"                                             14' 4"
                                                                                                                                                                                3' 4"
                                                5' 4"




                                                                                                                                                                                     3' 8"
                                              1' 3"
                                                1'




                                                                                                                                                                   14' 4"
                                                        14' 4"




                                                                                                                                  Living Room




                                                                                                                                                                            12' 2"
                                                                           Master Bedroom
                                "

                                              8' 10"
                              10' 1
                                      9' 5"




                                 Closet (1)

                                 3' 10"                                          11' 10"
                                                                                                                                                                                                            K
                          ,                                                                         31' 6"
                                                                                                                                                                                                            it
                                                                                                                                                                                             2nd Floor Left (Fire)
      49-BELMONT-AVE-SPF-1                                                                                                                                                                       6/8/2018   Page: 113
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  2nd Floor Right            Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 131 of 163




                                                                                   12'




                                                      "
                                                  7' 9
                                                                                          7"
                                                                                                                     27'
                                                                                                                            6"
                                     4' 4"                                      Kitchen                              1' 7
                                                                                                                     "




                                                                                                                      "
                                      4' 8"                                                                   Pantry (1)




                                                                                                                     4' 1
                                                                                                             "
                                                                                                        7' 2
                                                            4' 9                                                                           12'


                                                3' 6"
                                                                   "
                             6' 8"




                                                                                                                        "
                                     6'




                                                                                                                       7' 6
                                     Bathroom




                                                                                                               "
                                                                                   6' 8               Closet (1)




                                                                                                              2' 9
                                                                    "
                                                                                          "



                                                                 5' 2
                                                                           "
                                       3' 3"



                                                                         5' 4
                                                 3' 2"




                                                                                                 "
                                                                                                                                 Bedroom




                                                                                               3' 9
                                      3' 4"




                                                                                                       "
                                                                                                      3' 7
                                               2' 10"
                                              2' 8"




                                                                                                                                                       1"
                                            Closet1
                                                1' 6 (1) Hallway ' 9"
                                                     "




                                                                                                                                                   11'
                                              1' 8
                                                                1" 2

                                                   "                                                                          14'


                                                                                     "
                                                                                   7' 6
                                                                                              "
                                                                 5' 5"
                                                        5' 9"




                                                                                          7' 5
                                                                         4' 8"




                                                                                                                                                 25'
                                                                          5'

                                                                                                      Living Room




                                                                                                                                      1"
                                                                                  10' 10"




                                                                                                                                     13'
                                                                                   11'




                                                                                                             9' 10"
                                                                                                                                                                          E
                                                                                                             10' 4"
                                                                                                                                                                          it
                                                                                                                                                                2nd Floor Right
      49-BELMONT-AVE-SPF-1                                                                                                                                  6/8/2018     Page: 114
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  1st Floor Left                              Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 132 of 163




                                                                                                                        20' 4"
                                                                                           7' 3"                          6' 10"                 5'




                                                                                                                                                                  5' 2"
                                                                                                                                                                                    ,




                                                                                                                                                         8' 10"
                                                                                                                          Kitchen             Bathroom                3' 6"




                                                                  "




                                                                                                       12' 4"
                                                                                                                                                                     3' 2"


                                                                13' 8

                                                                          "
                                                                        13' 2




                                                                                                                                                                               3' 8"
                                                                                                                                                                                       4'
                                                                                                                                                           Coat Closet (1)
                                                                                    Bedroom
                                                                                                                                                                                       1' 8"
                                                                                                                                             17' 4"
                                                                                                                                                                                                  I

                                                                                                                3' 2"
                                                                                                                                         Hallway




                                                                                                                                                                                        5' 8"
                                                                                                                                                                                                 6' 4"
                                                                                  11' 9"                                              14'
                                                                                 11' 2"                                             14' 4"
                                                                                                                                                                               3' 4"
                                                                                                                                                                                                  I
                                               5' 4"




                                                                                                                                                                                    3' 8"
                                             1' 3"
                                               1'




                                                                                                                                                                  14' 4"
                                                       14' 4"




                                                                                                                                 Living Room




                                                                                                                                                                           12' 2"
                                                                          Master Bedroom
                               "

                                             8' 10"
                             10' 1
                                     9' 5"




                                Closet (1)

                                3' 10"                                          11' 10"
                                                                                                                                                                                                                 K
                                                                                                   31' 6"
                                                                                                                                                                                                                 it
                                                                                                                                                                                                         1st Floor Left
      49-BELMONT-AVE-SPF-1                                                                                                                                                                      6/8/2018        Page: 115
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  1st Floor Right            Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 133 of 163




                                                                                   12'




                                                      "
                                                  7' 9
                                                                                          7"
                                                                                                                     27'
                                                                                                                            6"
                                     4' 4"                                      Kitchen                              1' 7
                                                                                                                     "




                                                                                                                      "
                                      4' 8"                                                                   Pantry (1)




                                                                                                                     4' 1
                                                                                                             "
                                                                                                        7' 2
                                                            4' 9                                                                           12'


                                                3' 6"
                                                                   "
                             6' 8"




                                                                                                                        "
                                     6'




                                                                                                                       7' 6
                                     Bathroom




                                                                                                               "
                                                                                   6' 8               Closet (1)




                                                                                                              2' 9
                                                                    "
                                                                                          "



                                                                 5' 2
                                                                           "
                                       3' 3"



                                                                         5' 4
                                                 3' 2"




                                                                                                 "
                                                                                                                                 Bedroom




                                                                                               3' 9
                                      3' 4"




                                                                                                       "
                                                                                                      3' 7
                                               2' 10"
                                              2' 8"




                                                                                                                                                       1"
                                            Closet1
                                                1' 6 (1) Hallway ' 9"
                                                     "




                                                                                                                                                   11'
                                              1' 8
                                                                1" 2

                                                   "                                                                          14'


                                                                                     "
                                                                                   7' 6
                                                                                              "
                                                                 5' 5"
                                                        5' 9"




                                                                                          7' 5
                                                                         4' 8"




                                                                                                                                                 25'
                                                                          5'

                                                                                                      Living Room




                                                                                                                                      1"
                                                                                  10' 10"




                                                                                                                                     13'
                                                                                   11'




                                                                                                             9' 10"
                                                                                                                                                                          E
                                                                                                             10' 4"
                                                                                                                                                                          it
                                                                                                                                                                 1st Floor Right
      49-BELMONT-AVE-SPF-1                                                                                                                                  6/8/2018     Page: 116
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  Stairwell                                                        Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 134 of 163




                                                                                       7' 10"
                                                                                                                                  7' 10"                                                    7' 10"
                                                                                        7' 2"
                                                                                                                                   7' 2"                                                     7' 2"
                                                                                     Landing 1.5




                                                                                                                                                                     4' 6"
                                                                                                                                                                             4' 2"
                                                                                                                                Landing 2.5                                               Landing 3.5
                                                                                3'             3' 10"
                                   7' 10"                                                                                  3'             3' 10"                                     3'             3' 10"




                                                                                                        11' 8"
                                                                                                                 12' 4"
                                                                                           Up
          T       ,




                                                                                                                                                   11' 8"
                                                                                                                                                            12' 4"
                                   7' 2"




                                                                                                                                                                                                             11' 8"
                                                                                                                                                                                                                       12' 4"
                                                                                          4'
                                                                                         Up                                           Up                                                        Up
         3' 8"




                                                                                                                                     4'




                                                                                                                                                                                               4'
                  3'




                                   Entry                                                                                            Up
                           3' 10"
         1                                                                               5"
                                          1' 2"




                                                                               3' 2"
                                   10"




                                                                                                                                    5"
                                                  3' 4"




                                                                                                                                                                                              5"
                          3' 10"
                                                                                 2nd Floor Hall                           3' 2"                                                  3' 2"




                                                                                                                                                                             3' 1"
                                                                                                                                                                     3' 5"
                                                          11' 8"
                                                                   12' 4"




                                         Up                                                                                 3rd Floor Hall                                            4th Floor Hall
                                   Stairs From Entry
                                         4'




          T           Stairs         Up ■
         7' 10"
                  7' 6"




                                              3' 10"        L,
                                     5"




                          3' 2"


         i            /
                             1st Floor Hall




                                                                                                                                                                                                                      K
                                                                                                                                                                                                                      1-
                                                                                                                                                                                                             Stairwell
      49-BELMONT-AVE-SPF-1                                                                                                                                                                  6/8/2018                  Page: 117
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  Rear Porch                                    Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 135 of 163




                                                                                    50'




                                   9'
                                                                     1st Floor




                                                                                                        Up
                                                                                                     4' 4"
                                                                                           1st Floor 4 Stair




                                                                                                                                    20
                                       3' 2" 3' 4"                           33' 7"                            4' 3"




                                                                                                                                     '
                                   Up




                                                        4' 8"
                               Stairswell
                                       Up




                                                                                                                        15
                                                                                                                            '8
                                                        3' 4"




                                                                                                                             "
                                            6' 6"




                                                                                                                                          8'
                                                                                    50'
                                                                                                                                                            6' 7"
                                       9'




                                                                     2nd Floor




                                                                                                        Up
                                                                                                                                               2nd Floor Framing




                                                                                                     4' 4"
                                                                                           2nd Floor 4 Stair




                                                                                                                                                9'
                                                                                                                                    20
                                       3' 2" 3' 4"                           33' 7"                            4' 3"




                                                                                                                                     '




                                                                                                                                                                                   20
                                       Up                                                                                                                 4' 3"




                                                                                                                                                                                       '
                               Stairs5 (5)
                                                            4' 8"




                                        Up




                                                                                                                        15
                                                                                                                            '8
                                                            3' 4"




                                                                                                                                "




                                                                                                                                                                          15
                                            6' 6"




                                                                                                                                                                           '8
                                                                                                                                          8'




                                                                                                                                                                               "




                                                                                                                                                                                               8'
                                                                                    50'
                                   9'




                                                                                                                                                                  6' 7"
                                                                    3rd Floor



                                                                                                        Up
                                                                                                     4' 4"
                                                                                          3rd Floor 4 Stair




                                                                                                                                    20
                                       3' 2" 3' 4"                           33' 7"                            4' 3"




                                                                                                                                     '
                                                                                                                                                3rd Floor Framing




                                                                                                                                                     9'
                                   Up
                               Stairs9 (8)
                                                        4' 8"




                                        Up




                                                                                                                                                                                       20
                                                                                                                                                            4' 3"




                                                                                                                                                                                           '
                                                                                                                        15
                                                                                                                            '8
                                                        3' 4"




                                                                                                                             "
                                            6' 6"




                                                                                                                                          8'




                                                                                                                                                                           15
                                                                                                                                                                               '8
                                                                                                                                                                                   "




                                                                                                                                                                                                8'
                                                                                50'
                                                                                                 3' 4"
                                                                                                                                                                  6' 7"
                                                                                                     Up
                                                                                                  8' 3"




                                                                                          4th Floor 4 Stair
                                  9'




                                                                    4th Floor                                                                  4th Floor Framing




                                                                                                                                                     9'
                                  3' 2" 3' 4"                              33' 7"                            4' 3"              20
                                                                                                                                 '




                                                                                                                                                                                       20
                                  Up
                             Stairs13 (11)
                                                    4' 8"




                                                                                                                                                            4' 3"




                                                                                                                                                                                           '
                                       Up
                                                                                                                       15
                                                                                                                        '8
                                                    3' 4"




                                                                                                                            "




                                        6' 6"




                                                                                                                                                                           15
                                                                                                                                                                               '8
                                                                                                                                         8'




                                                                                                                                                                                   "




                                                                                                                                                                                                8'
                                                                                                                                                                                                                Rear Porch
      49-BELMONT-AVE-SPF-1                                                                                                                                                                           6/8/2018       Page: 118
            Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 136 of 163




                           WITMAN
                                 PROPERTIES
                                                          II        mamiEli
                                                                    Mil


Expenses Related to 3/18/18 Fire @ 49 Belmont



Cateogry          Vendor              Description                                               Amount
Misc. Expense     Motel 6             hotel stay for Jamie Cruz                                 $134.92
Misc. Expense     Red Roof Inn        hotel stay for Tashensha Allen                            $106.80
                                      3/18-3/31 A. Witman Time spent onsite coordinating
                                      repairs, working with fire recovery, providing accress,
Labor             Witman Properties   meeting inspectors.                                       $2,200.00
                                      3/18: Got things set up, wood for board up, get guys
                                      set up, picked up materials, board up (NH & VS &
Labor             Witman Properties   MM 19.5hr)                                                $1,462.50
Materials         Home Depot          3/18: Studs, screws, nails (NH)                           $458.73
                                      3/19: Loaded ladder onto the van, wait for scene to
                                      be released, started boarded up (ZL & RG & CM &
Labor             Witman Properties   CMJ 31.75hr)                                              $1,428.75
Materials         Home Depot          3/19: plywood                                             $144.28
                                      3/20: Repaired doors, cut/ hung plywood over
Labor             Witman Properties   windows & doors (RG 10.25hr) @ 49                         $461.25
                                      3/20: Picked up materials, boarded up doors &
                                      windows, repaired 3 broken doors, secured the
Labor             Witman Properties   porch, gave tenants access (NH 10.25hr)                   $461.25
                                      3/20: Picked up/ removed & disposed of trash from
                                      the property, cleaned up debris from the fire, swept
Labor             Witman Properties   (FC & VM 18hr)                                            $810.00
                                      3/20: Boarded up fire damage, cleaned front lawn
Labor             Witman Properties   (ZL & CM & CMJ 30hr)                                      $1,350.00
                                      3/20: Disposal fee for 1st load of trash & 2
Disposal Fee      Witman Properties   mattresses (FC & VM)                                      $195.00
Disposal Fee      Witman Properties   3/20: Disposal fee for 2nd load of trash (VM & FC)        $225.00
Materials         Home Depot          3/20: masks                                               $22.28
                                      3/20: Plywood, deadbolt, door reinforce, screws,
Materials         Home Depot          stud                                                      $631.09
                                      3/21: Dropped off 24 smoke detectors & 4 battery
Labor             Witman Properties   COs (MM .25hr)                                            $11.25
                                      3/21: Fire caulked, called the police about break in,
                                      got materials, re-hung smoke detectors, removed
                                      board up on leyfred side, repaired broken lock,
                                      brought tenants into apartments, cleaned up
                                      construction debris, re-boarded burned units (NH
Labor             Witman Properties   11hr)                                                     $495.00
            Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 137 of 163

                                      3/21: Boarded up remaining windows,
                                      swept/cleaned up, cleaned up apartments on leyfred
                                      side, pull plywood off, installed smoke detectors, lock
                                      doors, install door common area, repaired deadbolt
                                      on back side of leyfred 4th fl (ZL & CM & CMJ
Labor             Witman Properties   19.75hr)                                                  $888.75
Materials         Witman Properties   (24) 10 yr Detectors Witman Stock 3/21 (MM)               $1,104.00
Materials         Home Depot          3/21: smoke detectors, fire barriers                      $140.05
Materials         Home Depot          3/21: Saw blade, fire caulk, sheet rock, door             $360.99
Materials         Witman Properties   3/21: (4) CO detectors-Witman stock (MM)                  $100.00
Materials         Home Depot          Combo alarm                                               $56.28
                                      3/22: Assisted in cleaning up back deck, waited for
                                      insurance company to leave board up front door,
Labor             Witman Properties   dealt with tenants (NH 3.25hr)                            $146.25
Labor             Witman Properties   3/22: Clean and mop stairs and back porches (FC)          $270.00
Labor             Witman Properties   3/23: Unboarded for Joan, inspections (MM 5.25hr)         $236.25
                                      3/23: Repaired front door, tenant had moulding in
                                      the closet, was able to put back up @ 6-1R, had to
                                      board up back door for joan after she took her stuff
Labor             Witman Properties   out @4-1L (AL 1.75hr)                                     $78.75
                                      3/26: Gave insurance, fire guys & tenants access,
Labor             Witman Properties   un-boarded/re-boarded (NH 3.25hr)                         $146.25
Labor             Witman Properties   3/26: cut and put plywood over front door (AL)            $90.00
                                      3/28: Changed 8 lock sets, copied keys & tagged
                                      them 3R, 3L, 2L, 1L, 1R, 2R, 4L, had to get some
                                      cylinders keyed, had to change vacancy to tenant
Labor             Witman Properties   lock & wait for tenant to give us key 4L (AL 5hr)         $225.00
Materials         Witman Properties   3/28: apt deadbolts                                       $149.90
Materials         Serv U              3/28: lock work                                           $109.38
Materials         Witman Properties   3/28: 16 Key copies for new locks                         $32.00
                                      3/30: Finished changing/ installing locks in the
Labor             Witman Properties   building (AL 3.75hr)                                      $168.75
Materials         Giguere's           3/30: new gas stoves                                      $628.75
Materials         Giguere's           3/31: gas stove                                           $246.25
Materials         Giguere's           3/31: electric stove                                      $246.25
                                      4/2: Checked stove/ called Giguere's had replaced
                                      #1L, attempted to repair back door lock, needed
                                      replacement locks, adjusted front lock to work right
                                      1R, dropped off key for new cylinder, no one home
Labor             Witman Properties   2R & 2L , board up front building (AL & VS 4.25hr)        $191.25
Labor             Witman Properties   4/3: Picked up materials #4L @ Serv-U (AL .5hr)           $22.50
Materials         Serv U              4/3: lock work                                            $16.46
Materials         Serv U              4/4: lock work                                            $55.76
Materials         Kakley's            4/4: Osb stranboard (AL)                                  $21.19
Materials         Kakley's            4/4: glass                                                $12.61
                                      4/5: Went by had to remove old stove, hooked up
Materials         Giguere's           new stove 1L (AL 1hr)                                     $45.00
Labor             Witman Properties   4/23: Removed board (MM .25hr)                            $11.25
                                                                                       Total:   $16,397.97
              Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 138 of 163

SPRINGFIELD POLICE DEPARTMENT                                                         INVOICE
P.O. BOX 308
Springfield, MA 01101-0308
Phone: 413-787-6386 Fax: 413-787-6519                                                      INVOICE #1
                                                                                   DATE: MARCH 22, 2018


TO                                                     FOR:
Russell Sabadosa                                       Police Extra Detail — D.O.S. 03/19/18
Whitman Properties                                                          09:OOPM — 8:00AM
444A North Main Street                                                      Belmont Ave & Leyfred Terrace
East Longmeadow, MA                                                          Fire Scene
(413) 537-0973


                             DESCRIPTION                                    HOURS             AMOUNT

3/19/18 Officer D. Dominique (Call made to the Captains Office)               11             $637.60
Cruiser Fee                                                                                  $110.00




PLEASE SEND CHECK TO:
Springfield Police Dept, P.O. Box 308, Springfield, MA 01101-0308




                                                                          Total Due         $ X 747.60




Make all checks payable to: City of Springfield.


                                       Thank you for your business!
              Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 139 of 163
SPRINGFIELD POLICE DEPARTMENT                                                          IR VOICE
P.O. BOX 308
Springfield, MA 01101-0308
Phone: 413-787-6386 Fax: 413-787-6519                                                      INVOICE #2
                                                                                   DATE: MARCH 22, 2018


TO:                                                    FOR:
Russell Sabadosa                                       Police Extra Detail — Belmont Ave & Leyfred Terrace
Whitman Properties                                                           Fire Scene
444A North Main Street
East Longmeadow, MA
(413) 537-0973



                              DESCRIPTION                                    HOURS            AMOUNT

3/21/18 5PM — 12AM Officer D. Dominique                                        7              $357.05

Cruiser Fee                                                                                    $ 77.00


3/22/18 12AM — 8AM Officer Viruet                                              8              $408.06
Cruiser Fee
                                                                                               $88.00




PLEASE SEND CHECK TO:
Springfield Police Dept, P.O. Box 308, Springfield, MA 01101-0308




                                                                          Total Due:            930.11




Make all checks payable to: City of Springfield.


                                       Thank you for your business!
              Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 140 of 163
CitySide Power Services, LLC
P.O. Box 1325
Chicopee, MA 01021
(413) 923-4747
citysidepower@yahoo.com


                                                                          POWER SERVICES
INVOICE
BILL TO                                                                   INVOICE #   1066
Witman Properties                                                             DATE    03/22/2018
                                                                          DUE DATE    03/22/2018
                                                                             TERMS    due when convenient




 DATE          ACTIVITY                                                     QTY                  AMOUNT

 03/18/2018    Electrical Service                                             1                   400.00
               Day 1 electrician arrive on site for emergency
               4 hours
 03/19/2018    Electrical Service                                             1                   225.00
               Day 2: meet with fire dept and building dept to make
               plan of action for making building safe to repower and
               begin work that would be satisfactory to let tenants
               move back in their homes
 03/19/2018    Parts/items                                                    1                   900.00
               Permit for wiring
 03/19/2018    Parts/items                                                   12                   480.00
               12 emergency lights
 03/19/2018    Parts/items                                                   15                   150.00
               Low voltage boxes for tgrid cieling for mounting heat
               sensors
 03/20/2018    Electrical Service                                             9                  4,725.00
               Day 3
               3 electricians and 5 workers @525 for all 8 workers
               (City Electrical inspectors and fire dept requests)
               -install heat sensors that were tied into fire alarm
               system inside all 20 units
               -separate common area power from burnt part of builing
               so breakers would stop tripping
               -new emergency lighting in stairwells because old ones
               could not safly be re powered
               -replace lightings in damaged hallway that were melted
               so there would still be illumination for workers and
               municipal workers and investigation crew
               -install more back lighting for safety since lights were
               eliminated on burnt section on back stairwell
               -restore power to each unit 1 at a time a test to make
               sure its safe to live in
               -cancel out power to 7 of the damaged units
             Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 141 of 163
DATE          ACTIVITY                                                      QTY        AMOUNT

              -replace battery devices that were compromised by
              smoke
03/21/2018    Electrical Service                                              7        3,150.00
              3 electricians and 3 workers
              -finish all work listed on day 3 and pass all inspections
              to satisy building dept and city officials to allow tenants
              to access building
03/22/2018    Parts/items                                                     1         300.00
              Wire,conduit, boxes and fittings


                                                              BALANCE DUE
                                                                                  $10,330.00
                           Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 142 of 163



                        CITIZEN SECURITY SERVICES
                                 87 CENTER STREET • LUDLOW, MA 01056
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                   revot se side-and that the equipment has harm left in good condition.


     GUARANTEE: All militarists used are 04 first quality and guaranteed for ninety days after date of repair, Service by qualified technician* only


                WHITE-CUSTOMER COPY YELLOW-SHOP COPY PINK-OFFICE COPY
                            Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 143 of 163

                     CITIZEN SECURITY SERVICES
            87 CENTER STREET • LUDLOW, MA 01056
                       (413) 547-6512                                                                                                  'r,,
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3UARANTEE: AU materials used are of first quality and guaranteed for ninety days after date of repair. Service
                                                                                                                       by qualthed technicians only.



          WHITE-CUSTOMER COPY YELLOW-SHOP COPY PINK-OFFICE COPY
                               Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 144 of 163

                               CITIZEN SECURITY SERVICES
                                        87     CENTER STREET • LUDLOW, MA 01056
                                                                      (413) 547-6512




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3uARANTEE: Ay rlia!enala used are of fist quality and guaranteed for ninety days after dale of repair. SONYCS by qualified technicians only.


        WHITE-CUSTOMER COPY YELLOW-SHOP COPY PINK-OFFICE COPY
                    Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 145 of 163



                     CITIZEN SECURITY SERVICES
                             87 CENTER STREET • LUDLOW, MA 01056
                                        (413) 547-6512
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      Signature                        of above service p.               ng satisfactory and in accordance with the attendant insurance condition's
      on the r           and that the equiprnent has been left in good condition


GUARANTEE: M matenais used are or first qualety and guaranteed for ninety days attar date of repair. Service by qualified technicians only.


          WHITE-CUSTOMER COPY YELLOW-SHOP COPY PINK-OFFICE COPY
              Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 146 of 163
                                                                   Red Roof PLUS+ West Springfield

Red Poor Plus+                                                           1254 Riverdale Street
                                                                    West Springfield, MA 01089 US
                                                                         Phone: 413-731-1010
                                                                           Fax: 413-731-1009
                                                                       Email: i0193@redroof.com
                                                                    Printed: 3/22/2018 12:33:32 PM

Folio (Detailed)
Name:        ALI, HAWO                                               Conf #: 193-502025
                                                                     RediCard #: 6004366720
Address:     61 UPPER CHURCH ST
             West Springfield, MA 01089 US
Room:        232                 Room Type: ND2FM, NON-SMOKING DELUXE 2 FULL BEDS MICRO-
Nights:      2                   Guests: 2/2
Rate Plan:   RHD2                Daily Rate: See room rate section GTD: 913 - VISA
Arrival:     3/20/2018 (Tue)     Departure: 3/22/2018 (Thu)             XXXX XXXX XXXX 4549

 Room Rate:

   3/20/2018 (Tue) - 3/20/2018 (Tue) $72.99 + $0.00 Tax per night.
   3/21/2018 (Wed) - 3/21/2018 (Wed) $77.24 + $0.00 Tax per night.

 Date            Code          Description                                   Amount           Balance
 3/20/2018       100           ROOM CHARGES                                   $72.99           $72.99
 3/20/2018       624           SAFE WITH LIMITED WARRANTY                      $1.50           $74.49
 3/21/2018       100           ROOM CHARGES                                   $77.24          $151.73
 3/21/2018       624           SAFE WITH LIMITED WARRANTY                      $1.50          $153.23
 3/22/2018       624           SAFE WITH LIMITED WARRANTY                     ($1.50)         $151.73
 3/22/2018       624           SAFE WITH LIMITED WARRANTY                     ($1.50)         $150.23
 3/22/2018       913           VISA (4549)church credit card                ($150.23)           $0.00
                               477026 270993693
 3/22/2018       913           VISA (4549)credit church card                  $150.23         $150.23
 3/22/2018       100           ROOM CHARGES-credit stayed one                ($77.24)          $72.99
                               night
 3/22/2018       913           VISA (5557)-landlords credit card             ($72.99)           $0.00


Summary
   Room             Tax          F&B            Other            CC            Cash            DB
   $72.99          $0.00         $0.00          $0.00         ($72.99)         $0.00          $0.00
              Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 147 of 163
                                                                   Red Roof PLUS+ West Springfield

Red Poor Plus+                                                           1254 Riverdale Street
                                                                    West Springfield, MA 01089 US
                                                                         Phone: 413-731-1010
                                                                           Fax: 413-731-1009
                                                                       Email: i0193@redroof.com
                                                                    Printed: 3/22/2018 12:36:18 PM

Folio (Detailed)
Name:        MAKSUDA, MOST                                             Conf #: 193-758253

Address:     61 UPPER CHURCH ST
             West Springfield, MA 01089 US
Room:        236                 Room Type: ND2FM, NON-SMOKING DELUXE 2 FULL BEDS MICRO-
Nights:      1                   Guests: 2/2
Rate Plan:   RHD2                Daily Rate: $72.99 + $0.00 Tax GTD: 913 - VISA
Arrival:     3/20/2018 (Tue)     Departure: 3/21/2018 (Wed)           XXXX XXXX XXXX 4549

 Room Rate:

   3/20/2018 (Tue) - 3/20/2018 (Tue)     $72.99 + $0.00 Tax per night.

 Date            Code          Description                                     Amount        Balance
 3/20/2018       100           ROOM CHARGES                                     $72.99        $72.99
 3/20/2018       624           SAFE WITH LIMITED WARRANTY                        $1.50        $74.49
 3/21/2018       624           SAFE WITH LIMITED WARRANTY                       ($1.50)       $72.99
 3/21/2018       913           VISA (4549)-church credit card                  ($72.99)        $0.00
                               477016 270993667
 3/22/2018       913           VISA (4549)-credit church credit card             $72.99       $72.99
 3/22/2018       913           VISA (5557)-charge landlord credit              ($72.99)        $0.00
                               card


Summary
   Room             Tax          F&B              Other            CC            Cash         DB
   $72.99          $0.00         $0.00            $0.00         ($72.99)         $0.00       $0.00
                                              ffl Hilton                       HILTON GARDEN INN SPRINGFIELD
              Case 3:18-cv-30130-KAR          Document
                                              M  Garden1-4Inn'
                                                            Filed 08/08/18 Page
                                                                          HILTON    148 of
                                                                                 GARDEN  INN163
                                                                                             SPRINGFIELD,800 WEST
                                                                                     COLUMBUS AVENUE
                                                                                                     SPRINGFIELD, MA 01105
                                                                                                       United States of America
                                                                                           TELEPHONE 413-886-8000      • FAX 413-886-8100
                                                                                                              Reservations
                                                                                                   www.hilton.com or 1 800 HILTONS
ABDI, ABDILRAHMAN                                                     Room No:                          262/Q2
                                                                      Arrival Date:                     3/20/2018 7:19:00 PM
X                                                                     Departure Date:                   3/22/2018 11:35:00 AM
                                                                      Adult/Child:                      1/0
SPRINGFIELD MA 01105                                                  Cashier ID:                       JPRAGER1
UNITED STATES OF AMERICA                                              Room Rate:                        99.00
                                                                      AL:
                                                                      HH #
                                                                      VAT #
                                                                      Folio No/Che                      485252 A

Confirmation Number: 3430708062

HILTON GARDEN INN SPRINGFIELD 3/22/2018 11:34:00 AM

DATE                 REF NO                DESCRIPTION                                                                  CHARGES
3/20/2018            1999855               GUEST ROOM                                                                    $99.00
3/20/2018            1999855               MASS STATE TAX                                                                    $5.64
3/20/2018            1999855               LOCAL CITY TAX                                                                    $4.95
3/20/2018            1999855               CIVIC CENTER FUND TAX                                                             $2.72
3/21/2018            2000057               GREAT AMERICAN GRILL BREAKFAST                                                $12.79
3/21/2018            2000259               GUEST ROOM                                                                    $99.00
3/21/2018            2000259               MASS STATE TAX                                                                    $5.64
3/21/2018            2000259               LOCAL CITY TAX                                                                    $4.95
3/21/2018            2000259               CIVIC CENTER FUND TAX                                                             $2.72
3/22/2018            2000465               VS *5557                                                                     ($237.41)
                                                  **BALANCE**                                                                   $0.00



EXPENSE REPORT SUMMARY
                                          3/20/2018       3/21/2018                   STAY TOTAL
ROOM AND TAX                              $112.31         $112.31                     $224.62
FOOD AND BEVERAGE                         $0.00           $12.79                      $12.79
DAILY TOTAL                               $112.31         $125.10                     $237.41




                                                          Page:1
                                              ffl Hilton                       HILTON GARDEN INN SPRINGFIELD
               Case 3:18-cv-30130-KAR         Document
                                              M  Garden1-4Inn'
                                                            Filed 08/08/18 Page
                                                                          HILTON    149 of
                                                                                 GARDEN  INN163
                                                                                             SPRINGFIELD,800 WEST
                                                                                     COLUMBUS AVENUE
                                                                                             SPRINGFIELD, MA 01105
                                                                                               United States of America
                                                                                     TELEPHONE 413-886-8000    • FAX 413-886-8100
                                                                                                      Reservations
                                                                                           www.hilton.com or 1 800 HILTONS
HASSAN, LIBAN                                                      Room No:                     241/Q2
                                                                   Arrival Date:                3/20/2018 3:16:00 PM
FIRE VICTIMS                                                       Departure Date:              3/29/2018 12:52:00 PM
                                                                   Adult/Child:                 1/0
SPRINGFIELD MA 01105                                               Cashier ID:                  SLOCOMB
UNITED STATES OF AMERICA                                           Room Rate:                   99.00
                                                                   AL:
                                                                   HH #
                                                                   VAT #
                                                                   Folio No/Che                 485240 A

Confirmation Number: 3428901375

HILTON GARDEN INN SPRINGFIELD 3/29/2018 12:51:00 PM

DATE                 REF NO                DESCRIPTION                                                          CHARGES
3/20/2018            1999783               VS *5557                                                             ($112.31)
3/20/2018            1999836               GUEST ROOM                                                            $99.00
3/20/2018            1999836               MASS STATE TAX                                                            $5.64
3/20/2018            1999836               LOCAL CITY TAX                                                            $4.95
3/20/2018            1999836               CIVIC CENTER FUND TAX                                                     $2.72
3/21/2018            2000056               GREAT AMERICAN GRILL BREAKFAST                                        $12.79
3/21/2018            2000242               GUEST ROOM                                                            $99.00
3/21/2018            2000242               MASS STATE TAX                                                            $5.64
3/21/2018            2000242               LOCAL CITY TAX                                                            $4.95
3/21/2018            2000242               CIVIC CENTER FUND TAX                                                     $2.72
3/22/2018            2000520               GUEST ROOM                                                            $99.00
3/22/2018            2000520               MASS STATE TAX                                                            $5.64
3/22/2018            2000520               LOCAL CITY TAX                                                            $4.95
3/22/2018            2000520               CIVIC CENTER FUND TAX                                                     $2.72
3/23/2018            2000769               GREAT AMERICAN GRILL BREAKFAST                                        $12.79
3/23/2018            2000960               GUEST ROOM                                                            $99.00
3/23/2018            2000960               MASS STATE TAX                                                            $5.64
3/23/2018            2000960               LOCAL CITY TAX                                                            $4.95
3/23/2018            2000960               CIVIC CENTER FUND TAX                                                     $2.72
3/24/2018            2001215               GREAT AMERICAN GRILL BREAKFAST                                        $25.58
3/24/2018            2001305               GUEST ROOM                                                            $99.00
3/24/2018            2001305               MASS STATE TAX                                                            $5.64
3/24/2018            2001305               LOCAL CITY TAX                                                            $4.95
3/24/2018            2001305               CIVIC CENTER FUND TAX                                                     $2.72
3/25/2018            2001504               GREAT AMERICAN GRILL BREAKFAST                                        $40.46
3/25/2018            2001604               GUEST ROOM                                                            $99.00
3/25/2018            2001604               MASS STATE TAX                                                            $5.64
3/25/2018            2001604               LOCAL CITY TAX                                                            $4.95
3/25/2018            2001604               CIVIC CENTER FUND TAX                                                     $2.72
3/26/2018            2001780               GREAT AMERICAN GRILL BREAKFAST                                        $25.58
3/26/2018            2001815               VS *5557                                                             ($678.75)
3/26/2018            2001869               GUEST ROOM                                                            $99.00
3/26/2018            2001869               MASS STATE TAX                                                            $5.64
3/26/2018            2001869               LOCAL CITY TAX                                                            $4.95
3/26/2018            2001869               CIVIC CENTER FUND TAX                                                     $2.72
3/27/2018            2002076               GREAT AMERICAN GRILL BREAKFAST                                        $12.79
3/27/2018            2002113               *PAVILION                                                                 $2.00
3/27/2018            2002188               GUEST ROOM                                                            $99.00
3/27/2018            2002188               MASS STATE TAX                                                            $5.64
3/27/2018            2002188               LOCAL CITY TAX                                                            $4.95

                                                         Page:1
HASSAN, LIBAN                                                         Room No:                           241/Q2
               Case 3:18-cv-30130-KAR Document 1-4                     FiledDate:
                                                                      Arrival 08/08/18           Page 150   of 163
                                                                                                       3/20/2018 3:16:00 PM
FIRE VICTIMS                                                          Departure Date:                    3/29/2018 12:52:00 PM
                                                                      Adult/Child:                       1/0
SPRINGFIELD MA 01105                                                  Cashier ID:                        SLOCOMB
UNITED STATES OF AMERICA                                              Room Rate:                         99.00
                                                                      AL:
                                                                      HH #
                                                                      VAT #
                                                                      Folio No/Che                       485240 A

Confirmation Number: 3428901375

HILTON GARDEN INN SPRINGFIELD 3/29/2018 12:51:00 PM

DATE                 REF NO
                     I                    I
                                           DESCRIPTION                                                     I
                                                                                                                    CHARGES
3/27/2018            2002188               CIVIC CENTER FUND TAX                                                     $2.72
3/28/2018            2002446               GREAT AMERICAN GRILL BREAKFAST                                            $12.79
3/28/2018            2002556               GUEST ROOM                                                                $99.00
3/28/2018            2002556               MASS STATE TAX                                                            $5.64
3/28/2018            2002556               LOCAL CITY TAX                                                            $4.95
3/28/2018            2002556               CIVIC CENTER FUND TAX                                                     $2.72
3/29/2018            2002864               VS *5557                                                                 ($364.51)
                                                  **BALANCE**                                                                   $0.00



EXPENSE REPORT SUMMARY
                                          3/20/2018       3/21/2018                  3/22/2018          3/23/2018
ROOM AND TAX                              $112.31         $112.31                    $112.31            $112.31
FOOD AND BEVERAGE                         $0.00           $12.79                     $0.00              $12.79
MISCELLANEOUS                             $0.00           $0.00                      $0.00              $0.00
DAILY TOTAL                               $112.31         $125.10                    $112.31            $125.10
EXPENSE REPORT SUMMARY
                                          3/24/2018       3/25/2018                  3/26/2018          3/27/2018
ROOM AND TAX                              $112.31         $112.31                    $112.31            $112.31
FOOD AND BEVERAGE                         $25.58          $40.46                     $25.58             $12.79
MISCELLANEOUS                             $0.00           $0.00                      $0.00              $2.00
DAILY TOTAL                               $137.89         $152.77                    $137.89            $127.10
EXPENSE REPORT SUMMARY
                                          3/28/2018       STAY TOTAL
ROOM AND TAX                              $112.31         $1,010.79
FOOD AND BEVERAGE                         $12.79          $142.78
MISCELLANEOUS                             $0.00           $2.00
DAILY TOTAL                               $125.10         $1,155.57




                                                          Page:2
            Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 151 of 163
                     CITIZEN SECURITY SERVICES
                             87 CENTER STREET • LUDLOW, MA 01056
                                                             (413) 547-6512
                  Lico




NATURE OF LABOR PERFORMED                                                                   TECHNICAL SERVICE ib•
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      Signatire                        of above service p=                g satisfactory and in accordance with the attendant insurance condition's
      on the r         o-and that the equipment has been left in good condition.

GUARANTEE: MI materials used are of first quality and guaranteed for ninety days after date of repair. Service by qualified technicians only.


          WHITE-CUSTOMER COPY YELLOW-SHOP COPY PINK-OFFICE COPY
           Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 152 of 163
                       CITIZEN SECURITY SERVICES
                               87 CENTER STREET • LUDLOW, MA 01056
                                          (413) 547-6512




                      ah              r-opc -h                                                                No. 56368
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                                                     DATE PROMISED                                        ACCOUNT NUMBER
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                                       PARTS                DESCRIPTION                                    UNIT PRICE                           AMOUNT

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    HRS.                   LABOR RATE                       AMOUNT                                    TOTAL MATERIALS                   ►
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                      TOTAL LABOR                                                 0 PICKUP       ❑ DELIVERY
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 NATURE OF LABOR PERFORMED                                                                   TECHNICAL SERVICE                           OD-
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SIGNATURE
      Signature constitutes accep       above service                                            in accordance with the attendant insurance condition's
      on the reverse side-and       equipment sha
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GUARANTEE: All materiels used ate of first quality and cougionteed for ninety "Y                              y.             by
                                                                                       e after dale of rope        Service        qualified technicians only.

         WHITE-CUSTOMER COPY YELLOW-SHOP COPY PINK-OFFICE COPY
                    Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 153 of 163
                              CITIZEN SECURITY SERVICES
                                      87 CENTER STkEET • LUDLOW, MA 01056
                                                 (4 3) 547-6512

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         NATURE OF LABOR PERFORMED                                                                   TECHNICAL SERVICE ►
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            on the reverse side-and that the equipment has been left inedood
        GUARANTEE: All matertrUs used are of first quality and qua           for ninety days after date of repair. Service by qualified technic:bunt only
                    WHITE—CUSTOMER COPY MELLOW-SHOP COPY PINK—OFFICE COPY
             Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 154 of 163
                       CITIZEN SECURITY SERVICES
                               87 CENTER STREET • LUDLOW, MA 01056
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      OTY.                                  PARTS              DESCRIPTION                                    UNIT PRICE                     AMOUNT

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    SIGNATURE
          Signature constitutes acceptance of above service performed as being satisfactory and in accordance with the attendant insurance condition's
          on the reverse side-and that the equipment hos been left in.good condition.

    GUARANTEE: All materials used are of first quality and gueiariteed for ninety days after date of repair. Service by qualified technicians only

              WHITE-CUSTOMER COPY YELLOW-SHOP COPY PINK-OFFICE COPY
                  Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 155 of 163


                                              CANDLEWCOD
                                                     SUITES

                                                                                                     04-17-18

 Rashedu Zaman                      Folio No.        : 76651                         Room No.    :   436
 49 Belmont Ave                     A/R Number       :                               Arrival     :   04-03-18
 Springfield MA 01108               Group Code       :                               Departure   :   04-19-18
 United States                      Company          : Landlord                      Conf. No.   :   63755647
                                    Membership No.   :                               Rate Code   :   IYEXT
                                    Invoice No.      :                               Page No.    :   1 of 2


Date                                        Description                                Charges        Credits

04-03-18   *Accommodation                                                                  99.00

04-03-18   Bed/Occupancy Room Tax                                                          12.33

04-04-18   Rollaway Bed                                                                    40.00

04-04-18   *Accommodation                                                                  99.00

04-04-18   Bed/Occupancy Room Tax                                                          12.33

04-05-18   *Accommodation                                                                  99.00

04-05-18   Bed/Occupancy Room Tax                                                          12.33

04-06-18   *Accommodation                                                                  99.00

04-06-18   Bed/Occupancy Room Tax                                                          12.33

04-07-18   *Accommodation                                                                  99.00

04-07-18   Bed/Occupancy Room Tax                                                          12.33

04-08-18   *Accommodation                                                                  99.00

04-08-18   Bed/Occupancy Room Tax                                                          12.33

04-09-18   *Accommodation                                                                  99.00

04-09-18   Bed/Occupancy Room Tax                                                          12.33

04-10-18   *Accommodation                                                                  99.00

04-10-18   Bed/Occupancy Room Tax                                                          12.33

04-11-18   *Accommodation                                                                  99.00

04-11-18   Bed/Occupancy Room Tax                                                          12.33

04-12-18   Visa                     XXXXXXXXXXXX3548                                                    1,041.97

04-12-18   *Accommodation                                                                  99.00

04-12-18   Bed/Occupancy Room Tax                                                          12.33

04-13-18   *Accommodation                                                                  99.00

04-13-18   Bed/Occupancy Room Tax                                                          12.33

04-14-18   *Accommodation                                                                  99.00



                                                  Candlewood Suites
                                                  572 Riverdale Street
                                              West Springfield, MA 01089
                                     Telephone: (413) 739-1122 Fax: (413) 739-0874
                       Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 156 of 163


                                                                 CANDLEWCOD
                                                                         SUITES

                                                                                                                                                    04-17-18

 Rashedu Zaman                                     Folio No.             : 76651                                                Room No.       :    436
 49 Belmont Ave                                    A/R Number            :                                                      Arrival        :    04-03-18
 Springfield MA 01108                              Group Code            :                                                      Departure      :    04-19-18
 United States                                     Company               : Landlord                                             Conf. No.      :    63755647
                                                   Membership No.        :                                                      Rate Code      :    IYEXT
                                                   Invoice No.           :                                                      Page No.       :    2 of 2


 Date                                                          Description                                                          Charges          Credits

04-14-18      Bed/Occupancy Room Tax                                                                                                      12.33

04-15-18      *Accommodation                                                                                                              99.00

04-15-18      Bed/Occupancy Room Tax                                                                                                      12.33

04-16-18      Visa                                 XXXXXXXXXXXX3548                                                                                     445.32

                                                                                                               Total                 1,487.29         1,487.29

                                                                                                               Balance                     0.00


Guest Signature:
I have received the goods and / or services in the amount shown heron. I agree that my liablity for this bill is not waived and agree to be held
personally liable in the event that the indicated person, company, or associate fails to pay for any part or the full amount of these charges. If
a credit card charge, I further agree to perform the obligations set forth in the cardholder's agreement with the issuer.




                                                                 Candlewood Suites
                                                                 572 Riverdale Street
                                                             West Springfield, MA 01089
                                                    Telephone: (413) 739-1122 Fax: (413) 739-0874
                                              ffl Hilton                       HILTON GARDEN INN SPRINGFIELD
              Case 3:18-cv-30130-KAR          Document
                                              M  Garden1-4Inn'
                                                            Filed 08/08/18 Page
                                                                          HILTON    157 of
                                                                                 GARDEN  INN163
                                                                                             SPRINGFIELD,800 WEST
                                                                                     COLUMBUS AVENUE
                                                                                             SPRINGFIELD, MA 01105
                                                                                               United States of America
                                                                                     TELEPHONE 413-886-8000    • FAX 413-886-8100
                                                                                                      Reservations
                                                                                           www.hilton.com or 1 800 HILTONS
BANU, M                                                            Room No:                     343/Q2
                                                                   Arrival Date:                3/20/2018 5:21:00 PM
FIRE                                                               Departure Date:              3/28/2018 2:33:00 PM
                                                                   Adult/Child:                 1/0
SPFLD MA 01105                                                     Cashier ID:                  SLOCOMB
UNITED STATES OF AMERICA                                           Room Rate:                   99.00
                                                                   AL:
                                                                   HH #
                                                                   VAT #
                                                                   Folio No/Che                 485242 A

Confirmation Number: 3423430287

HILTON GARDEN INN SPRINGFIELD 3/28/2018 2:33:00 PM

DATE                 REF NO                DESCRIPTION                                                          CHARGES
3/20/2018            1999785               VS *5557                                                             ($112.31)
3/20/2018            1999864               GUEST ROOM                                                            $99.00
3/20/2018            1999864               MASS STATE TAX                                                            $5.64
3/20/2018            1999864               LOCAL CITY TAX                                                            $4.95
3/20/2018            1999864               CIVIC CENTER FUND TAX                                                     $2.72
3/21/2018            2000267               GUEST ROOM                                                            $99.00
3/21/2018            2000267               MASS STATE TAX                                                            $5.64
3/21/2018            2000267               LOCAL CITY TAX                                                            $4.95
3/21/2018            2000267               CIVIC CENTER FUND TAX                                                     $2.72
3/22/2018            2000448               GREAT AMERICAN GRILL BREAKFAST                                        $33.02
3/22/2018            2000547               GUEST ROOM                                                            $99.00
3/22/2018            2000547               MASS STATE TAX                                                            $5.64
3/22/2018            2000547               LOCAL CITY TAX                                                            $4.95
3/22/2018            2000547               CIVIC CENTER FUND TAX                                                     $2.72
3/23/2018            2000757               GREAT AMERICAN GRILL BREAKFAST                                        $12.79
3/23/2018            2000790               GREAT AMERICAN GRILL BREAKFAST                                        $12.79
3/23/2018            2000983               GUEST ROOM                                                            $99.00
3/23/2018            2000983               MASS STATE TAX                                                            $5.64
3/23/2018            2000983               LOCAL CITY TAX                                                            $4.95
3/23/2018            2000983               CIVIC CENTER FUND TAX                                                     $2.72
3/24/2018            2001328               GUEST ROOM                                                            $99.00
3/24/2018            2001328               MASS STATE TAX                                                            $5.64
3/24/2018            2001328               LOCAL CITY TAX                                                            $4.95
3/24/2018            2001328               CIVIC CENTER FUND TAX                                                     $2.72
3/25/2018            2001503               GREAT AMERICAN GRILL BREAKFAST                                        $25.58
3/25/2018            2001625               GUEST ROOM                                                            $99.00
3/25/2018            2001625               MASS STATE TAX                                                            $5.64
3/25/2018            2001625               LOCAL CITY TAX                                                            $4.95
3/25/2018            2001625               CIVIC CENTER FUND TAX                                                     $2.72
3/26/2018            2001769               GREAT AMERICAN GRILL BREAKFAST                                        $12.79
3/26/2018            2001899               GUEST ROOM                                                            $99.00
3/26/2018            2001899               MASS STATE TAX                                                            $5.64
3/26/2018            2001899               LOCAL CITY TAX                                                            $4.95
3/26/2018            2001899               CIVIC CENTER FUND TAX                                                     $2.72
3/27/2018            2002095               GREAT AMERICAN GRILL BREAKFAST                                        $25.58
3/27/2018            2002218               GUEST ROOM                                                            $99.00
3/27/2018            2002218               MASS STATE TAX                                                            $5.64
3/27/2018            2002218               LOCAL CITY TAX                                                            $4.95
3/27/2018            2002218               CIVIC CENTER FUND TAX                                                     $2.72
3/28/2018            2002450               GREAT AMERICAN GRILL BREAKFAST                                        $25.58

                                                         Page:1
BANU, M                                                               Room No:                           343/Q2
              Case 3:18-cv-30130-KAR Document 1-4                      FiledDate:
                                                                      Arrival 08/08/18           Page 158   of 163
                                                                                                       3/20/2018 5:21:00 PM
FIRE                                                                  Departure Date:                    3/28/2018 2:33:00 PM
                                                                      Adult/Child:                       1/0
SPFLD MA 01105                                                        Cashier ID:                        SLOCOMB
UNITED STATES OF AMERICA                                              Room Rate:                         99.00
                                                                      AL:
                                                                      HH #
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                                                                      Folio No/Che                       485242 A

Confirmation Number: 3423430287

HILTON GARDEN INN SPRINGFIELD 3/28/2018 2:33:00 PM

DATE                 REF NO
                     I                    I
                                           DESCRIPTION                                                     I
                                                                                                                    CHARGES
3/28/2018            2002486               VS *5557                                                                 ($934.30)
                                                  **BALANCE**                                                                   $0.00



EXPENSE REPORT SUMMARY
                                          3/20/2018       3/21/2018                  3/22/2018          3/23/2018
ROOM AND TAX                              $112.31         $112.31                    $112.31            $112.31
FOOD AND BEVERAGE                         $0.00           $0.00                      $33.02             $25.58
DAILY TOTAL                               $112.31         $112.31                    $145.33            $137.89
EXPENSE REPORT SUMMARY
                                          3/24/2018       3/25/2018                  3/26/2018          3/27/2018
ROOM AND TAX                              $112.31         $112.31                    $112.31            $112.31
FOOD AND BEVERAGE                         $0.00           $25.58                     $12.79             $25.58
DAILY TOTAL                               $112.31         $137.89                    $125.10            $137.89
EXPENSE REPORT SUMMARY
                                          3/28/2018       STAY TOTAL
ROOM AND TAX                              $0.00           $898.48
FOOD AND BEVERAGE                         $25.58          $148.13
DAILY TOTAL                               $25.58          $1,046.61




                                                          Page:2
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  NGM Services                                                                                                         Invoice
  51 Holyoke St. Suite 2                                                                                              Date       Invoice #
  Easthampton, MA 01027
  Ph (413) 203-5824 Fax (413) 203-5825                                                                             4/20/2018       4035
  ngrns@comcast.net



    Bill To                                                                           Job Location
  Witman Properties                                                                 49 Belmont Street
  121 Main St.                                                                      Springfield, MA
  Holyoke, MA 01040




                                                                                                           P.O. No.            Terms

                                                                                                            4035               Net 30



Quantity                                  Description                                     Rate            Serviced             Amount

           8 Labor: 1st man                                                                   85.00 4/17/2018                        680.00
             Materials - nips, couplings, adapters, reducers, caps, copper, 90s,           2,200.27                                2,200.27
             hangers, valve, storage tank

              Replace 80 gallon storage tank for building. Add 1 1/4 copper
              split ring hangers to support piping.




                 *** Any amounts not paid within ten ( I 0) days after the due
                 date shall incur a late fee of five percent (5%) and interest at
                  the rate of twelve percent (12%) per annum. All costs of
                collection (including reasonable attorney's fees) shall be paid
                                       by the customer ***



                                                                                                        Total                       $2,880.27
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NGM Services                                                                                                         Invoice
51 Holyoke St. Suite 2                                                                                              Date       Invoice #
Easthampton, MA 01027
Ph (41.3) 203-5824 Fax (413) 203-5825                                                                             5/2/2018       3934
ngms@comcast.net



  Bin To                                                                          Job Location
Witman Properties                                                               49 Belmont Street
121 Main St.                                                                    Springfield, MA
Holyoke, MA 01040




                                                                                                         P.O. No.            Terms

                                                                                                           3934              Net 30



                                      Description                                     Rate               Serviced            Amount

      4    Labor Overtime (Nights & Weekend Rate)                                        120.00     3/18/2018                       480.00
      4    Labor Overtime (Nights & Weekend Rate)                                         80.00     3/18/2018                       320.00
      6    Labor: 1st man                                                                 85.00     3/19/2018                       510.00
      6    Labor: 2nd man                                                                 65.00     3/19/2018                       390.00
      8    Labor: 1st man                                                                 85.00     3/20/2018                       680.00
      3    Labor Overtime (Nights & Weekend Rate)                                        120.00     3/20/2018                       360.00
      8    Labor: 2nd man                                                                 65.00     3/20/2018                       520.00
      3    Labor Overtime (Nights & Weekend Rate)                                         80.00     3/20/2018                       240.00
      8    Labor: 2nd man                                                                 65.00     3/20/2018                       520.00
      3    Labor Overtime (Nights & Weekend Rate)                                         80.00     3/20/2018                       240.00
           Labor: 1st man                                                                 85.00     3/21/2018                       680.00
      3    Labor Overtime (Nights & Weekend Rate)                                        120.00     3/21/2018                       360.00
      1    Labor: 2nd man                                                                 65.00     3/21/2018                        65.00
      3    Labor Overtime (Nights & Weekend Rate)                                         80.00     3/21/2018                       240.00
      3    Labor: 1st man                                                                 85.00     3/28/2018                       255.00
           Materials - plugs, caps, nips, ball valves                                  1,050.59                                   1,050.59
           Permits                                                                     1,360.00                                   1,360.00




              *** Any amounts not paid within ten (10) days after the due
             date shall incur a late fee of five percent (5%) and interest at
               the rate of twelve percent (12%) per annum. All costs of
             collection (including reasonable attorney's fees) shall be paid
                                   by the customer***
              Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 161 of 163
CitySide Power Services, LLC
P.O. Box 1325
Chicopee, MA 01021
(413) 923-4747
citysidepower@yahoo.com


                                                                           POWER SERVICES
INVOICE
BILL TO                                                                    INVOICE # 1107
49 Belmont Ave Springfield                                                     DATE 04/17/2018
                                                                           DUE DATE 04/17/2018




 DATE          ACTIVITY                                                      QTY                 AMOUNT

 04/17/2018    Electrical Service                                              1                  920.00
               49 belmont ave springfield ma
               EXTERIOR LIGHTING JOB

               -3 new front security lights
               -re pipe light in driveway , it had no power because of
               fire
               -change big light to LED
               -add 1 more floor light
               -swap another light for a larger one
               - add a contactor to control lighting more efficiently
 04/17/2018    Parts/items                                                     1                  640.00
               3 very nice security lights 100 each
               -high end led bulb 75
               -floor light 100$
               -pipe and wire 30
               -smaller flood light 55
               -lighting contactor 80


                                                             BALANCE DUE
                                                                                         $1,560.00
              Case 3:18-cv-30130-KAR Document 1-4 Filed 08/08/18 Page 162 of 163
CitySide Power Services, LLC
P.O. Box 1325
Chicopee, MA 01021
(413) 923-4747
citysidepower@yahoo.com


                                                                          POWER SERVICES
INVOICE
BILL TO                                                                   INVOICE # 1108
49 Belmont Ave Camera Job                                                     DATE 04/17/2018
                                                                          DUE DATE 04/17/2018




 DATE          ACTIVITY                                                     QTY                 AMOUNT

 04/17/2018    Electrical Service                                             1                 1,250.00
               49 belmont ave springfield ma
               SECURITY CAMERA JOB
               -the dvr recorder will meed to be programmed to
               owners phone
               -2 guys 2 days install system with 4 cameras on exterior
               of building
 04/17/2018    Parts/items                                                    1                   75.00
               -Conduit and fittings
               -wheather proof bell boxes
               -wheater proof covers with mounting holes for camera
               heads
               -


                                                           BALANCE DUE
                                                                                        $1,325.00
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               3/18/18 Belmont Fire Invoices
               Payee                        What                         Amount
  3/26/2018    Hilton Garden Inn            Tenant Hotel stay                 $678.75
  3/22/2018    Cityside Power               Heat sensor installation       $10,330.00
  3/19/2018    Police Detail                Security watch of building        $747.60
  3/22/2018    Police Detail                Security watch of building        $930.11
  3/22/2018    Red Roof Inn                 Tenant Hotel stay                  $72.99
  3/22/2018    Red Roof Inn                 Tenant Hotel stay                  $72.99
  3/18/2018    citizen Security Service     Repair of Fire alarm            $2,475.00
  3/20/2018    citizen Security Service     Repair of Fire alarm            $3,872.50
  3/20/2018    citizen Security Service     Repair of Fire alarm            $1,328.13
  3/21/2018    citizen Security Service     Repair of Fire alarm              $715.97
  3/20/2018    Hilton Garden Inn            Tenant Hotel stay                 $112.31
  3/22/2018    Hilton Garden Inn            Tenant Hotel stay                 $112.31
  3/22/2018    Hilton Garden Inn            Tenant Hotel stay                 $112.31
  3/22/2018    Hilton Garden Inn            Tenant Hotel stay                 $237.41
  3/22/2018    Hilton Garden Inn            Tenant Hotel stay                 $250.00
  3/22/2018    Hilton Garden Inn            Tenant Hotel stay                 $112.31
  3/28/2018    hilton Garden Inn            Tenant Hotel stay                 $934.30
  3/29/2018    hilton Garden Inn            Tenant Hotel stay                 $364.51
  4/12/2018    Candelwood                   Tenant Hotel stay               $1,041.97
  4/19/2018    Candelwood                   Tenant Hotel stay                 $184.42
  4/16/2018    Candelwood                   Tenant Hotel stay                 $445.32
    3/31/18    witman Hotel stays           Tenant Hotel stay                 $541.72
    4/17/18    Cityside Power               #1170 Lighting                  $1,560.00
    4/17/18    Cityside Power               ##1108 Secuirty camera          $1,325.00
                                            All property managment
3/18-4/23      Witman                       charges related to fire        $16,397.97
                                            Deopsit on Demolition,
    4/18/18    Build it Right               Window order, Framing          $40,000.00
                                                                           $84,955.90
